                                                                  Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 1 of 88
                                                                                                                                       EXHIBIT A




                                                                                                                                                                                                                                                                                 Nature of Claim
Number
                                     Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                            Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
              9/11 Decedent Name    Currently named in                                         Plaintiff's Individual Capacity            Caption identifying the estate representative of        or Guardian of Previously
                                                                  Complaint                                                                                                                                                             plaintiff in their own right
                                        complaint                                                                                                          9/11 Decedent                                  Minor Child


         1 Aaron Horwitz           Allan Horwitz            DKT 155; 1:02-cv-01616-     Allan Horwitz, Individually, as Parent of       Allan Horwitz as the Personal Representative of the                                                                                      WD
                                                            JR; P2943                   Aaron Horwitz, Deceased;                        Estate of Aaron Horwitz, Deceased;
         2 Aaron Horwitz           Elizabeth Ruth Horwitz   DKT 155; 1:02-cv-01616-     Elizabeth Ruth Horwitz, Individually, as        Elizabeth Ruth Horwitz as the Personal Representative                                                                                    WD
                                                            JR; P2945                   Parent of Aaron Horwitz, Deceased;              of the Estate of Aaron Horwitz, Deceased;

         3 Abdoul Karim Traore     Hadidjatou Traore        DKT 26, 29; 1:02-cv-        Hadidjatou Traore, Individually, as Spouse      Hadidjatou Traore as the Representative of the Estate                                                                                    WD
                                                            01616-JR; 2405              of Abdoul Karim Traore, Deceased;               of Abdoul Karim Traore, Deceased;

         4 Abigail Cales Medina    Eli Medina               DKT 432; 1:02-cv-01616-     Eli Medina, Individually, as Spouse of       Eli Medina as the Personal Representative of the        Eli Medina as Parent/Guardian of Eli Medina on behalf of A.M., Child of         WD
                                                            JR; P4890                   Abigail Cales Medina, Deceased;              Estate of Abigail Cales Medina, Deceased;               A.M.                             Abigail Cales Medina, Deceased:
         5 Adam Keith Ruhalter     Fern Gayle Ruhalter      DKT 232; 1:02-cv-01616-     Fern Gayle Ruhalter, Individually, as Spouse Fern Gayle Ruhalter as the Representative of the        Fern Gayle Ruhalter as           Danica Taylor Ruhalter, Individually as Child WD
                                                            JR; P4083                   of Adam Keith Ruhalter, Deceased;            Estate of Adam Keith Ruhalter, Deceased;                Parent/Guardian of Danica Taylor of Adam Keith Ruhalter, Deceased, and
                                                                                                                                                                                             Ruhalter                         previously included as minor child of Fern
                                                                                                                                                                                                                              Gayle Ruhalter;
         6 Adam Keith Ruhalter     Fern Gayle Ruhalter      DKT 232; 1:02-cv-01616-     Fern Gayle Ruhalter, Individually, as Spouse Fern Gayle Ruhalter as the Representative of the        Fern Gayle Ruhalter as           Ethan Myles Ruhalter, Individually as Child WD
                                                            JR; P4083                   of Adam Keith Ruhalter, Deceased;            Estate of Adam Keith Ruhalter, Deceased;                Parent/Guardian of Ethan Myles of Adam Keith Ruhalter, Deceased, and
                                                                                                                                                                                             Ruhalter                         previously included as minor child of Fern
                                                                                                                                                                                                                              Gayle Ruhalter;
         7 Adel A. Zakhary         Nagat H. Zakhary         DKT 155; 1:02-cv-01616-     Nagat H. Zakhary, Individually, as Spouse of Nagat H. Zakhary as the Personal Representative of      Nagat H. Zakhary as              Mariam Adel Zakhary, Individually as Child     WD
                                                            JR; P3173                   Adel A. Zakhary, Deceased;                   the Estate of Adel A. Zakhary, Deceased;                Parent/Guardian of Mariam Adel of Adel A. Zakhary, Deceased, and
                                                                                                                                                                                             Zakhary                          previously included as minor child of Nagat
                                                                                                                                                                                                                              H. Zakhary;
         8 Adriana Scibetta        Charles Scibetta         DKT HAND FILED (3-10-       Charles Scibetta, Individually, as Spouse of Charles Scibetta as the Representative of the Estate of Charles Scibetta as              Vincenzo P. Scibetta, Individually as Child of WD
                                                            2004); 1:03-cv-9849         Adriana Scibetta, Deceased;                  Adriana Scibetta, Deceased;                             Parent/Guardian of Vincenzo P. Adriana Scibetta, Deceased, and previously
                                                            (RCC); P5259                                                                                                                     Scibetta                         included as minor child of Charles Scibetta;

         9 Adriana Scibetta        Charles Scibetta         DKT HAND FILED (3-10-       Charles Scibetta, Individually, as Spouse of    Charles Scibetta as the Representative of the Estate of Charles Scibetta as              Gabriella Scibetta, Individually as Child of WD
                                                            2004); 1:03-cv-9849         Adriana Scibetta, Deceased;                     Adriana Scibetta, Deceased;                             Parent/Guardian of Gabriella     Adriana Scibetta, Deceased, and previously
                                                            (RCC); P5259                                                                                                                        Scibetta                         included as minor child of Charles Scibetta;

    10 Aisha Ann Harris            Arvette Denise Harris    DKT 432; 1:02-cv-01616-     Arvette Denise Harris, Individually, as         Arvette Denise Harris as the Personal Representative                                                                                     WD
                                                            JR; P4861                   Parent of Aisha Ann Harris, Deceased;           of the Estate of Aisha Ann Harris, Deceased;

    11 Alan David Kleinberg        Mindy S. Kleinberg       DKT 1; 1:02-cv-01616-JR; Mindy S. Kleinberg, Individually, as Spouse        Mindy S. Kleinberg as the Personal Representative of     Mindy S. Kleinberg as           Jacob R. Kleinberg, Individually as Child of    WD
                                                            762                      of Alan David Kleinberg, Deceased;                 the Estate of Alan David Kleinberg, Deceased;            Parent/Guardian of Jacob R.     Alan David Kleinberg, Deceased, and
                                                                                                                                                                                                 Kleinberg                       previously included as minor child of Mindy
                                                                                                                                                                                                                                 S. Kleinberg;
    12 Alan David Kleinberg        Mindy S. Kleinberg       DKT 1; 1:02-cv-01616-JR; Mindy S. Kleinberg, Individually, as Spouse        Mindy S. Kleinberg as the Personal Representative of     Mindy S. Kleinberg as           Lauren N. Kleinberg, Individually as Child of   WD
                                                            762                      of Alan David Kleinberg, Deceased;                 the Estate of Alan David Kleinberg, Deceased;            Parent/Guardian of Lauren N.    Alan David Kleinberg, Deceased, and
                                                                                                                                                                                                 Kleinberg                       previously included as minor child of Mindy
                                                                                                                                                                                                                                 S. Kleinberg;
    13 Alan David Kleinberg        Mindy S. Kleinberg       DKT 1; 1:02-cv-01616-JR; Mindy S. Kleinberg, Individually, as Spouse        Mindy S. Kleinberg as the Personal Representative of     Mindy S. Kleinberg as           Sam E. Kleinberg, Individually as Child of      WD
                                                            762                      of Alan David Kleinberg, Deceased;                 the Estate of Alan David Kleinberg, Deceased;            Parent/Guardian of Sam E.       Alan David Kleinberg, Deceased, and
                                                                                                                                                                                                 Kleinberg                       previously included as minor child of Mindy
                                                                                                                                                                                                                                 S. Kleinberg;
    14 Alan Merdinger              Barbara Merdinger        DKT 232; 1:02-cv-01616-     Barbara Merdinger, Individually, as Spouse      Barbara Merdinger as the Representative of the Estate                                                                                    WD
                                                            JR; P4075                   of Alan Merdinger, Deceased;                    of Alan Merdinger, Deceased;
    15 Alan Patrick Linton, Jr.    Alan Patrick Linton      DKT 155; 1:02-cv-01616-     Alan Patrick Linton, Individually, as Parent    Alan Patrick Linton as the Personal Representative of                                                                                    WD
                                                            JR; P3000                   of Alan Patrick Linton, Jr., Deceased;          the Estate of Alan Patrick Linton, Jr., Deceased;

    16 Albert W. Elmarry           Irinie Guirguis          DKT 313; 1:02-cv-01616-     Irinie Guirguis, Individually, as Spouse of     Irinie Guirguis as the Representative of the Estate of   Irinie Guirguis as              Irinie Guirguis on behalf of L.M.E., Child of   WD
                                                            JR; P4638                   Albert W. Elmarry, Deceased;                    Albert W. Elmarry, Deceased;                             Parent/Guardian of L.M.E.       Albert W. Elmarry, Deceased;




                                                                                                                                          1
                                                                Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 2 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                   Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
           9/11 Decedent Name     Currently named in                                         Plaintiff's Individual Capacity            Caption identifying the estate representative of        or Guardian of Previously
                                                                Complaint                                                                                                                                                               plaintiff in their own right
                                      complaint                                                                                                          9/11 Decedent                                  Minor Child


    17 Alberto Dominguez Piriz   Martha Isabel            DKT 432; 1:02-cv-01616-     Martha Isabel Dominguez, Individually, as       Martha Isabel Dominguez as the Representative of the                                                                                      WD
                                 Dominguez                JR; P4927                   Spouse of Alberto Dominguez Piriz,              Estate of Alberto Dominguez Piriz, Deceased;
                                                                                      Deceased;
    18 Alexander M. Filipov      Loretta Jean Filipov     DKT 305; 1:02-cv-01616-     Loretta Jean Filipov, Individually, as Spouse   Loretta Jean Filipov as the Personal Representative of                                                                                    WD
                                                          JR; P4274                   of Alexander M. Filipov, Deceased;              the Estate of Alexander M. Filipov, Deceased;

    19 Alexander Napier          Nicola Napier            DKT 432; 1:02-cv-01616-     Nicola Napier, Individually, as Spouse of       Nicola Napier as the Representative of the Estate of     Nicola Napier as                  Nicola Napier on behalf of J.N., Child of      WD
                                                          JR; P4901                   Alexander Napier, Deceased;                     Alexander Napier, Deceased;                              Parent/Guardian of J.N.           Alexander Napier, Deceased;
    20 Alexander Napier          Nicola Napier            DKT 432; 1:02-cv-01616-     Nicola Napier, Individually, as Spouse of       Nicola Napier as the Representative of the Estate of     Nicola Napier as                  Nicola Napier on behalf of M.N., Child of      WD
                                                          JR; P4901                   Alexander Napier, Deceased;                     Alexander Napier, Deceased;                              Parent/Guardian of M.N.           Alexander Napier, Deceased;
    21 Alexander Napier          Nicola Napier            DKT 432; 1:02-cv-01616-     Nicola Napier, Individually, as Spouse of       Nicola Napier as the Representative of the Estate of     Nicola Napier as                  Nicola Napier on behalf of S.N., Child of  WD
                                                          JR; P4901                   Alexander Napier, Deceased;                     Alexander Napier, Deceased;                              Parent/Guardian of S.N.           Alexander Napier, Deceased;
    22 Alfonse J. Niedermeyer    Nancy Susan              DKT 155; 1:02-cv-01616-     Nancy Susan Niedermeyer, Individually, as       Nancy Susan Niedermeyer as the Representative of         Nancy Susan Niedermeyer as        Angelica J. Niedermeyer, Individually as   WD
                                 Niedermeyer              JR; P3054                   Spouse of Alfonse J. Niedermeyer,               the Estate of Alfonse J. Niedermeyer, Deceased;          Parent/Guardian of Angelica J.    Child of Alfonse J. Niedermeyer, Deceased,
                                                                                      Deceased;                                                                                                Niedermeyer                       and previously included as minor child of
                                                                                                                                                                                                                                 Nancy Susan Niedermeyer;

    23 Alfonse J. Niedermeyer    Nancy Susan              DKT 155; 1:02-cv-01616-     Nancy Susan Niedermeyer, Individually, as       Nancy Susan Niedermeyer as the Representative of         Nancy Susan Niedermeyer as        Alfonse Joseph Niedermeyer, Individually as WD
                                 Niedermeyer              JR; P3054                   Spouse of Alfonse J. Niedermeyer,               the Estate of Alfonse J. Niedermeyer, Deceased;          Parent/Guardian of Alfonse        Child of Alfonse J. Niedermeyer, Deceased,
                                                                                      Deceased;                                                                                                Joseph Niedermeyer, IV            and previously included as minor child of
                                                                                                                                                                                                                                 Nancy Susan Niedermeyer;

    24 Alfred Russell Maler      Laura A. Maler           DKT 3; 1:02-cv-01616-JR; Laura A. Maler, Individually, as Spouse of                                                                  Laura A. Maler as               Alfred Royce Maler, Individually as Child of WD
                                                          1829                     Alfred Russell Maler, Deceased;                                                                             Parent/Guardian of Alfred Royce Alfred Russell Maler, Deceased, and
                                                                                                                                                                                               Maler                           previously included as minor child of Laura
                                                                                                                                                                                                                               A. Maler;
    25 Alfred Russell Maler      Laura A. Maler           DKT 3; 1:02-cv-01616-JR; Laura A. Maler, Individually, as Spouse of                                                                  Laura A. Maler as               Teegan Maler, Individually as Child of Alfred WD
                                                          1829                     Alfred Russell Maler, Deceased;                                                                             Parent/Guardian of Teegan Maler Russell Maler, Deceased, and previously
                                                                                                                                                                                                                               included as minor child of Laura A. Maler;

    26 Alfred Vukosa             Shirimattie Lalman       DKT 77; 1:02-cv-01616-      Shirimattie Lalman, Individually, as Spouse     Shirimattie Lalman as the Personal Representative of                                                                                      WD
                                                          JR; P2739                   of Alfred Vukosa, Deceased;                     the Estate of Alfred Vukosa, Deceased;

    27 Alicia Nicole Titus       Beverly Jean Titus       DKT 155; 1:02-cv-01616-     Beverly Jean Titus, Individually, as Parent of Beverly Jean Titus as the Personal Representative of                                                                                       WD
                                                          JR; P3134                   Alicia Nicole Titus, Deceased;                 the Estate of Alicia Nicole Titus, Deceased;

    28 Alison M. Wildman         Arthur Stephen           DKT 155; 1:02-cv-01616- Arthur Stephen Wildman, Jr., Individually, as Arthur Stephen Wildman, Jr. as the Personal                                                                                                     WD
                                 Wildman, Jr.             JR; P3151               Parent of Alison M. Wildman, Deceased;        Representative of the Estate of Alison M. Wildman,
                                                                                                                                Deceased;
    29 Alok K. Mehta             Gopal Krishna Mehta      DKT 432; 1:03-md-01570- Gopal Krishna Mehta, Individually, as Parent Gopal Krishna Mehta as the Personal Representative                                                                                               WD
                                                          GBD-SN; P5404           of Alok K. Mehta, Deceased;                   of the Estate of Alok K. Mehta, Deceased;

    30 Alvin Bergsohn            Michele Zapken           DKT 305; 1:02-cv-01616-     Michele Zapken Bergsohn, Individually, as       Michele Zapken Bergsohn as the Personal                  Michele Zapken Bergsohn as        Harris I. Bergsohn, Individually as Child of   WD
                                 Bergsohn                 JR; P4142                   Spouse of Alvin Bergsohn, Deceased;             Representative of the Estate of Alvin Bergsohn,          Parent/Guardian of Harris I.      Alvin Bergsohn, Deceased, and previously
                                                                                                                                      Deceased;                                                Bergsohn                          included as minor child of Michele Zapken
                                                                                                                                                                                                                                 Bergsohn;
    31 Alvin Bergsohn            Michele Zapken           DKT 305; 1:02-cv-01616-     Michele Zapken Bergsohn, Individually, as       Michele Zapken Bergsohn as the Personal                  Michele Zapken Bergsohn as        Samuel Charles Bergsohn, Individually as       WD
                                 Bergsohn                 JR; P4142                   Spouse of Alvin Bergsohn, Deceased;             Representative of the Estate of Alvin Bergsohn,          Parent/Guardian of Samuel         Child of Alvin Bergsohn, Deceased, and
                                                                                                                                      Deceased;                                                Charles Bergsohn                  previously included as minor child of
                                                                                                                                                                                                                                 Michele Zapken Bergsohn;
    32 Amelia V. Fields          William Howard Fields,   DKT 432; 1:02-cv-01616-     William Howard Fields, Sr., Individually, as    William Howard Fields, Sr. as the Personal                                                                                                WD
                                 Sr.                      JR; P4840                   Spouse of Amelia V. Fields, Deceased;           Representative of the Estate of Amelia V. Fields,
                                                                                                                                      Deceased;



                                                                                                                                        2
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 3 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
Number
                                 Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                             Complaint                                                                                                                                                             plaintiff in their own right
                                    complaint                                                                                                         9/11 Decedent                                 Minor Child


    33 Andre Bonheur, Jr.      Roxane Bonheur          DKT 232; 1:02-cv-01616-     Roxane Bonheur, Individually, as Spouse of      Roxane Bonheur as the Personal Representative of        Roxane Bonheur as                Alysha Audrey Bonheur, Individually as        WD
                                                       JR; P3608                   Andre Bonheur, Jr., Deceased;                   the Estate of Andre Bonheur, Jr., Deceased;             Parent/Guardian of Alysha        Child of Andre Bonheur, Jr., Deceased, and
                                                                                                                                                                                           Audrey Bonheur                   previously included as minor child of
                                                                                                                                                                                                                            Roxane Bonheur;
    34 Andre Bonheur, Jr.      Roxane Bonheur          DKT 232; 1:02-cv-01616-     Roxane Bonheur, Individually, as Spouse of      Roxane Bonheur as the Personal Representative of        Roxane Bonheur as                Marcus Paul Bonheur, Individually as Child    WD
                                                       JR; P3608                   Andre Bonheur, Jr., Deceased;                   the Estate of Andre Bonheur, Jr., Deceased;             Parent/Guardian of Marcus Paul   of Andre Bonheur, Jr., Deceased, and
                                                                                                                                                                                           Bonheur                          previously included as minor child of
                                                                                                                                                                                                                            Roxane Bonheur;
    35 Andre Cox               Nigel Durnstan Cox      DKT 432; 1:02-cv-01616-     Nigel Durnstan Cox, Individually, as Sibling    Nigel Durnstan Cox as the Personal Representative of                                                                                   WD
                                                       JR; P4800                   of Andre Cox, Deceased;                         the Estate of Andre Cox, Deceased;

    36 Andrew Anthony Abate    Carolyn Crutchfield     DKT 232; 1:02-cv-01616-     Carolyn Crutchfield, Individually, as Spouse    Carolyn Crutchfield as the Personal Representative of                                                                                  WD
                                                       JR; P4040                   of Andrew Anthony Abate, Deceased;              the Estate of Andrew Anthony Abate, Deceased;

    37 Andrew Boncia, Jr.      Dorothy Garcia          DKT 305; 1:02-cv-01616-     Dorothy Garcia, Individually, as Spouse of      Dorothy Garcia as the Representative of the Estate of                                                                                  WD
                                                       JR; P4285                   Andrew Garcia, Jr., Deceased;                   Andrew Garcia, Jr., Deceased;
    38 Andrew C. Brunn         Sigalit Brunn           DKT 26, 29; 1:02-cv-        Sigalit Brunn, Individually, as Spouse of       Sigalit Brunn as the Personal Representative of the                                                                                    WD
                                                       01616-JR; 2729              Andrew C. Brunn, Deceased;                      Estate of Andrew C. Brunn, Deceased;
    39 Andrew Jay Stern        Katherine Stern         DKT 232; 1:02-cv-01616-     Katherine Stern, Individually, as Spouse of     Katherine Stern as the Personal Representative of the   Katherine Stern as               Daniel C. Stern, Individually as Child of     WD
                                                       JR; P3962                   Andrew Jay Stern, Deceased;                     Estate of Andrew Jay Stern, Deceased;                   Parent/Guardian of Daniel C.     Andrew Jay Stern, Deceased, and
                                                                                                                                                                                           Stern                            previously included as minor child of
                                                                                                                                                                                                                            Katherine Stern;
    40 Andrew Jay Stern        Katherine Stern         DKT 232; 1:02-cv-01616-     Katherine Stern, Individually, as Spouse of     Katherine Stern as the Personal Representative of the   Katherine Stern as               Emma Florence Stern, Individually as Child    WD
                                                       JR; P3962                   Andrew Jay Stern, Deceased;                     Estate of Andrew Jay Stern, Deceased;                   Parent/Guardian of Emma          of Andrew Jay Stern, Deceased, and
                                                                                                                                                                                           Florence Stern                   previously included as minor child of
                                                                                                                                                                                                                            Katherine Stern;
    41 Andrew Stergiopoulos    Angela Marie            DKT 26, 29; 1:02-cv-        Angela Marie Stergiopoulos, Individually, as Angela Marie Stergiopoulos as the Personal                                                                                                WD
                               Stergiopoulos           01616-JR; 2376              Parent of Andrew Stergiopoulos, Deceased; Representative of the Estate of Andrew Stergiopoulos,
                                                                                                                                Deceased;
    42 Angel Perez, Jr.        Carmen Rodriguez        DKT 432; 1:02-cv-01616-     Carmen Rodriguez, Individually, as Parent    Carmen Rodriguez as the Representative of the Estate                                                                                      WD
                                                       JR; P4921                   of Angel Perez, Jr., Deceased;               of Angel Perez, Jr., Deceased;
    43 Angel R. Pena           Michele Taglieri Pena   DKT 26, 29; 1:02-cv-        Michele Taglieri Pena, Individually, as                                                           Michele Taglieri Pena as               Melissa Mil Pena, Individually as Child of    WD
                                                       01616-JR; 4134              Spouse of Angel R. Pena, Deceased;                                                                Parent/Guardian of Melissa Mil         Angel R. Pena, Deceased, and previously
                                                                                                                                                                                     Pena                                   included as minor child of Michele Taglieri
                                                                                                                                                                                                                            Pena;
    44 Angel R. Pena           Michele Taglieri Pena   DKT 26, 29; 1:02-cv-        Michele Taglieri Pena, Individually, as                                                                 Michele Taglieri Pena as         Sara Jaye Pena, Individually as Child of      WD
                                                       01616-JR; 4134              Spouse of Angel R. Pena, Deceased;                                                                      Parent/Guardian of Sara Jaye     Angel R. Pena, Deceased, and previously
                                                                                                                                                                                           Pena                             included as minor child of Michele Taglieri
                                                                                                                                                                                                                            Pena;
    45 Angela Marie Houtz      Julia P. Shontere       DKT 232; 1:02-cv-01616-     Julia P. Shontere, Individually, as Parent ofJulia P. Shontere as the Personal Representative of                                                                                       WD
                                                       JR; P3731                   Angela Marie Houtz, Deceased;                the Estate of Angela Marie Houtz, Deceased;
    46 Angela Susan Perez      Shawn Bittner           DKT 232; 1:02-cv-01616-                                                  Shawn Bittner as the Representative of the Estate of       Shawn Bittner as                 Shawn Bittner on behalf of J.B., Child of     WD
                                                       JR; P3896                                                                Angela Susan Perez, Deceased;                              Parent/Guardian of J.B.          Angela Susan Perez, Deceased;
    47 Angela Susan Perez      Shawn Bittner           DKT 232; 1:02-cv-01616-                                                  Shawn Bittner as the Representative of the Estate of       Shawn Bittner as                 Shawn Bittner on behalf of G.B., Child of     WD
                                                       JR; P3896                                                                Angela Susan Perez, Deceased;                              Parent/Guardian of G.B.          Angela Susan Perez, Deceased;
    48 Angela Susan Perez      Shawn Bittner           DKT 232; 1:02-cv-01616-                                                  Shawn Bittner as the Representative of the Estate of       Shawn Bittner as                 Shawn Bittner on behalf of K.B., Child of     WD
                                                       JR; P3896                                                                Angela Susan Perez, Deceased;                              Parent/Guardian of K.B.          Angela Susan Perez, Deceased;
    49 Ann Nicole Nelson       Gary Stanley Nelson     DKT 232; 1:02-cv-01616-     Gary Stanley Nelson, Individually, as Parent Gary Stanley Nelson as the Representative of the                                                                                          WD
                                                       JR; P3868                   of Ann Nicole Nelson, Deceased;              Estate of Ann Nicole Nelson, Deceased;
    50 Anna A. Laverty         Deena Laverty-          DKT 305; 1:02-cv-01616-     Deena Laverty-Castineira, Individually, as   Deena Laverty-Castineira as the Personal                                                                                                  WD
                               Castineira              JR; P4377                   Child of Anna A. Laverty, Deceased;          Representative of the Estate of Anna A. Laverty,
                                                                                                                                Deceased;
    51 Anna M. DeBin           George Debin            DKT 232; 1:02-cv-01616-     George Debin, Individually, as Spouse of     George Debin as the Personal Representative of the         George Debin as                  Timothy DeBin, Individually as Child of Anna WD
                                                       JR; P4055                   Anna M. DeBin, Deceased;                     Estate of Anna M. DeBin, Deceased;                         Parent/Guardian of Timothy       M. DeBin, Deceased, and previously
                                                                                                                                                                                           DeBin                            included as minor child of George Debin;


                                                                                                                                     3
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 4 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
Number
                                  Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                                  Name of previously minor child now a
          9/11 Decedent Name     Currently named in                                       Plaintiff's Individual Capacity             Caption identifying the estate representative of        or Guardian of Previously
                                                             Complaint                                                                                                                                                                 plaintiff in their own right
                                     complaint                                                                                                         9/11 Decedent                                  Minor Child


    52 Anna S.W. Allison        V. Blake Allison       DKT 155; 1:02-cv-01616-     V. Blake Allison, Individually, as Spouse of     V. Blake Allison as the Personal Representative of the                                                                                  WD
                                                       JR; P2812                   Anna S.W. Allison, Deceased;                     Estate of Anna S.W. Allison, Deceased;
    53 Anthony Jovic            Sentija Jovic          DKT HAND FILED (3-10-       Sentija Jovic, Individually, as Spouse of        Sentija Jovic as the Personal Representative of the      Sentija Jovic as Parent/Guardian Sentija Jovic on behalf of M.A.J., Child of   WD
                                                       2004); 1:03-cv-9849         Anthony Jovic, Deceased;                         Estate of Anthony Jovic, Deceased;                       of M.A.J.                        Anthony Jovic, Deceased;
                                                       (RCC); P5107
    54 Anthony Jovic            Sentija Jovic          DKT HAND FILED (3-10-       Sentija Jovic, Individually, as Spouse of        Sentija Jovic as the Personal Representative of the      Sentija Jovic as Parent/Guardian Sentija Jovic on behalf of P.T.J., Child of   WD
                                                       2004); 1:03-cv-9849         Anthony Jovic, Deceased;                         Estate of Anthony Jovic, Deceased;                       of P.T.J.                        Anthony Jovic, Deceased;
                                                       (RCC); P5107
    55 Anthony Luparello        Geraldine Luparello    DKT 232; 1:02-cv-01616-     Geraldine Luparello, Individually, as Spouse Geraldine Luparello as the Personal Representative of                                                                                       WD
                                                       JR; P3801                   of Anthony Luparello, Deceased;              the Estate of Anthony Luparello, Deceased;

    56 Anthony M. Ventura       Lisa A. Ventura        DKT 232; 1:02-cv-01616-     Lisa A. Ventura, Individually, as Spouse of      Lisa A. Ventura as the Personal Representative of the                                                                                   WD
                                                       JR; P3997                   Anthony M. Ventura, Deceased;                    Estate of Anthony M. Ventura, Deceased;
    57 Anthony Richard Dawson   Helen Katrina Dawson   DKT 232; 1:02-cv-01616-     Helen Katrina Dawson, Individually, as           Helen Katrina Dawson as the Personal Representative                                                                                     WD
                                                       JR; P3668                   Parent of Anthony Richard Dawson,                of the Estate of Anthony Richard Dawson, Deceased;
                                                                                   Deceased;
    58 Anthony Tempesta         Ana Tempesta           DKT 26, 29; 1:02-cv-        Ana Tempesta, Individually, as Spouse of                                                                  Ana Tempesta as               Amanda Tempesta, Individually as Child of        WD
                                                       01616-JR; 2389              Anthony Tempesta, Deceased;                                                                               Parent/Guardian of Amanda     Anthony Tempesta, Deceased, and
                                                                                                                                                                                             Tempesta                      previously included as minor child of Ana
                                                                                                                                                                                                                           Tempesta;
    59 Anthony Tempesta         Ana Tempesta           DKT 26, 29; 1:02-cv-        Ana Tempesta, Individually, as Spouse of                                                                Ana Tempesta as                 Matthew Tempesta, Individually as Child of       WD
                                                       01616-JR; 2389              Anthony Tempesta, Deceased;                                                                             Parent/Guardian of Matthew      Anthony Tempesta, Deceased, and
                                                                                                                                                                                           Tempesta                        previously included as minor child of Ana
                                                                                                                                                                                                                           Tempesta;
    60 Antonio A. Rocha         Marilyn Marques Rocha DKT 155; 1:02-cv-01616-      Marilyn Marques Rocha, Individually, as          Marilyn Marques Rocha as the Representative of the     Marilyn Marques Rocha as        Alyssa Marie Rocha, Individually as Child of     WD
                                                      JR; P3077                    Spouse of Antonio A. Rocha, Deceased;            Estate of Antonio A. Rocha, Deceased;                  Parent/Guardian of Alyssa Marie Antonio A. Rocha, Deceased, and
                                                                                                                                                                                           Rocha                           previously included as minor child of Marilyn
                                                                                                                                                                                                                           Marques Rocha;
    61 Antonio A. Rocha         Marilyn Marques Rocha DKT 155; 1:02-cv-01616-      Marilyn Marques Rocha, Individually, as          Marilyn Marques Rocha as the Representative of the     Marilyn Marques Rocha as        Ethan Agustus Rocha, Individually as Child       WD
                                                      JR; P3077                    Spouse of Antonio A. Rocha, Deceased;            Estate of Antonio A. Rocha, Deceased;                  Parent/Guardian of Ethan        of Antonio A. Rocha, Deceased, and
                                                                                                                                                                                           Agustus Rocha                   previously included as minor child of Marilyn
                                                                                                                                                                                                                           Marques Rocha;
    62 Antonio J. Rodrigues     Cristina Rodrigues     DKT 232; 1:02-cv-01616-     Cristina Rodrigues, Individually, as Spouse      Cristina Rodrigues as the Representative of the Estate Cristina Rodrigues as           Sara Alexandre de Carrusca Rodrigues,            WD
                                                       JR; P3933                   of Antonio J. Rodrigues, Deceased;               of Antonio J. Rodrigues, Deceased;                     Parent/Guardian of Sara         Individually as Child of Antonio J.
                                                                                                                                                                                           Alexandre de Carrusca Rodrigues Rodrigues, Deceased, and previously
                                                                                                                                                                                                                           included as minor child of Cristina
                                                                                                                                                                                                                           Rodrigues;
    63 Antonio J. Rodrigues     Cristina Rodrigues     DKT 232; 1:02-cv-01616-     Cristina Rodrigues, Individually, as Spouse      Cristina Rodrigues as the Representative of the Estate Cristina Rodrigues as           Adam Alexandre Rodrigues, Individually as        WD
                                                       JR; P3933                   of Antonio J. Rodrigues, Deceased;               of Antonio J. Rodrigues, Deceased;                     Parent/Guardian of Adam         Child of Antonio J. Rodrigues, Deceased,
                                                                                                                                                                                           Alexandre Rodrigues             and previously included as minor child of
                                                                                                                                                                                                                           Cristina Rodrigues;
    64 Asia SiVon Cottom        Michelle Antoinette    DKT HAND FILED (3-10-       Michelle Antoinette Cottom, Individually, as     Michelle Antoinette Cottom as the Personal                                                                                              WD
                                Cottom                 2004); 1:03-cv-9849         Parent of Asia SiVon Cottom, Deceased;           Representative of the Estate of Asia SiVon Cottom,
                                                       (RCC); P5027                                                                 Deceased;
    65 Azael Vasquez            Eloisa Rodriguez       DKT 232; 1:02-cv-01616-                                                      Eloisa Rodriguez as the Representative of the Estate   Eloisa Rodriguez as             Eloisa Rodriguez on behalf of G.V., Child of     WD
                                                       JR; P3996                                                                    of Azael Vasquez, Deceased;                            Parent/Guardian of G.V.         Azael Vasquez, Deceased;
    66 Azucena de la Torre      Diana de la Torre      DKT 232; 1:02-cv-01616-     Diana de la Torre, Individually, as Sibling of   Diana de la Torre as the Personal Representative of                                                                                     WD
                                                       JR; P3669                   Azucena de la Torre, Deceased;                   the Estate of Azucena de la Torre, Deceased;
    67 Barbara A. Keating       Michael Lawrence       DKT 305; 1:02-cv-01616-     Michael Lawrence Keating, Individually, as       Michael Lawrence Keating as the Personal                                                                                                WD
                                Keating                JR; P4360                   Child of Barbara A. Keating, Deceased;           Representative of the Estate of Barbara A. Keating,
                                                                                                                                    Deceased;
    68 Barbara A. Shaw          Janine Lousie Van      DKT 305; 1:02-cv-01616-     Janine Lousie Van Riper, Individually, as        Janine Lousie Van Riper as the Representative of the                                                                                    WD
                                Riper                  JR; P4525                   Child of Barbara A. Shaw, Deceased;              Estate of Barbara A. Shaw, Deceased;
    69 Barbara Etzold           Jean A. Etzold         DKT 155; 1:02-cv-01616-     Jean A. Etzold, Individually, as Parent of       Jean A. Etzold as the Representative of the Estate of                                                                                   WD
                                                       JR; P2890                   Barbara Etzold, Deceased;                        Barbara Etzold, Deceased;


                                                                                                                                      4
                                                                  Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 5 of 88




                                                                                                                                                                                                                                                                               Nature of Claim
Number
                                    Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                            Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
           9/11 Decedent Name      Currently named in                                          Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                                  Complaint                                                                                                                                                            plaintiff in their own right
                                       complaint                                                                                                          9/11 Decedent                                 Minor Child


    70 Barbara Gollan Edwards     Frank Michael Edwards DKT 155; 1:02-cv-01616-         Frank Michael Edwards, Individually, as    Frank Michael Edwards as the Representative of the                                                                                          WD
                                                        JR; P2885                       Child of Barbara Gollan Edwards, Deceased; Estate of Barbara Gollan Edwards, Deceased;

    71 Barbara Guzzardo (Estate   Anthony Domiano           DKT 1; 1:02-cv-01616-JR; Anthony Domiano Guzzardo, Individually, as Anthony Domiano Guzzardo as the Personal                                                                                                       WD
       of)                        Guzzardo                  267                      Spouse of Barbara Guzzardo, Deceased;      Representative of the Estate of Barbara Guzzardo,
                                                                                                                                Deceased;
    72 Barry H. Glick             Judith Mechanic Glick     DKT 305; 1:02-cv-01616- Judith Mechanic Glick, Individually, as     Judith Mechanic Glick as the Personal Representative                                                                                           WD
                                                            JR; P4297                Spouse of Barry H. Glick, Deceased;        of the Estate of Barry H. Glick, Deceased;

    73 Bella J. Bhukhan           Jagdish Bhukhan           DKT 232; 1:02-cv-01616-     Jagdish Bhukhan, Individually, as Parent of    Jagdish Bhukhan as the Personal Representative of                                                                                       WD
                                                            JR; P4049                   Bella J. Bhukhan, Deceased;                    the Estate of Bella J. Bhukhan, Deceased;
    74 Benilda Pasqua Domingo     Mea Knapp, Esq.,          DKT 305; 1:02-cv-01616-                                                    Mea Knapp, Esq., Public Administrator of Suffolk        Mea Knapp, Esq., Public           Mea Knapp, Esq., Public Administrator of     WD
                                  Public Administrator of   JR; P4240                                                                  County as the Representative of the Estate of Benilda   Administrator of Suffolk County   Suffolk County as Guardian of D.D., Child of
                                  Suffolk County                                                                                       Pasqua Domingo, Deceased;                               as Parent/Guardian of Daryl       Benilda Pasqua Domingo, Deceased;
                                                                                                                                                                                               Domingo
    75 Benilda Pasqua Domingo     Mea Knapp, Esq.,          DKT 305; 1:02-cv-01616-                                                    Mea Knapp, Esq., Public Administrator of Suffolk        Mea Knapp, Esq., Public           Mea Knapp, Esq., Public Administrator of      WD
                                  Public Administrator of   JR; P4240                                                                  County as the Representative of the Estate of Benilda   Administrator of Suffolk County   Suffolk County as Guardian of L.A.D., Child
                                  Suffolk County                                                                                       Pasqua Domingo, Deceased;                               as Parent/Guardian of Lucky       of Benilda Pasqua Domingo, Deceased;
                                                                                                                                                                                               Angel Domingo
    76 Benilda Pasqua Domingo     Mea Knapp, Esq.,          DKT 305; 1:02-cv-01616-                                                    Mea Knapp, Esq., Public Administrator of Suffolk        Mea Knapp, Esq., Public           Mea Knapp, Esq., Public Administrator of     WD
                                  Public Administrator of   JR; P4240                                                                  County as the Representative of the Estate of Benilda   Administrator of Suffolk County   Suffolk County as Guardian of Y.D., Child of
                                  Suffolk County                                                                                       Pasqua Domingo, Deceased;                               as Parent/Guardian of Yvonne      Benilda Pasqua Domingo, Deceased;
                                                                                                                                                                                               Domingo
    77 Benito Valentin            Grissel Rodriguez         DKT 26, 29; 1:02-cv-        Grissel Rodriguez Valentin, Individually, as                                                           Grissel Rodriguez Valentin as
                                                                                                                                                                                                                       Alyssa N. Valentin, Individually as Child of            WD
                                  Valentin                  01616-JR; 4606              Spouse of Benito Valentin, Deceased;                                                                   Parent/Guardian of Alyssa N.
                                                                                                                                                                                                                       Benito Valentin, Deceased, and previously
                                                                                                                                                                                               Valentin                included as minor child of Grissel Rodriguez
                                                                                                                                                                                                                       Valentin;
    78 Benito Valentin            Grissel Rodriguez         DKT 26, 29; 1:02-cv-     Grissel Rodriguez Valentin, Individually, as                                                      Grissel Rodriguez Valentin as   Danyelle M. Valentin, Individually as Child of          WD
                                  Valentin                  01616-JR; 4606           Spouse of Benito Valentin, Deceased;                                                              Parent/Guardian of Danyelle M.  Benito Valentin, Deceased, and previously
                                                                                                                                                                                       Valentin                        included as minor child of Grissel Rodriguez
                                                                                                                                                                                                                       Valentin;
    79 Benito Valentin            Grissel Rodriguez         DKT 26, 29; 1:02-cv-     Grissel Rodriguez Valentin, Individually, as                                                      Grissel Rodriguez Valentin as   Jailene A. Valentin, Individually as Child of           WD
                                  Valentin                  01616-JR; 4606           Spouse of Benito Valentin, Deceased;                                                              Parent/Guardian of Jailene A.   Benito Valentin, Deceased, and previously
                                                                                                                                                                                       Valentin                        included as minor child of Grissel Rodriguez
                                                                                                                                                                                                                       Valentin;
    80 Benjamin James Walker      Laura Theresa Walker      DKT 305; 1:02-cv-01616- Laura Theresa Walker, Individually, as        Laura Theresa Walker as the Personal Representative Laura Theresa Walker as          Christopher Thomas Walker, Individually as              WD
                                                            JR; P4561                Spouse of Benjamin James Walker,             of the Estate of Benjamin James Walker, Deceased;    Parent/Guardian of Christopher  Child of Benjamin James Walker,
                                                                                     Deceased;                                                                                         Thomas Walker                   Deceased, and previously included as minor
                                                                                                                                                                                                                       child of Laura Theresa Walker;
    81 Benjamin James Walker      Laura Theresa Walker      DKT 305; 1:02-cv-01616- Laura Theresa Walker, Individually, as        Laura Theresa Walker as the Personal Representative Laura Theresa Walker as          Henry George Walker, Individually as Child              WD
                                                            JR; P4561                Spouse of Benjamin James Walker,             of the Estate of Benjamin James Walker, Deceased;    Parent/Guardian of Henry        of Benjamin James Walker, Deceased, and
                                                                                     Deceased;                                                                                         George Walker                   previously included as minor child of Laura
                                                                                                                                                                                                                       Theresa Walker;
    82 Benjamin James Walker      Laura Theresa Walker      DKT 305; 1:02-cv-01616- Laura Theresa Walker, Individually, as        Laura Theresa Walker as the Personal Representative Laura Theresa Walker as          Samantha Nicole Walker, Individually as                 WD
                                                            JR; P4561                Spouse of Benjamin James Walker,             of the Estate of Benjamin James Walker, Deceased;    Parent/Guardian of Samantha     Child of Benjamin James Walker,
                                                                                     Deceased;                                                                                         Nicole Walker                   Deceased, and previously included as minor
                                                                                                                                                                                                                       child of Laura Theresa Walker;
    83 Benjamin Millman           Toby Millman              DKT 3; 1:02-cv-01616-JR; Toby Millman, Individually, as Spouse of                                                          Toby Millman as Parent/Guardian Toby Millman, on behalf of B.M., Child of               WD
                                                            1465                     Benjamin Millman, Deceased;                                                                       of B.M.                         Benjamin Millman, Deceased;
    84 Benjamin Millman           Toby Millman              DKT 3; 1:02-cv-01616-JR; Toby Millman, Individually, as Spouse of                                                          Toby Millman as Parent/Guardian Toby Millman, on behalf of M.M., Child of               WD
                                                            1465                     Benjamin Millman, Deceased;                                                                       of M.M.                         Benjamin Millman, Deceased;
    85 Benjamin Suarez            Sally Ann Suarez          DKT 26, 29; 1:02-cv-     Sally Ann Suarez, Individually, as Spouse of Sally Ann Suarez as the Representative of the Estate Sally Ann Suarez as             Joscelyn C. Franco-Suarez, Individually as              WD
                                                            01616-JR; 4476           Benjamin Suarez, Deceased;                   of Benjamin Suarez, Deceased;                        Parent/Guardian of Joscelyn C.  Step-Child of Benjamin Suarez, Deceased,
                                                                                                                                                                                       Franco-Suarez                   and previously included as minor child of
                                                                                                                                                                                                                       Sally Ann Suarez;


                                                                                                                                         5
                                                                Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 6 of 88




                                                                                                                                                                                                                                                                               Nature of Claim
Number
                                    Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
           9/11 Decedent Name      Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                                Complaint                                                                                                                                                             plaintiff in their own right
                                       complaint                                                                                                        9/11 Decedent                                 Minor Child


    86 Benjamin Suarez            Sally Ann Suarez        DKT 26, 29; 1:02-cv-        Sally Ann Suarez, Individually, as Spouse of Sally Ann Suarez as the Representative of the Estate      Sally Ann Suarez as               Jose A. Franco-Suarez, Individually as Step- WD
                                                          01616-JR; 4476              Benjamin Suarez, Deceased;                   of Benjamin Suarez, Deceased;                             Parent/Guardian of Jose A.        Child of Benjamin Suarez, Deceased, and
                                                                                                                                                                                             Franco-Suarez                     previously included as minor child of Sally
                                                                                                                                                                                                                               Ann Suarez;
    87 Benjamin Suarez            Sally Ann Suarez        DKT 26, 29; 1:02-cv-        Sally Ann Suarez, Individually, as Spouse of Sally Ann Suarez as the Representative of the Estate      Sally Ann Suarez as               Angela Suarez, Individually as Child of      WD
                                                          01616-JR; 4476              Benjamin Suarez, Deceased;                   of Benjamin Suarez, Deceased;                             Parent/Guardian of Angela         Benjamin Suarez, Deceased, and previously
                                                                                                                                                                                             Suarez                            included as minor child of Sally Ann Suarez;

    88 Benjamin Suarez            Sally Ann Suarez        DKT 26, 29; 1:02-cv-        Sally Ann Suarez, Individually, as Spouse of Sally Ann Suarez as the Representative of the Estate      Sally Ann Suarez as               Christian B. Suarez, Individually as Child of WD
                                                          01616-JR; 4476              Benjamin Suarez, Deceased;                   of Benjamin Suarez, Deceased;                             Parent/Guardian of Christian B.   Benjamin Suarez, Deceased, and previously
                                                                                                                                                                                             Suarez                            included as minor child of Sally Ann Suarez;

    89 Bennett Lawson Fisher      Susan Huntington        DKT 232; 1:02-cv-01616-     Susan Huntington Fisher, Individually, as      Susan Huntington Fisher as the Personal                                                                                                   WD
                                  Fisher                  JR; AP240                   Spouse of Bennett Lawson Fisher,               Representative of the Estate of Bennett Lawson
                                                                                      Deceased;                                      Fisher, Deceased;
    90 Bernard Curtis Brown, II   Bernard Curtis Brown    DKT HAND FILED (3-10-       Bernard Curtis Brown, Individually, as         Bernard Curtis Brown as the Co-Personal                 Bernard Curtis Brown as           Courtney I. Rominiyi, Individually as Sibling   WD
                                                          2004); 1:03-cv-9849         Parent of Bernard Curtis Brown, II,            Representative of the Estate of Bernard Curtis Brown,   Parent/Guardian of Courtney I.    of Bernard Curtis Brown, Deceased, and
                                                          (RCC); P5006                Deceased;                                      II, Deceased;                                           Rominiyi                          previously included as minor child of
                                                                                                                                                                                                                               Bernard Curtis Brown;
    91 Bernard Curtis Brown, II   Sinita Carter Brown     DKT HAND FILED (3-10-       Sinita Carter Brown, Individually, as Parent   Sinita Carter Brown as the Co-Personal                                                                                                    WD
                                                          2004); 1:03-cv-9849         of Bernard Curtis Brown, II, Deceased;         Representative of the Estate of Bernard Curtis Brown,
                                                          (RCC); P5007                                                               II, Deceased;
    92 Bernard Favuzza            Linda Ann Favuzza       DKT 232; 1:02-cv-01616-     Linda Ann Favuzza, Individually, as Spouse     Linda Ann Favuzza as the Personal Representative of                                                                                       WD
                                                          JR; P4058                   of Bernard Favuzza, Deceased;                  the Estate of Bernard Favuzza, Deceased;

    93 Bernard Pietronico         Jacqueline Pietronico   DKT 155; 1:02-cv-01616-     Jacqueline Pietronico, Individually, as        Jacqueline Pietronico as the Representative of the      Jacqueline Pietronico as          Alexis Pietronico, Individually as Child of    WD
                                                          JR; P3066                   Spouse of Bernard Pietronico, Deceased;        Estate of Bernard Pietronico, Deceased;                 Parent/Guardian of Alexis         Bernard Pietronico, Deceased, and
                                                                                                                                                                                             Pietronico                        previously included as minor child of
                                                                                                                                                                                                                               Jacqueline Pietronico;
    94 Bernard Pietronico         Jacqueline Pietronico   DKT 155; 1:02-cv-01616-     Jacqueline Pietronico, Individually, as        Jacqueline Pietronico as the Representative of the      Jacqueline Pietronico as          Joseph B. Pietronico, Individually as Child of WD
                                                          JR; P3066                   Spouse of Bernard Pietronico, Deceased;        Estate of Bernard Pietronico, Deceased;                 Parent/Guardian of Joseph B.      Bernard Pietronico, Deceased, and
                                                                                                                                                                                             Pietronico                        previously included as minor child of
                                                                                                                                                                                                                               Jacqueline Pietronico;
    95 Beth Ann Quigley           John Eugene Quigley     DKT 232; 1:02-cv-01616-     John Eugene Quigley, Individually, as         John Eugene Quigley as the Representative of the                                                                                          WD
                                                          JR; P3915                   Parent of Beth Ann Quigley, Deceased;         Estate of Beth Ann Quigley, Deceased;
    96 Betsy Martinez             Luis Gaston             DKT 155; 1:02-cv-01616-     Luis Gaston, Individually, as Parent of Betsy Luis Gaston as the Representative of the Estate of                                                                                         WD
                                                          JR; P3023                   Martinez, Deceased;                           Betsy Martinez, Deceased;
    97 Bradley Hodges Vadas       Donald Joseph Vadas     DKT 232; 1:02-cv-01616-     Donald Joseph Vadas, Individually, as         Donald Joseph Vadas as the Personal Representative                                                                                         WD
                                                          JR; P3989                   Parent of Bradley Hodges Vadas, Deceased; of the Estate of Bradley Hodges Vadas, Deceased;

    98 Bradley James Fetchet      lse                     DKT 155; 1:02-cv-01616-     Frank James Fetchet, Individually, as Parent Frank James Fetchet as the Personal Representative                                                                                          WD
                                                          JR; AP218                   of Bradley James Fetchet, Deceased;          of the Estate of Bradley James Fetchet, Deceased;

    99 Brandon J. Buchanan        Ronald Bruce Buchanan DKT 232; 1:02-cv-01616-       Ronald Bruce Buchanan, Individually, as        Ronald Bruce Buchanan as the Personal                                                                                                     WD
                                                        JR; P3617                     Parent of Brandon J. Buchanan, Deceased;       Representative of the Estate of Brandon J. Buchanan,
                                                                                                                                     Deceased;
 100 Brandon J. Powell            Harry James Powell      DKT HAND FILED (3-10-       Harry James Powell, Individually, as Parent    Harry James Powell as the Representative of the                                                                                           WD
                                                          2004); 1:03-cv-9849         of Brandon J. Powell, Deceased;                Estate of Brandon J. Powell, Deceased;
                                                          (RCC); P5231
 101 Brenda Colbert Gibson        Joseph Milton Gibson,   DKT 155; 1:02-cv-01616-     Joseph Milton Gibson, III, Individually, as    Joseph Milton Gibson, III as the Personal                                                                                                 WD
                                  III                     JR; P2903                   Spouse of Brenda Colbert Gibson,               Representative of the Estate of Brenda Colbert
                                                                                      Deceased;                                      Gibson, Deceased;
 102 Brendan Mark Lang            Sandra Jean Pangborn DKT 305; 1:02-cv-01616-        Sandra Jean Pangborn, Individually, as         Sandra Jean Pangborn as the Personal                                                                                                      WD
                                                       JR; P4372                      Spouse of Brendan Mark Lang, Deceased;         Representative of the Estate of Brendan Mark Lang,
                                                                                                                                     Deceased;


                                                                                                                                       6
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 7 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
Number
                                Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                    Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                     Plaintiff's Individual Capacity            Caption identifying the estate representative of        or Guardian of Previously
                                                          Complaint                                                                                                                                                             plaintiff in their own right
                                   complaint                                                                                                      9/11 Decedent                                  Minor Child


 103 Brett T. Bailey          Judith A. Bailey      DKT 77; 1:02-cv-01616-      Judith A. Bailey, Individually, as Parent of   Judith A. Bailey as the Personal Representative of the                                                                                   WD
                                                    JR; P2530                   Brett T. Bailey, Deceased;                     Estate of Brett T. Bailey, Deceased;
 104 Brian Bilcher            Tina Marie Bilcher    DKT 77; 1:02-cv-01616-      Tina Marie Bilcher, Individually, as Spouse    Tina Marie Bilcher as the Personal Representative of                                                                                     WD
                                                    JR; P2537                   of Brian Bilcher, Deceased;                    the Estate of Brian Bilcher, Deceased;
 105 Brian D. Sweeney         Julie Sweeney Roth    DKT 155; 1:02-cv-01616-     Julie Sweeney Roth, Individually, as Spouse    Julie Sweeney Roth as the Personal Representative of                                                                                     WD
                                                    JR; P3112                   of Brian D. Sweeney, Deceased;                 the Estate of Brian D. Sweeney, Deceased;

 106 Brian G. McAleese        Dawn Marie McAleese   DKT HAND FILED (3-10-       Dawn Marie McAleese, Individually, as          Dawn Marie McAleese as the Personal Representative Dawn Marie McAleese as                 Aidan James McAleese, Individually as          WD
                                                    2004); 1:03-cv-9849         Spouse of Brian G. McAleese, Deceased;         of the Estate of Brian G. McAleese, Deceased;      Parent/Guardian of Aidan James         Child of Brian G. McAleese, Deceased, and
                                                    (RCC); P5169                                                                                                                  McAleese                               previously included as minor child of Dawn
                                                                                                                                                                                                                         Marie McAleese;
 107 Brian G. McAleese        Dawn Marie McAleese   DKT HAND FILED (3-10-       Dawn Marie McAleese, Individually, as          Dawn Marie McAleese as the Personal Representative Dawn Marie McAleese as                 Brianne Marie McAleese, Individually as        WD
                                                    2004); 1:03-cv-9849         Spouse of Brian G. McAleese, Deceased;         of the Estate of Brian G. McAleese, Deceased;      Parent/Guardian of Brianne             Child of Brian G. McAleese, Deceased, and
                                                    (RCC); P5169                                                                                                                  Marie McAleese                         previously included as minor child of Dawn
                                                                                                                                                                                                                         Marie McAleese;
 108 Brian G. McAleese        Dawn Marie McAleese   DKT HAND FILED (3-10-       Dawn Marie McAleese, Individually, as          Dawn Marie McAleese as the Personal Representative Dawn Marie McAleese as                 Jack Ryan McAleese, Individually as Child      WD
                                                    2004); 1:03-cv-9849         Spouse of Brian G. McAleese, Deceased;         of the Estate of Brian G. McAleese, Deceased;      Parent/Guardian of Jack Ryan           of Brian G. McAleese, Deceased, and
                                                    (RCC); P5169                                                                                                                  McAleese                               previously included as minor child of Dawn
                                                                                                                                                                                                                         Marie McAleese;
 109 Brian G. McAleese        Dawn Marie McAleese   DKT HAND FILED (3-10-       Dawn Marie McAleese, Individually, as          Dawn Marie McAleese as the Personal Representative Dawn Marie McAleese as                 Liam Francis McAleese, Individually as         WD
                                                    2004); 1:03-cv-9849         Spouse of Brian G. McAleese, Deceased;         of the Estate of Brian G. McAleese, Deceased;      Parent/Guardian of Liam Francis        Child of Brian G. McAleese, Deceased, and
                                                    (RCC); P5169                                                                                                                  McAleese                               previously included as minor child of Dawn
                                                                                                                                                                                                                         Marie McAleese;
 110 Brian Grady McDonnell    Margaret McDonnell-   DKT 1; 1:02-cv-01616-JR; Margaret McDonnell-Tiberio, Individually, as Margaret McDonnell-Tiberio as the Personal                    Margaret McDonnell-Tiberio as    Katharine Ann McDonnell, Individually as       WD
                              Tiberio               385                      Spouse of Brian Grady McDonnell,             Representative of the Estate of Brian Grady                   Parent/Guardian of Katharine     Child of Brian Grady McDonnell, Deceased,
                                                                             Deceased;                                    McDonnell, Deceased;                                          Ann McDonnell                    and previously included as minor child of
                                                                                                                                                                                                                         Margaret McDonnell-Tiberio;

 111 Brian Grady McDonnell    Margaret McDonnell-   DKT 1; 1:02-cv-01616-JR; Margaret McDonnell-Tiberio, Individually, as Margaret McDonnell-Tiberio as the Personal                    Margaret McDonnell-Tiberio as    Thomas Walter McDonnell, Individually as       WD
                              Tiberio               385                      Spouse of Brian Grady McDonnell,             Representative of the Estate of Brian Grady                   Parent/Guardian of Thomas        Child of Brian Grady McDonnell, Deceased,
                                                                             Deceased;                                    McDonnell, Deceased;                                          Walter McDonnell                 and previously included as minor child of
                                                                                                                                                                                                                         Margaret McDonnell-Tiberio;

 112 Brian Kevin Kinney       Alison Kinney         DKT 155; 1:02-cv-01616-     Alison Kinney Lewandowski, Individually, as Alison Kinney Lewandowski as the Personal                                                                                                   WD
                              Lewandowski           JR; P2974                   Spouse of Brian Kevin Kinney, Deceased;      Representative of the Estate of Brian Kevin Kinney,
                                                                                                                             Deceased;
 113 Bridget Ann Esposito     Michael Anthony       DKT 155; 1:02-cv-01616-     Michael Anthony Esposito, Individually, as   Michael Anthony Esposito as the Personal                                                                                                   WD
                              Esposito              JR; P2889                   Spouse of Bridget Ann Esposito, Deceased; Representative of the Estate of Bridget Ann Esposito,
                                                                                                                             Deceased;
 114 Caleb Arron Dack         Selena Dack-Forsyth   DKT 26, 29: 1:02-cv-        Selena Dack-Forsyth, Individually, as Parent                                                            Selena Dack-Forsyth as           Carter Alan Dack, Individually as Child of     WD
                                                    01616-JR; 4782              of Caleb Arron Dack, Deceased;                                                                          Parent/Guardian of Carter Alan   Caleb Arron Dack, Deceased, and
                                                                                                                                                                                        Dack                             previously included as minor child of Selena
                                                                                                                                                                                                                         Dack-Forsyth;
 115 Caleb Arron Dack         Selena Dack-Forsyth   DKT 26, 29: 1:02-cv-        Selena Dack-Forsyth, Individually, as Parent                                                            Selena Dack-Forsyth as           Olivia Jane Dack, Individually as Child of     WD
                                                    01616-JR; 4782              of Caleb Arron Dack, Deceased;                                                                          Parent/Guardian of Olivia Jane   Caleb Arron Dack, Deceased, and
                                                                                                                                                                                        Dack                             previously included as minor child of Selena
                                                                                                                                                                                                                         Dack-Forsyth;
 116 Calixto Anaya, Jr.       Marie Laure Anaya     DKT 232; 1:02-cv-01616-     Marie Laure Anaya, Individually, as Spouse     Marie Laure Anaya as the Personal Representative of      Marie Laure Anaya as             Brandon Michael Anaya, Individually as         WD
                                                    JR; P3579                   of Calixto Anaya, Jr., Deceased;               the Estate of Calixto Anaya, Jr., Deceased;              Parent/Guardian of Brandon       Child of Calixto Anaya, Jr., Deceased, and
                                                                                                                                                                                        Michael Anaya                    previously included as minor child of Marie
                                                                                                                                                                                                                         Laure Anaya;
 117 Calixto Anaya, Jr.       Marie Laure Anaya     DKT 232; 1:02-cv-01616-     Marie Laure Anaya, Individually, as Spouse     Marie Laure Anaya as the Personal Representative of      Marie Laure Anaya as             Rebecca Rose Anaya, Individually as Child      WD
                                                    JR; P3579                   of Calixto Anaya, Jr., Deceased;               the Estate of Calixto Anaya, Jr., Deceased;              Parent/Guardian of Rebecca       of Calixto Anaya, Jr., Deceased, and
                                                                                                                                                                                        Rose Anaya                       previously included as minor child of Marie
                                                                                                                                                                                                                         Laure Anaya;


                                                                                                                                 7
                                                               Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 8 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
Number
                                  Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                         Plaintiff's Individual Capacity          Caption identifying the estate representative of       or Guardian of Previously
                                                               Complaint                                                                                                                                                            plaintiff in their own right
                                     complaint                                                                                                        9/11 Decedent                                 Minor Child


 118 Calixto Anaya, Jr.         Marie Laure Anaya        DKT 232; 1:02-cv-01616-     Marie Laure Anaya, Individually, as Spouse    Marie Laure Anaya as the Personal Representative of     Marie Laure Anaya as              Kristina-Marie Anaya, Individually as Child of WD
                                                         JR; P3579                   of Calixto Anaya, Jr., Deceased;              the Estate of Calixto Anaya, Jr., Deceased;             Parent/Guardian of Kristina-Marie Calixto Anaya, Jr., Deceased, and
                                                                                                                                                                                           Anaya                             previously included as minor child of Marie
                                                                                                                                                                                                                             Laure Anaya;
 119 Candace Lee Williams       Sherri A. Williams       DKT 155; 1:02-cv-01616-     Sherri A. Williams, Individually, as Parent of Sherri A. Williams as the Personal Representative of                                                                                    WD
                                                         JR; P3158                   Candace Lee Williams, Deceased;                the Estate of Candace Lee Williams, Deceased;

 120 Canfield D. Boone          Linda Kay Boone          DKT 155; 1:02-cv-01616-JR;Linda
                                                                                    P2829Kay Boone, Individually, as Spouse of Linda Kay Boone as the Representative of the Estate                                                                                          WD
                                                                                   Canfield D. Boone, Deceased;                of Canfield D. Boone, Deceased;
 121 Carl A. DiFranco           Carole May DiFranco      DKT 3; 1:02-cv-01616-JR; Carole May DiFranco, Individually, as Parent Carole May DiFranco as the Personal Representative                                                                                           WD
                                                         1064                      of Carl A. DiFranco, Deceased;              of the Estate of Carl A. DiFranco, Deceased;

 122 Carl Allen Peralta         Cielita Barber Peralta   DKT 232; 1:02-cv-01616-     Cielita Barber Peralta, Individually, as      Cielita Barber Peralta as the Representative of the                                                                                      WD
                                                         JR; P3894                   Parent of Carl Allen Peralta, Deceased;       Estate of Carl Allen Peralta, Deceased;
 123 Carl Eugene Molinaro       Donna Molinaro           DKT 1; 1:02-cv-01616-JR;    Donna Molinaro, Individually, as Spouse of    Donna Molinaro as the Personal Representative of the Donna Molinaro as             Carl E. Molinaro, Individually as Child of   WD
                                                         897 (DOE 41)                Carl Eugene Molinaro, Deceased;               Estate of Carl Eugene Molinaro, Deceased;            Parent/Guardian of Carl E.    Carl Eugene Molinaro, Deceased, and
                                                                                                                                                                                        Molinaro                      previously included as minor child of Donna
                                                                                                                                                                                                                      Molinaro;
 124 Carl Eugene Molinaro       Donna Molinaro           DKT 1; 1:02-cv-01616-JR; Donna Molinaro, Individually, as Spouse of Donna Molinaro as the Personal Representative of the Donna Molinaro as                   Sabrina Rose Molinaro, Individually as Child WD
                                                         897 (DOE 41)             Carl Eugene Molinaro, Deceased;               Estate of Carl Eugene Molinaro, Deceased;             Parent/Guardian of Sabrina Rose of Carl Eugene Molinaro, Deceased, and
                                                                                                                                                                                      Molinaro                        previously included as minor child of Donna
                                                                                                                                                                                                                      Molinaro;
 125 Carlos Munoz               Maritza Arzayus          DKT 3; 1:02-cv-01616-JR; Maritza Arzayus, Individually, as Spouse of Maritza Arzayus as the Personal Representative of the                                                                                WD
                                                         1484                     Carlos Munoz, Deceased;                       Estate of Carlos Munoz, Deceased;
 126 Carlos R. Lillo            Haydee C. Lillo          DKT 313; 1:02-cv-01616- Haydee C. Lillo, Individually, as Spouse of    Haydee C. Lillo as the Personal Representative of the                                                                              WD
                                                         JR; P4688                Carlos R. Lillo, Deceased;                    Estate of Carlos R. Lillo, Deceased;
 127 Catherine C. Gorayeb       Claire A. Gorayeb        DKT 232; 1:02-cv-01616- Claire A. Gorayeb, Individually, as Sibling of Claire A. Gorayeb as the Personal Representative of   Claire A. Gorayeb as            Katharine Grace Gorayeb, Individually as     WD
                                                         JR; P3702                Catherine C. Gorayeb, Deceased;               the Estate of Catherine C. Gorayeb, Deceased;         Parent/Guardian of Katharine    Child of Catherine C. Gorayeb, Deceased,
                                                                                                                                                                                      Grace Gorayeb                   and previously included as minor child of
                                                                                                                                                                                                                      Claire A. Gorayeb;
 128 Catherine Ellen Chirls     David S. Chirls          DKT 77; 1:02-cv-01616-   David S. Chirls, Individually, as Spouse of   David S. Chirls as the Personal Representative of the                                                                              WD
                                                         JR; P2563                Catherine Ellen Chirls, Deceased;             Estate of Catherine Ellen Chirls, Deceased;
 129 Catherine Lisa LoGuidice   Carmelo Loguidice        DKT 232; 1:02-cv-01616- Carmelo Loguidice, Individually, as Parent     Carmelo Loguidice as the Co-Personal Representative                                                                                WD
                                                         JR; P3792                of Catherine Lisa LoGuidice, Deceased;        of the Estate of Catherine Lisa LoGuidice, Deceased;

 130 Catherine Lisa LoGuidice   Catherine Masak          DKT 232; 1:02-cv-01616-     Catherine Masak, Individually, as Parent of   Catherine Masak as the Co-Personal Representative                                                                                        WD
                                                         JR; P3793                   Catherine Lisa LoGuidice, Deceased;           of the Estate of Catherine Lisa LoGuidice, Deceased;

 131 Cecile Marella Caguicla    Natividad Marella Cruz   DKT 232; 1:02-cv-01616-     Natividad Marella Cruz, Individually, as      Natividad Marella Cruz as the Personal Representative                                                                                    WD
                                                         JR; AP228                   Sibling of Cecile Marella Caguicla,           of the Estate of Cecile Marella Caguicla, Deceased;
                                                                                     Deceased;
 132 CeeCee Louise Lyles        Lorne Von Lyles          DKT 26, 29; 1:02-cv-        Lorne Von Lyles, Individually, as Spouse of                                                           Lorne Von Lyles as                Lorne Von Lyles, on behalf of J.C., Child of   WD
                                                         01616-JR; 2145              CeeCee Louise Lyles, Deceased;                                                                        Parent/Guardian of J.C.           CeeCee Louise Lyles, Deceased;

 133 CeeCee Louise Lyles        Lorne Von Lyles          DKT 26, 29; 1:02-cv-        Lorne Von Lyles, Individually, as Spouse of                                                           Lorne Von Lyles as                Jordan Anthony Lyles, Individually as Step-    WD
                                                         01616-JR; 2145              CeeCee Louise Lyles, Deceased;                                                                        Parent/Guardian of Jordan         Child of CeeCee Louise Lyles, Deceased,
                                                                                                                                                                                           Anthony Lyles                     and previously included as minor child of
                                                                                                                                                                                                                             Lorne Von Lyles;
 134 CeeCee Louise Lyles        Lorne Von Lyles          DKT 26, 29; 1:02-cv-        Lorne Von Lyles, Individually, as Spouse of                                                           Lorne Von Lyles as                Justin Andrew Lyles, Individually as Step-     WD
                                                         01616-JR; 2145              CeeCee Louise Lyles, Deceased;                                                                        Parent/Guardian of Justin         Child of CeeCee Louise Lyles, Deceased,
                                                                                                                                                                                           Andrew Lyles                      and previously included as minor child of
                                                                                                                                                                                                                             Lorne Von Lyles;
 135 CeeCee Louise Lyles        Lorne Von Lyles          DKT 26, 29; 1:02-cv-        Lorne Von Lyles, Individually, as Spouse of                                                           Lorne Von Lyles as                Lorne Von Lyles, on behalf of J.S., Child of   WD
                                                         01616-JR; 2145              CeeCee Louise Lyles, Deceased;                                                                        Parent/Guardian of J.S.           CeeCee Louise Lyles, Deceased;



                                                                                                                                     8
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 9 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
Number
                                   Plaintiff's Name                                                                                Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                           Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                       Plaintiff's Individual Capacity         Caption identifying the estate representative of      or Guardian of Previously
                                                              Complaint                                                                                                                                                          plaintiff in their own right
                                      complaint                                                                                                     9/11 Decedent                                Minor Child


 136 Charles Edward Jones        Mary J. Jones        DKT 155; 1:02-cv-01616-       Mary J. Jones, Individually, as Spouse of    Mary J. Jones as the Personal Representative of the                                                                                      WD
                                                      JR; P2962                     Charles Edward Jones, Deceased;              Estate of Charles Edward Jones, Deceased;
 137 Charles F.X. Heeran         Bernard James Heeran DKT 432; 1:02-cv-01616-       Bernard James Heeran, Individually, as       Bernard James Heeran as the Personal                                                                                                     WD
                                                      JR; P4864                     Parent of Charles F.X. Heeran, Deceased;     Representative of the Estate of Charles F.X. Heeran,
                                                                                                                                 Deceased;
 138 Charles Joseph Margiotta    Norma I. Margiotta    DKT 1; 1:02-cv-01616-JR; Norma I. Margiotta, Individually, as Spouse      Norma I. Margiotta as the Personal Representative of   Norma I. Margiotta as             Norma Jean Adams, Individually as Child of WD
                                                       363                      of Charles Joseph Margiotta, Deceased;           the Estate of Charles Joseph Margiotta, Deceased;      Parent/Guardian of Norma Jean     Charles Joseph Margiotta, Deceased, and
                                                                                                                                                                                        Adams                             previously included as minor child of Norma
                                                                                                                                                                                                                          I. Margiotta;
 139 Charles Joseph Margiotta    Norma I. Margiotta    DKT 1; 1:02-cv-01616-JR; Norma I. Margiotta, Individually, as Spouse      Norma I. Margiotta as the Personal Representative of   Norma I. Margiotta as             Charles Vito Margiotta, II, Individually as WD
                                                       363                      of Charles Joseph Margiotta, Deceased;           the Estate of Charles Joseph Margiotta, Deceased;      Parent/Guardian of Charles Vito   Child of Charles Joseph Margiotta,
                                                                                                                                                                                        Margiotta, II                     Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Norma I. Margiotta;
 140 Charles Kasper              Laureen Kasper        DKT HAND FILED (3-10-        Laureen Kasper, Individually, as Spouse of   Laureen Kasper as the Personal Representative of the                                                                                 WD
                                                       2004); 1:03-cv-9849          Charles Kasper, Deceased;                    Estate of Charles Kasper, Deceased;
                                                       (RCC); P5108
 141 Charles L. Chan             Julia A. Chan         DKT 26, 29; 1:02-cv-         Julia A. Chan, Individually, as Parent of                                                           Julia A. Chan as                  Michael J. Chan, Individually as Sibling of     WD
                                                       01616-JR; 2829               Charles L. Chan, Deceased;                                                                          Parent/Guardian of Michael J.     Charles L. Chan, Deceased, and previously
                                                                                                                                                                                        Chan                              included as minor child of Julia A. Chan;

 142 Charles Mendez              Kerri Ann Mendez      DKT 26, 29; 1:02-cv-         Kerri Ann Mendez, Individually, as Spouse    Kerri Ann Mendez as the Personal Representative of                                                                                       WD
                                                       01616-JR; 3884               of Charles Mendez , Deceased;                the Estate of Charles Mendez , Deceased;
 143 Charles Waters              Barbara Waters        DKT 155; 1:02-cv-01616-      Barbara Waters, Individually, as Spouse of   Barbara Waters as the Personal Representative of the Barbara Waters as                   Jaclyn Irene Sforza, Individually as Child of   WD
                                                       JR; P3146                    Charles Waters, Deceased;                    Estate of Charles Waters, Deceased;                  Parent/Guardian of Jaclyn Irene     Charles Waters, Deceased, and previously
                                                                                                                                                                                      Sforza                              included as minor child of Barbara Waters;

 144 Charles Waters              Barbara Waters        DKT 155; 1:02-cv-01616-      Barbara Waters, Individually, as Spouse of   Barbara Waters as the Personal Representative of the Barbara Waters as                   Allison Marie Waters, Individually as Child of WD
                                                       JR; P3146                    Charles Waters, Deceased;                    Estate of Charles Waters, Deceased;                  Parent/Guardian of Allison Marie    Charles Waters, Deceased, and previously
                                                                                                                                                                                      Waters                              included as minor child of Barbara Waters;

 145 Charles Waters              Barbara Waters        DKT 155; 1:02-cv-01616-      Barbara Waters, Individually, as Spouse of   Barbara Waters as the Personal Representative of the Barbara Waters as                   Charles Edward Waters, Individually as        WD
                                                       JR; P3146                    Charles Waters, Deceased;                    Estate of Charles Waters, Deceased;                  Parent/Guardian of Charles          Child of Charles Waters, Deceased, and
                                                                                                                                                                                      Edward Waters                       previously included as minor child of
                                                                                                                                                                                                                          Barbara Waters;
 146 Charles William Garbarini   Andrea DeGeorge       DKT 232; 1:02-cv-01616-      Andrea DeGeorge Garbarini, Individually, as Andrea DeGeorge Garbarini as the Personal               Andrea DeGeorge Garbarini as      Dylan P. Garbarini, Individually as Child of  WD
                                 Garbarini             JR; P3698                    Spouse of Charles William Garbarini,        Representative of the Estate of Charles William         Parent/Guardian of Dylan P.       Charles William Garbarini, Deceased, and
                                                                                    Deceased;                                   Garbarini, Deceased;                                    Garbarini                         previously included as minor child of Andrea
                                                                                                                                                                                                                          DeGeorge Garbarini;
 147 Charles William Garbarini   Andrea DeGeorge       DKT 232; 1:02-cv-01616-      Andrea DeGeorge Garbarini, Individually, as Andrea DeGeorge Garbarini as the Personal               Andrea DeGeorge Garbarini as      Philip C. Garbarini, Individually as Child of WD
                                 Garbarini             JR; P3698                    Spouse of Charles William Garbarini,        Representative of the Estate of Charles William         Parent/Guardian of Philip C.      Charles William Garbarini, Deceased, and
                                                                                    Deceased;                                   Garbarini, Deceased;                                    Garbarini                         previously included as minor child of Andrea
                                                                                                                                                                                                                          DeGeorge Garbarini;
 148 Cheryl Ann Monyak           Michael Joseph Monyak DKT 432; 1:02-cv-01616-      Michael Joseph Monyak, Individually, as      Michael Joseph Monyak as the Personal                                                                                                  WD
                                                       JR; P4893                    Sibling of Cheryl Ann Monyak, Deceased;      Representative of the Estate of Cheryl Ann Monyak,
                                                                                                                                 Deceased;
 149 Chih Min Foo                Mary Lou Lee          DKT 305; 1:02-cv-01616-      Mary Lou Lee, Individually, as Spouse of     Mary Lou Lee as the Personal Representative of the                                                                                       WD
                                                       JR; P4276                    Chih Min Foo, Deceased;                      Estate of Chih Min Foo, Deceased;
 150 Chow Kwan Lam               Amy Zhang Lam         DKT 232; 1:02-cv-01616-      Amy Zhang Lam, Individually, as Spouse of    Amy Zhang Lam as the Personal Representative of the Amy Zhang Lam as                     Alexander Zhang Lam, Individually as Child      WD
                                                       JR; P3763                    Chow Kwan Lam, Deceased;                     Estate of Chow Kwan Lam, Deceased;                  Parent/Guardian of Alexander         of Chow Kwan Lam, Deceased, and
                                                                                                                                                                                     Zhang Lam                            previously included as minor child of Amy
                                                                                                                                                                                                                          Zhang Lam;
 151 Chow Kwan Lam               Amy Zhang Lam         DKT 232; 1:02-cv-01616-      Amy Zhang Lam, Individually, as Spouse of    Amy Zhang Lam as the Personal Representative of the Amy Zhang Lam as                     Benjamin Zhang Lam, Individually as Child       WD
                                                       JR; P3763                    Chow Kwan Lam, Deceased;                     Estate of Chow Kwan Lam, Deceased;                  Parent/Guardian of Benjamin          of Chow Kwan Lam, Deceased, and
                                                                                                                                                                                     Zhang Lam                            previously included as minor child of Amy
                                                                                                                                                                                                                          Zhang Lam;


                                                                                                                                   9
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 10 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
Number
                                   Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                          Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                        Plaintiff's Individual Capacity          Caption identifying the estate representative of       or Guardian of Previously
                                                               Complaint                                                                                                                                                         plaintiff in their own right
                                      complaint                                                                                                       9/11 Decedent                                 Minor Child


 152 Chris M. Kirby              James Michael Kirby, Jr. DKT 232; 1:02-cv-01616-    James Michael Kirby, Jr., Individually, as    James Michael Kirby, Jr. as the Personal                                                                                              WD
                                                          JR; P3751                  Parent of Chris M. Kirby, Deceased;           Representative of the Estate of Chris M. Kirby,
                                                                                                                                   Deceased;
 153 Christian H. Maltby         Jane Bernholz Maltby    DKT 3; 1:02-cv-01616-JR; Jane Bernholz Maltby, Individually, as                                                                   Jane Bernholz Maltby as         Morgan Durham Maltby, Individually as       WD
                                                         1826                     Spouse of Christian H. Maltby, Deceased;                                                                 Parent/Guardian of Morgan       Child of Christian H. Maltby, Deceased, and
                                                                                                                                                                                           Durham Maltby                   previously included as minor child of Jane
                                                                                                                                                                                                                           Bernholz Maltby;
 154 Christian H. Maltby         Jane Bernholz Maltby    DKT 3; 1:02-cv-01616-JR; Jane Bernholz Maltby, Individually, as                                                                   Jane Bernholz Maltby as         Max Walker Maltby, Individually as Child of WD
                                                         1826                     Spouse of Christian H. Maltby, Deceased;                                                                 Parent/Guardian of Max Walker   Christian H. Maltby, Deceased, and
                                                                                                                                                                                           Maltby                          previously included as minor child of Jane
                                                                                                                                                                                                                           Bernholz Maltby;
 155 Christian H. Maltby         Jane Bernholz Maltby    DKT 3; 1:02-cv-01616-JR; Jane Bernholz Maltby, Individually, as                                                                   Jane Bernholz Maltby as         Samuel Kesner Maltby, Individually as Child WD
                                                         1826                     Spouse of Christian H. Maltby, Deceased;                                                                 Parent/Guardian of Samuel       of Christian H. Maltby, Deceased, and
                                                                                                                                                                                           Kesner Maltby                   previously included as minor child of Jane
                                                                                                                                                                                                                           Bernholz Maltby;
 156 Christine Ann Snyder        Charles O'Neal Snyder   DKT 432; 1:02-cv-01616-     Charles O'Neal Snyder, Individually, as       Charles O'Neal Snyder as the Representative of the                                                                                  WD
                                                         JR; P4954                   Parent of Christine Ann Snyder, Deceased;     Estate of Christine Ann Snyder, Deceased;

 157 Christine Egan              Ellen Ruth Judd         DKT 305; 1:02-cv-01616-     Ellen Ruth Judd, Individually, as Domestic    Ellen Ruth Judd as the Personal Representative of the                                                                                 WD
                                                         JR; AP250 (DOE 122)         Partner of Christine Egan, Deceased;          Estate of Christine Egan, Deceased;

 158 Christine Lee Hanson        C. Lee Hanson           DKT 432; 1:02-cv-01616-     C. Lee Hanson, Individually, as Grandparent C. Lee Hanson as the Representative of the Estate of                                                                                    WD
                                                         JR; P4859, P4860            of Christine Lee Hanson, Deceased;          Christine Lee Hanson, Deceased;

 159 Christine Olender           Stella Olender          DKT 305; 1:02-cv-01616-     Stella Olender, Individually, as Parent of    Stella Olender as the Representative of the Estate of                                                                                 WD
                                                         JR; P4457                   Christine Olender, Deceased;                  Christine Olender, Deceased;
 160 Christine Sheila McNulty    William Jorn Skead      DKT 305; 1:02-cv-01616-     William Jorn Skead, Individually, as Spouse   William Jorn Skead as the Personal Representative of    William Jorn Skead as           William Jorn Skead on behalf of T.B.M.S.,    WD
                                                         JR; P4425                   of Christine Sheila McNulty, Deceased;        the Estate of Christine Sheila McNulty, Deceased;       Parent/Guardian of T.B.M.S.     Child of Christine Sheila McNulty, Deceased;

 161 Christoffer Mikael          Mikael Christoffer      DKT 305; 1:02-cv-01616-  Mikael Christoffer Carstanjen, Individually, Mikael Christoffer Carstanjen as the Personal                                                                                             WD
     Carstanjen                  Carstanjen              JR; P4160                as Parent of Christoffer Mikael Carstanjen,  Representative of the Estate of Christoffer Mikael
                                                                                  Deceased;                                    Carstanjen, Deceased;
 162 Christopher A. Santora      Alexander William       DKT 1; 1:02-cv-01616-JR; Alexander William Santora, Individually, as Alexander William Santoraas the Personal                                                                                                   WD
                                 Santora                 554                      Parent of Christopher A. Santora, Deceased; Representative of the Estate of Christopher A.
                                                                                                                               Santora, Deceased;
 163 Christopher Anthony Peter   Frank Vincent           DKT 232; 1:02-cv-01616- Frank Vincent Racaniello, Individually, as    Frank Vincent Racaniello as the Representative of the                                                                                     WD
     Racaniello                  Racaniello              JR; P3917                Parent of Christopher Anthony Peter          Estate of Christopher Anthony Peter Racaniello,
                                                                                  Racaniello, Deceased;                        Deceased;
 164 Christopher Blackwell       Jane Elizabeth          DKT HAND FILED (3-10- Jane Elizabeth Blackwell, Individually, as      Jane Elizabeth Blackwell as the Representative of the       Jane Elizabeth Blackwell as     Samantha Lee Blackwell, Individually as       WD
                                 Blackwell               2004); 1:03-cv-9849      Spouse of Christopher Blackwell, Deceased; Estate of Christopher Blackwell, Deceased;                    Parent/Guardian of Samantha     Child of Christopher Blackwell, Deceased,
                                                         (RCC); P5000                                                                                                                      Lee Blackwell                   and previously included as minor child of
                                                                                                                                                                                                                           Jane Elizabeth Blackwell;
 165 Christopher Blackwell       Jane Elizabeth          DKT HAND FILED (3-10-       Jane Elizabeth Blackwell, Individually, as Jane Elizabeth Blackwell as the Representative of the      Jane Elizabeth Blackwell as     Alexandra Ann Blackwell, Individually as      WD
                                 Blackwell               2004); 1:03-cv-9849         Spouse of Christopher Blackwell, Deceased; Estate of Christopher Blackwell, Deceased;                 Parent/Guardian of Alexandra    Child of Christopher Blackwell, Deceased,
                                                         (RCC); P5000                                                                                                                      Ann Blackwell                   and previously included as minor child of
                                                                                                                                                                                                                           Jane Elizabeth Blackwell;
 166 Christopher Blackwell       Jane Elizabeth          DKT HAND FILED (3-10-       Jane Elizabeth Blackwell, Individually, as Jane Elizabeth Blackwell as the Representative of the      Jane Elizabeth Blackwell as     Ryan Christopher Blackwell, Individually as   WD
                                 Blackwell               2004); 1:03-cv-9849         Spouse of Christopher Blackwell, Deceased; Estate of Christopher Blackwell, Deceased;                 Parent/Guardian of Ryan         Child of Christopher Blackwell, Deceased,
                                                         (RCC); P5000                                                                                                                      Christopher Blackwell           and previously included as minor child of
                                                                                                                                                                                                                           Jane Elizabeth Blackwell;
 167 Christopher Colasanti       Kelly Ann Colasanti     DKT 232; 1:02-cv-01616-     Kelly Ann Colasanti, Individually, as Spouse Kelly Ann Colasanti as the Personal Representative of                                                                                  WD
                                                         JR; P4050                   of Christopher Colasanti, Deceased;          the Estate of Christopher Colasanti, Deceased;

 168 Christopher Edmund Lunder Karen B. Lunder           DKT 232; 1:02-cv-01616-     Karen B. Lunder, Individually, as Spouse of   Karen B. Lunder as the Personal Representative of the                                                                                 WD
                                                         JR; P3797                   Christopher Edmund Lunder, Deceased;          Estate of Christopher Edmund Lunder, Deceased;


                                                                                                                                    10
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 11 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
Number
                                   Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                               Complaint                                                                                                                                                            plaintiff in their own right
                                      complaint                                                                                                        9/11 Decedent                                 Minor Child


 169 Christopher Edward          Donna Mary Allingham    DKT 232; 1:02-cv-01616-     Donna Mary Allingham, Individually, as         Donna Mary Allingham as the Personal Representative Donna Mary Allingham as              Christopher T. Allingham, Individually as       WD
     Allingham                                           JR; P3578                   Spouse of Christopher Edward Allingham,        of the Estate of Christopher Edward Allingham,      Parent/Guardian of Christopher       Child of Christopher Edward Allingham,
                                                                                     Deceased;                                      Deceased;                                           T. Allingham                         Deceased, and previously included as minor
                                                                                                                                                                                                                             child of Donna Mary Allingham;
 170 Christopher Edward          Donna Mary Allingham    DKT 232; 1:02-cv-01616-     Donna Mary Allingham, Individually, as         Donna Mary Allingham as the Personal Representative Donna Mary Allingham as              Kyle P. Allingham, Individually as Child of     WD
     Allingham                                           JR; P3578                   Spouse of Christopher Edward Allingham,        of the Estate of Christopher Edward Allingham,      Parent/Guardian of Kyle P.           Christopher Edward Allingham, Deceased,
                                                                                     Deceased;                                      Deceased;                                           Allingham                            and previously included as minor child of
                                                                                                                                                                                                                             Donna Mary Allingham;
 171 Christopher Hugh Forsythe   Tessie Molina           DKT 3; 1:02-cv-01616-JR; Tessie Molina, Individually, as Spouse of                                                                Tessie Molina as                  Jose Molina, Individually as Step-Child of      WD
                                                         1126                     Christopher Hugh Forsythe, Deceased;                                                                     Parent/Guardian of Jose Molina    Christopher Hugh Forsythe, Deceased, and
                                                                                                                                                                                                                             previously included as minor child of Tessie
                                                                                                                                                                                                                             Molina;
 172 Christopher Hugh Forsythe   Tessie Molina (step-    DKT 3; 1:02-cv-01616-JR; Tessie Molina (step-parent), Individually, as                                                            Tessie Molina (step-parent) as    Kirsten E. Forsythe, Individually as Child of   WD
                                 parent)                 1126                     Spouse of Christopher Hugh Forsythe,                                                                     Parent/Guardian of Kirsten E.     Christopher Hugh Forsythe, Deceased, and
                                                                                  Deceased;                                                                                                Forsythe                          previously included as minor child of Tessie
                                                                                                                                                                                                                             Molina, step-parent;

 173 Christopher Jones           Susan Jones           DKT 232; 1:02-cv-01616-       Susan Jones, Individually, as Spouse of        Susan Jones as the Personal Representative of the                                                                                        WD
                                                       JR; P4066                     Christopher Jones, Deceased;                   Estate of Christopher Jones, Deceased;
 174 Christopher Michael Grady   Kelly Ann Green-Grady DKT 26, 29; 1:02-cv-          Kelly Ann Green-Grady, Individually, as                                                               Kelly Ann Green-Grady as          Dylan Michael Grady, Individually as Child of WD
                                                       01616-JR; 2475                Spouse of Christopher Michael Grady,                                                                  Parent/Guardian of Dylan          Christopher Michael Grady, Deceased, and
                                                                                     Deceased;                                                                                             Michael Grady                     previously included as minor child of Kelly
                                                                                                                                                                                                                             Ann Green-Grady;
 175 Christopher Michael Grady   Kelly Ann Green-Grady DKT 26, 29; 1:02-cv-          Kelly Ann Green-Grady, Individually, as                                                               Kelly Ann Green-Grady as          Kayla Patricia Grady, Individually as Child of WD
                                                       01616-JR; 2475                Spouse of Christopher Michael Grady,                                                                  Parent/Guardian of Kayla Patricia Christopher Michael Grady, Deceased, and
                                                                                     Deceased;                                                                                             Grady                             previously included as minor child of Kelly
                                                                                                                                                                                                                             Ann Green-Grady;
 176 Christopher Michael         Michael Mozzillo        DKT 26, 29; 1:02-cv-        Michael Mozzillo, Individually, as Parent of   Michael Mozzillo as the Personal Representative of the                                                                                  WD
     Mozzillo                                            01616-JR; 2204              Christopher Michael Mozzillo, Deceased;        Estate of Christopher Michael Mozzillo, Deceased;

 177 Christopher R. Larrabee     Stephen Randall         DKT 232; 1:02-cv-01616-     Stephen Randall Larrabee, Individually, as     Stephen Randall Larrabee as the Personal                                                                                                 WD
                                 Larrabee                JR; P3769                   Parent of Christopher R. Larrabee,             Representative of the Estate of Christopher R.
                                                                                     Deceased;                                      Larrabee, Deceased;
 178 Christopher Rudolph         Sheila Ann Zarba-       DKT HAND FILED (3-10-       Sheila Ann Zarba-Campbell, Individually, as    Sheila Ann Zarba-Campbell as the Personal              Sheila Ann Zarba-Campbell as      Christopher James Zarba, Individually as   WD
     Zarba, Jr.                  Campbell                2004); 1:03-cv-9849         Spouse of Christopher Rudolph Zarba, Jr.,      Representative of the Estate of Christopher Rudolph    Parent/Guardian of Christopher    Child of Christopher Rudolph Zarba, Jr.,
                                                         (RCC); P5309                Deceased;                                      Zarba, Jr., Deceased;                                  James Zarba                       Deceased, and previously included as minor
                                                                                                                                                                                                                             child of Sheila Ann Zarba-Campbell;

 179 Christopher S. Gardner      Susan L. Gardner        DKT 232; 1:02-cv-01616-     Susan L. Gardner, Individually, as Spouse      Susan L. Gardner as the Representative of the Estate   Susan L. Gardner as               Susan L. Gardner on behalf of A.H.G., Child WD
                                                         JR; P3699                   of Christopher S. Gardner, Deceased;           of Christopher S. Gardner, Deceased;                   Parent/Guardian of A.H.G.         of Christopher S. Gardner, Deceased;

 180 Christopher S. Gardner      Susan L. Gardner        DKT 232; 1:02-cv-01616-     Susan L. Gardner, Individually, as Spouse      Susan L. Gardner as the Representative of the Estate   Susan L. Gardner as               Susan L. Gardner on behalf of C.L.G., Child WD
                                                         JR; P3699                   of Christopher S. Gardner, Deceased;           of Christopher S. Gardner, Deceased;                   Parent/Guardian of C.L.G.         of Christopher S. Gardner, Deceased;

 181 Christopher Sean Caton      Alison Gail Henderson   DKT HAND FILED (3-10-       Alison Gail Henderson, Individually, as        Alison Gail Henderson as the Personal Representative                                                                                     WD
                                                         2004); 1:03-cv-9849         Sibling of Christopher Sean Caton,             of the Estate of Christopher Sean Caton, Deceased;
                                                         (RCC); P5018                Deceased;
 182 Christopher Seton Cramer    Susan Lynne Kinney      DKT 3; 1:02-cv-01616-JR;    Susan Lynne Kinney, Individually, as Sibling   Susan Lynne Kinney as the Personal Representative                                                                                        WD
                                                         1032                        of Christopher Seton Cramer, Deceased;         of the Estate of Christopher Seton Cramer, Deceased;

 183 Christopher Stewart Gray    James Stewart Gray      DKT 232; 1:02-cv-01616-     James Stewart Gray, Individually, as Parent    James Stewart Gray as the Representative of the                                                                                          WD
                                                         JR; P4063                   of Christopher Stewart Gray, Deceased;         Estate of Christopher Stewart Gray, Deceased;




                                                                                                                                     11
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 12 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
Number
                                    Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name        Currently named in                                      Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                              Complaint                                                                                                                                                            plaintiff in their own right
                                       complaint                                                                                                       9/11 Decedent                                 Minor Child


 184 Christopher T. Orgielewicz   Olga Orgielewicz      DKT 26, 29; 1:02-cv-        Olga Orgielewicz, Individually, as Spouse of                                                            Olga Orgielewicz as            Katherine Chris Orgielewicz, Individually as WD
                                                        01616-JR; 2241              Christopher T. Orgielewicz, Deceased;                                                                   Parent/Guardian of Katherine   Child of Christopher T. Orgielewicz,
                                                                                                                                                                                            Chris Orgielewicz              Deceased, and previously included as minor
                                                                                                                                                                                                                           child of Olga Orgielewicz;
 185 Christopher T. Orgielewicz   Olga Orgielewicz      DKT 26, 29; 1:02-cv-        Olga Orgielewicz, Individually, as Spouse of                                                            Olga Orgielewicz as            Ryan Edward Orgielewicz, Individually as     WD
                                                        01616-JR; 2241              Christopher T. Orgielewicz, Deceased;                                                                   Parent/Guardian of Ryan Edward Child of Christopher T. Orgielewicz,
                                                                                                                                                                                            Orgielewicz                    Deceased, and previously included as minor
                                                                                                                                                                                                                           child of Olga Orgielewicz;
 186 Christopher T. Orgielewicz   Olga Orgielewicz      DKT 26, 29; 1:02-cv-        Olga Orgielewicz, Individually, as Spouse of                                                            Olga Orgielewicz as            Thomas George Orgielewicz, Individually as WD
                                                        01616-JR; 2241              Christopher T. Orgielewicz, Deceased;                                                                   Parent/Guardian of Thomas      Child of Christopher T. Orgielewicz,
                                                                                                                                                                                            George Orgielewicz             Deceased, and previously included as minor
                                                                                                                                                                                                                           child of Olga Orgielewicz;
 187 Christopher Todd Pitman      Eric J. Pitman        DKT 432; 1:02-cv-01616-     Eric J. Pitman, Individually, as Parent of      Eric J. Pitman as the Representative of the Estate of                                                                               WD
                                                        JR; P4932                   Christopher Todd Pitman, Deceased;              Christopher Todd Pitman, Deceased;
 188 Christopher Vialonga         Gary J. Vialonga      DKT 232; 1:02-cv-01616-     Gary J. Vialonga, Individually, as Sibling of   Gary J. Vialonga as the Personal Representative of                                                                                   WD
                                                        JR; P3998                   Christopher Vialonga, Deceased;                 the Estate of Christopher Vialonga, Deceased;
 189 Christopher W. Murphy        Catherine             DKT 155; 1:02-cv-01616-     Catherine Goldsborough White Murphy,            Catherine Goldsborough White Murphy as the              Catherine Goldsborough White     Hopewell Murphy, Individually as Child of   WD
                                  Goldsborough White    JR; P3038                   Individually, as Spouse of Christopher W.       Personal Representative of the Estate of Christopher    Murphy as Parent/Guardian of     Christopher W. Murphy, Deceased, and
                                  Murphy                                            Murphy, Deceased;                               W. Murphy, Deceased;                                    Hopewell Murphy                  previously included as minor child of
                                                                                                                                                                                                                             Catherine Goldsborough White Murphy;
 190 Christopher W. Murphy        Catherine             DKT 155; 1:02-cv-01616-     Catherine Goldsborough White Murphy,            Catherine Goldsborough White Murphy as the              Catherine Goldsborough White     Hannah Murphy, Individually as Child of     WD
                                  Goldsborough White    JR; P3038                   Individually, as Spouse of Christopher W.       Personal Representative of the Estate of Christopher    Murphy as Parent/Guardian of     Christopher W. Murphy, Deceased, and
                                  Murphy                                            Murphy, Deceased;                               W. Murphy, Deceased;                                    Hannah Murphy                    previously included as minor child of
                                                                                                                                                                                                                             Catherine Goldsborough White Murphy;
 191 Christy A. Addamo            Gregory Michael       DKT 305; 1:02-cv-01616-     Gregory Michael Addamo, Individually, as    Gregory Michael Addamo as the Co-Personal                                                                                                WD
                                  Addamo                JR; P4103                   Parent of Christy A. Addamo, Deceased;      Representative of the Estate of Christy A. Addamo,
                                                                                                                                Deceased;
 192 Christy A. Addamo            Rita Addamo           DKT 305; 1:02-cv-01616- Rita Addamo, Individually, as Parent of         Rita Addamo as the Co-Personal Representative of                                                                                         WD
                                                        JR; P4104                Christy A. Addamo, Deceased;                   the Estate ofChristy A. Addamo, Deceased;
 193 Cindy Yanzhu Guan            Edwin H. Yuen         DKT 1; 1:02-cv-01616-JR; Edwin H. Yuen, Individually, as Spouse of      Edwin H. Yuen as the Personal Representative of the                                                                                      WD
                                                        265                      Cindy Yanzhu Guan, Deceased;                   Estate of Cindy Yanzhu Guan, Deceased;
 194 Cira Marie Patti             Frances Patti         DKT 1; 1:02-cv-01616-JR; Frances Patti, Individually, as Parent of Cira Frances Patti as the Representative of the Estate of                                                                                     WD
                                                        442                      Marie Patti, Deceased;                         Cira Marie Patti, Deceased;
 195 Claude Daniel Richards       Jim Dale Richards     DKT 155; 1:02-cv-01616- Jim Dale Richards, Individually, as Sibling of Jim Dale Richards as the Personal Representative of                                                                                       WD
                                                        JR; AP213                Claude Daniel Richards, Deceased;              the Estate of Claude Daniel Richards, Deceased;

 196 Claude Michael Gann          Robin Marie Wade      DKT 232; 1:02-cv-01616-     Robin Marie Wade, Individually, as Spouse       Robin Marie Wade as the Personal Representative of      Robin Marie Wade as              Robin Marie Wade as Step-Parent of          WD
                                                        JR; AP246                   of Claude Michael Gann, Deceased;               the Estate of Claude Michael Gann, Deceased;            Parent/Guardian of Emily         E.C.G., Child of Claude Michael Gann,
                                                                                                                                                                                            Christine Gann                   Deceased;
 197 Claude Michael Gann          Robin Marie Wade      DKT 232; 1:02-cv-01616-     Robin Marie Wade, Individually, as Spouse       Robin Marie Wade as the Personal Representative of      Robin Marie Wade as              Robin Marie Wade as Step-Parent of K.G.,    WD
                                                        JR; AP246                   of Claude Michael Gann, Deceased;               the Estate of Claude Michael Gann, Deceased;            Parent/Guardian of Katherine     Child of Claude Michael Gann, Deceased;
                                                                                                                                                                                            Gann
 198 Claude Michael Gann          Robin Marie Wade      DKT 232; 1:02-cv-01616-     Robin Marie Wade, Individually, as Spouse       Robin Marie Wade as the Personal Representative of      Robin Marie Wade as              Robin Marie Wade as Step-Parent of          WD
                                                        JR; AP246                   of Claude Michael Gann, Deceased;               the Estate of Claude Michael Gann, Deceased;            Parent/Guardian of David         D.M.G., Child of Claude Michael Gann,
                                                                                                                                                                                            Michael Gann                     Deceased;
 199 Claude Michael Gann          Robin Marie Wade      DKT 232; 1:02-cv-01616-     Robin Marie Wade, Individually, as Spouse       Robin Marie Wade as the Personal Representative of      Robin Marie Wade as              Paige Marie Rollison, Individually as Step- WD
                                                        JR; AP246                   of Claude Michael Gann, Deceased;               the Estate of Claude Michael Gann, Deceased;            Parent/Guardian of Paige Marie   Child of Claude Michael Gann, Deceased,
                                                                                                                                                                                            Rollison                         and previously included as minor child of
                                                                                                                                                                                                                             Robin Marie Wade;
 200 Claude Michael Gann          Robin Marie Wade      DKT 232; 1:02-cv-01616-     Robin Marie Wade, Individually, as Spouse       Robin Marie Wade as the Personal Representative of      Robin Marie Wade as              Sarah Elizabeth Rollison, Individually as   WD
                                                        JR; AP246                   of Claude Michael Gann, Deceased;               the Estate of Claude Michael Gann, Deceased;            Parent/Guardian of Sarah         Step-Child of Claude Michael Gann,
                                                                                                                                                                                            Elizabeth Rollison               Deceased, and previously included as minor
                                                                                                                                                                                                                             child of Robin Marie Wade;




                                                                                                                                     12
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 13 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
Number
                                Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                         Plaintiff's Individual Capacity          Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                           plaintiff in their own right
                                   complaint                                                                                                        9/11 Decedent                                Minor Child


 201 Claudia Sutton           Bernell Anthony Sutton   DKT 155; 1:02-cv-01616-     Bernell Anthony Sutton, Individually, as      Bernell Anthony Sutton as the Personal              Bernell Anthony Sutton as        Kadijah Imani Sutton, Individually as Child of WD
                                                       JR; P3111                   Spouse of Claudia Sutton, Deceased;           Representative of the Estate of Claudia Sutton,     Parent/Guardian of Kadijah Imani Claudia Sutton, Deceased, and previously
                                                                                                                                 Deceased;                                           Sutton                           included as minor child of Bernell Anthony
                                                                                                                                                                                                                      Sutton;
 202 Claudia Sutton           Bernell Anthony Sutton   DKT 155; 1:02-cv-01616-     Bernell Anthony Sutton, Individually, as      Bernell Anthony Sutton as the Personal              Bernell Anthony Sutton as        Kyle Jamal Sutton, Individually as Child of    WD
                                                       JR; P3111                   Spouse of Claudia Sutton, Deceased;           Representative of the Estate of Claudia Sutton,     Parent/Guardian of Kyle Jamal    Claudia Sutton, Deceased, and previously
                                                                                                                                 Deceased;                                           Sutton                           included as minor child of Bernell Anthony
                                                                                                                                                                                                                      Sutton;
 203 Clinton Davis, Sr.       Daphne Rachell Davis     DKT 155; 1:02-cv-01616-     Daphne Rachell Davis, Individually, as        Daphne Rachell Davis as the Personal Representative Daphne Rachell Davis as          Priscilla D. Davis, Individually as Child of   WD
                                                       JR; P2869                   Spouse of Clinton Davis, Sr., Deceased;       of the Estate of Clinton Davis, Sr., Deceased;      Parent/Guardian of Priscilla D.  Clinton Davis, Deceased, and previously
                                                                                                                                                                                     Davis                            included as minor child of Daphne Rachell
                                                                                                                                                                                                                      Davis;
 204 Clinton Davis, Sr.       Simone Mitchell          DKT 26, 29; 1:02-cv-        Simone Mitchell, Individually, as Domestic                                                        Simone Mitchell as               Simone Mitchell, on behalf of J.M.D., Child    WD
                                                       01616-JR; 1929              Partner of Clinton Davis, Sr., Deceased;                                                          Parent/Guardian of J.M.D.        of Clinton Davis, Sr., Deceased;

 205 Clive Thompson           Lucy E. Thompson         DKT 26, 29; 1:02-cv-        Lucy E. Thompson, Individually, as Spouse                                                            Lucy E. Thompson as               Lucy E. Thompson, on behalf of R.T., Child     WD
                                                       01616-JR; 4542              of Clive Thompson, Deceased;                                                                         Parent/Guardian of R.T.           of Clive Thompson, Deceased;
 206 Clive Thompson           Lucy E. Thompson         DKT 26, 29; 1:02-cv-        Lucy E. Thompson, Individually, as Spouse                                                            Lucy E. Thompson as               Lucy E. Thompson, on behalf of E.C.T.,         WD
                                                       01616-JR; 4542              of Clive Thompson, Deceased;                                                                         Parent/Guardian of E.C.T.         Child of Clive Thompson, Deceased;
 207 Colleen M. Supinski      Noreen Supinski          DKT HAND FILED (3-10-       Noreen Supinski, Individually, as Parent of   Noreen Supinski as the Co-Personal Representative of                                                                                    WD
                                                       2004); 1:03-cv-9849         Colleen M. Supinski, Deceased;                the Estate of Colleen M. Supinski, Deceased;
                                                       (RCC); P5279
 208 Colleen M. Supinski      Steven A. Supinski       DKT HAND FILED (3-10-       Steven A. Supinski, Individually, as Parent   Steven A. Supinski as the Co-Personal Representative                                                                                    WD
                                                       2004); 1:03-cv-9849         of Colleen M. Supinski, Deceased;             of the Estate of Colleen M. Supinski, Deceased;
                                                       (RCC); P5278
 209 Constantine Economos     Audrey K. Economos       DKT 26, 29; 1:02-cv-        Audrey K. Economos, Individually, as                                                                 Audrey K. Economos as             Constantine Leon Economos, Individually as WD
                                                       01616-JR; 1959              Spouse of Constantine Economos,                                                                      Parent/Guardian of Constantine    Child of Constantine Economos, Deceased,
                                                                                   Deceased;                                                                                            Leon Economos                     and previously included as minor child of
                                                                                                                                                                                                                          Audrey K. Economos;

 210 Constantine Economos     Audrey K. Economos       DKT 26, 29; 1:02-cv-        Audrey K. Economos, Individually, as                                                                 Audrey K. Economos as             Katherine Audrey Economos, Individually as WD
                                                       01616-JR; 1959              Spouse of Constantine Economos,                                                                      Parent/Guardian of Katherine      Child of Constantine Economos, Deceased,
                                                                                   Deceased;                                                                                            Audrey Economos                   and previously included as minor child of
                                                                                                                                                                                                                          Audrey K. Economos;

 211 Cora Hidalgo Holland     Stephen Kenyon           DKT 155; 1:02-cv-01616-     Stephen Kenyon Holland, Individually, as  Stephen Kenyon Holland as the Personal                                                                                                      WD
                              Holland                  JR; P2939                   Spouse of Cora Hidalgo Holland, Deceased; Representative of the Estate of Cora Hidalgo Holland,
                                                                                                                             Deceased;
 212 Craig D. Montano         Caren A. Montano         DKT 26, 29; 1:02-cv-        Caren A. Montano, Individually, as Spouse                                                            Caren A. Montano as             Christa Anna Montano, Individually as Child      WD
                                                       01616-JR; 2492              of Craig D. Montano, Deceased;                                                                       Parent/Guardian of Christa Anna of Craig D. Montano, Deceased, and
                                                                                                                                                                                        Montano                         previously included as minor child of Caren
                                                                                                                                                                                                                        A. Montano;
 213 Craig D. Montano         Caren A. Montano         DKT 26, 29; 1:02-cv-        Caren A. Montano, Individually, as Spouse                                                            Caren A. Montano as             Liam Frederick Montano, Individually as          WD
                                                       01616-JR; 2492              of Craig D. Montano, Deceased;                                                                       Parent/Guardian of Liam         Child of Craig D. Montano, Deceased, and
                                                                                                                                                                                        Frederick Montano               previously included as minor child of Caren
                                                                                                                                                                                                                        A. Montano;
 214 Craig D. Montano         Caren A. Montano         DKT 26, 29; 1:02-cv-        Caren A. Montano, Individually, as Spouse                                                            Caren A. Montano as             Lukas Richard Montano, Individually as           WD
                                                       01616-JR; 2492              of Craig D. Montano, Deceased;                                                                       Parent/Guardian of Lukas        Child of Craig D. Montano, Deceased, and
                                                                                                                                                                                        Richard Montano                 previously included as minor child of Caren
                                                                                                                                                                                                                        A. Montano;
 215 Craig Damian Lilore      Caroline Lilore         DKT 26, 29; 1:02-cv-         Caroline Lilore, Individually, as Spouse of                                                          Caroline Lilore as              Caroline Lilore, on behalf of J.C.L., Child of   WD
                                                      01616-JR; 3639               Craig Damian Lilore, Deceased;                                                                       Parent/Guardian of J.C.L.       Craig Damian Lilore, Deceased;
 216 Craig James Miller       Holly Ann Miller Hedley DKT 432; 1:03-md-01570-      Holly Ann Miller Hedley, Individually, as     Holly Ann Miller Hedley as the Personal                Holly Ann Miller Hedley as      Colton James Miller, Individually as Child of    WD
                                                      GBD-SN; P5406                Spouse of Craig James Miller, Deceased;       Representative of the Estate of Craig James Miller,    Parent/Guardian of Colton James Craig James Miller, Deceased, and
                                                                                                                                 Deceased;                                              Miller                          previously included as minor child of Holly
                                                                                                                                                                                                                        Ann Miller Hedley;
                                                                                                                                  13
                                                               Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 14 of 88




                                                                                                                                                                                                                                                                                 Nature of Claim
Number
                                   Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                         Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                                Complaint                                                                                                                                                              plaintiff in their own right
                                      complaint                                                                                                         9/11 Decedent                                 Minor Child


 217 Craig James Miller          Holly Ann Miller Hedley DKT 432; 1:03-md-01570- Holly Ann Miller Hedley, Individually, as           Holly Ann Miller Hedley as the Personal                 Holly Ann Miller Hedley as         Curt James Miller, Individually as Child of      WD
                                                         GBD-SN; P5406           Spouse of Craig James Miller, Deceased;             Representative of the Estate of Craig James Miller,     Parent/Guardian of Curt James      Craig James Miller, Deceased, and
                                                                                                                                     Deceased;                                               Miller                             previously included as minor child of Holly
                                                                                                                                                                                                                                Ann Miller Hedley;
 218 Craig Michael Blass         Neil Blass               DKT 232; 1:02-cv-01616-     Neil Blass, Individually, as Parent of Craig   Neil Blass as the Personal Representative of the                                                                                            WD
                                                          JR; P3601                   Michael Blass, Deceased;                       Estate of Craig Michael Blass, Deceased;
 219 Craig William Staub         Stacey Allison Staub     DKT 3; 1:02-cv-01616-JR;    Stacey Allison Staub, Individually, as                                                                 Stacey Allison Staub as           Juliette-Craig William Staub, Individually as     WD
                                                          1671                        Spouse of Craig William Staub, Deceased;                                                               Parent/Guardian of Juliette-Craig Child of Craig William Staub, Deceased,
                                                                                                                                                                                             William Staub                     and previously included as minor child of
                                                                                                                                                                                                                               Stacey Allison Staub;
 220 Crossley R. Williams, Jr.   Crossley Richard         DKT 3; 1:02-cv-01616-JR; Crossley Richard Williams, Sr., Individually, Crossley Richard Williams, Sr. as the Personal                                                                                                  WD
                                 Williams, Sr.            1733                     as Parent of Crossley R. Williams, Jr.,       Representative of the Estate of Crossley R. Williams,
                                                                                   Deceased;                                     Jr., Deceased;
 221 Curtis T. Noel              Michael Thomas Noel      DKT HAND FILED (3-10- Michael Thomas Noel, Individually, as            Michael Thomas Noel as the Co-Representative of the                                                                                             WD
                                                          2004); 1:03-cv-9849      Parent of Curtis T. Noel, Deceased;           Estate of Curtis T. Noel, Deceased;
                                                          (RCC); P5209
 222 Curtis T. Noel              Theresa Martha Noel      DKT HAND FILED (3-10- Theresa Martha Noel, Individually, as Parent Theresa Martha Noel as the Co-Representative of the                                                                                                 WD
                                                          2004); 1:03-cv-9849      of Curtis T. Noel, Deceased;                  Estate of Curtis T. Noel, Deceased;
                                                          (RCC); P5210
 223 Cynthia Marie Connolly      Donald Jacques           DKT 305; 1:02-cv-01616- Donald Jacques Poissant, Individually, as      Donald Jacques Poissant as the Personal                                                                                                         WD
                                 Poissant                 JR; P4201                Spouse of Cynthia Marie Connolly,             Representative of the Estate of Cynthia Marie
                                                                                   Deceased;                                     Connolly, Deceased;
 224 Daniel Edward Harlin        Debra A. Harlin          DKT 26, 29; 1:02-cv-     Debra A. Harlin, Individually, as Spouse of                                                         Debra A. Harlin as                       Brian Thomas Harlin, Individually as Child of    WD
                                                          01616-JR; 3377           Daniel Edward Harlin, Deceased;                                                                     Parent/Guardian of Brian                 Daniel Edward Harlin, Deceased, and
                                                                                                                                                                                       Thomas Harlin                            previously included as minor child of Debra
                                                                                                                                                                                                                                A. Harlin;
 225 Daniel Edward Harlin        Debra A. Harlin          DKT 26, 29; 1:02-cv-        Debra A. Harlin, Individually, as Spouse of                                                            Debra A. Harlin as                 Christopher Edward Harlin, Individually as       WD
                                                          01616-JR; 3377              Daniel Edward Harlin, Deceased;                                                                        Parent/Guardian of Christopher     Child of Daniel Edward Harlin, Deceased,
                                                                                                                                                                                             Edward Harlin                      and previously included as minor child of
                                                                                                                                                                                                                                Debra A. Harlin;
 226 Daniel Edward Harlin        Debra A. Harlin          DKT 26, 29; 1:02-cv-        Debra A. Harlin, Individually, as Spouse of                                                            Debra A. Harlin as                 Katherine Marie Harlin, Individually as Child    WD
                                                          01616-JR; 3377              Daniel Edward Harlin, Deceased;                                                                        Parent/Guardian of Katherine       of Daniel Edward Harlin, Deceased, and
                                                                                                                                                                                             Marie Harlin                       previously included as minor child of Debra
                                                                                                                                                                                                                                A. Harlin;
 227 Daniel J. Brethel           Carol A. Brethel         DKT HAND FILED (3-10-       Carol A. Brethel, Individually, as Spouse of   Carol A. Brethel as the Personal Representative of the Carol A. Brethel as                 Meghan J. Brethel, Individually as Child of      WD
                                                          2004); 1:03-cv-9849         Daniel J. Brethel, Deceased;                   Estate of Daniel J Brethel, Deceased;                  Parent/Guardian of Meghan J.        Daniel J. Brethel, Deceased, and previously
                                                          (RCC); P5004                                                                                                                      Brethel                             included as minor child of Carol A. Brethel;

 228 Daniel J. Brethel           Carol A. Brethel         DKT HAND FILED (3-10-       Carol A. Brethel, Individually, as Spouse of   Carol A. Brethel as the Personal Representative of the Carol A. Brethel as                 Carol A. Brethel on behalf of K.M.B., Child      WD
                                                          2004); 1:03-cv-9849         Daniel J. Brethel, Deceased;                   Estate of Daniel J Brethel, Deceased;                  Parent/Guardian of K.M.B.           of Daniel J. Brethel, Deceased;
                                                          (RCC); P5004
 229 Daniel James Gallagher      Regina E. Gallagher      DKT 232; 1:02-cv-01616-     Regina E. Gallagher, Individually, as Parent   Regina E. Gallagher as the Personal Representative of                                                                                       WD
                                                          JR; P4059                   of Daniel James Gallagher, Deceased;           the Estate of Daniel James Gallagher, Deceased;

 230 Daniel John Lee             Kellie Lee               DKT 432; 1:02-cv-01616-     Kellie Lee, Individually, as Spouse of Daniel Kellie Lee as the Personal Representative of the         Kellie Lee as Parent/Guardian of   Allison Danielle Lee, Individually as Child of   WD
                                                          JR; AP289                   John Lee, Deceased;                           Estate of Daniel John Lee, Deceased;                     Allison Danielle Lee               Daniel John Lee, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of Kellie Lee;

 231 Daniel John Lee             Kellie Lee               DKT 432; 1:02-cv-01616-     Kellie Lee, Individually, as Spouse of Daniel Kellie Lee as the Personal Representative of the         Kellie Lee as Parent/Guardian of   Amanda Beth Lee, Individually as Child of        WD
                                                          JR; AP289                   John Lee, Deceased;                           Estate of Daniel John Lee, Deceased;                     Amanda Beth Lee                    Daniel John Lee, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of Kellie Lee;

 232 Daniel Libretti             Dolores Marie Libretti   DKT HAND FILED (3-10-       Dolores Marie Libretti, Individually, as       Dolores Marie Libretti as the Personal Representative                                                                                       WD
                                                          2004); 1:03-cv-9849         Spouse of Daniel Libretti, Deceased;           of the Estate of Daniel Libretti, Deceased;
                                                          (RCC); P5148


                                                                                                                                      14
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 15 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
Number
                                 Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                         Plaintiff's Individual Capacity            Caption identifying the estate representative of      or Guardian of Previously
                                                              Complaint                                                                                                                                                            plaintiff in their own right
                                    complaint                                                                                                          9/11 Decedent                                Minor Child


 233 Daniel Lopez              Elizabeth Davila-Lopez   DKT 313; 1:02-cv-01616-     Elizabeth Davila-Lopez, Individually, as        Elizabeth Davila-Lopez as the Personal                Elizabeth Davila-Lopez as          Brittany Dani Lopez, Individually as Child of WD
                                                        JR; P4689                   Spouse of Daniel Lopez, Deceased;               Representative of the Estate of Daniel Lopez,         Parent/Guardian of Brittany Dani   Daniel Lopez, Deceased, and previously
                                                                                                                                    Deceased;                                             Lopez                              included as minor child of Elizabeth Davila-
                                                                                                                                                                                                                             Lopez;
 234 Daniel O'Callaghan        Rhonda Lee               DKT 26, 29; 1:02-cv-        Rhonda Lee O'Callaghan, Individually, as                                                              Rhonda Lee O'Callaghan as          Connor Daniel O'Callaghan, Individually as WD
                               O'Callaghan              01616-JR; 4044              Spouse of Daniel O'Callaghan, Deceased;                                                               Parent/Guardian of Connor          Child of Daniel O'Callaghan, Deceased, and
                                                                                                                                                                                          Daniel O'Callaghan                 previously included as minor child of
                                                                                                                                                                                                                             Rhonda Lee O'Callaghan;
 235 Daniel O'Callaghan        Rhonda Lee               DKT 26, 29; 1:02-cv-        Rhonda Lee O'Callaghan, Individually, as                                                              Rhonda Lee O'Callaghan as          Rhiannon Rose O'Callaghan, Individually as WD
                               O'Callaghan              01616-JR; 4044              Spouse of Daniel O'Callaghan, Deceased;                                                               Parent/Guardian of Rhiannon        Child of Daniel O'Callaghan, Deceased, and
                                                                                                                                                                                          Rose O'Callaghan                   previously included as minor child of
                                                                                                                                                                                                                             Rhonda Lee O'Callaghan;
 236 Daniel R. Nolan           Renee E. Nolan           DKT 155; 1:02-cv-01616-     Renee E. Nolan, Individually, as Spouse of      Renee E. Nolan as the Representative of the Estate of Renee E. Nolan as                  Jonathan Daniel Nolan, Individually as Child WD
                                                        JR; P3055                   Daniel R. Nolan, Deceased;                      Daniel R. Nolan, Deceased;                            Parent/Guardian of Jonathan        of Daniel R. Nolan, Deceased, and
                                                                                                                                                                                          Daniel Nolan                       previously included as minor child of Renee
                                                                                                                                                                                                                             E. Nolan;
 237 Daniel R. Nolan           Renee E. Nolan           DKT 155; 1:02-cv-01616-     Renee E. Nolan, Individually, as Spouse of      Renee E. Nolan as the Representative of the Estate of Renee E. Nolan as                  Kaitlyn Renee E. Nolan, Individually as Child WD
                                                        JR; P3055                   Daniel R. Nolan, Deceased;                      Daniel R. Nolan, Deceased;                            Parent/Guardian of Kaitlyn         of Daniel R. Nolan, Deceased, and
                                                                                                                                                                                          Renee E. Nolan                     previously included as minor child of Renee
                                                                                                                                                                                                                             E. Nolan;
 238 Daniel Raymond Brandhorst David Benjamin           DKT 432; 1:02-cv-01616-     David Benjamin Brandhorst, Individually, as     David Benjamin Brandhorst as the Personal                                                                                              WD
                               Brandhorst               JR; P4779                   Sibling of Daniel Raymond Brandhorst,           Representative of the Estate Daniel Raymond
                                                                                    Deceased;                                       Brandhorst, Deceased;
 239 Daniel Suhr               Nancy Suhr               DKT 26, 29; 1:02-cv-        Nancy Suhr, Individually, as Spouse of                                                                Nancy Suhr as Parent/Guardian      Briana Suhr, Individually as Child of Daniel WD
                                                        01616-JR; 4481              Daniel Suhr, Deceased;                                                                                of Briana Suhr                     Suhr, Deceased, and previously included as
                                                                                                                                                                                                                             minor child of Nancy Suhr;
 240 Daniel Thomas Afflitto    Stacey Afflitto-Wain     DKT 26, 29; 1:02-CV-        Stacey Afflitto-Wain, Individually, as Spouse                                                         Stacey Afflitto-Wain as            Daniel Thomas Afflitto, Jr., Individually as  WD
                                                        01616-JR; 2540              of Daniel Thomas Afflitto, Deceased;                                                                  Parent/Guardian of Daniel          Child of Daniel Thomas Afflitto, Sr.,
                                                                                                                                                                                          Thomas Afflitto, Jr.               Deceased, and previously included as minor
                                                                                                                                                                                                                             child of Stacey Afflitto-Wain;
 241 Daniel Thomas Afflitto    Stacey Afflitto-Wain     DKT 26, 29; 1:02-CV-        Stacey Afflitto-Wain, Individually, as Spouse                                                         Stacey Afflitto-Wain as            Joseph Daniel Afflitto, Individually as Child WD
                                                        01616-JR; 2540              of Daniel Thomas Afflitto, Deceased;                                                                  Parent/Guardian of Joseph          of Daniel Thomas Afflitto, Sr., Deceased,
                                                                                                                                                                                          Daniel Afflitto                    and previously included as minor child of
                                                                                                                                                                                                                             Stacey Afflitto-Wain;
 242 Danielle Kousoulis        Zoe Pappas Kousoulis     DKT 232; 1:02-cv-01616-     Zoe Pappas Kousoulis, Individually, as          Zoe Pappas Kousoulis as the Personal Representative                                                                                    WD
                                                        JR; P3759                   Parent of Danielle Kousoulis, Deceased;         of the Estate of Danielle Kousoulis, Deceased;

 243 Darin Howard Pontell      Devora Wolk Kirschner DKT 313; 1:02-cv-01616-        Devora Wolk Kirschner, Individually, as   Devora Wolk Kirschner as the Representative of the                                                                                         WD
                                                     JR; P4703                      Spouse of Darin Howard Pontell, Deceased; Estate of Darin Howard Pontell, Deceased;

 244 Darlene Embree Flagg      Michael Embree Flagg     DKT 313; 1:02-cv-01616-     Michael Embree Flagg, Individually, as Child Michael Embree Flagg as the Personal Representative                                                                                     WD
                                                        JR; P4643                   of Darlene Embree Flagg, Deceased;           of the Estate of Darlene Embree Flagg, Deceased;

 245 David A.J. Rathkey        Julia S.W. Rathkey       DKT 155; 1:02-cv-01616-     Julia S.W. Rathkey, Individually, as Spouse     Julia S.W. Rathkey, as the Personal Representative of Julia S.W. Rathkey as              Emma Smiley Rathkey, Individually as Child WD
                                                        JR; AP220                   of David A.J. Rathkey, Deceased;                the Estate of David A.J. Rathkey, Deceased;           Parent/Guardian of Emma            of David A.J. Rathkey, Deceased, and
                                                                                                                                                                                          Smiley Rathkey                     previously included as minor child of Julia
                                                                                                                                                                                                                             S.W. Rathkey;
 246 David A.J. Rathkey        Julia S.W. Rathkey       DKT 155; 1:02-cv-01616-     Julia S.W. Rathkey, Individually, as Spouse     Julia S.W. Rathkey, as the Personal Representative of Julia S.W. Rathkey as              Ian David Bray Rathkey, Individually as      WD
                                                        JR; AP220                   of David A.J. Rathkey, Deceased;                the Estate of David A.J. Rathkey, Deceased;           Parent/Guardian of Ian David       Child of David A.J. Rathkey, Deceased, and
                                                                                                                                                                                          Bray Rathkey                       previously included as minor child of Julia
                                                                                                                                                                                                                             S.W. Rathkey;
 247 David A.J. Rathkey        Julia S.W. Rathkey       DKT 155; 1:02-cv-01616-     Julia S.W. Rathkey, Individually, as Spouse     Julia S.W. Rathkey, as the Personal Representative of Julia S.W. Rathkey as              Matthew James Cusworth Rathkey,              WD
                                                        JR; AP220                   of David A.J. Rathkey, Deceased;                the Estate of David A.J. Rathkey, Deceased;           Parent/Guardian of Matthew         Individually as Child of David A.J. Rathkey,
                                                                                                                                                                                          James Cusworth Rathkey             Deceased, and previously included as minor
                                                                                                                                                                                                                             child of Julia S.W. Rathkey;


                                                                                                                                     15
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 16 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
Number
                                 Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                      Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                           Complaint                                                                                                                                                             plaintiff in their own right
                                    complaint                                                                                                      9/11 Decedent                                Minor Child


 248 David Bartolo Rodriguez   Melania Gil                                     Melania Gil, Individually, as Domestic
                                                     DKT 77; 1:02-cv-01616-JR; P2604                                            Melania Gil as the Representative of the Estate of                                                                                        WD
                                                                               Partner of David Bartolo Rodriguez,              David Bartolo Rodriguez, Deceased;
                                                                               Deceased;
 249 David Francis Ferrugio    Rosanna M. Ferrugio   DKT 232; 1:02-cv-01616- Rosanna M. Ferrugio, Individually, as              Rosanna M. Ferrugio as the Personal Representative     Rosanna M. Ferrugio as             David John Ferrugio, Individually as Child of   WD
                                                     JR; P3688                 Spouse of David Francis Ferrugio,                of the Estate of David Francis Ferrugio, Deceased;     Parent/Guardian of David John      David Francis Ferrugio, Deceased, and
                                                                               Deceased;                                                                                               Ferrugio                           previously included as minor child of
                                                                                                                                                                                                                          Rosanna M. Ferrugio;
 250 David Francis Ferrugio    Rosanna M. Ferrugio   DKT 232; 1:02-cv-01616-     Rosanna M. Ferrugio, Individually, as          Rosanna M. Ferrugio as the Personal Representative     Rosanna M. Ferrugio as             Gina Marie Ferrugio-Hooker, Individually as     WD
                                                     JR; P3688                   Spouse of David Francis Ferrugio,              of the Estate of David Francis Ferrugio, Deceased;     Parent/Guardian of Gina Marie      Child of David Francis Ferrugio, Deceased,
                                                                                 Deceased;                                                                                             Ferrugio-Hooker                    and previously included as minor child of
                                                                                                                                                                                                                          Rosanna M. Ferrugio;
 251 David Garcia              Deborah A. Garcia     DKT 26, 29; 1:02-cv-        Deborah A. Garcia, Individually, as Spouse                                                            Deborah A. Garcia as               Davin Richard Garcia, Individually as Child     WD
                                                     01616-JR; 3245              of David Garcia, Deceased;                                                                            Parent/Guardian of Davin           of David Garcia, Deceased, and previously
                                                                                                                                                                                       Richard Garcia                     included as minor child of Deborah A.
                                                                                                                                                                                                                          Garcia;
 252 David Garcia              Deborah A. Garcia     DKT 26, 29; 1:02-cv-        Deborah A. Garcia, Individually, as Spouse                                                            Deborah A. Garcia as               Dylan Peter Garcia, Individually as Child of    WD
                                                     01616-JR; 3245              of David Garcia, Deceased;                                                                            Parent/Guardian of Dylan Peter     David Garcia, Deceased, and previously
                                                                                                                                                                                       Garcia                             included as minor child of Deborah A.
                                                                                                                                                                                                                          Garcia;
 253 David Harold Winton       Sara Winton Coffey    DKT 432; 1:02-cv-01616-     Sara Winton Coffey, Individually, as Sibling   Sara Winton Coffey as the Personal Representative of                                                                                      WD
                                                     JR; P4979                   of David Harold Winton, Deceased;              the Estate of David Harold Winton, Deceased;

 254 David J. Williams         Debra Marie Johnson   DKT 313; 1:02-cv-01616-  Debra Marie Johnson, Individually, as             Debra Marie Johnson as the Personal Representative                                                                                        WD
                                                     JR; P4764                Domestic Partner of David J. Williams,            of the Estate of David J. Williams, Deceased;
                                                                              Deceased;
 255 David Joseph Grimner      Judith A. Grimner     DKT 3; 1:02-cv-01616-JR; Judith A. Grimner, Individually, as Spouse of     Judith A. Grimner as the Personal Representative of                                                                                       WD
                                                     1185                     David Joseph Grimner, Deceased;                   the Estate of David Joseph Grimner, Deceased;

 256 David L. Pruim            Kathryn S. Pruim      DKT 26, 29; 1:02-cv-        Kathryn S. Pruim, Individually, as Spouse of   Kathryn S. Pruim as the Representative of the Estate   Kathryn S. Pruim as                Kathryn S. Pruim, on behalf of C.C.P., Child WD
                                                     01616-JR; 4185              David L. Pruim, Deceased;                      of David L. Pruim, Deceased;                           Parent/Guardian of C.C.P.          of David L. Pruim, Deceased;
 257 David Marc Sullins        Evelyn Sullins        DKT 232; 1:02-cv-01616-     Evelyn Sullins, Individually, as Spouse of     Evelyn Sullins as the Personal Representative of the   Evelyn Sullins as                  Cristian Marc Sullins, Individually as Child of WD
                                                     JR; P3966                   David Marc Sullins, Deceased;                  Estate of David Marc Sullins, Deceased;                Parent/Guardian of Cristian Marc   David Marc Sullins, Deceased, and
                                                                                                                                                                                       Sullins                            previously included as minor child of Evelyn
                                                                                                                                                                                                                          Sullins;
 258 David Marc Sullins        Evelyn Sullins        DKT 232; 1:02-cv-01616-     Evelyn Sullins, Individually, as Spouse of     Evelyn Sullins as the Personal Representative of the   Evelyn Sullins as                  Julian Alexander Sullins, Individually as       WD
                                                     JR; P3966                   David Marc Sullins, Deceased;                  Estate of David Marc Sullins, Deceased;                Parent/Guardian of Julian          Child of David Marc Sullins, Deceased, and
                                                                                                                                                                                       Alexander Sullins                  previously included as minor child of Evelyn
                                                                                                                                                                                                                          Sullins;
 259 David Martin Graifman     Christine R. Huhn     DKT 602; 1:03-md-01570- Christine R. Huhn, Individually, as Spouse         Christine R. Huhn as the Personal Representative of                                                                                       WD
                                                     GBD-SN; P5485           of David Martin Graifman, Deceased;                the Estate of David Martin Graifman, Deceased;

 260 David Martin Weiss        Karla Weiss           DKT 77; 1:02-cv-01616-JR; P2757                                            Karla Weiss as the Personal Representative of the                                                                                         WD
                                                                                                                                Estate of David Martin Weiss, Deceased;
 261 David Otey Campbell       Cynthia J. Campbell   DKT 3; 1:02-cv-01616-JR; Cynthia J. Campbell, Individually, as Spouse                                                             Cynthia J. Campbell as             Timothy William Campbell, Individually as       WD
                                                     962                      of David Otey Campbell, Deceased;                                                                        Parent/Guardian of Timothy         Child of David Otey Campbell, Deceased,
                                                                                                                                                                                       William Campbell                   and previously included as minor child of
                                                                                                                                                                                                                          Cynthia J. Campbell;
 262 David Prudencio Lemagne   Magaly Jane Lemagne   DKT 232; 1:02-cv-01616-     Magaly Jane Lemagne, Individually, as          Magaly Jane Lemagne as the Personal Representative                                                                                        WD
                                                     JR; P3771                   Sibling of David Prudencio Lemagne,            of the Estate of David Prudencio Lemagne, Deceased;
                                                                                 Deceased;
 263 David S. Lee              Angela F. Lee         DKT 26, 29; 1:02-cv-        Angela F. Lee, Individually, as Spouse of                                                             Angela F. Lee as                   Ryan David Lee, Individually as Child of        WD
                                                     01616-JR; 4802              David S. Lee, Deceased;                                                                               Parent/Guardian of Ryan David      David S. Lee, Deceased, and previously
                                                                                                                                                                                       Lee                                included as minor child of Angela F. Lee;




                                                                                                                                 16
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 17 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                             Complaint                                                                                                                                                             plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                 Minor Child


 264 David Vargas              Rosa Caicedo            DKT 26, 29; 1:02-cv-        Rosa Caicedo, Individually, as Domestic                                                                Rosa Caicedo as                   Kevin Robert Vargas, Individually as Child of WD
                                                       01616-JR; 2410              Partner of David Vargas, Deceased;                                                                     Parent/Guardian of Kevin Robert   David Vargas, Deceased, and previously
                                                                                                                                                                                          Vargas                            included as minor child of Rosa Caicedo;

 265 David Vargas              Rosa Caicedo            DKT 26, 29; 1:02-cv-        Rosa Caicedo, Individually, as Domestic                                                                Rosa Caicedo as                   Leslie Michelle Vargas, Individually as Child WD
                                                       01616-JR; 2410              Partner of David Vargas, Deceased;                                                                     Parent/Guardian of Leslie         of David Vargas, Deceased, and previously
                                                                                                                                                                                          Michelle Vargas                   included as minor child of Rosa Caicedo;

 266 David William Laychak     Laurie Miller Laychak   DKT 313; 1:02-cv-01616-     Laurie Miller Laychak, Individually, as        Laurie Miller Laychak as the Personal Representative    Laurie Miller Laychak as          Jennifer Lauren Laychak, Individually as       WD
                                                       JR; P4683                   Spouse of David William Laychak,               of the Estate of David William Laychak, Deceased;       Parent/Guardian of Jennifer       Child of David William Laychak, Deceased,
                                                                                   Deceased;                                                                                              Lauren Laychak                    and previously included as minor child of
                                                                                                                                                                                                                            Laurie Miller Laychak;
 267 David William Laychak     Laurie Miller Laychak   DKT 313; 1:02-cv-01616-     Laurie Miller Laychak, Individually, as        Laurie Miller Laychak as the Personal Representative    Laurie Miller Laychak as          Zachary David Laychak, Individually as         WD
                                                       JR; P4683                   Spouse of David William Laychak,               of the Estate of David William Laychak, Deceased;       Parent/Guardian of Zachary        Child of David William Laychak, Deceased,
                                                                                   Deceased;                                                                                              David Laychak                     and previously included as minor child of
                                                                                                                                                                                                                            Laurie Miller Laychak;
 268 Deborah H. Kaplan         Harold T. Kaplan        DKT 26, 29; 1:02-cv-        Harold T. Kaplan, Individually, as Spouse of                                                           Harold T. Kaplan as               Harold T. Kaplan, on behalf of E.L.K., Child   WD
                                                       01616-JR; 3517              Deborah H. Kaplan, Deceased;                                                                           Parent/Guardian of E.L.K.         of Deborah H. Kaplan, Deceased;

 269 Deborah H. Kaplan         Harold T. Kaplan        DKT 26, 29; 1:02-cv-        Harold T. Kaplan, Individually, as Spouse of                                                           Harold T. Kaplan as               Harold T. Kaplan, on behalf of J.I.K., Child   WD
                                                       01616-JR; 3517              Deborah H. Kaplan, Deceased;                                                                           Parent/Guardian of J.I.K          of Deborah H. Kaplan, Deceased;

 270 Deborah H. Kaplan         Harold T. Kaplan        DKT 26, 29; 1:02-cv-        Harold T. Kaplan, Individually, as Spouse of                                                           Harold T. Kaplan as               Harold T. Kaplan, on behalf of M.S.K., Child WD
                                                       01616-JR; 3517              Deborah H. Kaplan, Deceased;                                                                           Parent/Guardian of Matthew        of Deborah H. Kaplan, Deceased;
                                                                                                                                                                                          Samuel Kaplan
 271 Deborah H. Kaplan         Harold T. Kaplan        DKT 26, 29; 1:02-cv-        Harold T. Kaplan, Individually, as Spouse of                                                           Harold T. Kaplan as               Harold T. Kaplan, on behalf of S.A.K., Child   WD
                                                       01616-JR; 3517              Deborah H. Kaplan, Deceased;                                                                           Parent/Guardian of S.A.K.         of Deborah H. Kaplan, Deceased;

 272 Deborah Medwig            Michael Tavolarella     DKT 232; 1:02-cv-01616-     Michael Tavolarella, Individually, as Spouse   Michael Tavolarella as the Personal Representative of   Michael Tavolarella as            Cassandra Hansen Tavolarella, Individually     WD
                                                       JR; P3836                   of Deborah Medwig, Deceased;                   the Estate of Deborah Medwig, Deceased;                 Parent/Guardian of Cassandra      as Child of Deborah Medwig, Deceased,
                                                                                                                                                                                          Hansen Tavolarella                and previously included as minor child of
                                                                                                                                                                                                                            Michael Tavolarella;
 273 Debra Lynn Gibbon         J. Frederick Gibbon     DKT 26, 29; 1:02-cv-                                                                                                               J. Frederick Gibbon as            Adam Frederick Gibbon, Individually as         WD
                                                       01616-JR; 3274                                                                                                                     Parent/Guardian of Adam           Child of Debra Lynn Gibbon, Deceased, and
                                                                                                                                                                                          Frederick Gibbon                  previously included as minor child of J.
                                                                                                                                                                                                                            Frederick Gibbon;
 274 Debra M. Mannetta         Kenneth R. Mannetta     DKT 3; 1:02-cv-01616-JR; Kenneth R. Mannetta, Individually, as                                                                     Kenneth R. Mannetta as            Jessica Ann Mannetta, Individually as Child    WD
                                                       1403                     Spouse of Debra M. Mannetta, Deceased;                                                                    Parent/Guardian of Jessica Ann    of Debra M. Mannetta, Deceased, and
                                                                                                                                                                                          Mannetta                          previously included as minor child of
                                                                                                                                                                                                                            Kenneth R. Mannetta;
 275 Debra M. Mannetta         Kenneth R. Mannetta     DKT 3; 1:02-cv-01616-JR; Kenneth R. Mannetta, Individually, as                                                                     Kenneth R. Mannetta as            Ashley Marie Mannetta, Individually as Child   WD
                                                       1403                     Spouse of Debra M. Mannetta, Deceased;                                                                    Parent/Guardian of Ashley Marie   of Debra M. Mannetta, Deceased, and
                                                                                                                                                                                          Mannetta                          previously included as minor child of
                                                                                                                                                                                                                            Kenneth R. Mannetta;
 276 Del Rose Forbes-Cheatham Christopher Rodrigues    DKT HAND FILED (3-10- Christopher Rodrigues Forbes, Individually,          Christopher Rodrigues Forbes as the Representative                                                                                       WD
                              Forbes                   2004); 1:03-cv-9849      as Sibling of Del Rose Forbes-Cheatham,           of the Estate of Del Rose Forbes-Cheatham,
                                                       (RCC); P5058             Deceased;                                         Deceased;
 277 Denise Lenore Benedetto   John Benedetto          DKT 1; 1:02-cv-01616-JR;                                                   John Benedetto, and Marina Denise Paulie, as the Co- John Benedetto as                    Dina Marie Morton, Individually as Child of    WD
                                                       59                                                                         Administrators of the Estate of Denise Lenore        Parent/Guardian of Dina Marie        Denise Lenore Benedetto, Deceased, and
                                                                                                                                  Benedetto, Deceased;                                 Morton                               previously included as minor child of John
                                                                                                                                                                                                                            Benedetto;
 278 Denise Lenore Benedetto   John Benedetto          DKT 1; 1:02-cv-01616-JR;                                                   John Benedetto, and Marina Denise Paulie, as the Co- John Benedetto as                    Marina Denise Paulie, Individually as Child    WD
                                                       59                                                                         Administrators of the Estate of Denise Lenore        Parent/Guardian of Marina            of Denise Lenore Benedetto, Deceased,
                                                                                                                                  Benedetto, Deceased;                                 Denise Paulie                        and previously included as minor child of
                                                                                                                                                                                                                            John Benedetto;


                                                                                                                                   17
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 18 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
Number
                                Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                      Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                           Complaint                                                                                                                                                           plaintiff in their own right
                                   complaint                                                                                                      9/11 Decedent                                 Minor Child


 279 Dennis Buckley           Kathleen M. Buckley    DKT 3; 1:02-cv-01616-JR; Kathleen M. Buckley, Individually, as                                                                    Kathleen M. Buckley as          Mary Kathleen Buckley, Individually as Child     WD
                                                     937                      Spouse of Dennis Buckley, Deceased;                                                                      Parent/Guardian of Mary         of Dennis Buckley, Deceased, and
                                                                                                                                                                                       Kathleen Buckley                previously included as minor child of
                                                                                                                                                                                                                       Kathleen M. Buckley;
 280 Dennis Buckley           Kathleen M. Buckley    DKT 3; 1:02-cv-01616-JR; Kathleen M. Buckley, Individually, as                                                                    Kathleen M. Buckley as          Megan Elizabeth Buckley, Individually as         WD
                                                     937                      Spouse of Dennis Buckley, Deceased;                                                                      Parent/Guardian of Megan        Child of Dennis Buckley, Deceased, and
                                                                                                                                                                                       Elizabeth Buckley               previously included as minor child of
                                                                                                                                                                                                                       Kathleen M. Buckley;
 281 Dennis Buckley           Kathleen M. Buckley    DKT 3; 1:02-cv-01616-JR; Kathleen M. Buckley, Individually, as                                                                    Kathleen M. Buckley as          Michele Anne Buckley, Individually as Child      WD
                                                     937                      Spouse of Dennis Buckley, Deceased;                                                                      Parent/Guardian of Michele Anne of Dennis Buckley, Deceased, and
                                                                                                                                                                                       Buckley                         previously included as minor child of
                                                                                                                                                                                                                       Kathleen M. Buckley;
 282 Dennis Gerard Taormina   Diane Taormina         DKT 26, 29; 1:02-cv-        Diane Taormina, Individually, as Spouse of                                                            Diane Taormina as               Jenna L. Taormina, Individually as Child of      WD
                                                     01616-JR; 4533              Dennis Gerard Taormina, Deceased;                                                                     Parent/Guardian of Jenna L.     Dennis Gerard Taormina, Jr., Deceased,
                                                                                                                                                                                       Taormina                        and previously included as minor child of
                                                                                                                                                                                                                       Diane Taormina;
 283 Dennis Gerard Taormina   Diane Taormina         DKT 26, 29; 1:02-cv-        Diane Taormina, Individually, as Spouse of                                                            Diane Taormina as               Meghan J. Taormina, Individually as Child of     WD
                                                     01616-JR; 4533              Dennis Gerard Taormina, Deceased;                                                                     Parent/Guardian of Meghan J.    Dennis Gerard Taormina, Jr., Deceased,
                                                                                                                                                                                       Taormina                        and previously included as minor child of
                                                                                                                                                                                                                       Diane Taormina;
 284 Dennis M. Carey          Jean Carey             DKT 26, 29; 1:02-cv-        Jean Carey, Individually, as Spouse of        Jean Carey as the Personal Representative of the                                                                                         WD
                                                     01616-JR; 2799              Dennis M. Carey, Deceased;                    Estate of Dennis M. Carey, Deceased;
 285 Dennis Michael Cook      Dana E. Donohue        DKT 313; 1:02-cv-01616-     Dana E. Donohue, Individually, as Spouse                                                              Dana E. Donohue as               Sophia Christine Cook, Individually as Child    WD
                                                     JR; P4632                   of Dennis Michael Cook, Deceased;                                                                     Parent/Guardian of Sophia        of Dennis Michael Cook, Deceased, and
                                                                                                                                                                                       Christine Cook                   previously included as minor child of Dana
                                                                                                                                                                                                                        E. Donohue;
 286 Dennis Michael Cook      Dana E. Donohue        DKT 313; 1:02-cv-01616-     Dana E. Donohue, Individually, as Spouse                                                              Dana E. Donohue as               Lindsay Judith Cook, Individually as Child of   WD
                                                     JR; P4632                   of Dennis Michael Cook, Deceased;                                                                     Parent/Guardian of Lindsay       Dennis Michael Cook, Deceased, and
                                                                                                                                                                                       Judith Cook                      previously included as minor child of Dana
                                                                                                                                                                                                                        E. Donohue;
 287 Dennis Michael Johnson   Joyce L. Johnson       DKT 1; 1:02-cv-01616-JR; Joyce L. Johnson, Individually, as Spouse of                                                             Joyce L. Johnson as              Cassandra Lee Carter, Individually as Child     WD
                                                     314                      Dennis Michael Johnson, Deceased;                                                                        Parent/Guardian of Cassandra     of Dennis Michael Johnson, Deceased, and
                                                                                                                                                                                       Lee Carter                       previously included as minor child of Joyce
                                                                                                                                                                                                                        L. Johnson;
 288 Dennis Mojica            Hortensia Gonzalez     DKT 26, 29; 1:02-cv-                                                                                                              Hortensia Gonzalez as            Hortensia Gonzalez, on behalf of A.C.M.,        WD
                                                     01616-JR; 3933                                                                                                                    Parent/Guardian of A.C.M.        Child of Dennis Mojica, Deceased;

 289 Dennis P. McHugh         Una Margaret McHugh    DKT 26, 29; 1:02-cv-        Una Margaret McHugh, Individually, as                                                                 Una Margaret McHugh as           Joseph Michael McHugh, Individually as      WD
                                                     01616-JR; 3853              Spouse of Dennis P. McHugh, Deceased;                                                                 Parent/Guardian of Joseph        Child of Dennis P. McHugh, Deceased, and
                                                                                                                                                                                       Michael McHugh                   previously included as minor child of Una
                                                                                                                                                                                                                        Margaret McHugh;
 290 Dennis P. McHugh         Una Margaret McHugh    DKT 26, 29; 1:02-cv-        Una Margaret McHugh, Individually, as                                                                 Una Margaret McHugh as           Sophia McHugh, Individually as Child of     WD
                                                     01616-JR; 3853              Spouse of Dennis P. McHugh, Deceased;                                                                 Parent/Guardian of Sophia        Dennis P. McHugh, Deceased, and
                                                                                                                                                                                       McHugh                           previously included as minor child of Una
                                                                                                                                                                                                                        Margaret McHugh;
 291 Dennis P. McHugh         Una Margaret McHugh    DKT 26, 29; 1:02-cv-        Una Margaret McHugh, Individually, as                                                                 Una Margaret McHugh as           Chloe Beth McHugh, Individually as Child of WD
                                                     01616-JR; 3853              Spouse of Dennis P. McHugh, Deceased;                                                                 Parent/Guardian of Chloe Beth    Dennis P. McHugh, Deceased, and
                                                                                                                                                                                       McHugh                           previously included as minor child of Una
                                                                                                                                                                                                                        Margaret McHugh;
 292 Dennis P. O'Berg         Christine M. O'Berg-   DKT 26, 29; 1:02-cv-        Christine M. O'Berg-Connolly, Individually,   Christine M. O'Berg-Connolly as the Representative of                                                                                WD
                              Connolly               01616-JR; 4032              as Spouse of Dennis P. O'Berg, Deceased;      the Estate of Dennis P. O'Berg, Deceased;

 293 Deora Frances Bodley     Deborah Ann Borza      DKT 77; 1:02-cv-01616-      Deborah Ann Borza, Individually, as Parent    Deborah Ann Borza as the Co-Personal                                                                                                     WD
                                                     JR; P2538                   of Deora Frances Bodley, Deceased;            Representative of the Estate of Deora Frances Bodley,
                                                                                                                               Deceased;


                                                                                                                                18
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 19 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                 Plaintiff's Name                                                                                         Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                          Plaintiff's Individual Capacity               Caption identifying the estate representative of        or Guardian of Previously
                                                               Complaint                                                                                                                                                                plaintiff in their own right
                                    complaint                                                                                                              9/11 Decedent                                  Minor Child


 294 Deora Frances Bodley      Derrill George Bodley     DKT 313; 1:02-cv-01616-     Derrill George Bodley, Individually, as   Derrill George Bodley as the Co-Personal                                                                                                         WD
                                                         JR; P4612                   Parent of Deora Frances Bodley, Deceased; Representative of the Estate of Deora Frances Bodley,
                                                                                                                               Deceased;
 295 Derrick Christopher       Kiesha Laneen             DKT 26, 29; 1:02-cv-        Kiesha Laneen Washington-Dean,            Kiesha Laneen Washington-Dean as the                  Kiesha Laneen Washington-                   Devin T. Washington, Individually as Child WD
     Washington                Washington-Dean           01616-JR; 2423              Individually, as Spouse of Derrick        Representative of the Estate of Derrick Christopher   Dean as Parent/Guardian of                  of Derrick Christopher Washington,
                                                                                     Christopher Washington, Deceased;         Washington, Deceased;                                 Devin T. Washington                         Deceased, and previously included as minor
                                                                                                                                                                                                                                 child of Kiesha Laneen Washington-Dean;

 296 Derrick Christopher       Kiesha Laneen             DKT 26, 29; 1:02-cv-        Kiesha Laneen Washington-Dean,                     Kiesha Laneen Washington-Dean as the                     Kiesha Laneen Washington-       Malik Ziaire Washington, Individually as   WD
     Washington                Washington-Dean           01616-JR; 2423              Individually, as Spouse of Derrick                 Representative of the Estate of Derrick Christopher      Dean as Parent/Guardian of      Child of Derrick Christopher Washington,
                                                                                     Christopher Washington, Deceased;                  Washington, Deceased;                                    Malik Ziaire Washington         Deceased, and previously included as minor
                                                                                                                                                                                                                                 child of Kiesha Laneen Washington-Dean;

 297 Derrick Christopher       Kiesha Laneen             DKT 26, 29; 1:02-cv-        Kiesha Laneen Washington-Dean,                     Kiesha Laneen Washington-Dean as the                     Kiesha Laneen Washington-       Christopher Shawn Washington, Individually WD
     Washington                Washington-Dean           01616-JR; 2423              Individually, as Spouse of Derrick                 Representative of the Estate of Derrick Christopher      Dean as Parent/Guardian of      as Child of Derrick Christopher Washington,
                                                                                     Christopher Washington, Deceased;                  Washington, Deceased;                                    Christopher Shawn Washington    Deceased, and previously included as minor
                                                                                                                                                                                                                                 child of Kiesha Laneen Washington-Dean;

 298 Derrick Christopher       Kiesha Laneen             DKT 26, 29; 1:02-cv-        Kiesha Laneen Washington-Dean (not                                                                          Kiesha Laneen Washington-       Kiesha Laneed Washington-Dean on behalf WD
     Washington                Washington-Dean (not      01616-JR; 2423              Kiesha's child), Individually, as Spouse of                                                                 Dean (not Kiesha's child) as    of J.C.A., Child of Derrick Christopher
                               Kiesha's child)                                       Derrick Christopher Washington, Deceased;                                                                   Parent/Guardian of J.C.A.       Washington

 299 Diana B. Padro            Jose E. Padro-Lebron      DKT 77; 1:02-cv-01616-      Jose E. Padro-Lebron, Individually, as             Jose E. Padro-Lebron as the Representative of the                                                                                       WD
                                                         JR; P2680                   Spouse of Diana B. Padro, Deceased;                Estate of Diana B. Padro, Deceased;
 300 Diane Barry               Edmund William Barry      DKT 3; 1:02-cv-01616-JR;    Edmund William Barry, Individually, as             Edmund William Barry as the Personal Representative                                                                                     WD
                                                         902                         Spouse of Diane Barry, Deceased;                   of the Estate of Diane Barry, Deceased;

 301 Dianne Bullis Snyder      John Bishop Snyder        DKT 305; 1:02-cv-01616-     John Bishop Snyder, Individually, as Spouse John Bishop Snyder as the Representative of the                 John Bishop Snyder as           Blakeslee Elizabeth Snyder, Individually as WD
                                                         JR; P4530                   of Dianne Bullis Snyder, Deceased;          Estate of Dianne Bullis Snyder, Deceased;                       Parent/Guardian of Blakeslee    Child of Dianne Bullis Snyder, Deceased,
                                                                                                                                                                                                 Elizabeth Snyder                and previously included as minor child of
                                                                                                                                                                                                                                 John Bishop Snyder;
 302 Dianne Bullis Snyder      John Bishop Snyder        DKT 305; 1:02-cv-01616-     John Bishop Snyder, Individually, as Spouse John Bishop Snyder as the Representative of the                 John Bishop Snyder as           Leland Joseph Snyder, Individually as Child WD
                                                         JR; P4530                   of Dianne Bullis Snyder, Deceased;          Estate of Dianne Bullis Snyder, Deceased;                       Parent/Guardian of Leland       of Dianne Bullis Snyder, Deceased, and
                                                                                                                                                                                                 Joseph Snyder                   previously included as minor child of John
                                                                                                                                                                                                                                 Bishop Snyder;
 303 Diarelia J. Mena          Victor Barahona           DKT 305; 1:02-cv-01616-     Victor Barahona, Individually, as Spouse of        Victor Barahona as the Personal Representative of the Victor Barahona as                 Karelia A. Barahona, Individually as Child of WD
                                                         JR; P4433                   Diarelia J. Mena, Deceased;                        Estate of Diarelia J. Mena, Deceased;                 Parent/Guardian of Karelia A.      Diarelia J. Mena, Deceased, and previously
                                                                                                                                                                                              Barahona                           included as minor child of Victor Barahona;

 304 Dinah Webster             Peter Herbert Hopwood DKT 313; 1:02-cv-01616-         Peter Herbert Hopwood, Individually, as        Peter Herbert Hopwood as the Personal                                                                                                       WD
                                                     JR; P4761                       Parent of Dinah Webster, Deceased;             Representative of the Estate of Dinah Webster,
                                                                                                                                    Deceased;
 305 Dipti Patel               Niraj J. Patel            DKT 3; 1:02-cv-01616-JR; Niraj J. Patel, Individually, as Sibling of Dipti Niraj J. Patel as the Personal Representative of the                                                                                        WD
                                                         1520                     Patel, Deceased;                                  Estate of Dipti Patel, Deceased;
 306 Dominique Lisa Pandolfo   Barbara Pandolfo          DKT 155; 1:02-cv-01616- Barbara Pandolfo, Individually, as Parent of Barbara Pandolfo as the Personal Representative of                                                                                                WD
                                                         JR; P3060                Dominique Lisa Pandolfo, Deceased;                the Estate of Dominique Lisa Pandolfo, Deceased;

 307 Donald A. Peterson        D. Hamilton Peterson      DKT 313; 1:02-cv-01616-     D. Hamilton Peterson, Individually, as Child       D. Hamilton Peterson as the Representative of the                                                                                       WD
                                                         JR; P4702                   of Donald A. Peterson, Deceased;                   Estate of Donald A. Peterson, Deceased;
 308 Donald Americo DiTullio   Marjorie Alice Ditullio   DKT 26, 29; 1:02-cv-        Marjorie Alice Ditullio, Individually, as Parent   Marjorie Alice Ditullio as the Personal Representative                                                                                  WD
                                                         01616-JR; 3030              of Donald Americo DiTullio, Deceased;              of the Estate of Donald Americo DiTullio, Deceased;

 309 Donald G. Havlish, Jr.    Fiona M. Havlish          DKT 1; 1:02-cv-01616-JR; Fiona M. Havlish, Individually, as Spouse of                                                                   Fiona M. Havlish as             Fiona M. Havlish, on behalf of M.L.H., Child   WD
                                                         706                      Donald G. Havlish, Jr., Deceased;                                                                              Parent/Guardian of M.L.H.       of Donald G. Havlish, Jr., Deceased;



                                                                                                                                         19
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 20 of 88




                                                                                                                                                                                                                                                                   Nature of Claim
Number
                                Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                           Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity             Caption identifying the estate representative of      or Guardian of Previously
                                                            Complaint                                                                                                                                                          plaintiff in their own right
                                   complaint                                                                                                          9/11 Decedent                                Minor Child


 310 Donald Gavagan           Jacqueline S. Gavagan DKT 26, 29; 1:02-cv-          Jacqueline S. Gavagan, Individually, as                                                                 Jacqueline S. Gavagan as Donald Richard Gavagan, III, Individually as    WD
                                                    01616-JR; 1979                Spouse of Donald Gavagan, Deceased;                                                                     Parent/Guardian of DonaldChild of Donald R. Gavagan, Jr., Deceased,
                                                                                                                                                                                          Richard Gavagan, III     and previously included as minor child of
                                                                                                                                                                                                                   Jacqueline S. Gavagan;
 311 Donald Gavagan           Jacqueline S. Gavagan DKT 26, 29; 1:02-cv-          Jacqueline S. Gavagan, Individually, as                                                         Jacqueline S. Gavagan as         Lara Suzanne Gavagan, Individually as           WD
                                                    01616-JR; 1979                Spouse of Donald Gavagan, Deceased;                                                             Parent/Guardian of Lara          Child of Donald R. Gavagan, Jr., Deceased,
                                                                                                                                                                                  Suzanne Gavagan                  and previously included as minor child of
                                                                                                                                                                                                                   Jacqueline S. Gavagan;
 312 Donald Gavagan           Jacqueline S. Gavagan DKT 26, 29; 1:02-cv-          Jacqueline S. Gavagan, Individually, as                                                         Jacqueline S. Gavagan as         Connor Liam Gavagan, Individually as Child      WD
                                                    01616-JR; 1979                Spouse of Donald Gavagan, Deceased;                                                             Parent/Guardian of Connor Liam of Donald R. Gavagan, Jr., Deceased, and
                                                                                                                                                                                  Gavagan                          previously included as minor child of
                                                                                                                                                                                                                   Jacqueline S. Gavagan;
 313 Donald H. Gregory        Maureen A. Gregory      DKT 232; 1:02-cv-01616-     Maureen A. Gregory, Individually, as       Maureen A. Gregory as the Personal Representative of Maureen A. Gregory as            James Thomas Gregory, Individually as           WD
                                                      JR; P3706                   Spouse of Donald H. Gregory, Deceased;     the Estate of Donald H. Gregory, Deceased;           Parent/Guardian of James         Child of Donald H. Gregory, Deceased, and
                                                                                                                                                                                  Thomas Gregory                   previously included as minor child of
                                                                                                                                                                                                                   Maureen A. Gregory;
 314 Donald J. McIntyre       Jeannine Marie McIntyre DKT 155; 1:02-cv-01616-     Jeannine Marie McIntyre, Individually, as  Jeannine Marie McIntyre as the Personal              Jeannine Marie McIntyre as       Caitlyn Marie McIntyre, Individually as Child   WD
                                                      JR; P3030                   Spouse of Donald J. McIntyre, Deceased;    Representative of the Estate of Donald J. McIntyre,  Parent/Guardian of Caitlyn Marie of Donald J. McIntyre, Deceased, and
                                                                                                                             Deceased;                                            McIntyre                         previously included as minor child of
                                                                                                                                                                                                                   Jeannine Marie McIntyre;
 315 Donald J. McIntyre       Jeannine Marie McIntyre DKT 155; 1:02-cv-01616-     Jeannine Marie McIntyre, Individually, as  Jeannine Marie McIntyre as the Personal              Jeannine Marie McIntyre as       Donald James McIntyre, Individually as          WD
                                                      JR; P3030                   Spouse of Donald J. McIntyre, Deceased;    Representative of the Estate of Donald J. McIntyre,  Parent/Guardian of Donald        Child of Donald J. McIntyre, Deceased, and
                                                                                                                             Deceased;                                            James McIntyre, Jr.              previously included as minor child of
                                                                                                                                                                                                                   Jeannine Marie McIntyre;
 316 Donald J. McIntyre       Jeannine Marie McIntyre DKT 155; 1:02-cv-01616-     Jeannine Marie McIntyre, Individually, as  Jeannine Marie McIntyre as the Personal              Jeannine Marie McIntyre as       Lauren McIntyre, Individually as Child of       WD
                                                      JR; P3030                   Spouse of Donald J. McIntyre, Deceased;    Representative of the Estate of Donald J. McIntyre,  Parent/Guardian of Lauren        Donald J. McIntyre, Deceased, and
                                                                                                                             Deceased;                                            McIntyre                         previously included as minor child of
                                                                                                                                                                                                                   Jeannine Marie McIntyre;
 317 Donald L. Adams          Heda K. Adams           DKT 77; 1:02-cv-01616-      Heda K. Adams, Individually, as Spouse of Heda K. Adams as the Representative of the Estate of Heda K. Adams as                  Heda K. Adams on behalf of R.T.A., Child of     WD
                                                      JR; AP200 (DOE 96)          Donald L. Adams, Deceased;                 Donald L. Adams, Deceased;                           Parent/Guardian of R.T.A.        Donald L. Adams, Deceased;
 318 Dong Chul Lee            Jungmi Suh Lee          DKT 305; 1:02-cv-01616-     Jungmi Suh Lee, Individually, as Spouse of Jungmi Suh Lee as the Personal Representative of the Jungmi Suh Lee as                Jungmi Suh Lee on behalf of C.L., Child of      WD
                                                      JR; P4383                   Dong Chul Lee, Deceased;                   Estate of Dong Chul Lee, Deceased;                   Parent/Guardian of C.L.          Dong Chul Lee, Deceased;
 319 Dong Chul Lee            Jungmi Suh Lee          DKT 305; 1:02-cv-01616-     Jungmi Suh Lee, Individually, as Spouse of Jungmi Suh Lee as the Personal Representative of the Jungmi Suh Lee as                Jungmi Suh Lee on behalf of D.L., Child of      WD
                                                      JR; P4383                   Dong Chul Lee, Deceased;                   Estate of Dong Chul Lee, Deceased;                   Parent/Guardian of D.L.          Dong Chul Lee, Deceased;
 320 Dong Chul Lee            Jungmi Suh Lee          DKT 305; 1:02-cv-01616-     Jungmi Suh Lee, Individually, as Spouse of Jungmi Suh Lee as the Personal Representative of the Jungmi Suh Lee as                Jungmi Suh Lee on behalf of M.L., Child of      WD
                                                      JR; P4383                   Dong Chul Lee, Deceased;                   Estate of Dong Chul Lee, Deceased;                   Parent/Guardian of M.L.          Dong Chul Lee, Deceased;
 321 Donnie B. Taylor, Sr.    Sarah Taylor            DKT 232; 1:02-cv-01616-     Sarah Taylor, Individually, as Spouse of   Sarah Taylor as the Representative of the Estate of  Sarah Taylor as Parent/Guardian Sarah Taylor on behalf of S.L.T., Child of       WD
                                                      JR; P3980                   Donnie B. Taylor, Sr., Deceased;           Donnie B. Taylor, Sr., Deceased;                     of S.L.T.                        Donnie B. Taylor, Deceased;
 322 Dora Marie Menchaca      Earl A. Dorsey          DKT 305; 1:02-cv-01616-     Earl A. Dorsey, Individually, as Spouse of                                                      Earl A. Dorsey as                Jaryd Alexander Dorsey, Individually as         WD
                                                      JR; P4434                   Dora Marie Menchaca, Deceased;                                                                  Parent/Guardian of Jaryd         Child of Dora Marie Menchaca, Deceased,
                                                                                                                                                                                  Alexander Dorsey                 and previously included as minor child of
                                                                                                                                                                                                                   Earl A. Dorsey;
 323 Dora Marie Menchaca      Earl Alexander Dorsey   DKT 305; 1:02-cv-01616-     Earl Alexander Dorsey, Individually, as    Earl Alexander Dorsey as the Personal Representative                                                                                  WD
                                                      JR; P4434                   Spouse of Dora Marie Menchaca, Deceased; of the Estate of Dora Marie Menchaca, Deceased;

 324 Doreen J. Angrisani      Irene T. Angrisani      DKT 313; 1:02-cv-01616-     Irene T. Angrisani, Individually, as Parent of   Irene T. Angrisani as the Personal Representative of                                                                            WD
                                                      JR; P4589                   Doreen J. Angrisani, Deceased;                   the Estate of Doreen J. Angrisani, Deceased;

 325 Dorothy Pearl Temple     Louis Temple            DKT 26, 29; 1:02-cv-        Louis Temple, Individually, as Sibling of        Louis Temple as the Co-Personal Representative of                                                                               WD
                                                      01616-JR; 2395              Dorothy Pearl Temple, Deceased;                  the Estate of Dorothy Pearl Temple, Deceased;
 326 Dorothy Pearl Temple     Rosalyn Temple          DKT 1; 1:02-cv-01616-JR;    Rosalyn Temple , Individually, as Sibling of     Rosalyn Temple as the Co-Personal Representative of                                                                             WD
                                                      619                         Dorothy Pearl Temple, Deceased;                  the Estate of Dorothy Pearl Temple, Deceased;

 327 Douglas Alan Gowell      Barbara Joan Gowell     DKT HAND FILED (3-10-       Barbara Joan Gowell, Individually, as    Barbara Joan Gowell as the Personal Representative                                                                                      WD
                                                      2004); 1:03-cv-9849         Spouse of Douglas Alan Gowell, Deceased; of the Estate of Douglas Alan Gowell, Deceased;
                                                      (RCC); P5072
                                                                                                                                    20
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 21 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
Number
                                Plaintiff's Name                                                                                Additional Capacity to be reflected in Amended          Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                      Plaintiff's Individual Capacity          Caption identifying the estate representative of         or Guardian of Previously
                                                           Complaint                                                                                                                                                             plaintiff in their own right
                                   complaint                                                                                                     9/11 Decedent                                   Minor Child


 328 Douglas B. Gardner       Jennifer Radding       DKT 432; 1:02-cv-01616-     Jennifer Radding Gardner, Individually, as   Jennifer Radding Gardner as the Personal                  Jennifer Radding Gardner as       Julia Sylvie Gardner, Individually as Child of   WD
                              Gardner                JR; P4844                   Spouse of Douglas B. Gardner, Deceased;      Representative of the Estate of Douglas B. Gardner,       Parent/Guardian of Julia Sylvie   Douglas B. Gardner, Deceased, and
                                                                                                                              Deceased;                                                 Gardner                           previously included as minor child of
                                                                                                                                                                                                                          Jennifer Radding Gardner;
 329 Douglas B. Gardner       Jennifer Radding       DKT 432; 1:02-cv-01616-     Jennifer Radding Gardner, Individually, as   Jennifer Radding Gardner as the Personal                  Jennifer Radding Gardner as       Jennifer Radding Gardner on behalf of            WD
                              Gardner                JR; P4844                   Spouse of Douglas B. Gardner, Deceased;      Representative of the Estate of Douglas B. Gardner,       Parent/Guardian of M.J.G.         M.J.G., Child of Douglas B. Gardner;
                                                                                                                              Deceased;                                                                                   Deceased
 330 Douglas E. Oelschlager   Suzanne Oelschlager    DKT 1; 1:02-cv-01616-JR; Suzanne Oelschlager, Individually, as                                                                     Suzanne Oelschlager as            Brittany Paige Oelschlager, Individually as      WD
                                                     821                      Spouse of Douglas E. Oelschlager,                                                                         Parent/Guardian of Brittany       Child of Douglas E. Oelschlager, Deceased,
                                                                              Deceased;                                                                                                 Paige Oelschlager                 and previously included as minor child of
                                                                                                                                                                                                                          Suzanne Oelschlager;
 331 Douglas E. Oelschlager   Suzanne Oelschlager    DKT 1; 1:02-cv-01616-JR; Suzanne Oelschlager, Individually, as                                                                     Suzanne Oelschlager as            Kayla Ryan Oelschlager, Individually as          WD
                                                     821                      Spouse of Douglas E. Oelschlager,                                                                         Parent/Guardian of Kayla Ryan     Child of Douglas E. Oelschlager, Deceased,
                                                                              Deceased;                                                                                                 Oelschlager                       and previously included as minor child of
                                                                                                                                                                                                                          Suzanne Oelschlager;
 332 Douglas J. Stone         Charles Parker, III    DKT 602; 1:03-md-01570-GBD-SN; P5504                                     Charles Parker, III as the Representative of the Estate                                                                                      WD
                                                                                                                              of Douglas J. Stone, Deceased;
 333 Dwayne Williams          Tammy Gesiele          DKT 305; 1:02-cv-01616-     Tammy Gesiele Williams, Individually, as     Tammy Gesiele Williams as the Personal                    Tammy Gesiele Williams as         Kelsie Sarae Minor, Individually as Child of WD
                              Williams               JR; P4572                   Spouse of Dwayne Williams, Deceased;         Representative of the Estate of Dwayne Williams,          Parent/Guardian of Kelsie Sarae   Dwayne Williams, Deceased, and previously
                                                                                                                              Deceased;                                                 Minor                             included as minor child of Tammy Gesiele
                                                                                                                                                                                                                          Williams;
 334 Eamon James McEneaney Bonnie McEneaney          DKT 232; 1:02-cv-01616-     Bonnie McEneaney McNamara, Individually, Bonnie McEneaney McNamara as the Personal                     Bonnie McEneaney McNamara         Jennifer Jeanne McEneaney, Individually as WD
                           McNamara                  JR; P3831                   as Spouse of Eamon James McEneaney,      Representative of the Estate of Eamon James                   as Parent/Guardian of Jennifer    Child of Eamon James McEneaney,
                                                                                 Deceased;                                McEneaney, Deceased;                                          Jeanne McEneaney                  Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Bonnie McEneaney McNamara;

 335 Eamon James McEneaney Bonnie McEneaney          DKT 232; 1:02-cv-01616-     Bonnie McEneaney McNamara, Individually, Bonnie McEneaney McNamara as the Personal                     Bonnie McEneaney McNamara         Kevin Blayney McEneaney, Individually as   WD
                           McNamara                  JR; P3831                   as Spouse of Eamon James McEneaney,      Representative of the Estate of Eamon James                   as Parent/Guardian of Kevin       Child of Eamon James McEneaney,
                                                                                 Deceased;                                McEneaney, Deceased;                                          Blayney McEneaney                 Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Bonnie McEneaney McNamara;

 336 Eamon James McEneaney Bonnie McEneaney          DKT 232; 1:02-cv-01616-     Bonnie McEneaney McNamara, Individually, Bonnie McEneaney McNamara as the Personal                     Bonnie McEneaney McNamara         Kyle MacDonald McEneaney, Individually as WD
                           McNamara                  JR; P3831                   as Spouse of Eamon James McEneaney,      Representative of the Estate of Eamon James                   as Parent/Guardian of Kyle        Child of Eamon James McEneaney,
                                                                                 Deceased;                                McEneaney, Deceased;                                          MacDonald McEneaney               Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Bonnie McEneaney McNamara;

 337 Eamon James McEneaney Bonnie McEneaney          DKT 232; 1:02-cv-01616-     Bonnie McEneaney McNamara, Individually, Bonnie McEneaney McNamara as the Personal                     Bonnie McEneaney McNamara         Brendan McEneaney, Individually as Child         WD
                           McNamara                  JR; P3831                   as Spouse of Eamon James McEneaney,      Representative of the Estate of Eamon James                   as Parent/Guardian of Brendan     of Eamon James McEneaney, Deceased,
                                                                                 Deceased;                                McEneaney, Deceased;                                          McEneaney                         and previously included as minor child of
                                                                                                                                                                                                                          Bonnie McEneaney McNamara;

 338 Edward A. D'Atri         Linda D'Atri-Potenza   DKT 432; 1:02-cv-01616-     Linda D'Atri-Potenza, Individually, as       Linda D'Atri-Potenza as the Personal Representative       Linda D'Atri-Potenza as           Anthony Joseph D'Atri, Individually as Child     WD
                                                     JR; P4807                   Spouse of Edward A. D'Atri, Deceased;        of the Estate of Edward A. D'Atri, Deceased;              Parent/Guardian of Anthony        of Edward A. D'Atri, Deceased, and
                                                                                                                                                                                        Joseph D'Atri                     previously included as minor child of Linda
                                                                                                                                                                                                                          D'Atri-Potenza;
 339 Edward A. D'Atri         Linda D'Atri-Potenza   DKT 432; 1:02-cv-01616-     Linda D'Atri-Potenza, Individually, as       Linda D'Atri-Potenza as the Personal Representative       Linda D'Atri-Potenza as           Michael Edward D'Atri, Individually as Child     WD
                                                     JR; P4807                   Spouse of Edward A. D'Atri, Deceased;        of the Estate of Edward A. D'Atri, Deceased;              Parent/Guardian of Michael        of Edward A. D'Atri, Deceased, and
                                                                                                                                                                                        Edward D'Atri                     previously included as minor child of Linda
                                                                                                                                                                                                                          D'Atri-Potenza;
 340 Edward Charles Murphy    Ryan Lewis Murphy      DKT 232; 1:02-cv-01616-JR; P4077                                         Ryan Lewis Murphy as the Personal Representative of                                                                                          WD
                                                                                                                              the Estate of Edward Charles Murphy, Deceased;




                                                                                                                               21
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 22 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
Number
                                Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                            Complaint                                                                                                                                                             plaintiff in their own right
                                   complaint                                                                                                         9/11 Decedent                                 Minor Child


 341 Edward DeSimone          Joanne DeSimone         DKT 26, 29; 1:02-cv-        Joanne DeSimone, Individually, as Spouse                                                                Joanne DeSimone as               Stephanie Concetta DeSimone, Individually WD
                                                      01616-JR; 1946              of Edward DeSimone, Deceased;                                                                           Parent/Guardian of Stephanie     as Child of Edward DeSimone, III,
                                                                                                                                                                                          Concetta DeSimone                Deceased, and previously included as minor
                                                                                                                                                                                                                           child of Joanne DeSimone;

 342 Edward DeSimone          Joanne DeSimone         DKT 26, 29; 1:02-cv-        Joanne DeSimone, Individually, as Spouse                                                                Joanne DeSimone as                 Edward DeSimone, IV, Individually as Child WD
                                                      01616-JR; 1946              of Edward DeSimone, Deceased;                                                                           Parent/Guardian of Edward          of Edward DeSimone, III, Deceased, and
                                                                                                                                                                                          DeSimone, IV                       previously included as minor child of Joanne
                                                                                                                                                                                                                             DeSimone;
 343 Edward Frank Pullis      Melissa Pullis          DKT 155; 1:02-cv-01616-     Melissa Pullis, Individually, as Spouse of      Melissa Pullis as the Representative of the Estate of   Melissa Pullis as                  Anthony Pullis, Individually as Child of      WD
                                                      JR; P3072                   Edward Frank Pullis, Deceased;                  Edward Frank Pullis, Deceased;                          Parent/Guardian of Anthony Pullis Edward Frank Pullis, Deceased, and
                                                                                                                                                                                                                             previously included as minor child of Melissa
                                                                                                                                                                                                                             Pullis;
 344 Edward Frank Pullis      Melissa Pullis          DKT 155; 1:02-cv-01616-     Melissa Pullis, Individually, as Spouse of      Melissa Pullis as the Representative of the Estate of   Melissa Pullis as                  Edward Pullis, Individually as Child of       WD
                                                      JR; P3072                   Edward Frank Pullis, Deceased;                  Edward Frank Pullis, Deceased;                          Parent/Guardian of Edward Pullis Edward Frank Pullis, Deceased, and
                                                                                                                                                                                                                             previously included as minor child of Melissa
                                                                                                                                                                                                                             Pullis;
 345 Edward Frank Pullis      Melissa Pullis          DKT 155; 1:02-cv-01616-     Melissa Pullis, Individually, as Spouse of      Melissa Pullis as the Representative of the Estate of   Melissa Pullis as                  Maria F. Pullis, Individually as Child of     WD
                                                      JR; P3072                   Edward Frank Pullis, Deceased;                  Edward Frank Pullis, Deceased;                          Parent/Guardian of Maria F. Pullis Edward Frank Pullis, Deceased, and
                                                                                                                                                                                                                             previously included as minor child of Melissa
                                                                                                                                                                                                                             Pullis;
 346 Edward J. Papa           Patricia N. Papa        DKT 432; 1:02-cv-01616-     Patricia N. Papa, Individually, as Spouse of    Patricia N. Papa as the Representative of the Estate of                                                                                  WD
                                                      JR; P4919                   Edward J. Papa, Deceased;                       Edward J. Papa, Deceased;
 347 Edward J. Rall           Darlene G. Rall         DKT 26, 29; 1:02-cv-        Darlene G. Rall, Individually, as Spouse of                                                             Darlene G. Rall as                 Daniel Rall, Individually as Child of Edward WD
                                                      01616-JR; 4209              Edward J. Rall, Deceased;                                                                               Parent/Guardian of Daniel Rall     J. Rall, Deceased, and previously included
                                                                                                                                                                                                                             as minor child of Darlene G. Rall;

 348 Edward J. Rall           Darlene G. Rall         DKT 26, 29; 1:02-cv-        Darlene G. Rall, Individually, as Spouse of                                                             Darlene G. Rall as               Joseph Rall, Individually as Child of Edward WD
                                                      01616-JR; 4209              Edward J. Rall, Deceased;                                                                               Parent/Guardian of Joseph Rall   J. Rall, Deceased, and previously included
                                                                                                                                                                                                                           as minor child of Darlene G. Rall;

 349 Edward J. Rall           Darlene G. Rall         DKT 26, 29; 1:02-cv-        Darlene G. Rall, Individually, as Spouse of                                                             Darlene G. Rall as               Matthew William Rall, Individually as Child WD
                                                      01616-JR; 4209              Edward J. Rall, Deceased;                                                                               Parent/Guardian of Matthew       of Edward J. Rall, Deceased, and previously
                                                                                                                                                                                          William Rall                     included as minor child of Darlene G. Rall;

 350 Edward L. Allegretto     Louisa Allegretto       DKT 305; 1:02-cv-01616-     Louisa Allegretto, Individually, as Spouse of   Louisa Allegretto as the Representative of the Estate   Louisa Allegretto as             Louisa Allegretto on behalf of E.A., Child of   WD
                                                      JR; P4106                   Edward L. Allegretto, Deceased;                 of Edward L. Allegretto, Deceased;                      Parent/Guardian of E.A.          Edward L. Allegretto, Deceased;

 351 Edward L. Allegretto     Louisa Allegretto       DKT 305; 1:02-cv-01616-     Louisa Allegretto, Individually, as Spouse of   Louisa Allegretto as the Representative of the Estate   Louisa Allegretto as             Louisa Allegretto on behalf of M.J., Child of   WD
                                                      JR; P4106                   Edward L. Allegretto, Deceased;                 of Edward L. Allegretto, Deceased;                      Parent/Guardian of M.J.          Edward L. Allegretto, Deceased;

 352 Edward Mazzella, Jr.     Catherine Mazzella      DKT 232; 1:02-cv-01616-     Catherine Mazzella, Individually, as Spouse     Catherine Mazzella as the Co-Personal Representative                                                                                     WD
                                                      JR; P3822                   of Edward Mazzella, Jr., Deceased;              of the Estate of Edward Mazzella, Jr., Deceased;

 353 Edward Mazzella, Jr.     Michael T. Mazzella     DKT 305; 1:02-cv-01616-     Michael T. Mazzella, Individually, as Child of Michael T. Mazzella as the Co-Personal                                                                                                    WD
                                                      JR; P4409                   Edward Mazzella, Jr., Deceased;                Representative of the Estate of Edward Mazzella, Jr.,
                                                                                                                                 Deceased;
 354 Edward Mazzella, Jr.     Susan M. Brannigan      DKT 305; 1:02-cv-01616-     Susan M. Brannigan, Individually, as Child     Susan M. Brannigan as the Co-Personal                                                                                                     WD
                                                      JR; P4410                   of Edward Mazzella, Jr., Deceased;             Representative of the Estate of Edward Mazzella, Jr.,
                                                                                                                                 Deceased;
 355 Edward Philip York       Kimberly Gordish York   DKT 232; 1:02-cv-01616-     Kimberly Gordish York, Individually, as        Kimberly Gordish York as the Personal Representative Kimberly Gordish York as          Katelyn Elyse Marut, Individually as Child of      WD
                                                      JR; P4101                   Spouse of Edward Philip York, Deceased;        of the Estate of Edward Philip York, Deceased;        Parent/Guardian of Katelyn Elyse Edward Philip York, Deceased, and
                                                                                                                                                                                       Marut                            previously included as minor child of
                                                                                                                                                                                                                        Kimberly Gordish York;



                                                                                                                                   22
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 23 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
Number
                                  Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                       Plaintiff's Individual Capacity            Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                            plaintiff in their own right
                                     complaint                                                                                                        9/11 Decedent                                Minor Child


 356 Edward Philip York        Kimberly Gordish York   DKT 232; 1:02-cv-01616-     Kimberly Gordish York, Individually, as         Kimberly Gordish York as the Personal Representative Kimberly Gordish York as         Patrick Evan York, Individually as Child of   WD
                                                       JR; P4101                   Spouse of Edward Philip York, Deceased;         of the Estate of Edward Philip York, Deceased;       Parent/Guardian of Patrick Evan  Edward Philip York, Deceased, and
                                                                                                                                                                                        York                             previously included as minor child of
                                                                                                                                                                                                                         Kimberly Gordish York;
 357 Edward Philip York        Kimberly Gordish York   DKT 232; 1:02-cv-01616-     Kimberly Gordish York, Individually, as         Kimberly Gordish York as the Personal Representative Kimberly Gordish York as         Peter M. York, Individually as Child of       WD
                                                       JR; P4101                   Spouse of Edward Philip York, Deceased;         of the Estate of Edward Philip York, Deceased;       Parent/Guardian of Peter M. York Edward Philip York, Deceased, and
                                                                                                                                                                                                                         previously included as minor child of
                                                                                                                                                                                                                         Kimberly Gordish York;
 358 Edward R. Pykon           Jacqueline Amy Pykon    DKT 3; 1:02-cv-01616-JR; Jacqueline Amy Pykon, Individually, as                                                                  Jacqueline Amy Pykon as          Jordyn B. Pykon, Individually as Child of     WD
                                                       1778                     Spouse of Edward R. Pykon, Deceased;                                                                    Parent/Guardian of Jordyn B.     Edward R. Pykon, Deceased, and
                                                                                                                                                                                        Pykon                            previously included as minor child of
                                                                                                                                                                                                                         Jacqueline Amy Pykon;
 359 Edward T. Keane           Barbara E. Keane        DKT 232; 1:02-cv-01616-     Barbara E. Keane, Individually, as Spouse       Barbara E. Keane as the Personal Representative of                                                                                  WD
                                                       JR; P3739                   of Edward T. Keane, Deceased;                   the Estate of Edward T. Keane, Deceased;
 360 Edward Thomas Fergus, Jr. Linda Jane Fergus       DKT 155; 1:02-cv-01616-     Linda Jane Fergus, Individually, as Spouse      Linda Jane Fergus as the Personal Representative of Linda Jane Fergus as              Shannon Marie Fergus, Individually as Child   WD
                                                       JR; P2895                   of Edward Thomas Fergus, Jr., Deceased;         the Estate of Edward Thomas Fergus, Jr., Deceased; Parent/Guardian of Shannon         of Edward Thomas Fergus, Jr., Deceased,
                                                                                                                                                                                        Marie Fergus                     and previously included as minor child of
                                                                                                                                                                                                                         Linda Jane Fergus;
 361 Edward Thomas Fergus, Jr. Linda Jane Fergus       DKT 155; 1:02-cv-01616-     Linda Jane Fergus, Individually, as Spouse      Linda Jane Fergus as the Personal Representative of Linda Jane Fergus as              Thomas William Fergus, Individually as        WD
                                                       JR; P2895                   of Edward Thomas Fergus, Jr., Deceased;         the Estate of Edward Thomas Fergus, Jr., Deceased; Parent/Guardian of Thomas          Child of Edward Thomas Fergus, Jr.,
                                                                                                                                                                                        William Fergus                   Deceased, and previously included as minor
                                                                                                                                                                                                                         child of Linda Jane Fergus;
 362 Eileen Greenstein         Michael J. Greenstein   DKT 77; 1:02-cv-01616-      Michael J. Greenstein, Individually, as         Michael J. Greenstein as the Personal Representative                                                                                WD
                                                       JR; P2621                   Sibling of Eileen Greenstein, Deceased;         of the Estate of Eileen Greenstein, Deceased;

 363 Eli Chalouh               Haim Chalouh            DKT 432; 1:02-cv-01616-     Haim Chalouh, Individually, as Sibling of Eli   Haim Chalouh as the Personal Representative of the                                                                                  WD
                                                       JR; P4793                   Chalouh, Deceased;                              Estate as the Representative of the Estate of Eli
                                                                                                                                   Chalouh, Deceased;
 364 Elizabeth C. Logler       Robert Francis Logler   DKT 232; 1:02-cv-01616-     Robert Francis Logler, Individually, as         Robert Francis Logler as the Personal Representative                                                                                WD
                                                       JR; P3791                   Parent of Elizabeth C. Logler, Deceased;        of the Estate of Elizabeth C. Logler, Deceased;

 365 Emilio Ortiz              Wanda Garcia-Ortiz      DKT 305; 1:02-cv-01616-     Wanda Garcia-Ortiz, Individually, as Spouse Wanda Garcia-Ortiz as the Representative of the            Wanda Garcia-Ortiz as           Amanda Ortiz, Individually as Child of Emilio WD
                                                       JR; P4460                   of Emilio Ortiz, Deceased;                  Estate of Emilio Ortiz, Deceased;                          Parent/Guardian of Amanda Ortiz Ortiz, Deceased, and previously included as
                                                                                                                                                                                                                          minor child of Wanda Garcia-Ortiz;

 366 Emilio Ortiz              Wanda Garcia-Ortiz      DKT 305; 1:02-cv-01616-     Wanda Garcia-Ortiz, Individually, as Spouse Wanda Garcia-Ortiz as the Representative of the            Wanda Garcia-Ortiz as            Emily Ortiz, Individually as Child of Emilio WD
                                                       JR; P4460                   of Emilio Ortiz, Deceased;                  Estate of Emilio Ortiz, Deceased;                          Parent/Guardian of Emily Ortiz   Ortiz, Deceased, and previously included as
                                                                                                                                                                                                                           minor child of Wanda Garcia-Ortiz;

 367 Eric Adam Eisenberg       Paula Robin Shapiro     DKT 305; 1:02-cv-01616-     Paula Robin Shapiro, Individually, as Parent Paula Robin Shapiro as the Personal Representative                                                                                     WD
                                                       JR; P4250                   of Eric Adam Eisenberg, Deceased;            of the Estate of Eric Adam Eisenberg, Deceased;

 368 Eric Adam Stahlman        Blanca Stahlman         DKT 313; 1:02-cv-01616-     Blanca Stahlman, Individually, as Spouse of Blanca Stahlman as the Personal Representative of          Blanca Stahlman as                Allison Nicole Stahlman, Individually as     WD
                                                       JR; P4742                   Eric Adam Stahlman, Deceased;               the Estate of Eric Adam Stahlman, Deceased;                Parent/Guardian of Allison Nicole Child of Eric Adam Stahlman, Deceased,
                                                                                                                                                                                          Stahlman                          and previously included as minor child of
                                                                                                                                                                                                                            Blanca Stahlman;
 369 Eric Adam Stahlman        Blanca Stahlman         DKT 313; 1:02-cv-01616-     Blanca Stahlman, Individually, as Spouse of Blanca Stahlman as the Personal Representative of          Blanca Stahlman as                Jacob Evan Stahlman, Individually as Child WD
                                                       JR; P4742                   Eric Adam Stahlman, Deceased;               the Estate of Eric Adam Stahlman, Deceased;                Parent/Guardian of Jacob Evan     of Eric Adam Stahlman, Deceased, and
                                                                                                                                                                                          Stahlman                          previously included as minor child of Blanca
                                                                                                                                                                                                                            Stahlman;
 370 Eric Andrew Lehrfeld      Hayley Natalie Lehrfeld DKT 313; 1:02-cv-01616-     Hayley Natalie Lehrfeld, Individually, as Hayley Natalie Lehrfeld as the Personal                      Hayley Natalie Lehrfeld as        Hayley Natalie Lehrfeld on behalf of L.E.L., WD
                                                       JR; P4684                   Spouse of Eric Andrew Lehrfeld, Deceased; Representative of the Estate of Eric Andrew Lehrfeld,        Parent/Guardian of L.E.L.         Child of Eric Andrew Lehrfeld, Deceased;
                                                                                                                             Deceased;




                                                                                                                                    23
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 24 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
Number
                                 Plaintiff's Name                                                                                       Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                         Plaintiff's Individual Capacity              Caption identifying the estate representative of        or Guardian of Previously
                                                              Complaint                                                                                                                                                               plaintiff in their own right
                                    complaint                                                                                                            9/11 Decedent                                  Minor Child


 371 Eric R. Thorpe            Linda P. Thorpe         DKT 602; 1:03-md-01570- Linda P. Thorpe, Individually, as Spouse of                                                                     Linda P. Thorpe as               Alexis Michelle Thorpe, Individually as Child WD
                                                       GBD-SN; P5507           Eric R. Thorpe, Deceased;                                                                                       Parent/Guardian of Alexis        of Eric R. Thorpe, Deceased, and previously
                                                                                                                                                                                               Michelle Thorpe                  included as minor child of Linda P. Thorpe;

 372 Eric R. Thorpe            Linda Perry Thorpe      DKT 602; 1:03-md-01570- Linda Perry Thorpe, Individually, as Spouse            Linda Perry Thorpe as the Personal Representative of                                                                                  WD
                                                       GBD-SN; P5507           of Eric R. Thorpe, Deceased;                           the Estate of Eric R. Thorpe, Deceased;

 373 Erik Hans Isbrandtsen     Lauri T. Isbrandtsen    DKT 305; 1:02-cv-01616-      Lauri T. Isbrandtsen, Individually, as Parent     Lauri T. Isbrandtsen as the Personal Representative of                                                                                WD
                                                       JR; P4335                    of Erik Hans Isbrandtsen, Deceased;               the Estate of Erik Hans Isbrandtsen, Deceased;

 374 Ernest M. Willcher        Shirley N. Willcher     DKT 155; 1:02-cv-01616-      Shirley N. Willcher, Individually, as Spouse      Shirley N. Willcher as the Personal Representative of                                                                                 WD
                                                       JR; P3157                    of Ernest M. Willcher, Deceased;                  the Estate of Ernest M. Willcher, Deceased;

 375 Eugene Michael Whelan     Joan Ann Whelan         DKT 26, 29; 1:02-cv-         Joan Ann Whelan, Individually, as Parent of       Joan Ann Whelan as the Personal Representative of                                                                                     WD
                                                       01616-JR; 4709               Eugene Michael Whelan, Deceased;                  the Estate of Eugene Michael Whelan, Deceased;

 376 Eustace Patrick Bacchus   Juana Maria Bacchus     DKT 77; 1:02-cv-01616-    Juana Maria Bacchus, Individually, as                Juana Maria Bacchus as the Personal Representative                                                                                    WD
                                                       JR; P2529                 Spouse of Eustace Patrick Bacchus,                   of the Estate of Eustace Patrick Bacchus, Deceased;
                                                                                 Deceased;
 377 Fabian Soto               Elda Giron                                        Elda Giron, Individually, as Spouse of
                                                       DKT 77; 1:02-cv-01616-JR; P2612                                                Elda Giron as the Representative of the Estate of                                                                                     WD
                                                                                 Fabian Soto, Deceased;                               Fabian Soto, Deceased;
 378 Faina Aronovna Rapoport   Aleksandr Rapoport      DKT 3; 1:02-cv-01616-JR; Aleksandr Rapoport, Individually, as Child of         Aleksandr Rapoport as the Personal Representative of                                                                                  WD
                                                       1782 (DOE 46)             Faina Aronovna Rapoport, Deceased;                   the Estate of Faina Aronovna Rapoport, Deceased;

 379 Felicia Hamilton          Lisa A. Ventura         DKT 77; 1:02-cv-01616-       Lisa A. Ventura, Individually, as Child of        Lisa A. Ventura as the Personal Representative of the    Lisa A. Ventura as               Jessica Ventura, Individually as Child of     WD
                                                       JR; P2734                    Felicia Hamilton, Deceased;                       Estate of Felicia Hamilton, Deceased;                    Parent/Guardian of Jessica       Anthony M. Ventura, Deceased, and
                                                                                                                                                                                               Ventura                          previously included as minor child of Lisa A.
                                                                                                                                                                                                                                Ventura;
 380 Felicia Hamilton          Lisa A. Ventura         DKT 77; 1:02-cv-01616-       Lisa A. Ventura, Individually, as Child of        Lisa A. Ventura as the Personal Representative of the    Lisa A. Ventura as               Nicole Ventura, Individually as Child of      WD
                                                       JR; P2734                    Felicia Hamilton, Deceased;                       Estate of Felicia Hamilton, Deceased;                    Parent/Guardian of Nicole        Anthony M. Ventura, Deceased, and
                                                                                                                                                                                               Ventura                          previously included as minor child of Lisa A.
                                                                                                                                                                                                                                Ventura;
 381 Felix Antonio Vale        Carmen I. Garcia        DKT 232; 1:02-cv-01616-      Carmen I. Garcia, Individually, as Parent of      Carmen I. Garcia as the Personal Representative of                                                                                      WD
                                                       JR; P3990                    Felix Antonio Vale, Deceased;                     the Estate of Felix Antonio Vale, Deceased;
 382 Frances Cilente           Theresa A. Cilente      DKT 305; 1:02-cv-01616-      Theresa A. Cilente, Individually, as Sibling      Theresa A. Cilente ias the Personal Representative of                                                                                 WD
                                                       JR; P4178                    of Frances Cilente, Deceased;                     the Estate of Frances Cilente, Deceased;

 383 Francine Ann Virgilio     Nunzio G. Virgilio      DKT 305; 1:02-cv-01616-      Nunzio G. Virgilio, Individually, as Sibling of   Nunzio G. Virgilio as the Personal Representative of                                                                                  WD
                                                       JR; P4558                    Francine Ann Virgilio, Deceased;                  the Estate of Francine Ann Virgilio, Deceased;

 384 Francis Deming            Rosemary M. Deming-     DKT 432; 1:02-cv-01616-      Rosemary M. Deming-Phalon, Individually,                                                                   Rosemary M. Deming-Phalon as     Rosemary M. Deming-Phalon as Guardian       WD
                               Phalon                  JR; P4829; P4830             as Sibling of Francis Deming, Deceased;                                                                    Parent/Guardian of Christopher   of C.D., Child of Francis Deming, Deceased;
                                                                                                                                                                                               Deming
 385 Francis Esposito          Dawn Marie Picciano     DKT 26, 29; 1:02-cv-         Dawn Marie Picciano, Individually, as             Dawn Marie Picciano as the Personal Representative                                                                                    WD
                                                       01616-JR; 3110               Spouse of Francis Esposito, Deceased;             of the Estate of Francis Esposito, Deceased;

 386 Francis H. Brennan        Barbara H. Brennan      DKT 232; 1:02-cv-01616-      Barbara H. Brennan, Individually, as Spouse Barbara H. Brennan as the Personal Representative of                                                                                        WD
                                                       JR; P3614                    of Francis H. Brennan, Deceased;            the Estate of Francis H. Brennan, Deceased;

 387 Francis J. Nazario        Julianne Nazario Hilbert DKT 26, 29; 1:02-cv-        Julianne Nazario Hilbert, Individually, as                                                                 Julianne Nazario Hilbert as      Lena Maryann Nazario, Individually as Child WD
                                                        01616-JR; 2216              Spouse of Francis J. Nazario, Deceased;                                                                    Parent/Guardian of Lena          of Francis J. Nazario, Deceased, and
                                                                                                                                                                                               Maryann Nazario                  previously included as minor child of
                                                                                                                                                                                                                                Julianne Nazario Hilbert;




                                                                                                                                       24
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 25 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                   Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended           Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of          or Guardian of Previously
                                                               Complaint                                                                                                                                                                plaintiff in their own right
                                      complaint                                                                                                         9/11 Decedent                                    Minor Child


 388 Francis Noel McGuinn        Lynn Sofia McGuinn      DKT 232; 1:02-cv-01616-     Lynn Sofia McGuinn, Individually, as Spouse Lynn Sofia McGuinn as the Personal Representative of Lynn Sofia McGuinn as                       Carolyne Sheehan McGuinn, Individually as WD
                                                         JR; P3833                   of Francis Noel McGuinn, Deceased;          the Estate of Francis Noel McGuinn, Deceased;        Parent/Guardian of Carolyne                 Child of Francis Noel McGuinn, Deceased,
                                                                                                                                                                                      Sheehan McGuinn                             and previously included as minor child of
                                                                                                                                                                                                                                  Lynn Sofia McGuinn;
 389 Francis Noel McGuinn        Lynn Sofia McGuinn      DKT 232; 1:02-cv-01616-     Lynn Sofia McGuinn, Individually, as Spouse Lynn Sofia McGuinn as the Personal Representative of Lynn Sofia McGuinn as                       Elizabeth Francis McGuinn, Individually as    WD
                                                         JR; P3833                   of Francis Noel McGuinn, Deceased;          the Estate of Francis Noel McGuinn, Deceased;        Parent/Guardian of Elizabeth                Child of Francis Noel McGuinn, Deceased,
                                                                                                                                                                                      Francis McGuinn                             and previously included as minor child of
                                                                                                                                                                                                                                  Lynn Sofia McGuinn;
 390 Francisco Alberto Liriano   Seelochini Liriano      DKT HAND FILED (3-10-       Seelochini Liriano, Individually, as Spouse     Seelochini Liriano as the Personal Representative of       Seelochini Liriano as             Francesca Ariana Liriano, Individually as     WD
                                                         2004); 1:03-cv-9849         of Francisco Alberto Liriano, Deceased;         the Estate of Francisco Alberto Liriano, Deceased;         Parent/Guardian of Francesca      Child of Francisco Alberto Liriano,
                                                         (RCC); P5153                                                                                                                           Ariana Liriano                    Deceased, and previously included as minor
                                                                                                                                                                                                                                  child of Seelochini Liriano;
 391 Franco Lalama               Linda Lalama            DKT 232; 1:02-cv-01616-     Linda Lalama, Individually, as Spouse of        Linda Lalama as the Personal Representative of the         Linda Lalama as                   Katharine Rose Pereira, Individually as       WD
                                                         JR; P3761                   Franco Lalama, Deceased;                        Estate of Franco Lalama, Deceased;                         Parent/Guardian of Katharine      Child of Franco Lalama, Deceased, and
                                                                                                                                                                                                Rose Pereira                      previously included as minor child of Linda
                                                                                                                                                                                                                                  Lalama;
 392 Frank G. Schott, Jr.        Dina Marie Schott       DKT HAND FILED (3-10-       Dina Marie Schott, Individually, as Spouse      Dina Marie Schott as the Representative of the Estate      Dina Marie Schott as              Erica Anne Schott, Individually as Child of   WD
                                                         2004); 1:03-cv-9849         of Frank G. Schott, Jr., Deceased;              of Frank G. Schott, Jr., Deceased;                         Parent/Guardian of Erica Anne     Frank G. Schott, Deceased, and previously
                                                         (RCC); P5258                                                                                                                           Schott                            included as minor child of Dina Marie Schott;

 393 Frank G. Schott, Jr.        Dina Marie Schott       DKT HAND FILED (3-10-       Dina Marie Schott, Individually, as Spouse      Dina Marie Schott as the Representative of the Estate      Dina Marie Schott as              Jonathan Michael Schott, Individually as      WD
                                                         2004); 1:03-cv-9849         of Frank G. Schott, Jr., Deceased;              of Frank G. Schott, Jr., Deceased;                         Parent/Guardian of Jonathan       Child of Frank G. Schott, Deceased, and
                                                         (RCC); P5258                                                                                                                           Michael Schott                    previously included as minor child of Dina
                                                                                                                                                                                                                                  Marie Schott;
 394 Frank G. Schott, Jr.        Dina Marie Schott       DKT HAND FILED (3-10-       Dina Marie Schott, Individually, as Spouse      Dina Marie Schott as the Representative of the Estate      Dina Marie Schott as              Robert Frank Schott, Individually as Child of WD
                                                         2004); 1:03-cv-9849         of Frank G. Schott, Jr., Deceased;              of Frank G. Schott, Jr., Deceased;                         Parent/Guardian of Robert Frank   Frank G. Schott, Deceased, and previously
                                                         (RCC); P5258                                                                                                                           Schott                            included as minor child of Dina Marie Schott;

 395 Frank J. Koestner           Irene Smolicz           DKT 232; 1:02-cv-01616-                                                     Irene Smolicz as the Personal Representative of the        Irene Smolicz as               Irene Smolicz on behalf of C.K., Child of        WD
                                                         JR; P3755                                                                   Estate of Frank J. Koestner, Deceased;                     Parent/Guardian of C.K.        Frank J. Koestner, Deceased;
 396 Frank J. Spinelli, Jr.      Michelle Spinelli       DKT 232; 1:02-cv-01616-     Michelle Spinelli, Individually, as Spouse of   Michelle Spinelli as the Representative of the Estate of   Michelle Spinelli as           Christopher Francis Spinelli, Individually as    WD
                                                         JR; P3953                   Frank J. Spinelli, Jr., Deceased;               Frank J. Spinelli, Jr., Deceased;                          Parent/Guardian of Christopher Child of Frank J. Spinelli, Deceased, and
                                                                                                                                                                                                Francis Spinelli               previously included as minor child of
                                                                                                                                                                                                                               Michelle Spinelli;
 397 Frank J. Spinelli, Jr.      Michelle Spinelli       DKT 232; 1:02-cv-01616-     Michelle Spinelli, Individually, as Spouse of   Michelle Spinelli as the Representative of the Estate of Michelle Spinelli as             Danielle Marie Spinelli, Individually as Child   WD
                                                         JR; P3953                   Frank J. Spinelli, Jr., Deceased;               Frank J. Spinelli, Jr., Deceased;                        Parent/Guardian of Danielle      of Frank J. Spinelli, Deceased, and
                                                                                                                                                                                              Marie Spinelli                   previously included as minor child of
                                                                                                                                                                                                                               Michelle Spinelli;
 398 Frank J. Spinelli, Jr.      Michelle Spinelli       DKT 232; 1:02-cv-01616-     Michelle Spinelli, Individually, as Spouse of   Michelle Spinelli as the Representative of the Estate of Michelle Spinelli as             Nicole Lauren Spinelli, Individually as Child    WD
                                                         JR; P3953                   Frank J. Spinelli, Jr., Deceased;               Frank J. Spinelli, Jr., Deceased;                        Parent/Guardian of Nicole Lauren of Frank J. Spinelli, Deceased, and
                                                                                                                                                                                              Spinelli                         previously included as minor child of
                                                                                                                                                                                                                               Michelle Spinelli;
 399 Frank J. Vignola, Jr.       Ellen Barbara Vignola   DKT 232; 1:02-cv-01616-     Ellen Barbara Vignola, Individually, as         Ellen Barbara Vignola as the Personal Representative Ellen Barbara Vignola as             Anthony Frank Vignola, Individually as Child     WD
                                                         JR; P4002                   Spouse of Frank J. Vignola, Jr., Deceased;      of the Estate of Frank J. Vignola, Jr., Deceased;        Parent/Guardian of Anthony       of Frank J. Vignola, Deceased, and
                                                                                                                                                                                              Frank Vignola                    previously included as minor child of Ellen
                                                                                                                                                                                                                               Barbara Vignola;
 400 Frank J. Vignola, Jr.       Ellen Barbara Vignola   DKT 232; 1:02-cv-01616-     Ellen Barbara Vignola, Individually, as         Ellen Barbara Vignola as the Personal Representative Ellen Barbara Vignola as             Sarah Catherine Vignola, Individually as         WD
                                                         JR; P4002                   Spouse of Frank J. Vignola, Jr., Deceased;      of the Estate of Frank J. Vignola, Jr., Deceased;        Parent/Guardian of Sarah         Child of Frank J. Vignola, Deceased, and
                                                                                                                                                                                              Catherine Vignola                previously included as minor child of Ellen
                                                                                                                                                                                                                               Barbara Vignola;
 401 Frank Reisman               Gayle Reisman           DKT 232; 1:02-cv-01616-     Gayle Reisman, Individually, as Spouse of       Gayle Reisman as the Representative of the Estate of Gayle Reisman as                     Dillon Scott Reisman, Individually as Child      WD
                                                         JR; P3927                   Frank Reisman, Deceased;                        Frank Reisman, Deceased;                                 Parent/Guardian of Dillon Scott  of Frank Reisman, Deceased, and
                                                                                                                                                                                              Reisman                          previously included as minor child of Gayle
                                                                                                                                                                                                                               Reisman;



                                                                                                                                      25
                                                               Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 26 of 88




                                                                                                                                                                                                                                                                               Nature of Claim
Number
                                     Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended          Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
         9/11 Decedent Name         Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of         or Guardian of Previously
                                                                Complaint                                                                                                                                                               plaintiff in their own right
                                        complaint                                                                                                       9/11 Decedent                                   Minor Child


 402 Frank Reisman                 Gayle Reisman          DKT 232; 1:02-cv-01616-     Gayle Reisman, Individually, as Spouse of      Gayle Reisman as the Representative of the Estate of      Gayle Reisman as                  Kasey Michelle Reisman, Individually as       WD
                                                          JR; P3927                   Frank Reisman, Deceased;                       Frank Reisman, Deceased;                                  Parent/Guardian of Kasey          Child of Frank Reisman, Deceased, and
                                                                                                                                                                                               Michelle Reisman                  previously included as minor child of Gayle
                                                                                                                                                                                                                                 Reisman;
 403 Frank Thomas Aquilino         Frank John Aquilino    DKT 26, 29; 1:02-cv-        Frank John Aquilino, Individually, as Parent   Frank John Aquilino as the Personal Representative of                                                                                     WD
                                                          01616-JR; 1822              of Frank Thomas Aquilino, Deceased;            the Estate of Frank Thomas Aquilino, Deceased;

 404 Frank Thomas Wisniewski       Carol D. Wisniewski    DKT 232; 1:02-cv-01616-     Carol D. Wisniewski, Individually, as          Carol D. Wisniewski as the Personal Representative of Carol D. Wisniewski as                Alexandra Ashley Wisniewski, Individually  WD
                                                          JR; P4100                   Spouse of Frank Thomas Wisniewski,             the Estate of Frank Thomas Wisniewski, Deceased;      Parent/Guardian of Alexandra          as Child of Frank Thomas Wisniewski,
                                                                                      Deceased;                                                                                            Ashley Wisniewski                     Deceased, and previously included as minor
                                                                                                                                                                                                                                 child of Carol D. Wisniewski;

 405 Frank Thomas Wisniewski       Carol D. Wisniewski    DKT 232; 1:02-cv-01616-     Carol D. Wisniewski, Individually, as          Carol D. Wisniewski as the Personal Representative of Carol D. Wisniewski as                Jonathan Paul Wisniewski, Individually as  WD
                                                          JR; P4100                   Spouse of Frank Thomas Wisniewski,             the Estate of Frank Thomas Wisniewski, Deceased;      Parent/Guardian of Jonathan           Child of Frank Thomas Wisniewski,
                                                                                      Deceased;                                                                                            Paul Wisniewski                       Deceased, and previously included as minor
                                                                                                                                                                                                                                 child of Carol D. Wisniewski;
 406 Fred John Cox                 Ann Mason Douglas      DKT 77; 1:02-cv-01616-      Ann Mason Douglas, Individually, as Parent     Ann Mason Douglas as the Co-Personal                                                                                                   WD
                                                          JR; P2584                   of Fred John Cox, Deceased;                    Representative of the Estate of Fred John Cox,
                                                                                                                                     Deceased;
 407 Fred John Cox                 Frederick Osterhoudt   DKT 77; 1:02-cv-01616-      Frederick Osterhoudt Cox, Individually, as     Frederick Osterhoudt Cox as the Co-Personal                                                                                               WD
                                   Cox                    JR; P2575                   Parent of Fred John Cox, Deceased;             Representative of the Estate of Fred John Cox,
                                                                                                                                     Deceased;
 408 Frederick Varacchi            Eileen Varacchi        DKT 232; 1:02-cv-01616-     Eileen Varacchi, Individually, as Spouse of    Eileen Varacchias as the Personal Representative of       Eileen Varacchi as                Corinne Eileen Varacchi, Individually as       WD
                                                          JR; P3993                   Frederick Varacchi, Deceased;                  the Estate of Frederick Varacchi, Deceased;               Parent/Guardian of Corinne        Child of Frederick Varacchi, Deceased, and
                                                                                                                                                                                               Eileen Varacchi                   previously included as minor child of Eileen
                                                                                                                                                                                                                                 Varacchi;
 409 Frederick Varacchi            Eileen Varacchi        DKT 232; 1:02-cv-01616-     Eileen Varacchi, Individually, as Spouse of    Eileen Varacchias as the Personal Representative of       Eileen Varacchi as                Thomas Frederick Varacchi, Individually as WD
                                                          JR; P3993                   Frederick Varacchi, Deceased;                  the Estate of Frederick Varacchi, Deceased;               Parent/Guardian of Thomas         Child of Frederick Varacchi, Deceased, and
                                                                                                                                                                                               Frederick Varacchi                previously included as minor child of Eileen
                                                                                                                                                                                                                                 Varacchi;
 410 Frederick Varacchi            Eileen Varacchi        DKT 232; 1:02-cv-01616-     Eileen Varacchi, Individually, as Spouse of    Eileen Varacchias as the Personal Representative of       Eileen Varacchi as                Tyler Louis Varacchi, Individually as Child of WD
                                                          JR; P3993                   Frederick Varacchi, Deceased;                  the Estate of Frederick Varacchi, Deceased;               Parent/Guardian of Tyler Louis    Frederick Varacchi, Deceased, and
                                                                                                                                                                                               Varacchi                          previously included as minor child of Eileen
                                                                                                                                                                                                                                 Varacchi;
 411 Garnet Bailey                 Katherine Agnes Bailey DKT 155; 1:02-cv-01616-     Katherine Agnes Bailey, Individually, as       Katherine Agnes Bailey as the Personal                                                                                                     WD
                                                          JR; P2814                   Spouse of Garnet Bailey, Deceased;             Representative of the Estate of Garnet Bailey,
                                                                                                                                     Deceased;
 412 Gary E. Lasko                 Kim L. Lasko           DKT 305; 1:02-cv-01616-     Kim L. Lasko, Individually, as Spouse of                                                                 Kim L. Lasko as Parent/Guardian Elise A. Lasko, Individually as Child of Gary   WD
                                                          JR; P4376                   Gary E. Lasko, Deceased;                                                                                 of Elise A. Lasko               E. Lasko, Deceased, and previously
                                                                                                                                                                                                                               included as minor child of Kim L. Lasko;

 413 Gary E. Lasko                 Kim Lombard Lasko      DKT 305; 1:02-cv-01616-     Kim Lombard Lasko, Individually, as Spouse Kim Lombard Lasko as the Personal Representative of                                                                                           WD
                                                          JR; P4376                   of Gary E. Lasko, Deceased;                the Estate of Gary E. Lasko, Deceased;

 414 Gary Frederick Lutnick, III   Howard William Lutnick DKT 232; 1:02-cv-01616-     Howard William Lutnick, Individually, as       Howard William Lutnick as the Personal                                                                                                    WD
                                                          JR; P3803                   Sibling of Gary Frederick Lutnick, III,        Representative of the Estate of Gary Frederick Lutnick,
                                                                                      Deceased;                                      III, Deceased;
 415 Gary Paul Geidel              Mathilda M. Geidel     DKT 26, 29; 1:02-cv-        Mathilda M. Geidel, Individually, as Spouse                                                              Mathilda M. Geidel as             Mathilda Charlotte Conklin, Individually as   WD
                                                          01616-JR; 1981              of Gary Paul Geidel, Deceased;                                                                           Parent/Guardian of Mathilda       Child of Gary Paul Geidel, Deceased, and
                                                                                                                                                                                               Charlotte Conklin                 previously included as minor child of
                                                                                                                                                                                                                                 Mathilda M. Geidel;
 416 Geoff Thomas Campbell         Malcolm Phillip        DKT 305; 1:02-cv-01616-     Malcolm Phillip Campbell, Individually, as     Malcolm Phillip Campbell as the Personal                                                                                                  WD
                                   Campbell               JR; P4158                   Parent of Geoff Thomas Campbell,               Representative of the Estate of Geoff Thomas
                                                                                      Deceased;                                      Campbell, Deceased;



                                                                                                                                      26
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 27 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
Number
                                 Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                             Complaint                                                                                                                                                             plaintiff in their own right
                                    complaint                                                                                                         9/11 Decedent                                 Minor Child


 417 George Andrew Llanes      Eugenia Reyes Llanes    DKT 1; 1:02-cv-01616-JR; Eugenia Reyes Llanes, Individually, as    Eugenia Reyes Llanes as the Personal Representative                                                                                              WD
                                                       346                      Parent of George Andrew Llanes, Deceased; of the Estate of George Andrew Llanes, Deceased;

 418 George DiPasquale         Melissa M. DiPasquale   DKT 77; 1:02-cv-01616-      Melissa M. DiPasquale, Individually, as         Melissa M. DiPasquale as the Personal                                                                                                   WD
                                                       JR; P2583                   Spouse of George DiPasquale, Deceased;          Representative of the Estate of George DiPasquale,
                                                                                                                                   Deceased;
 419 George Paris              Christina Mary Paris    DKT 26, 29; 1:02-cv-        Christina Mary Paris, Individually, as Spouse                                                           Christina Mary Paris as          Constantina Maria Paris, Individually as       WD
                                                       01616-JR; 4115              of George Paris, Deceased;                                                                              Parent/Guardian of Constantina   Child of George Paris, Deceased, and
                                                                                                                                                                                           Maria Paris                      previously included as minor child of
                                                                                                                                                                                                                            Christina Mary Paris;
 420 Gerald Hardacre           Judith Kay Hardacre     DKT 313; 1:02-cv-01616-     Judith Kay Hardacre, Individually, as           Judith Kay Hardacre as the Representative of the                                                                                        WD
                                                       JR; P4655                   Spouse of Gerald Hardacre, Deceased;            Estate of Gerald Hardacre, Deceased;
 421 Gerald M. Olcott          Lynn A. Olcott          DKT HAND FILED (3-10-       Lynn A. Olcott, Individually, as Spouse of      Lynn A. Olcott as the Representative of the Estate of   Lynn A. Olcott as                Christopher Graig Olcott, Individually as     WD
                                                       2004); 1:03-cv-9849         Gerald M. Olcott, Deceased;                     Gerald M. Olcott, Deceased;                             Parent/Guardian of Christopher   Child of Gerald M. Olcott, Deceased, and
                                                       (RCC); P5218                                                                                                                        Graig Olcott                     previously included as minor child of Lynn A.
                                                                                                                                                                                                                            Olcott;
 422 Gerard Baptiste           Gerard Jean-Baptiste    DKT 26, 29; 1:02-CV-        Gerard Jean-Baptiste, Individually, as          Gerard Jean-Baptiste as the Personal Representative                                                                                    WD
                                                       01616-JR; 2605              Parent of Gerard Baptiste, Deceased;            of the Estate of Gerard Baptiste, Deceased;

 423 Gerard J. Coppola         Pui Yee Coppola         DKT 3; 1:02-cv-01616-JR; Pui Yee Coppola, Individually, as Spouse of                                                                Pui Yee Coppola as               Alison Joy Coppola, Individually as Child of   WD
                                                       1011                     Gerard J. Coppola, Deceased;                                                                               Parent/Guardian of Alison Joy    Gerard J. Coppola, Deceased, and
                                                                                                                                                                                           Coppola                          previously included as minor child of Pui
                                                                                                                                                                                                                            Yee Coppola;
 424 Gina Sztejnberg           Michael Sztejnberg      DKT 602; 1:03-md-01570- Michael Sztejnberg, Individually, as Spouse         Michael Sztejnberg as the Personal Representative of                                                                                    WD
                                                       GBD-SN; P5506           of Gina Sztejnberg, Deceased;                       the Estate of Gina Sztejnberg, Deceased;

 425 Giovanna G. Gambale       Anthony J. Gambale      DKT 77; 1:02-cv-01616-      Anthony J. Gambale, Individually, as Parent     Anthony J. Gambale as the Personal Representative                                                                                       WD
                                                       JR; P2594                   of Giovanna G. Gambale, Deceased;               of the Estate ofGiovanna G. Gambale, Deceased;

 426 Glenn Edward Thompson     Kai Hernandez           DKT 232; 1:02-cv-01616-     Kai Hernandez, Individually, as Spouse of       Kai Hernandez as the Personal Representative of the                                                                                     WD
                                                       JR; P4096                   Glenn Edward Thompson, Deceased;                Estate of Glenn Edward Thompson, Deceased;

 427 Glenn J. Winuk            Jay Steven Winuk        DKT 155; 1:02-cv-01616-     Jay Steven Winuk, Individually, as Sibling of Jay Steven Winuk as the Co-Personal Representative                                                                                        WD
                                                       JR; P3160                   Glenn J. Winuk, Deceased;                     of the Estate of Glenn J. Winuk, Deceased;

 428 Glenn J. Winuk            Seymour Winuk           DKT 155; 1:02-cv-01616-     Seymour Winuk, Individually, as Parent of       Seymour Winuk as the Co-Personal Representative of                                                                                      WD
                                                       JR; P3162                   Glenn J. Winuk, Deceased;                       the Estate of Glenn J. Winuk, Deceased;

 429 Gopalakrishnan Varadhan   Srinivasa S.R.          DKT 232; 1:02-cv-01616-     Srinivasa S.R. Varadhan, Individually, as       Srinivasa S.R. Varadhan as the Personal                                                                                                 WD
                               Varadhan                JR; P3994                   Parent of Gopalakrishnan Varadhan,              Representative of the Estate of Gopalakrishnan
                                                                                   Deceased;                                       Varadhan, Deceased;
 430 Gregg J. Froehner         Mary Froehner           DKT 155; 1:02-cv-01616-     Mary Froehner, Individually, as Spouse of       Mary Froehner as the Personal Representative of the     Mary Froehner as                Heather Anne Froehner, Individually as          WD
                                                       JR; P2900                   Gregg J. Froehner, Deceased;                    Estate of Gregg J. Froehner, Deceased;                  Parent/Guardian of Heather Anne Child of Gregg J. Froehner, Deceased, and
                                                                                                                                                                                           Froehner                        previously included as minor child of Mary
                                                                                                                                                                                                                           Froehner;
 431 Gregg J. Froehner         Mary Froehner           DKT 155; 1:02-cv-01616-     Mary Froehner, Individually, as Spouse of       Mary Froehner as the Personal Representative of the     Mary Froehner as                Kathleen Marie Froehner, Individually as        WD
                                                       JR; P2900                   Gregg J. Froehner, Deceased;                    Estate of Gregg J. Froehner, Deceased;                  Parent/Guardian of Kathleen     Child of Gregg J. Froehner, Deceased, and
                                                                                                                                                                                           Marie Froehner                  previously included as minor child of Mary
                                                                                                                                                                                                                           Froehner;
 432 Gregg J. Froehner         Mary Froehner           DKT 155; 1:02-cv-01616-     Mary Froehner, Individually, as Spouse of       Mary Froehner as the Personal Representative of the     Mary Froehner as                Matthew John Froehner, Individually as          WD
                                                       JR; P2900                   Gregg J. Froehner, Deceased;                    Estate of Gregg J. Froehner, Deceased;                  Parent/Guardian of Matthew      Child of Gregg J. Froehner, Deceased, and
                                                                                                                                                                                           John Froehner                   previously included as minor child of Mary
                                                                                                                                                                                                                           Froehner;




                                                                                                                                    27
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 28 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
Number
                                Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                            Complaint                                                                                                                                                             plaintiff in their own right
                                   complaint                                                                                                        9/11 Decedent                                 Minor Child


 433 Gregg J. Froehner        Mary Froehner          DKT 155; 1:02-cv-01616-      Mary Froehner, Individually, as Spouse of      Mary Froehner as the Personal Representative of the     Mary Froehner as                  Meghan Elizabeth Froehner, Individually as     WD
                                                     JR; P2900                    Gregg J. Froehner, Deceased;                   Estate of Gregg J. Froehner, Deceased;                  Parent/Guardian of Meghan         Child of Gregg J. Froehner, Deceased, and
                                                                                                                                                                                         Elizabeth Froehner                previously included as minor child of Mary
                                                                                                                                                                                                                           Froehner;
 434 Gregg Reidy              Thomas J. Reidy        DKT 232; 1:02-cv-01616-      Thomas J. Reidy, Individually, as Parent of    Thomas J. Reidy as the Representative of the Estate                                                                                      WD
                                                     JR; P3924                    Gregg Reidy, Deceased;                         of Gregg Reidy, Deceased;
 435 Gregory J. Trost         George Daniel Trost    DKT 77; 1:02-cv-01616-       George Daniel Trost, Individually, as Parent   George Daniel Trost as the Personal Representative of                                                                                    WD
                                                     JR; P2731                    of Gregory J. Trost, Deceased;                 the Estate of Gregory J. Trost, Deceased;

 436 Gregory Kamal Bruno      Nassima Moulfi         DKT 232; 1:02-cv-01616-      Nassima Moulfi Wachtler, Individually, as     Nassima Moulfi Wachtler as the Personal                                                                                                   WD
     Wachtler                 Wachtler               JR; P4006                    Parent of Gregory Kamal Bruno Wachtler,       Representative of the Estate of Gregory Kamal Bruno
                                                                                  Deceased;                                     Wachtler, Deceased;
 437 Gregory M. Preziose      Lori A. Preziose       DKT 232; 1:02-cv-01616-      Lori A. Preziose, Individually, as Spouse of  Lori A. Preziose as the Representative of the Estate of                                                                                   WD
                                                     JR; P3914                    Gregory M. Preziose, Deceased;                Gregory M. Preziose, Deceased;
 438 Gregory Stajk            Jeanie Mary Somerville DKT 232; 1:02-cv-01616-      Jeanie Mary Somerville, Individually, as      Jeanie Mary Somerville as the Personal                                                                                                    WD
                                                     JR; P3954                    Sibling of Gregory Stajk, Deceased;           Representative of the Estate of Gregory Stajk,
                                                                                                                                Deceased;
 439 Gregory T. Spagnoletti   Paul Andrew            DKT 305; 1:02-cv-01616-      Paul Andrew Spagnoletti, Individually, as     Paul Andrew Spagnoletti as the Personal                                                                                                   WD
                              Spagnoletti            JR; P4534                    Sibling of Gregory T. Spagnoletti, Deceased; Representative of the Estate of Gregory T. Spagnoletti,
                                                                                                                                Deceased;
 440 Gye Hyong Park           Jin Han Park            DKT 232; 1:02-cv-01616-     Jin Han Park, Individually, as Sibling of Gye Jin Han Park as the Personal Representative of the                                                                                        WD
                                                      JR; P3887                   Hyong Park, Deceased;                         Estate of Gye Hyong Park, Deceased;
 441 Hagay Shefi              Sigal Shefi Asher       DKT 26, 29; 1:02-cv-        Sigal Shefi Asher, Individually, as Spouse of                                                         Sigal Shefi Asher as               Sigal Shefi Asher, on behalf of N.R.S., Child WD
                                                      01616-JR; 4408              Hagay Shefi, Deceased;                                                                                Parent/Guardian of N.R.S.          of Hagay Shefi, Deceased;
 442 Hagay Shefi              Sigal Shefi Asher       DKT 26, 29; 1:02-cv-        Sigal Shefi Asher, Individually, as Spouse of                                                         Sigal Shefi Asher as               Sigal Shefi Asher, on behalf of R.S., Child of WD
                                                      01616-JR; 4408              Hagay Shefi, Deceased;                                                                                Parent/Guardian of R.S.            Hagay Shefi, Deceased;
 443 Hardai Parbhu            Lachman Parbhu          DKT 232; 1:02-cv-01616-     Lachman Parbhu, Individually, as Sibling of Lachman Parbhu as the Personal Representative of                                                                                            WD
                                                      JR; P3881                   Hardai Parbhu, Deceased;                      the Estate of Hardai Parbhu, Deceased;
 444 Harry A. Raines          Lauren Christine Raines DKT 232; 1:02-cv-01616-     Lauren Christine Raines, Individually, as     Lauren Christine Raines as the Representative of the    Lauren Christine Raines as         Jillian M. Raines, Individually as Child of    WD
                                                      JR; P3920                   Spouse of Harry A. Raines, Deceased;          Estate of Harry A. Raines, Deceased;                    Parent/Guardian of Jillian M.      Harry A. Raines, Deceased, and previously
                                                                                                                                                                                        Raines                             included as minor child of Lauren Christine
                                                                                                                                                                                                                           Raines;
 445 Harry A. Raines          Lauren Christine Raines DKT 232; 1:02-cv-01616-     Lauren Christine Raines, Individually, as      Lauren Christine Raines as the Representative of the    Lauren Christine Raines as        Kyle C. Raines, Individually as Child of       WD
                                                      JR; P3920                   Spouse of Harry A. Raines, Deceased;           Estate of Harry A. Raines, Deceased;                    Parent/Guardian of Kyle C.        Harry A. Raines, Deceased, and previously
                                                                                                                                                                                         Raines                            included as minor child of Lauren Christine
                                                                                                                                                                                                                           Raines;
 446 Harry Ramos              Migdalia Ramos         DKT 313; 1:02-cv-01616-      Migdalia Ramos, Individually, as Spouse of     Migdalia Ramos as the Representative of the Estate of   Migdalia Ramos as                 Migdalia Ramos on behalf of A.G.R., Child      WD
                                                     JR; P4715                    Harry Ramos, Deceased;                         Harry Ramos, Deceased;                                  Parent/Guardian of A.G.R.         of Harry Ramos, Deceased;
 447 Harry Ramos              Migdalia Ramos         DKT 313; 1:02-cv-01616-      Migdalia Ramos, Individually, as Spouse of     Migdalia Ramos as the Representative of the Estate of   Migdalia Ramos as                 Migdalia Ramos on behalf of E.H.R., Child      WD
                                                     JR; P4715                    Harry Ramos, Deceased;                         Harry Ramos, Deceased;                                  Parent/Guardian of E.H.R.         of Harry Ramos, Deceased;
 448 Hashmukhrai C. Parmar    Bharti Parmar          DKT 305; 1:02-cv-01616-      Bharti Parmar, Individually, as Spouse of      Bharti Parmar as the Personal Representative of the     Bharti Parmar as                  Rishi Parmar, Individually as Child of         WD
                                                     JR; P4466                    Hashmukhrai C. Parmar, Deceased;               Estate of Hashmukhrai C. Parmar, Deceased;              Parent/Guardian of Rishi Parmar   Hashmukhrai C. Parmar, Deceased, and
                                                                                                                                                                                                                           previously included as minor child of Bharti
                                                                                                                                                                                                                           Parmar;
 449 Hashmukhrai C. Parmar    Bharti Parmar          DKT 305; 1:02-cv-01616-      Bharti Parmar, Individually, as Spouse of      Bharti Parmar as the Personal Representative of the     Bharti Parmar as                  Shamir Parmar, Individually as Child of        WD
                                                     JR; P4466                    Hashmukhrai C. Parmar, Deceased;               Estate of Hashmukhrai C. Parmar, Deceased;              Parent/Guardian of Shamir         Hashmukhrai C. Parmar, Deceased, and
                                                                                                                                                                                         Parmar                            previously included as minor child of Bharti
                                                                                                                                                                                                                           Parmar;
 450 Hector R. Tamayo         Evelyn Mercene         DKT 77; 1:02-cv-01616-       Evelyn Mercene Tamayo, Individually, as        Evelyn Mercene Tamayo as the Personal                                                                                                    WD
                              Tamayo                 JR; P2717                    Spouse of Hector R. Tamayo, Deceased;          Representative of the Estate of Hector R. Tamayo,
                                                                                                                                 Deceased;
 451 Helen Belilovsky         Boris Belilovsky       DKT 1; 1:02-cv-01616-JR; Boris Belilovsky, Individually, as Spouse of       Boris Belilovsky as the Personal Representative of the Boris Belilovsky as                Eugene Belilovsky, Individually as Child of  WD
                                                     75                       Helen Belilovsky, Deceased;                        Estate of Helen Belilovsky, Deceased;                  Parent/Guardian of Eugene          Helen Belilovsky, Deceased, and previously
                                                                                                                                                                                        Belilovsky                         included as minor child of Boris Belilovsky;



                                                                                                                                  28
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 29 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
Number
                                   Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                              Complaint                                                                                                                                                             plaintiff in their own right
                                      complaint                                                                                                       9/11 Decedent                                 Minor Child


 452 Helen P. Crossin-Kittle    Kevin F. Kittle         DKT 77; 1:02-cv-01616-      Kevin F. Kittle, Individually, as Spouse of    Kevin F. Kittle as the Personal Representative of the                                                                                     WD
                                                        JR; P2642                   Helen P. Crossin-Kittle, Deceased;             Estate of Helen P. Crossin-Kittle, Deceased;
 453 Herbert Wilson Homer       Karen L. Homer          DKT 305; 1:02-cv-01616-     Karen L. Homer, Individually, as Spouse of     Karen L. Homer as the Personal Representative of the                                                                                      WD
                                                        JR; P4331                   Herbert Wilson Homer, Deceased;                Estate of Herbert Wilson Homer, Deceased;
 454 Hilario Soriano Sumaya, Jr. Estrella Sumaya        DKT 3; 1:02-cv-01616-JR;    Estrella Sumaya, Individually, as Parent of    Estrella Sumaya as the Personal Representative of the                                                                                     WD
                                                        1692                        Hilario Soriano Sumaya, Jr. , Deceased;        Estate of Hilario Soriano Sumaya, Jr. , Deceased;

 455 Honor Elizabeth Wainio     Mary Louise White       DKT 305; 1:02-cv-01616-     Mary Louise White, Individually, as Parent of Mary Louise White as the Personal Representative of                                                                                        WD
                                                        JR; P4560                   Honor Elizabeth Wainio, Deceased;             the Estate of Honor Elizabeth Wainio, Deceased;

 456 Horace Robert Passananti   Sean Robert Passananti DKT 232; 1:02-cv-01616-   Sean Robert Passananti, Individually, as          Sean Robert Passananti as the Representative of the                                                                                       WD
                                                       JR; P3893                 Child of Horace Robert Passananti,                Estate of Horace Robert Passananti, Deceased;
                                                                                 Deceased;
 457 Howard Barry Kirschbaum    Rochelle Sara           DKT 305; 1:02-cv-01616- Rochelle Sara Kirschbaum, Individually, as         Rochelle Sara Kirschbaum as the Personal                                                                                                  WD
                                Kirschbaum              JR; P4365                Spouse of Howard Barry Kirschbaum,                Representative of the Estate of Howard Barry
                                                                                 Deceased;                                         Kirschbaum, Deceased;
 458 Howard L. Kestenbaum       Granvilette W.          DKT 232; 1:02-cv-01616- Granvilette W. Kestenbaum, Individually, as        Granvilette W. Kestenbaum as the Personal                                                                                                 WD
                                Kestenbaum              JR; P3747                Spouse of Howard L. Kestenbaum,                   Representative of the Estate of Howard L.
                                                                                 Deceased;                                         Kestenbaum, Deceased;
 459 Howard Selwyn              Frances Ruth Selwyn     DKT 1; 1:02-cv-01616-JR; Frances Ruth Selwyn, Individually, as                                                                     Frances Ruth Selwyn as            Frances Ruth Selwyn, on behalf of A.J.S.R., WD
                                                        563                      Spouse of Howard Selwyn, Deceased;                                                                        Parent/Guardian of A.J.S.R.       Child of Howard Selwyn, Deceased;

 460 Hugo Manuel Sanay-         Maria Carmen Penafiel   DKT HAND FILED (3-10-       Maria Carmen Penafiel, Individually, as        Maria Carmen Penafiel as the Representative of the                                                                                        WD
     Perefiel                                           2004); 1:03-cv-9849         Parent of Hugo Manuel Sanay-Perefiel,          Estate of Hugo Manuel Sanay-Perefiel, Deceased;
                                                        (RCC); P5251                Deceased;
 461 Hweidar Jian               Ju-Hsiu Jian            DKT 305; 1:02-cv-01616-     Ju-Hsiu Jian, Individually, as Spouse of       Ju-Hsiu Jian as the Personal Representative of the      Ju-Hsiu Jian as Parent/Guardian   Ju-Hsiu Jian on behalf of K.J., Child of        WD
                                                        JR; P4338                   Hweidar Jian, Deceased;                        Estate of Hweidar Jian, Deceased;                       of K.J.                           Hweidar Jian, Deceased;
 462 Hweidar Jian               Ju-Hsiu Jian            DKT 305; 1:02-cv-01616-     Ju-Hsiu Jian, Individually, as Spouse of       Ju-Hsiu Jian as the Personal Representative of the      Ju-Hsiu Jian as Parent/Guardian   Ju-Hsiu Jian on behalf of W.J., Child of        WD
                                                        JR; P4338                   Hweidar Jian, Deceased;                        Estate of Hweidar Jian, Deceased;                       of W.J.                           Hweidar Jian, Deceased;
 463 Ian J. Gray                Ana M. Raley            DKT 432; 1:02-cv-01616-     Ana M. Raley, Individually, as Spouse of Ian   Ana M. Raley as the Personal Representative of the                                                                                        WD
                                                        JR; P4983                   J. Gray, Deceased;                             Estate of Ian J. Gray, Deceased;
 464 Ignatius Udo Adanga        Affiong J. Adanga       DKT 26, 29; 1:02-CV-        Affiong J. Adanga, Individually, as Spouse                                                                                               Emem
                                                                                                                                                                                           Affiong J. Adanga as Parent/Guardian      Udo Adanga,
                                                                                                                                                                                                                                 of Emem          Individually as Child of
                                                                                                                                                                                                                                           Udo Adanga                        WD
                                                        01616-JR; 2535              of Ignatius Udo Adanga, Deceased;                                                                                                        Ignatius Udo Adanga, Deceased, and
                                                                                                                                                                                                                             previously included as minor child of Affiong
                                                                                                                                                                                                                             J. Adanga;
 465 Ignatius Udo Adanga        Affiong J. Adanga       DKT 26, 29; 1:02-CV-        Affiong J. Adanga, Individually, as Spouse                                                             Affiong J. Adanga as              Esang Udo Adanga, Individually as Child of      WD
                                                        01616-JR; 2535              of Ignatius Udo Adanga, Deceased;                                                                      Parent/Guardian of Esang Udo      Ignatius Udo Adanga, Deceased, and
                                                                                                                                                                                           Adanga                            previously included as minor child of Affiong
                                                                                                                                                                                                                             J. Adanga;
 466 Ignatius Udo Adanga        Affiong J. Adanga       DKT 26, 29; 1:02-CV-        Affiong J. Adanga, Individually, as Spouse                                                             Affiong J. Adanga as              Nene Udo Adanga, Individually as Child of       WD
                                                        01616-JR; 2535              of Ignatius Udo Adanga, Deceased;                                                                      Parent/Guardian of Nene Udo       Ignatius Udo Adanga, Deceased, and
                                                                                                                                                                                           Adanga                            previously included as minor child of Affiong
                                                                                                                                                                                                                             J. Adanga;
 467 Igor Zukelman              Alla Plakht             DKT 3; 1:02-cv-01616-JR; Alla Plakht, Individually, as Spouse of Igor                                                              Alla Plakht as Parent/Guardian of Alan Lemuel Zukelman, Individually as Child     WD
                                                        1766                     Zukelman, Deceased;                                                                                       Alan Lemuel Zukelman              of Igor Zukelman, Deceased, and previously
                                                                                                                                                                                                                             included as minor child of Alla Plakht;

 468 Ira Zaslow                 Felice Roberta Zaslow   DKT 305; 1:02-cv-01616-     Felice Roberta Zaslow, Individually, as        Felice Roberta Zaslow as the Personal Representative                                                                                      WD
                                                        JR; P4583                   Spouse of Ira Zaslow, Deceased;                of the Estate of Ira Zaslow, Deceased;

 469 Isaias Rivera              Nilsa Milagros Rivera   DKT 1; 1:02-cv-01616-JR;    Nilsa Milagros Rivera, Individually, as                                                              Nilsa Milagros Rivera as            Nilsa Milagros Rivera, on behalf of A.I.R.,  WD
                                                        515                         Spouse of Isaias Rivera, Deceased;                                                                   Parent/Guardian of A.I.R.           Child of Isaias Rivera, Deceased;
 470 J. Howard Boulton, Jr.     Vigdis Vaka Burke       DKT 305; 1:02-cv-01616-     Vigdis Vaka Burke, Individually, as Spouse     Vigdis Vaka Burke as the Representative of the Estate Vigdis Vaka Burke as                Vigdis Vaka Burke on behalf of F.T.B., Child WD
                                                        JR; AP254                   of J. Howard Boulton, Jr., Deceased;           of J. Howard Boulton, Jr., Deceased;                  Parent/Guardian of F.B.             of J. Howard Boulton, Jr., Deceased;



                                                                                                                                    29
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 30 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
Number
                                Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                          Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                              Complaint                                                                                                                                                             plaintiff in their own right
                                   complaint                                                                                                          9/11 Decedent                                  Minor Child


 471 Jacqueline Donovan       James T. Donovan          DKT 232; 1:02-cv-01616-     James T. Donovan, Individually, as Parent      James T. Donovan as the Co-Representative of the                                                                                        WD
                                                        JR; P3676                   of Jacqueline Donovan, Deceased;               Estate of Jacqueline Donovan, Deceased;

 472 Jacqueline Donovan       Marion Donovan            DKT 232; 1:02-cv-01616-     Marion Donovan, Individually, as Parent of     Marion Donovan as the Co-Representative of the                                                                                          WD
                                                        JR; P3680                   Jacqueline Donovan, Deceased;                  Estate of Jacqueline Donovan, Deceased;
 473 Jake D. Jagoda           Anna May Jagoda           DKT 232; 1:02-cv-01616-     Anna May Jagoda, Individually, as Parent of    Anna May Jagoda as the Personal Representative of                                                                                       WD
                                                        JR; P4064                   Jake D. Jagoda, Deceased;                      the Estate of Jake D. Jagoda, Deceased;
 474 Jake D. Jagoda           Louis John Jagoda         DKT 232; 1:02-cv-01616-     Louis John Jagoda, Individually, as Parent     Louis John Jagoda as the Personal Representative of                                                                                     WD
                                                        JR; P4065                   of Jake D. Jagoda, Deceased;                   the Estate of Jake D. Jagoda, Deceased;

 475 Jamal Legesse DeSantis   Yassin Johnson            DKT 232; 1:02-cv-01616-JR;Yassin
                                                                                   AP242Johnson, Individually, as Sibling of       Yassin Johnson as the Representative of the Estate of                                                                                   WD
                                                                                  Jamal Legesse DeSantis, Deceased;                Jamal Legesse DeSantis, Deceased;
 476 James A. Oakley          Denise I. Oakley          DKT 155; 1:02-cv-01616- Denise I. Oakley, Individually, as Spouse of       Denise I. Oakley as the Representative of the Estate of Denise I. Oakley as                Kristin Kathleen Bennett, Individually as      WD
                                                        JR; P3056                 James A. Oakley, Deceased;                       James A. Oakley, Deceased;                              Parent/Guardian of Kristin         Child of James A. Oakley, Deceased, and
                                                                                                                                                                                           Kathleen Bennett                   previously included as minor child of Denise
                                                                                                                                                                                                                              I. Oakley;
 477 James A. Oakley          Denise I. Oakley          DKT 155; 1:02-cv-01616-     Denise I. Oakley, Individually, as Spouse of   Denise I. Oakley as the Representative of the Estate of Denise I. Oakley as                Allison Irene Oakley, Individually as Child of WD
                                                        JR; P3056                   James A. Oakley, Deceased;                     James A. Oakley, Deceased;                              Parent/Guardian of Allison Irene   James A. Oakley, Deceased, and previously
                                                                                                                                                                                           Oakley                             included as minor child of Denise I. Oakley;

 478 James A. Oakley          Denise I. Oakley          DKT 155; 1:02-cv-01616-     Denise I. Oakley, Individually, as Spouse of   Denise I. Oakley as the Representative of the Estate of Denise I. Oakley as                Jill Oakley, Individually as Child of James A. WD
                                                        JR; P3056                   James A. Oakley, Deceased;                     James A. Oakley, Deceased;                              Parent/Guardian of Jill Oakley     Oakley, Deceased, and previously included
                                                                                                                                                                                                                              as minor child of Denise I. Oakley;

 479 James Arthur Nelson      Rosanne Nelson            DKT 155; 1:02-cv-01616-     Rosanne Nelson, Individually, as Spouse of     Rosanne Nelson as the Representative of the Estate      Rosanne Nelson as               Anne Catherine Nelson, Individually as Child WD
                                                        JR; P3049                   James Arthur Nelson, Deceased;                 of James Arthur Nelson, Deceased;                       Parent/Guardian of Anne         of James Arthur. Nelson, Deceased, and
                                                                                                                                                                                           Catherine Nelson                previously included as minor child of
                                                                                                                                                                                                                           Rosanne Nelson;
 480 James Arthur Nelson      Rosanne Nelson            DKT 155; 1:02-cv-01616-     Rosanne Nelson, Individually, as Spouse of     Rosanne Nelson as the Representative of the Estate     Rosanne Nelson as                Caitlin Mary Nelson, Individually as Child of WD
                                                        JR; P3049                   James Arthur Nelson, Deceased;                 of James Arthur Nelson, Deceased;                      Parent/Guardian of Caitlin Mary  James Arthur. Nelson, Deceased, and
                                                                                                                                                                                          Nelson                           previously included as minor child of
                                                                                                                                                                                                                           Rosanne Nelson;
 481 James Arthur Waring      Maria Ann Waring          DKT 232; 1:02-cv-01616-     Maria Ann Waring, Individually, as Child of    Maria Ann Waring as the Personal Representative of     Maria Ann Waring as              Jamie Rose Waring, Individually as Child of WD
                                                        JR; P4011                   James Arthur Waring, Deceased;                 the Estate of James Arthur Waring, Deceased;           Parent/Guardian of Jamie Rose    James Arthur Waring, Deceased, and
                                                                                                                                                                                          Waring                           previously included as minor child of Maria
                                                                                                                                                                                                                           Ann Waring;
 482 James Arthur Waring      Maria Ann Waring          DKT 232; 1:02-cv-01616-     Maria Ann Waring, Individually, as Child of    Maria Ann Waring as the Personal Representative of     Maria Ann Waring as              Jessica Marie Waring, Individually as Child WD
                                                        JR; P4011                   James Arthur Waring, Deceased;                 the Estate of James Arthur Waring, Deceased;           Parent/Guardian of Jessica Marie of James Arthur Waring, Deceased, and
                                                                                                                                                                                          Waring                           previously included as minor child of Maria
                                                                                                                                                                                                                           Ann Waring;
 483 James Arthur Waring      Maria Ann Waring          DKT 232; 1:02-cv-01616-     Maria Ann Waring, Individually, as Child of    Maria Ann Waring as the Personal Representative of     Maria Ann Waring as              Maria Catherine Waring, Individually as       WD
                                                        JR; P4011                   James Arthur Waring, Deceased;                 the Estate of James Arthur Waring, Deceased;           Parent/Guardian of Maria         Child of James Arthur Waring, Deceased,
                                                                                                                                                                                          Catherine Waring                 and previously included as minor child of
                                                                                                                                                                                                                           Maria Ann Waring;
 484 James Arthur Waring      Maria Ann Waring          DKT 232; 1:02-cv-01616-     Maria Ann Waring, Individually, as Child of    Maria Ann Waring as the Personal Representative of     Maria Ann Waring as              Stephanie Ann Waring, Individually as Child WD
                                                        JR; P4011                   James Arthur Waring, Deceased;                 the Estate of James Arthur Waring, Deceased;           Parent/Guardian of Stephanie     of James Arthur Waring, Deceased, and
                                                                                                                                                                                          Ann Waring                       previously included as minor child of Maria
                                                                                                                                                                                                                           Ann Waring;
 485 James C. Cappers         Kathleen Vieira Pfitzer   DKT432; 1:03-md-01570-      Kathleen Vieira Pfitzer, Individually, as      Kathleen Vieira Pfitzer as the Personal Representative                                                                                WD
                                                        GBD-SN; P5331               Spouse of James C. Cappers, Deceased;          of the Estate of James C. Cappers, Deceased;

 486 James Donald Munhall     Susan King Munhall        DKT 26, 29; 1:02-cv-        Susan King Munhall, Individually, as Spouse Susan King Munhall as the Personal Representative of Susan King Munhall as                    Lauren Elizabeth Munhall, Individually as    WD
                                                        01616-JR; 2208              of James Donald Munhall, Deceased;          the Estate of James Donald Munhall, Deceased;        Parent/Guardian of Lauren                Child of James Donald Munhall, Deceased,
                                                                                                                                                                                     Elizabeth Munhall                        and previously included as minor child of
                                                                                                                                                                                                                              Susan King Munhall;


                                                                                                                                    30
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 31 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
Number
                                Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                            Complaint                                                                                                                                                            plaintiff in their own right
                                   complaint                                                                                                        9/11 Decedent                                  Minor Child


 487 James Durward Cleere     Jean Lorraine Cleere    DKT 305; 1:02-cv-01616-     Jean Lorraine Cleere, Individually, as         Jean Lorraine Cleere as the Personal Representative                                                                                     WD
                                                      JR; P4183                   Spouse of James Durward Cleere,                of the Estate of James Durward Cleere, Deceased;
                                                                                  Deceased;
 488 James E. Potorti         Nikki L. Stern          DKT 232; 1:02-cv-01616-     Nikki L. Stern, Individually, as Spouse of     Nikki L. Stern as the Representative of the Estate of                                                                                   WD
                                                      JR; P3900                   James E. Potorti, Deceased;                    James E. Potorti, Deceased;
 489 James Edward Hayden      Elizabeth Gail Hayden   DKT HAND FILED (3-10-       Elizabeth Gail Hayden, Individually, as        Elizabeth Gail Hayden as the Personal Representative Elizabeth Gail Hayden as             John Alexander Hayden, Individually as        WD
                                                      2004); 1:03-cv-9849         Spouse of James Edward Hayden,                 of the Estate of James Edward Hayden, Deceased;       Parent/Guardian of John             Child of James Edward Hayden, Deceased,
                                                      (RCC); P5085                Deceased;                                                                                            Alexander Hayden                    and previously included as minor child of
                                                                                                                                                                                                                           Elizabeth Gail Hayden;
 490 James Giberson           Susan Giberson          DKT 3; 1:02-cv-01616-JR;    Susan Giberson, Individually, as Spouse of     Susan Giberson as the Personal Representative of the     Susan Giberson as                Susan Giberson, on behalf of E.G., Child of   WD
                                                      1163                        James Giberson, Deceased;                      Estate of James Giberson, Deceased;                      Parent/Guardian of E.G.          James Giberson, Deceased;
 491 James Giberson           Susan Giberson          DKT 3; 1:02-cv-01616-JR;    Susan Giberson, Individually, as Spouse of     Susan Giberson as the Personal Representative of the     Susan Giberson as                Susan Giberson, on behalf of K.G., Child of   WD
                                                      1163                        James Giberson, Deceased;                      Estate of James Giberson, Deceased;                      Parent/Guardian of K.G.          James Giberson, Deceased;
 492 James Giberson           Susan Giberson          DKT 3; 1:02-cv-01616-JR;    Susan Giberson, Individually, as Spouse of     Susan Giberson as the Personal Representative of the     Susan Giberson as                Susan Giberson, on behalf of S.G., Child of   WD
                                                      1163                        James Giberson, Deceased;                      Estate of James Giberson, Deceased;                      Parent/Guardian of S.G.          James Giberson, Deceased;
 493 James J. Corrigan        Marie Ellen Corrigan    DKT 77; 1:02-cv-01616-      Marie Ellen Corrigan, Individually, as         Marie Ellen Corrigan as the Personal Representative                                                                                     WD
                                                      JR; P2572                   Spouse of James J. Corrigan, Deceased;         of the Estate of James J. Corrigan, Deceased;

 494 James J. Hobin           Sheila C. Hobin         DKT 305; 1:02-cv-01616-JR;Sheila
                                                                                 P4321C. Hobin, Individually, as Spouse of       Sheila C. Hobin as the Representative of the Estate of                                                                                  WD
                                                                                James J. Hobin, Deceased;                        James J. Hobin, Deceased;
 495 James M. Roux            Nancy Kelly             DKT 313; 1:02-cv-01616- Nancy Kelly, Individually, as Domestic                                                                   Nancy Kelly as Parent/Guardian      Nancy Kelly on behalf of P.R., Child of        WD
                                                      JR; P4721                 Partner of James M. Roux, Deceased;                                                                    of P.R.                             James M. Roux, Deceased;
 496 James M. Roux            Nancy Kelly             DKT 313; 1:02-cv-01616- Nancy Kelly, Individually, as Domestic                                                                   Nancy Kelly as Parent/Guardian      Nancy Kelly on behalf of J.R., Child of        WD
                                                      JR; P4721                 Partner of James M. Roux, Deceased;                                                                    of J.R.                             James M. Roux, Deceased;
 497 James Michael Gray       Jean Marie Gray         DKT 3; 1:02-cv-01616-JR; Jean Marie Gray, Individually, as Spouse of       Jean Marie Gray as the Personal Representative of the Jean Marie Gray as                  Caitlin Ann Gray, Individually as Child of     WD
                                                      1791                      James Michael Gray, Deceased;                    Estate of James Michael Gray, Deceased;               Parent/Guardian of Caitlin Ann      James Michael Gray, Deceased, and
                                                                                                                                                                                       Gray                                previously included as minor child of Jean
                                                                                                                                                                                                                           M. Grey;
 498 James Michael Gray       Jean Marie Gray         DKT 3; 1:02-cv-01616-JR; Jean Marie Gray, Individually, as Spouse of       Jean Marie Gray as the Personal Representative of the Jean Marie Gray as                  Colleen Elizabeth Gray, Individually as Child WD
                                                      1791                     James Michael Gray, Deceased;                     Estate of James Michael Gray, Deceased;               Parent/Guardian of Colleen          of James Michael Gray, Deceased, and
                                                                                                                                                                                       Elizabeth Gray                      previously included as minor child of Jean
                                                                                                                                                                                                                           M. Grey;
 499 James N. Pappageorge     Juana Olga              DKT 26, 29; 1:02-cv-        Juana Olga Pappageorge, Individually, as       Juana Olga Pappageorge as the Representative of the Juana Olga Pappageorge as             Justin Nicholas Benitez, Individually as Step- WD
                              Pappageorge             01616-JR; 4108              Parent of James N. Pappageorge,                Estate of James N. Pappageorge , Deceased;          Parent/Guardian of Justin             Child of James N. Pappageorge, Deceased,
                                                                                  Deceased;                                                                                          Nicholas Benitez                      and previously included as minor child of
                                                                                                                                                                                                                           Juana Olga Pappageorge;
 500 James P. Berger          Suzanne J. Berger       DKT 3; 1:02-cv-01616-JR; Suzanne J. Berger, Individually, as Spouse                                                                 Suzanne J. Berger as             Alexander Michael Berger, Individually as      WD
                                                      908                      of James P. Berger, Deceased;                                                                              Parent/Guardian of Alexander     Child of James P. Berger, Deceased, and
                                                                                                                                                                                          Michael Berger                   previously included as minor child of
                                                                                                                                                                                                                           Suzanne J. Berger;
 501 James P. Berger          Suzanne J. Berger       DKT 3; 1:02-cv-01616-JR; Suzanne J. Berger, Individually, as Spouse                                                                 Suzanne J. Berger as             Christian Daniel Berger, Individually as Child WD
                                                      908                      of James P. Berger, Deceased;                                                                              Parent/Guardian of Christian     of James P. Berger, Deceased, and
                                                                                                                                                                                          Daniel Berger                    previously included as minor child of
                                                                                                                                                                                                                           Suzanne J. Berger;
 502 James P. Berger          Suzanne J. Berger       DKT 3; 1:02-cv-01616-JR; Suzanne J. Berger, Individually, as Spouse                                                                 Suzanne J. Berger as             Nicholas James Berger, Individually as         WD
                                                      908                      of James P. Berger, Deceased;                                                                              Parent/Guardian of Nicholas      Child of James P. Berger, Deceased, and
                                                                                                                                                                                          James Berger                     previously included as minor child of
                                                                                                                                                                                                                           Suzanne J. Berger;
 503 James P. Hopper          Rita Hopper             DKT 232; 1:02-cv-01616-     Rita Hopper, Individually, as Spouse of        Rita Hopper as the Personal Representative of the        Rita Hopper as Parent/Guardian   Lauren M. Cuttone, Individually as Child of    WD
                                                      JR; P3726                   James P. Hopper, Deceased;                     Estate of James P. Hopper, Deceased;                     of Lauren M. Cuttone             James P. Hopper, Deceased, and
                                                                                                                                                                                                                           previously included as minor child of Rita
                                                                                                                                                                                                                           Hopper;
 504 James Patrick White      Michael John White      DKT 232; 1:02-cv-01616-     Michael John White, Individually, as Sibling   Michael John White as the Personal Representative of                                                                                     WD
                                                      JR; P4017                   of James Patrick White, Deceased;              the Estate of James Patrick White, Deceased;



                                                                                                                                  31
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 32 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
Number
                                 Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                            Complaint                                                                                                                                                            plaintiff in their own right
                                    complaint                                                                                                       9/11 Decedent                                Minor Child


 505 James Sands, Jr.         Jennifer Ann Sands      DKT 232; 1:02-cv-01616-     Jennifer Ann Sands, Individually, as Spouse Jennifer Ann Sands as the Representative of the                                                                                           WD
                                                      JR; P3943                   of James Sands, Jr., Deceased;               Estate of James Sands, Jr., Deceased;
 506 James Straine            Patricia A. Straine     DKT 26, 29; 1:02-cv-        Patricia A. Straine, Individually, as Spouse                                                          Patricia A. Straine as         Charles J. Straine, Individually as Child of   WD
                                                      01616-JR; 4470              of James Straine, Deceased;                                                                           Parent/Guardian of Charles J.  James J. Straine, Jr., Deceased, and
                                                                                                                                                                                        Straine                        previously included as minor child of Patricia
                                                                                                                                                                                                                       A. Straine;
 507 James Straine            Patricia A. Straine     DKT 26, 29; 1:02-cv-        Patricia A. Straine, Individually, as Spouse                                                          Patricia A. Straine as         Finn P. Straine, Individually as Child of      WD
                                                      01616-JR; 4470              of James Straine, Deceased;                                                                           Parent/Guardian of Finn P.     James J. Straine, Jr., Deceased, and
                                                                                                                                                                                        Straine                        previously included as minor child of Patricia
                                                                                                                                                                                                                       A. Straine;
 508 James Thomas Murphy      Mary L. Middleton       DKT 3; 1:02-cv-01616-JR; Mary L. Middleton, Individually, as Spouse                                                               Mary L. Middleton as           James Thomas Murphy, Jr., Individually as WD
                                                      1486                     of James Thomas Murphy, Deceased;                                                                        Parent/Guardian of James       Child of James Thomas Murphy, Deceased,
                                                                                                                                                                                        Thomas Murphy, Jr.             and previously included as minor child of
                                                                                                                                                                                                                       Mary L. Middleton;
 509 James Thomas Murphy      Mary L. Middleton       DKT 3; 1:02-cv-01616-JR; Mary L. Middleton, Individually, as Spouse                                                               Mary L. Middleton as           Meredith James Murphy, Individually as         WD
                                                      1486                     of James Thomas Murphy, Deceased;                                                                        Parent/Guardian of Meredith    Child of James Thomas Murphy, Deceased,
                                                                                                                                                                                        James Murphy                   and previously included as minor child of
                                                                                                                                                                                                                       Mary L. Middleton;
 510 James Thomas Murphy      Mary L. Middleton       DKT 3; 1:02-cv-01616-JR; Mary L. Middleton, Individually, as Spouse                                                               Mary L. Middleton as           Morgan Shay Murphy, Individually as Child      WD
                                                      1486                     of James Thomas Murphy, Deceased;                                                                        Parent/Guardian of Morgan Shay of James Thomas Murphy, Deceased, and
                                                                                                                                                                                        Murphy                         previously included as minor child of Mary L.
                                                                                                                                                                                                                       Middleton;
 511 James Thomas Waters, Jr. Karen Marie Smart       DKT 232; 1:02-cv-01616-     Karen Marie Smart, Individually, as Sibling    Karen Marie Smart as the Personal Representative of                                                                                  WD
                                                      JR; P4012                   of James Thomas Waters, Jr., Deceased;         the Estate of James Thomas Waters, Jr., Deceased;

 512 James Walsh              Kate Louise Walsh       DKT 305; 1:02-cv-01616-     Kate Louise Walsh Calton, Individually, as     Kate Louise Walsh Calton as the Personal               Kate Louise Walsh Calton as       Kate Louise Walsh Calton on behalf of         WD
                              Calton                  JR; P4562                   Spouse of James Walsh, Deceased;               Representative of the Estate of James Walsh,           Parent/Guardian of F.W.           F.W., Child of James Walsh, Deceased
                                                                                                                                 Deceased;
 513 James Walsh              Kate Louise Walsh       DKT 305; 1:02-cv-01616-     Kate Louise Walsh Calton, Individually, as     Kate Louise Walsh Calton as the Personal               Kate Louise Walsh Calton as       Kate Louise Walsh Calton on behalf of         WD
                              Calton                  JR; P4562                   Spouse of James Walsh, Deceased;               Representative of the Estate of James Walsh,           Parent/Guardian of C.W.           C.W., Child of James Walsh, Deceased
                                                                                                                                 Deceased;
 514 James Woods              John F. Woods, Jr.      DKT 232; 1:02-cv-01616-     John F. Woods, Jr., Individually, as Parent    John F. Woods, Jr. as the Co-Personal Representative                                                                                   WD
                                                      JR; P4034                   of James Woods, Deceased;                      of the Estate of James Woods, Deceased;

 515 James Woods              Joyce A. Woods          DKT 232; 1:02-cv-01616-     Joyce A. Woods, Individually, as Parent of     Joyce A. Woods as the Co-Personal Representative of                                                                                    WD
                                                      JR; P4035                   James Woods, Deceased;                         the Estate of James Woods, Deceased;

 516 Jane Beatty              Robert W. Beatty        DKT 602; 1:03-md-01570-     Robert W. Beatty, Individually, as Spouse of   Robert W. Beatty as the Personal Representative of                                                                                     WD
                                                      GBD-SN; P5471               Jane Beatty, Deceased;                         the Estate of Jane Beatty, Deceased;
 517 Janice Marie Scott       Abraham Scott           DKT 305; 1:02-cv-01616-     Abraham Scott, Individually, as Spouse of      Abraham Scott, as Personal Representative of the      Abraham Scott as                   Angel Marie Scott, Individually as Child of   WD
                                                      JR; P4515                   Janice Marie Scott, Deceased;                  Estate of Janice Marie Scott; Deceased;               Parent/Guardian of Angel Marie     Janice Marie Scott, Deceased, previously
                                                                                                                                                                                       Scott                              minor child of Abraham Scott;
 518 Japhet Aryee             Maria Celeste Aryee     DKT 305; 1:02-cv-01616-     Maria Celeste Aryee, Individually, as          Maria Celeste Aryee as the Personal Representative of Maria Celeste Aryee as             Anteh John Aryee, Individually as Child of    WD
                                                      JR; P4113                   Spouse of Japhet Aryee, Deceased;              the Estate of Japhet Aryee, Deceased;                 Parent/Guardian of Anteh John      Japhet Aryee, Deceased, and previously
                                                                                                                                                                                       Aryee                              included as minor child of Maria Celeste
                                                                                                                                                                                                                          Aryee;
 519 Jason Kyle Jacobs        Jennifer Jael Jacobs-   DKT 602; 11:03-cv-01616- Jennifer Jael Jacobs-Deutsch, Individually, Jennifer Jael Jacobs-Deutsch as the Personal                 Jennifer Jael Jacobs-Deutsch as   Zoe Alexa Jacobs, Individually as Child of    WD
                              Deutsch                 JR; AP99 (DOE 47)        as Spouse of Jason Kyle Jacobs, Deceased; Representative of the Estate of Jason Kyle Jacobs,             Parent/Guardian of Zoe Alexa      Jason Kyle Jacobs, Deceased, and
                                                                                                                           Deceased;                                                    Jacobs                            previously included as minor child of
                                                                                                                                                                                                                          Jennifer Jael Jacobs-Deutsch;
 520 Jasper Baxter            Lillian Baxter          DKT 305; 1:02-cv-01616-     Lillian Baxter, Individually, as Spouse of     Lillian Baxter as the Personal Representative of the                                                                                   WD
                                                      JR; P4129                   Jasper Baxter, Deceased;                       Estate of Jasper Baxter, Deceased;
 521 Jeannine Damiani-Jones   Shawn M. Jones          DKT 77; 1:02-cv-01616-      Shawn M. Jones, Individually, as Spouse of     Shawn M. Jones as the Personal Representative of                                                                                       WD
                                                      JR; P2636                   Jeannine Damiani-Jones, Deceased;              the Estate of Jeannine Damiani-Jones, Deceased;



                                                                                                                                  32
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 33 of 88




                                                                                                                                                                                                                                                                       Nature of Claim
Number
                                Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                            Complaint                                                                                                                                                           plaintiff in their own right
                                   complaint                                                                                                       9/11 Decedent                                Minor Child


 522 Jeannine LaVerde         Dolores Mary LaVerde    DKT 3; 1:02-cv-01616-JR; Dolores Mary LaVerde (grandparent),                                                                     Dolores Mary LaVerde              Christopher Robert Sodano, Individually as    WD
                              (grandparent)           1324                     Individually, as Parent of Jeannine LaVerde,                                                            (grandparent) as                  Child of Jeannine LaVerde, Deceased, and
                                                                               Deceased;                                                                                               Parent/Guardian of Christopher    previously included as minor child by
                                                                                                                                                                                       Robert Sodano                     Dolores Mary LaVerde, guardian;

 523 Jeff L. Simpson          Diane Elizabeth Cass    DKT 155; 1:02-cv-01616-     Diane Elizabeth Cass, Individually, as        Diane Elizabeth Cass as the Representative of the      Diane Elizabeth Cass as           Elaina Simpson Grant, Individually as Child   WD
                                                      JR; P3090                   Spouse of Jeff L. Simpson, Deceased;          Estate of Jeff L. Simpson, Deceased;                   Parent/Guardian of Elaina         of Jeff L. Simpson, Deceased, and
                                                                                                                                                                                       Simpson Grant                     previously included as minor child of Diane
                                                                                                                                                                                                                         Elizabeth Cass;
 524 Jeff L. Simpson          Diane Elizabeth Cass    DKT 155; 1:02-cv-01616-     Diane Elizabeth Cass, Individually, as        Diane Elizabeth Cass as the Representative of the      Diane Elizabeth Cass as           Leeann M. Simpson, Individually as Child of   WD
                                                      JR; P3090                   Spouse of Jeff L. Simpson, Deceased;          Estate of Jeff L. Simpson, Deceased;                   Parent/Guardian of Leeann M.      Jeff L. Simpson, Deceased, and previously
                                                                                                                                                                                       Simpson                           included as minor child of Diane Elizabeth
                                                                                                                                                                                                                         Cass;
 525 Jeff L. Simpson          Diane Elizabeth Cass    DKT 155; 1:02-cv-01616-     Diane Elizabeth Cass, Individually, as        Diane Elizabeth Cass as the Representative of the      Diane Elizabeth Cass as           Maxwell James Simpson, Individually as        WD
                                                      JR; P3090                   Spouse of Jeff L. Simpson, Deceased;          Estate of Jeff L. Simpson, Deceased;                   Parent/Guardian of Maxwell        Child of Jeff L. Simpson, Deceased, and
                                                                                                                                                                                       James Simpson                     previously included as minor child of Diane
                                                                                                                                                                                                                         Elizabeth Cass;
 526 Jeffrey B. Gardner       Amy Kassan              DKT 232; 1:02-cv-01616-     Amy Kassan, Individually, as Sibling of       Amy Kassan as the Personal Representative of the                                                                                       WD
                                                      JR; P4060                   Jeffrey B. Gardner, Deceased;                 Estate of Jeffrey B. Gardner, Deceased;
 527 Jeffrey Giordano         Marie Scotto Giordano   DKT 26, 29; 1:02-cv-        Marie Scotto Giordano, Individually, as       Marie Scotto Giordano as the Personal Representative Marie Scotto Giordano as            Marie Scotto Giordano, on behalf of A.C.G.,   WD
                                                      01616-JR; 4818 (DOE 95)     Spouse of Jeffrey Giordano, Deceased;         of the Estate of Jeffrey Giordano, Deceased;         Parent/Guardian of A.C.G.           Child of Jeffrey Giordano, Deceased;

 528 Jeffrey Giordano         Marie Scotto Giordano   DKT 26, 29; 1:02-cv-    Marie Scotto Giordano, Individually, as           Marie Scotto Giordano as the Personal Representative Marie Scotto Giordano as            Marie Scotto Giordano, on behalf of V.M.G., WD
                                                      01616-JR; 4818 (DOE 95) Spouse of Jeffrey Giordano, Deceased;             of the Estate of Jeffrey Giordano, Deceased;         Parent/Guardian of V.M.G.           Child of Jeffrey Giordano, Deceased;

 529 Jeffrey Giordano         Marie Scotto Giordano   DKT 26, 29; 1:02-cv-    Marie Scotto Giordano, Individually, as           Marie Scotto Giordano as the Personal Representative Marie Scotto Giordano as            Marie Scotto Giordano, on behalf of N.J.G.,   WD
                                                      01616-JR; 4818 (DOE 95) Spouse of Jeffrey Giordano, Deceased;             of the Estate of Jeffrey Giordano, Deceased;         Parent/Guardian of N.J.G.           Child of Jeffrey Giordano, Deceased;

 530 Jeffrey Grant Goldflam   Rise Holly Goldflam     DKT 77; 1:02-cv-01616-      Rise Holly Goldflam, Individually, as Spouse Rise Holly Goldflam as the Personal Representative of                                                                                   WD
                                                      JR; P2615                   of Jeffrey Grant Goldflam, Deceased;         the Estate of Jeffrey Grant Goldflam, Deceased;

 531 Jeffrey James Olsen      Denise Marie Olsen      DKT 26, 29; 1:02-cv-        Denise Marie Olsen, Individually, as Spouse                                                          Denise Marie Olsen as            Tori R. Olsen, Individually as Child of Jeffrey WD
                                                      01616-JR; 4090              of Jeffrey James Olsen, Deceased;                                                                    Parent/Guardian of Tori R. Olsen James Olsen, Deceased, and previously
                                                                                                                                                                                                                        included as minor child of Denise Marie
                                                                                                                                                                                                                        Olsen;
 532 Jeffrey James Olsen      Denise Marie Olsen      DKT 26, 29; 1:02-cv-        Denise Marie Olsen, Individually, as Spouse                                                          Denise Marie Olsen as            Noah D. Olsen, Individually as Child of         WD
                                                      01616-JR; 4090              of Jeffrey James Olsen, Deceased;                                                                    Parent/Guardian of Noah D.       Jeffrey James Olsen, Deceased, and
                                                                                                                                                                                       Olsen                            previously included as minor child of Denise
                                                                                                                                                                                                                        Marie Olsen;
 533 Jeffrey James Olsen      Denise Marie Olsen      DKT 26, 29; 1:02-cv-        Denise Marie Olsen, Individually, as Spouse                                                          Denise Marie Olsen as            Vincent Tranchina, Individually as Step-        WD
                                                      01616-JR; 4090              of Jeffrey James Olsen, Deceased;                                                                    Parent/Guardian of Vincent       Child of Jeffrey James Olsen, Deceased,
                                                                                                                                                                                       Tranchina                        and previously included as minor child of
                                                                                                                                                                                                                        Denise Marie Olsen;
 534 Jeffrey James Shaw       Debra Ann Shaw          DKT 232; 1:02-cv-01616-     Debra Ann Shaw, Individually, as Spouse of Debra Ann Shaw as the Representative of the Estate        Debra Ann Shaw as                Nicole Mary McCabe, Individually as Child of WD
                                                      JR; P3948                   Jeffrey James Shaw, Deceased;              of Jeffrey James Shaw, Deceased;                          Parent/Guardian of Nicole Mary   Jeffrey James Shaw, Deceased, and
                                                                                                                                                                                       McCabe                           previously included as minor child of Debra
                                                                                                                                                                                                                        Ann Shaw;
 535 Jeffrey James Shaw       Debra Ann Shaw          DKT 232; 1:02-cv-01616-     Debra Ann Shaw, Individually, as Spouse of Debra Ann Shaw as the Representative of the Estate        Debra Ann Shaw as                Michael Christopher Shaw, Individually as       WD
                                                      JR; P3948                   Jeffrey James Shaw, Deceased;              of Jeffrey James Shaw, Deceased;                          Parent/Guardian of Michael       Child of Jeffrey James Shaw, Deceased,
                                                                                                                                                                                       Christopher Shaw                 and previously included as minor child of
                                                                                                                                                                                                                        Debra Ann Shaw;
 536 Jeffrey L. Fox           Nancy B. Fox            DKT 26, 29; 1:02-cv-        Nancy B. Fox, Individually, as Spouse of                                                             Nancy B. Fox as                  Jessica Cashman, Individually as Child of       WD
                                                      01616-JR; 4816              Jeffrey L. Fox, Deceased;                                                                            Parent/Guardian of Jessica       Jeffrey L. Fox, Deceased, and previously
                                                                                                                                                                                       Cashman                          included as minor child of Nancy B. Fox;



                                                                                                                                 33
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 34 of 88




                                                                                                                                                                                                                                                                      Nature of Claim
Number
                                Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended      Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity            Caption identifying the estate representative of     or Guardian of Previously
                                                           Complaint                                                                                                                                                           plaintiff in their own right
                                   complaint                                                                                                        9/11 Decedent                               Minor Child


 537 Jeffrey L. Fox           Nancy B. Fox           DKT 26, 29; 1:02-cv-        Nancy B. Fox, Individually, as Spouse of                                                              Nancy B. Fox as                 Gregory Evan Fox, Individually as Child of     WD
                                                     01616-JR; 4816              Jeffrey L. Fox, Deceased;                                                                             Parent/Guardian of Gregory Evan Jeffrey L. Fox, Deceased, and previously
                                                                                                                                                                                       Fox                             included as minor child of Nancy B. Fox;

 538 Jeffrey L. Fox           Nancy B. Fox           DKT 26, 29; 1:02-cv-        Nancy B. Fox, Individually, as Spouse of                                                              Nancy B. Fox as                  Amanda Ogilby, Individually as Child of       WD
                                                     01616-JR; 4816              Jeffrey L. Fox, Deceased;                                                                             Parent/Guardian of Amanda        Jeffrey L. Fox, Deceased, and previously
                                                                                                                                                                                       Ogilby                           included as minor child of Nancy B. Fox;

 539 Jeffrey LaTouche         Virginia LaTouche      DKT 26, 29; 1:02-cv-        Virginia LaTouche, Individually, as Spouse                                                            Virginia LaTouche as             Virginia LaTouche, on behalf of K.B., Child WD
                                                     01616-JR; 2125              of Jeffrey LaTouche, Deceased;                                                                        Parent/Guardian of K.B.          of Jeffrey LaTouche, Deceased;
 540 Jeffrey LaTouche         Virginia LaTouche      DKT 26, 29; 1:02-cv-        Virginia LaTouche, Individually, as Spouse                                                            Virginia LaTouche as             Virginia LaTouche, on behalf of A.S.L., Child WD
                                                     01616-JR; 2125              of Jeffrey LaTouche, Deceased;                                                                        Parent/Guardian of A.S.L.        of Jeffrey LaTouche, Deceased;
 541 Jeffrey M. Chairnoff     Helaine K. Chairnoff   DKT 3; 1:02-cv-01616-JR;    Helaine K. Chairnoff, Individually, as Spouse                                                         Helaine K. Chairnoff as          Sarah R. Chairnoff, Individually as Child of  WD
                                                     1795                        of Jeffrey M. Chairnoff, Deceased;                                                                    Parent/Guardian of Sarah R.      Jeffrey M. Chairnoff, Deceased, and
                                                                                                                                                                                       Chairnoff                        previously included as minor child of
                                                                                                                                                                                                                        Helaine K. Chairnoff;
 542 Jeffrey M. Chairnoff     Helaine K. Chairnoff   DKT 3; 1:02-cv-01616-JR; Helaine K. Chairnoff, Individually, as Spouse                                                            Helaine K. Chairnoff as          Benjamin R. Chairnoff, Individually as Child WD
                                                     1795                     of Jeffrey M. Chairnoff, Deceased;                                                                       Parent/Guardian of Benjamin R.   of Jeffrey M. Chairnoff, Deceased, and
                                                                                                                                                                                       Chairnoff                        previously included as minor child of
                                                                                                                                                                                                                        Helaine K. Chairnoff;
 543 Jeffrey P. Mladenik      Suzanne S. Mladenik    DKT 305; 1:02-cv-01616-     Suzanne S. Mladenik, Individually, as           Suzanne S. Mladenik as the Personal Representative    Suzanne S. Mladenik as           Daniel Joseph Mladenik, Individually as       WD
                                                     JR; P4436                   Spouse of Jeffrey P. Mladenik, Deceased;        of the Estate of Jeffrey P. Mladenik, Deceased;       Parent/Guardian of Daniel        Child of Jeffrey P. Mladenik, Deceased, and
                                                                                                                                                                                       Joseph Mladenik                  previously included as minor child of
                                                                                                                                                                                                                        Suzanne S. Mladenik;
 544 Jeffrey P. Mladenik      Suzanne S. Mladenik    DKT 305; 1:02-cv-01616-     Suzanne S. Mladenik, Individually, as           Suzanne S. Mladenik as the Personal Representative    Suzanne S. Mladenik as           Grace Fu Youjuan Mladenik, Individually as WD
                                                     JR; P4436                   Spouse of Jeffrey P. Mladenik, Deceased;        of the Estate of Jeffrey P. Mladenik, Deceased;       Parent/Guardian of Grace Fu      Child of Jeffrey P. Mladenik, Deceased, and
                                                                                                                                                                                       Youjuan Mladenik                 previously included as minor child of
                                                                                                                                                                                                                        Suzanne S. Mladenik;
 545 Jeffrey P. Mladenik      Suzanne S. Mladenik    DKT 305; 1:02-cv-01616-     Suzanne S. Mladenik, Individually, as           Suzanne S. Mladenik as the Personal Representative    Suzanne S. Mladenik as           Suzanne S. Mladenik on behalf of H.Q.Y.M., WD
                                                     JR; P4436                   Spouse of Jeffrey P. Mladenik, Deceased;        of the Estate of Jeffrey P. Mladenik, Deceased;       Parent/Guardian of H.Q.Y.M.      Child of Jeffrey P. Mladenik, Deceased;

 546 Jeffrey P. Walz          Rani Deborah Walz      DKT 77; 1:02-cv-01616-      Rani Deborah Walz, Individually, as Spouse Rani Deborah Walz as the Personal Representative of                                                                                       WD
                                                     JR; P2748                   of Jeffrey P. Walz, Deceased;              the Estate of Jeffrey P. Walz, Deceased;

 547 Jeffrey R. Smith         Ellen Shaw Bakalian    DKT 3; 1:02-cv-01616-JR; Ellen Shaw Bakalian, Individually, as                                                                    Ellen Shaw Bakalian as           Charlotte Bakalian Smith, Individually as     WD
                                                     1835                     Spouse of Jeffrey R. Smith, Deceased;                                                                    Parent/Guardian of Charlotte     Child of Jeffrey R. Smith, Deceased, and
                                                                                                                                                                                       Bakalian Smith                   previously included as minor child of Ellen
                                                                                                                                                                                                                        Shaw Bakalian;
 548 Jeffrey R. Smith         Ellen Shaw Bakalian    DKT 3; 1:02-cv-01616-JR; Ellen Shaw Bakalian, Individually, as                                                                    Ellen Shaw Bakalian as           Margaret Shaw Smith, Individually as Child    WD
                                                     1835                     Spouse of Jeffrey R. Smith, Deceased;                                                                    Parent/Guardian of Margaret      of Jeffrey R. Smith, Deceased, and
                                                                                                                                                                                       Shaw Smith                       previously included as minor child of Ellen
                                                                                                                                                                                                                        Shaw Bakalian;
 549 Jeffrey Stark            Therese Stark         DKT 232; 1:02-cv-01616-      Therese Stark, Individually, as Sibling of      Therese Stark as the Personal Representative of the                                                                                  WD
                                                    JR; P3956                    Jeffrey Stark, Deceased;                        Estate of Jeffrey Stark, Deceased;
 550 Jeffrey W. Coombs        Mary Christine Coombs DKT 305; 1:02-cv-01616-      Mary Christine Coombs, Individually, as         Mary Christine Coombs as the Personal                 Mary Christine Coombs as        Julia Coombs, Individually as Child of         WD
                                                    JR; P4204                    Spouse of Jeffrey W. Coombs, Deceased;          Representative of the Estate of Jeffrey W. Coombs,    Parent/Guardian of Julia Coombs Jeffrey W. Coombs, Deceased, and
                                                                                                                                 Deceased;                                                                             previously included as minor child of Mary
                                                                                                                                                                                                                       Christine Coombs;
 551 Jeffrey W. Coombs        Mary Christine Coombs DKT 305; 1:02-cv-01616-      Mary Christine Coombs, Individually, as         Mary Christine Coombs as the Personal                 Mary Christine Coombs as        Matthew Coombs, Individually as Child of       WD
                                                    JR; P4204                    Spouse of Jeffrey W. Coombs, Deceased;          Representative of the Estate of Jeffrey W. Coombs,    Parent/Guardian of Matthew      Jeffrey W. Coombs, Deceased, and
                                                                                                                                 Deceased;                                             Coombs                          previously included as minor child of Mary
                                                                                                                                                                                                                       Christine Coombs;
 552 Jeffrey W. Coombs        Mary Christine Coombs DKT 305; 1:02-cv-01616-      Mary Christine Coombs, Individually, as         Mary Christine Coombs as the Personal                 Mary Christine Coombs as        Meaghan Coombs, Individually as Child of       WD
                                                    JR; P4204                    Spouse of Jeffrey W. Coombs, Deceased;          Representative of the Estate of Jeffrey W. Coombs,    Parent/Guardian of Meaghan      Jeffrey W. Coombs, Deceased, and
                                                                                                                                 Deceased;                                             Coombs                          previously included as minor child of Mary
                                                                                                                                                                                                                       Christine Coombs;
                                                                                                                                  34
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 35 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                 Plaintiff's Name                                                                                      Additional Capacity to be reflected in Amended          Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                         Plaintiff's Individual Capacity             Caption identifying the estate representative of         or Guardian of Previously
                                                              Complaint                                                                                                                                                                plaintiff in their own right
                                    complaint                                                                                                           9/11 Decedent                                   Minor Child


 553 Jennifer DeJesus          Luis Perez               DKT 77; 1:02-cv-01616- Luis Perez, Individually, as Sibling of       Luis Perez as the Personal Representative of the                                                                                                   WD
                                                        JR; P2685              Jennifer DeJesus, Deceased;                   Estate of Jennifer DeJesus, Deceased;
 554 Jennifer Lynn Mazzotta    Catherine Eleanor        DKT 232; 1:02-cv-01616-Catherine Eleanor Mazzotta, Individually, as Catherine Eleanor Mazzotta as the Personal                                                                                                          WD
                               Mazzotta                 JR; P4071              Parent of Jennifer Lynn Mazzotta, Deceased; Representative of the Estate of Jennifer Lynn
                                                                                                                             Mazzotta, Deceased;
 555 Jennifer Lynn Tzemis      Stamatios Konstantinos DKT 232; 1:02-cv-01616- Stamatios Konstantinos Tzemis,                 Stamatios Konstantinos Tzemis as the Personal                                                                                                      WD
                               Tzemis                 JR; P3988                Individually, as Parent of Jennifer Lynn      Representative of the Estate of Jennifer Lynn Tzemis,
                                                                               Tzemis, Deceased;                             Deceased;
 556 Jennifer M. Tino          Joan Elaine Tino       DKT 313; 1:02-cv-01616- Joan Elaine Tino, Individually, as Parent of Joan Elaine Tino as the Personal Representative of                                                                                                   WD
                                                      JR; P4753                Jennifer M. Tino, Deceased;                   the Estate of Jennifer M. Tino, Deceased;
 557 Jerome Dominguez          Frank Joseph           DKT 1; 1:02-cv-01616-JR; Frank Joseph Dominguez, Individually, as      Frank Joseph Dominguez as the Personal                                                                                                             WD
                               Dominguez              184                      Sibling of Jerome Dominguez, Deceased;        Representative of the Estate of Jerome Dominguez,
                                                                                                                             Deceased;
 558 Jerrold H. Paskins        Inez Slick             DKT 305; 1:02-cv-01616- Inez Slick, Individually, as Spouse of Jerrold Inez Slick as the Representative of the Estate of                                                                                                  WD
                                                      JR; P4468                H. Paskins, Deceased;                         Jerrold H. Paskins, Deceased;
 559 Jessica Leigh Sachs       Stephen Richard Sachs DKT 155; 1:02-cv-01616- Stephen Richard Sachs, Individually, as         Stephen Richard Sachs as the Representative of the                                                                                                 WD
                                                      JR; P3082                Parent of Jessica Leigh Sachs, Deceased;      Estate of Jessica Leigh Sachs, Deceased;

 560 Jesus Cabezas             Victoria Cabezas         DKT 26, 29; 1:02-cv-        Victoria Cabezas, Individually, as Spouse of     Victoria Cabezas as the Representative of the Estate                                                                                       WD
                                                        01616-JR; 1877              Jesus Cabezas, Deceased;                         of Jesus Cabezas, Deceased;
 561 Jesus Sanchez             Felicita Maria Sanchez   DKT 305; 1:02-cv-01616-     Felicita Maria Sanchez, Individually, as         Felicita Maria Sanchez as the Representative of the       Felicita Maria Sanchez as        Marc Antoni Sanchez, Individually as Child     WD
                                                        JR; P4512                   Child of Jesus Sanchez, Deceased;                Estate of Jesus Sanchez, Deceased;                        Parent/Guardian of Marc Antoni   of Jesus Sanchez, Deceased, and
                                                                                                                                                                                               Sanchez                          previously included as minor child by Felicita
                                                                                                                                                                                                                                Maria Sanchez, the court appointed
                                                                                                                                                                                                                                Representative of Jesus Sanchez;

 562 Jill Marie Campbell       Steven T. Campbell       DKT 1; 1:02-cv-01616-JR; Steven T. Campbell, Individually, as Spouse                                                                   Steven T. Campbell as           Jacob Joseph Campbell, Individually as           WD
                                                        103                      of Jill Marie Campbell, Deceased;                                                                             Parent/Guardian of Jacob Joseph Child of Jill Marie Campbell, Deceased;
                                                                                                                                                                                               Campbell
 563 Jimmie Ira Holley         Martha Rebecca           DKT 232; 1:02-cv-01616-     Martha Rebecca Jackson-Holley,                   Martha Rebecca Jackson-Holley as the Personal                                                                                              WD
                               Jackson-Holley           JR; P3722                   Individually, as Spouse of Jimmie Ira Holley,    Representative of the Estate of Jimmie Ira Holley,
                                                                                    Deceased;                                        Deceased;
 564 Joan McConnell Cullinan   Thomas Francis           DKT 305; 1:02-cv-01616-     Thomas Francis Cullinan, Individually, as        Thomas Francis Cullinan as the Personal                                                                                                    WD
                               Cullinan                 JR; P4211                   Spouse of Joan McConnell Cullinan,               Representative of the Estate of Joan McConnell
                                                                                    Deceased;                                        Cullinan, Deceased;
 565 Joann Tabeek              Alex Tabeek              DKT 232; 1:02-cv-01616-                                                      Alex Tabeek as the Personal Representative of the         Alex Tabeek as Parent/Guardian   Krystal Marie Oliva, Individually as Child of   WD
                                                        JR; P3971                                                                    Estate of Joann Tabeek, Deceased;                         of Krystal Marie Oliva           Joann Tabeek, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of Alex Tabeek;

 566 Joanne Mary Cregan        Ronald Bernard Cregan DKT 305; 1:02-cv-01616-        Ronald Bernard Cregan, Individually, as          Ronald Bernard Cregan as the Personal                                                                                                      WD
                                                     JR; P4209                      Parent of Joanne Mary Cregan, Deceased;          Representative of the Estate of Joanne Mary Cregan,
                                                                                                                                     Deceased;
 567 Joao A. Aguiar, Jr.       Diane Bottrill Aguiar    DKT 232; 1:02-cv-01616-     Diane Bottrill Aguiar, Individually, as Parent   Diane Bottrill Aguiar as the Personal Representative of                                                                                    WD
                                                        JR; P3575                   of Joao A. Aguiar, Jr., Deceased;                the Estate of Joao A. Aguiar, Jr., Deceased;

 568 John A. Crisci            Raffaella Rita Crisci    DKT 432; 1:02-cv-01616-     Raffaella Rita Crisci, Individually, as Spouse Raffaella Rita Crisci as the Personal Representative of Raffaella Rita Crisci as        Joseph David Crisci, Individually as Child of        WD
                                                        JR; P4804                   of John A. Crisci, Deceased;                   the Estate of John A. Crisci, Deceased;                 Parent/Guardian of Joseph David John A. Crisci, Deceased, and previously
                                                                                                                                                                                           Crisci                          included as minor child of Raffaella Rita
                                                                                                                                                                                                                           Crisci;
 569 John A. Crisci            Raffaella Rita Crisci    DKT 432; 1:02-cv-01616-     Raffaella Rita Crisci, Individually, as Spouse Raffaella Rita Crisci as the Personal Representative of Raffaella Rita Crisci as        Michael Espedito Crisci, Individually as             WD
                                                        JR; P4804                   of John A. Crisci, Deceased;                   the Estate of John A. Crisci, Deceased;                 Parent/Guardian of Michael      Child of John A. Crisci, Deceased, and
                                                                                                                                                                                           Espedito Crisci                 previously included as minor child of
                                                                                                                                                                                                                           Raffaella Rita Crisci;




                                                                                                                                      35
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 36 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
Number
                                 Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended      Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                        Plaintiff's Individual Capacity          Caption identifying the estate representative of     or Guardian of Previously
                                                             Complaint                                                                                                                                                           plaintiff in their own right
                                    complaint                                                                                                       9/11 Decedent                               Minor Child


 570 John A. Santore          Frances Santore         DKT 313; 1:02-cv-01616-      Frances Santore, Individually, as Spouse of   Frances Santore as the Representative of the Estate   Frances Santore as                 Tiana Marie Argia Santore, Individually as      WD
                                                      JR; P4729                    John A. Santore, Deceased;                    of John A. Santore, Deceased;                         Parent/Guardian of Tiana Marie     Child of John A. Santore, Deceased, and
                                                                                                                                                                                       Argia Santore                      previously included as minor child of
                                                                                                                                                                                                                          Frances Santore;
 571 John Aaron Hofer         Rebecca Jean Hofer      DKT 305; 1:02-cv-01616-      Rebecca Jean Hofer, Individually, as          Rebecca Jean Hofer as the Personal Representative                                                                                        WD
                                                      JR; P4325                    Spouse of John Aaron Hofer, Deceased;         of the Estate of John Aaron Hofer, Deceased;

 572 John Albert Schardt      Jeanette DeVito Schardt DKT 26, 29; 1:02-cv-         Jeanette DeVito Schardt, Individually, as                                                           Jeanette DeVito Schardt as       Robert Schardt, Individually as Child of John     WD
                                                      01616-JR; 4375               Spouse of John Albert Schardt, Deceased;                                                            Parent/Guardian of Robert        Albert Schardt, Deceased, and previously
                                                                                                                                                                                       Schardt                          included as minor child of Jeanette DeVito
                                                                                                                                                                                                                        Schardt;
 573 John Albert Schardt      Jeanette DeVito Schardt DKT 26, 29; 1:02-cv-         Jeanette DeVito Schardt, Individually, as                                                           Jeanette DeVito Schardt as       Christopher Schardt, Individually as Child of     WD
                                                      01616-JR; 4375               Spouse of John Albert Schardt, Deceased;                                                            Parent/Guardian of Christopher   John Albert Schardt, Deceased, and
                                                                                                                                                                                       Schardt                          previously included as minor child of
                                                                                                                                                                                                                        Jeanette DeVito Schardt;
 574 John Albert Schardt      Jeanette DeVito Schardt DKT 26, 29; 1:02-cv-         Jeanette DeVito Schardt, Individually, as                                                           Jeanette DeVito Schardt as       John Schardt, Jr., Individually as Child of       WD
                                                      01616-JR; 4375               Spouse of John Albert Schardt, Deceased;                                                            Parent/Guardian of John Schardt, John Albert Schardt, Deceased, and
                                                                                                                                                                                       Jr.                              previously included as minor child of
                                                                                                                                                                                                                        Jeanette DeVito Schardt;
 575 John Alexander Ogonowski Margaret Mary Hatch     DKT 432; 1:02-cv-01616-      Margaret Mary Hatch, Individually, as         Margaret Mary Hatch as the Representative of the      Margaret Mary Hatch as           Caroline Jane Ogonowski, Individually as          WD
                                                      JR; P4908                    Spouse of John Alexander Ogonowski,           Estate of John Alexander Ogonowski, Deceased;         Parent/Guardian of Caroline Jane Child of John Alexander Ogonowski,
                                                                                   Deceased;                                                                                           Ogonowski                        Deceased, and previously included as minor
                                                                                                                                                                                                                        child of Margaret Mary Hatch;
 576 John Alexander Ogonowski Margaret Mary Hatch     DKT 432; 1:02-cv-01616-      Margaret Mary Hatch, Individually, as         Margaret Mary Hatch as the Representative of the      Margaret Mary Hatch as           Laura Elizabeth Ogonowski, Individually as        WD
                                                      JR; P4908                    Spouse of John Alexander Ogonowski,           Estate of John Alexander Ogonowski, Deceased;         Parent/Guardian of Laura         Child of John Alexander Ogonowski,
                                                                                   Deceased;                                                                                           Elizabeth Ogonowski              Deceased, and previously included as minor
                                                                                                                                                                                                                        child of Margaret Mary Hatch;
 577 John Alexander Ogonowski Margaret Mary Hatch     DKT 432; 1:02-cv-01616-      Margaret Mary Hatch, Individually, as         Margaret Mary Hatch as the Representative of the      Margaret Mary Hatch as           Mary Katharine Ogonowski, Individually as         WD
                                                      JR; P4908                    Spouse of John Alexander Ogonowski,           Estate of John Alexander Ogonowski, Deceased;         Parent/Guardian of Mary          Child of John Alexander Ogonowski,
                                                                                   Deceased;                                                                                           Katharine Ogonowski              Deceased, and previously included as minor
                                                                                                                                                                                                                        child of Margaret Mary Hatch;
 578 John Anthony Sherry      Maureen Sherry          DKT 26, 29: 1:02-cv-         Maureen Sherry, Individually, as Spouse of                                                          Maureen Sherry as                James Thomas Sherry, Individually as Child        WD
                                                      01616-JR; 2476               John Anthony Sherry, Deceased;                                                                      Parent/Guardian of James         of John Anthony Sherry, Deceased, and
                                                                                                                                                                                       Thomas Sherry                    previously included as minor child of
                                                                                                                                                                                                                        Maureen Sherry;
 579 John Anthony Sherry      Maureen Sherry          DKT 26, 29: 1:02-cv-         Maureen Sherry, Individually, as Spouse of                                                          Maureen Sherry as                John Michael Sherry, Individually as Child of     WD
                                                      01616-JR; 2476               John Anthony Sherry, Deceased;                                                                      Parent/Guardian of John Michael John Anthony Sherry, Deceased, and
                                                                                                                                                                                       Sherry                           previously included as minor child of
                                                                                                                                                                                                                        Maureen Sherry;
 580 John Anthony Spataro     Patricia Ellen Wellington DKT 1; 1:02-cv-01616-JR; Patricia Ellen Wellington, Individually, as Patricia Ellen Wellington as the Representative of the                                                                                       WD
                                                        590                      Spouse of John Anthony Spataro, Deceased; Estate of John Anthony Spataro, Deceased;

 581 John B. Cahill           Sharon Cahill           DKT 155; 1:02-cv-01616-      Sharon Cahill, Individually, as Spouse of     Sharon Cahill as the Personal Representative of the   Sharon Cahill as                   Sharon Cahill on behalf of S.C., Child of       WD
                                                      JR; P2836                    John B. Cahill, Deceased;                     Estate of John B. Cahill, Deceased;                   Parent/Guardian of S.C.            John B. Cahill, Deceased;
 582 John B. Fiorito          Karen Fiorito           DKT 26, 29; 1:02-cv-         Karen Fiorito, Individually, as Spouse of                                                           Karen Fiorito as Parent/Guardian   John Joseph Fiorito, Individually as Child of   WD
                                                      01616-JR; 1964               John B. Fiorito, Deceased;                                                                          of John Joseph Fiorito             John B. Fiorito, Deceased, and previously
                                                                                                                                                                                                                          included as minor child of Karen Fiorito;

 583 John Christopher Moran   Louise Moran Wilson-    DKT 305; 1:02-cv-01616-      Louise Moran Wilson-Smith, Individually, as   Louise Moran Wilson-Smith as the Representative of    Louise Moran Wilson-Smith as       Louise Moran Wilson-Smith on behalf of          WD
                              Smith                   JR; P4442                    Spouse of John Christopher Moran,             the Estate of John Christopher Moran, Deceased;       Parent/Guardian of B.M.            B.M., Child of John Christopher Moran,
                                                                                   Deceased;                                                                                                                              Deceased;
 584 John Christopher Moran   Louise Moran Wilson-    DKT 305; 1:02-cv-01616-      Louise Moran Wilson-Smith, Individually, as   Louise Moran Wilson-Smith as the Representative of    Louise Moran Wilson-Smith as       Louise Moran Wilson-Smith on behalf of          WD
                              Smith                   JR; P4442                    Spouse of John Christopher Moran,             the Estate of John Christopher Moran, Deceased;       Parent/Guardian of R.M.            R.M., Child of John Christopher Moran,
                                                                                   Deceased;                                                                                                                              Deceased;



                                                                                                                                  36
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 37 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
Number
                                Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended          Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity             Caption identifying the estate representative of         or Guardian of Previously
                                                           Complaint                                                                                                                                                                plaintiff in their own right
                                   complaint                                                                                                         9/11 Decedent                                   Minor Child


 585 John Christopher Moran   Louise Moran Wilson-   DKT 305; 1:02-cv-01616-     Louise Moran Wilson-Smith, Individually, as      Louise Moran Wilson-Smith as the Representative of        Louise Moran Wilson-Smith as      Louise Moran Wilson-Smith on behalf of         WD
                              Smith                  JR; P4442                   Spouse of John Christopher Moran,                the Estate of John Christopher Moran, Deceased;           Parent/Guardian of E.M.           E.M., Child of John Christopher Moran,
                                                                                 Deceased;                                                                                                                                    Deceased;
 586 John D. Levi             Dennis J. Levi         DKT 155; 1:02-cv-01616-     Dennis J. Levi, Individually, as Child of John   Dennis J. Levi as the Co-Personal Representative of                                                                                        WD
                                                     JR; P2997                   D. Levi, Deceased;                               the Estate of John D. Levi, Deceased;
 587 John D. Levi             Jennifer Ann Levi      DKT 155; 1:02-cv-01616-     Jennifer Ann Levi, Individually, as Child of     Jennifer Ann Levi as the Co-Personal Representative                                                                                        WD
                                                     JR; P2998                   John D. Levi, Deceased;                          of the Estate of John D. Levi, Deceased;

 588 John Daniel Marshall     Lori T. Marshall       DKT 305; 1:02-cv-01616-     Lori T. Marshall, Individually, as Spouse of     Lori T. Marshall as the Representative of the Estate of   Lori T. Marshall as               Lori T. Marshall on behalf of P.M., Child of   WD
                                                     JR; P4404                   John Daniel Marshall, Deceased;                  John Daniel Marshall, Deceased;                           Parent/Guardian of P.M.           John Daniel Marshall, Deceased;
 589 John Daniel Marshall     Lori T. Marshall       DKT 305; 1:02-cv-01616-     Lori T. Marshall, Individually, as Spouse of     Lori T. Marshall as the Representative of the Estate of   Lori T. Marshall as               Lori T. Marshall on behalf of J.M.M., Child of WD
                                                     JR; P4404                   John Daniel Marshall, Deceased;                  John Daniel Marshall, Deceased;                           Parent/Guardian of J.M.M.         John Daniel Marshall, Deceased;
 590 John DiFato              Susan DiFato           DKT 26, 29; 1:02-cv-        Susan DiFato, Individually, as Spouse of                                                                   Susan DiFato as                   Nicole Kristine DiFato, Individually as Child WD
                                                     01616-JR; 3022              John DiFato, Deceased;                                                                                     Parent/Guardian of Nicole         of John DiFato, Deceased, and previously
                                                                                                                                                                                            Kristine DiFato                   included as minor child of Susan DiFato;

 591 John DiFato              Susan DiFato           DKT 26, 29; 1:02-cv-        Susan DiFato, Individually, as Spouse of                                                                   Susan DiFato as                 John Anthony DiFato, Individually as Child       WD
                                                     01616-JR; 3022              John DiFato, Deceased;                                                                                     Parent/Guardian of John Anthony of John DiFato, Deceased, and previously
                                                                                                                                                                                            DiFato                          included as minor child of Susan DiFato;

 592 John DiFato              Susan DiFato           DKT 26, 29; 1:02-cv-        Susan DiFato, Individually, as Spouse of                                                               Susan DiFato as                       Anthony DiFato, Individually as Child of       WD
                                                     01616-JR; 3022              John DiFato, Deceased;                                                                                 Parent/Guardian of Anthony            John DiFato, Deceased, and previously
                                                                                                                                                                                        DiFato                                included as minor child of Susan DiFato;
 593 John E. Bulaga, Jr.      Michelle Bulaga        DKT 305; 1:02-cv-01616-     Michelle Bulaga, Individually, as Spouse of      Michelle Bulaga as the Personal Representative of the Michelle Bulaga as                    Michelle Bulaga on behalf of A.B., Child of    WD
                                                     JR; P4150                   John E. Bulaga, Jr., Deceased;                   Estate of John E. Bulaga, Jr., Deceased;              Parent/Guardian of A.B.               John E. Bulaga, Deceased;
 594 John E. Bulaga, Jr.      Michelle Bulaga        DKT 305; 1:02-cv-01616-     Michelle Bulaga, Individually, as Spouse of      Michelle Bulaga as the Personal Representative of the Michelle Bulaga as                    Michelle Bulaga on behalf of R.B., Child of    WD
                                                     JR; P4150                   John E. Bulaga, Jr., Deceased;                   Estate of John E. Bulaga, Jr., Deceased;              Parent/Guardian of R.B.               John E. Bulaga, Deceased;
 595 John E. Connolly, Jr.    Dawn A. Connolly       DKT 313; 1:02-cv-01616-     Dawn A. Connolly, Individually, as Spouse        Dawn A. Connolly as the Personal Representative of    Dawn A. Connolly as                   Dineen Ann Connolly, Individually as Child     WD
                                                     JR; P4631                   of John E. Connolly, Jr., Deceased;              the Estate of John E. Connolly, Jr., Deceased;        Parent/Guardian of Dineen Ann         of John E. Connolly, Jr., Deceased, and
                                                                                                                                                                                        Connolly                              previously included as minor child of Dawn
                                                                                                                                                                                                                              A. Connolly;
 596 John E. Connolly, Jr.    Dawn A. Connolly       DKT 313; 1:02-cv-01616-     Dawn A. Connolly, Individually, as Spouse        Dawn A. Connolly as the Personal Representative of        Dawn A. Connolly as               John Patrick Connolly, Individually as Child   WD
                                                     JR; P4631                   of John E. Connolly, Jr., Deceased;              the Estate of John E. Connolly, Jr., Deceased;            Parent/Guardian of John Patrick   of John E. Connolly, Jr., Deceased, and
                                                                                                                                                                                            Connolly                          previously included as minor child of Dawn
                                                                                                                                                                                                                              A. Connolly;
 597 John E. Connolly, Jr.    Dawn A. Connolly       DKT 313; 1:02-cv-01616-     Dawn A. Connolly, Individually, as Spouse        Dawn A. Connolly as the Personal Representative of        Dawn A. Connolly as               Patrick Liam Craig Connolly, Individually as   WD
                                                     JR; P4631                   of John E. Connolly, Jr., Deceased;              the Estate of John E. Connolly, Jr., Deceased;            Parent/Guardian of Patrick Liam   Child of John E. Connolly, Jr., Deceased,
                                                                                                                                                                                            Craig Connolly                    and previously included as minor child of
                                                                                                                                                                                                                              Dawn A. Connolly;
 598 John F. Ginley           April G. Ginley        DKT 26, 29; 1:02-cv-        April G. Ginley, Individually, as Spouse of                                                                April G. Ginley as                Connor Thomas Ginley, Individually as Child    WD
                                                     01616-JR; 3285              John F. Ginley, Deceased;                                                                                  Parent/Guardian of Connor         of John F. Ginley, Deceased, and previously
                                                                                                                                                                                            Thomas Ginley                     included as minor child of April G. Ginley;

 599 John F. Ginley           April G. Ginley        DKT 26, 29; 1:02-cv-        April G. Ginley, Individually, as Spouse of                                                                April G. Ginley as                Taylor Elizabeth Ginley, Individually as Child WD
                                                     01616-JR; 3285              John F. Ginley, Deceased;                                                                                  Parent/Guardian of Taylor         of John F. Ginley, Deceased, and previously
                                                                                                                                                                                            Elizabeth Ginley                  included as minor child of April G. Ginley;

 600 John F. Puckett          Michele Puckett        DKT 1; 1:02-cv-01616-JR;                                                                                                               Michele Puckett as                Michele Puckett-Formolo, Individually as       WD
                                                     480                                                                                                                                    Parent/Guardian of Michele        Child of John F. Puckett, Deceased, and
                                                                                                                                                                                            Puckett-Formolo                   previously included as minor child of
                                                                                                                                                                                                                              Michele Puckett;
 601 John Francis Casazza     Patricia D. Casazza    DKT 1; 1:02-cv-01616-JR; Patricia D. Casazza, Individually, as Spouse                                                                  Patricia D. Casazza as            John F. Casazza, Individually as Child of      WD
                                                     767                      of John Francis Casazza, Deceased;                                                                            Parent/Guardian of John F.        John Francis Casazza, Deceased, and
                                                                                                                                                                                            Casazza                           previously included as minor child of Patricia
                                                                                                                                                                                                                              D. Casazza;


                                                                                                                                   37
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 38 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
Number
                                Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of        or Guardian of Previously
                                                            Complaint                                                                                                                                                              plaintiff in their own right
                                   complaint                                                                                                         9/11 Decedent                                  Minor Child


 602 John Frank Rizzo         Concetta Rizzo         DKT 3; 1:02-cv-01616-JR;     Concetta Rizzo, Individually, as Spouse of      Concetta Rizzo as the Representative of the Estate of                                                                                    WD
                                                     1577                         John Frank Rizzo, Deceased;                     John Frank Rizzo, Deceased;
 603 John G. Chipura          Gerard Michael Chipura DKT 232; 1:02-cv-01616-      Gerard Michael Chipura, Individually, as        Gerard Michael Chipura as the Co-Personal                                                                                                WD
                                                     JR; P3640                    Sibling of John G. Chipura, Deceased;           Representative of the Estate of John G. Chipura,
                                                                                                                                  Deceased;
 604 John G. Chipura          Susan G. Cohen          DKT 232; 1:02-cv-01616-     Susan G. Cohen, Individually, as Sibling of     Susan G. Cohen as the Co-Personal Representative of                                                                                      WD
                                                      JR; P3642                   John G. Chipura, Deceased;                      the Estate of John G. Chipura, Deceased;

 605 John G. Farrell          James F. Farrell        DKT 232; 1:02-cv-01616-     James F. Farrell, Individually, as Parent of    James F. Farrell as the Personal Representative of the                                                                                   WD
                                                      JR; P3685                   John G. Farrell, Deceased;                      Estate of John G. Farrell, Deceased;
 606 John Grazioso            Tina Grazioso           DKT 1; 1:02-cv-01616-JR;    Tina Grazioso, Individually, as Spouse of                                                                Tina Grazioso as                 Tina Grazioso, on behalf of K.N.G., Child of   WD
                                                      700                         John Grazioso, Deceased;                                                                                 Parent/Guardian of K.N.G.        John Grazioso, Deceased;
 607 John Grazioso            Tina Grazioso           DKT 1; 1:02-cv-01616-JR;    Tina Grazioso, Individually, as Spouse of                                                                Tina Grazioso as                 Tina Grazioso, on behalf of K.M.G., Child of   WD
                                                      700                         John Grazioso, Deceased;                                                                                 Parent/Guardian of K.M.G.        John Grazioso, Deceased;
 608 John Grazioso            Tina Grazioso           DKT 1; 1:02-cv-01616-JR;    Tina Grazioso, Individually, as Spouse of                                                                Tina Grazioso as                 Tina Grazioso, on behalf of M.J.G., Child of   WD
                                                      700                         John Grazioso, Deceased;                                                                                 Parent/Guardian of M.J.G.        John Grazioso, Deceased;
 609 John J. Corcoran, III    Diann Louise Corcoran   DKT 305; 1:02-cv-01616-     Diann Louise Corcoran DuBois, Individually,     Diann Louise Corcoran DuBois as the Personal             Diann Louise Corcoran DuBois     John James Corcoran, Individually as Child     WD
                              DuBois                  JR; P4208                   as Spouse of John J. Corcoran, III,             Representative of the Estate of John J. Corcoran, III,   as Parent/Guardian of John       of John J. Corcoran, Deceased, and
                                                                                  Deceased;                                       Deceased;                                                James Corcoran                   previously included as minor child of Diann
                                                                                                                                                                                                                            Louise Corcoran DuBois;
 610 John J. Corcoran, III    Diann Louise Corcoran   DKT 305; 1:02-cv-01616-     Diann Louise Corcoran DuBois, Individually, Diann Louise Corcoran DuBois as the Personal                 Diann Louise Corcoran DuBois     Meghan Lee Corcoran, Individually as Child     WD
                              DuBois                  JR; P4208                   as Spouse of John J. Corcoran, III,         Representative of the Estate of John J. Corcoran, III,       as Parent/Guardian of Meghan     of John J. Corcoran, Deceased, and
                                                                                  Deceased;                                   Deceased;                                                    Lee Corcoran                     previously included as minor child of Diann
                                                                                                                                                                                                                            Louise Corcoran DuBois;
 611 John J. Lennon, Jr.      Patricia Lennon         DKT 313; 1:02-cv-01616-     Patricia Lennon, Individually, as Spouse of     Patricia Lennon as the Personal Representative of the    Patricia Lennon as               Patricia Lennon on behalf of C.L., Child of    WD
                                                      JR; P4685                   John J. Lennon, Jr., Deceased;                  Estate of John J. Lennon, Jr., Deceased;                 Parent/Guardian of C.L.          John J. Lennon, Deceased;
 612 John J. Lennon, Jr.      Patricia Lennon         DKT 313; 1:02-cv-01616-     Patricia Lennon, Individually, as Spouse of     Patricia Lennon as the Personal Representative of the    Patricia Lennon as               Patricia Lennon on behalf of K.L., Child of    WD
                                                      JR; P4685                   John J. Lennon, Jr., Deceased;                  Estate of John J. Lennon, Jr., Deceased;                 Parent/Guardian of K.L.          John J. Lennon, Deceased;
 613 John J. Murray           Rosemary Owens          DKT 26, 29; 1:02-cv-        Rosemary Owens Murray, Individually, as                                                                  Rosemary Owens Murray as         Alyson Rose Murray, Individually as Child of   WD
                              Murray                  01616-JR; 2213              Spouse of John J. Murray, Deceased;                                                                      Parent/Guardian of Alyson Rose   John J. Murray, Deceased, and previously
                                                                                                                                                                                           Murray                           included as minor child of Rosemary Owens
                                                                                                                                                                                                                            Murray;
 614 John J. Tipping, II      Arlene M. Tipping       DKT 77; 1:02-cv-01616-      Arlene M. Tipping, Individually, as Parent of   Arlene M. Tipping as the Personal Representative of                                                                                      WD
                                                      JR; P2722                   John J. Tipping, II, Deceased;                  the Estate of John J. Tipping, II, Deceased;
 615 John K. McAvoy           Paula M. McAvoy         DKT 26, 29; 1:02-cv-        Paula M. McAvoy, Individually, as Spouse of     Paula M. McAvoy as the Personal Representative of        Paula M. McAvoy as               Kate Marie McAvoy, Individually as Child of WD
                                                      01616-JR; 3782              John K. McAvoy, Deceased;                       the Estate of John K. McAvoy, Deceased;                  Parent/Guardian of Kate Marie    John K. McAvoy, Deceased, and previously
                                                                                                                                                                                           McAvoy                           included as minor child of Paula M. McAvoy;

 616 John K. McAvoy           Paula M. McAvoy         DKT 26, 29; 1:02-cv-        Paula M. McAvoy, Individually, as Spouse of Paula M. McAvoy as the Personal Representative of            Paula M. McAvoy as               Kevin James McAvoy, Individually as Child      WD
                                                      01616-JR; 3782              John K. McAvoy, Deceased;                   the Estate of John K. McAvoy, Deceased;                      Parent/Guardian of Kevin James   of John K. McAvoy, Deceased, and
                                                                                                                                                                                           McAvoy                           previously included as minor child of Paula
                                                                                                                                                                                                                            M. McAvoy;
 617 John M. Pocher           Laura A. Grygotis     DKT 232; 1:02-cv-01616- Laura A. Grygotis, Individually, as Spouse of Laura A. Grygotis as the Representative of the Estate                                                                                            WD
                                                    JR; P3899                John M. Pocher, Deceased;                    of John M. Pocher, Deceased;
 618 John Marcy Talignani     Eileen Bertorelli-    DKT 155; 1:02-cv-01616-JR; P3115                                      Eileen Bertorelli-Zangrillo as the Personal                                                                                                      WD
                              Zangrillo                                                                                   Representative of the Estate of John Marcy Talignani,
                                                                                                                          Deceased;
 619 John Michael Rodak       Joyce Ann Marie Rodak DKT 26, 29; 1:02-cv-     Joyce Ann Marie Rodak, Individually, as                                                                       Joyce Ann Marie Rodak as         Joyce Ann Marie Rodak, on behalf of            WD
                                                    01616-JR; 4291           Spouse of John Michael Rodak, Deceased;                                                                       Parent/Guardian of C.N.R.        C.N.R., Child of John Michael Rodak,
                                                                                                                                                                                                                            Deceased;
 620 John Michael Rodak       Joyce Ann Marie Rodak DKT 26, 29; 1:02-cv-          Joyce Ann Marie Rodak, Individually, as                                                                  Joyce Ann Marie Rodak as         Joyce Ann Marie Rodak, on behalf of            WD
                                                    01616-JR; 4291                Spouse of John Michael Rodak, Deceased;                                                                  Parent/Guardian of D.M.R.        D.M.R., Child of John Michael Rodak,
                                                                                                                                                                                                                            Deceased;




                                                                                                                                   38
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 39 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
Number
                                Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                         Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                             Complaint                                                                                                                                                            plaintiff in their own right
                                   complaint                                                                                                         9/11 Decedent                                 Minor Child


 621 John P. Hart             Laurie Sue Hart          DKT 232; 1:02-cv-01616-     Laurie Sue Hart, Individually, as Spouse of    Laurie Sue Hart as the Personal Representative of the   Laurie Sue Hart as               Amy Lynn Gruver, Individually as Child of        WD
                                                       JR; P3714                   John P. Hart, Deceased;                        Estate of John P. Hart, Deceased;                       Parent/Guardian of Amy Lynn      John P. Hart, Deceased, and previously
                                                                                                                                                                                          Gruver                           included as minor child of Laurie Sue Hart;

 622 John P. Hart             Laurie Sue Hart          DKT 232; 1:02-cv-01616-     Laurie Sue Hart, Individually, as Spouse of    Laurie Sue Hart as the Personal Representative of the   Laurie Sue Hart as               Emily Christine Hart, Individually as Child of   WD
                                                       JR; P3714                   John P. Hart, Deceased;                        Estate of John P. Hart, Deceased;                       Parent/Guardian of Emily         John P. Hart, Deceased, and previously
                                                                                                                                                                                          Christine Hart                   included as minor child of Laurie Sue Hart;

 623 John P. Hart             Laurie Sue Hart          DKT 232; 1:02-cv-01616-     Laurie Sue Hart, Individually, as Spouse of    Laurie Sue Hart as the Personal Representative of the   Laurie Sue Hart as               Westin James Hart, Individually as Child of      WD
                                                       JR; P3714                   John P. Hart, Deceased;                        Estate of John P. Hart, Deceased;                       Parent/Guardian of Westin        John P. Hart, Deceased, and previously
                                                                                                                                                                                          James Hart                       included as minor child of Laurie Sue Hart;

 624 John P. Tierney          Helen Mary Tierney       DKT 155; 1:02-cv-01616-     Helen Mary Tierney, Individually, as Parent    Helen Mary Tierney as the Personal Representative of                                                                                      WD
                                                       JR; P3127                   of John P. Tierney, Deceased;                  the Estate of John P. Tierney, Deceased;

 625 John P. Williamson       Mary Brigid              DKT 3; 1:02-cv-01616-JR; Mary Brigid Williamson, Individually, as                                                                  Mary Brigid Williamson as        Jessica Williamson, Individually as Child of     WD
                              Williamson               1741                     Spouse of John P. Williamson, Deceased;                                                                   Parent/Guardian of Jessica       John P. Williamson, Deceased, and
                                                                                                                                                                                          Williamson                       previously included as minor child of Mary
                                                                                                                                                                                                                           Brigid Williamson;
 626 John P. Williamson       Mary Brigid              DKT 3; 1:02-cv-01616-JR; Mary Brigid Williamson, Individually, as                                                                  Mary Brigid Williamson as        Marc Williamson, Individually as Child of        WD
                              Williamson               1741                     Spouse of John P. Williamson, Deceased;                                                                   Parent/Guardian of Marc          John P. Williamson, Deceased, and
                                                                                                                                                                                          Williamson                       previously included as minor child of Mary
                                                                                                                                                                                                                           Brigid Williamson;
 627 John Peter Skala         Irene Ann Lesiw          DKT 313; 1:02-cv-01616-     Irene Ann Lesiw, Individually, as Sibling of   Irene Ann Lesiw as the Personal Representative of the                                                                                     WD
                                                       JR; P4733                   John Peter Skala, Deceased;                    Estate of John Peter Skala, Deceased;
 628 John R. Crowe            Pamela M. Crowe          DKT 155; 1:02-cv-01616-     Pamela M. Crowe, Individually, as Spouse       Pamela M. Crowe as the Personal Representative of                                                                                         WD
                                                       JR; P2862                   of John R. Crowe, Deceased;                    the Estate of John R. Crowe, Deceased;
 629 John R. Fischer          Jean C. Fischer          DKT 26, 29; 1:02-cv-        Jean C. Fischer, Individually, as Spouse of                                                            Jean C. Fischer as               Sarah Mary Fisher, Individually as Child of      WD
                                                       01616-JR; 1967              John R. Fischer, Deceased;                                                                             Parent/Guardian of Sarah Mary    Thomas Joseph Fisher, Deceased, and
                                                                                                                                                                                          Fisher                           previously included as minor child of Jean
                                                                                                                                                                                                                           C. Fischer;
 630 John R. Fischer          Jean C. Fischer          DKT 26, 29; 1:02-cv-        Jean C. Fischer, Individually, as Spouse of                                                            Jean C. Fischer as               John Corley Fischer, Individually as Child of    WD
                                                       01616-JR; 3168              John R. Fischer, Deceased;                                                                             Parent/Guardian of John Corley   John R. Fischer, Deceased, and previously
                                                                                                                                                                                          Fischer                          included as minor child of Jean C. Fischer;

 631 John R. Fischer          Jean C. Fischer          DKT 26, 29; 1:02-cv-        Jean C. Fischer, Individually, as Spouse of                                                            Jean C. Fischer as               Timothy Rudolph Fischer, Individually as         WD
                                                       01616-JR; 3168              John R. Fischer, Deceased;                                                                             Parent/Guardian of Timothy       Child of John R. Fischer, Deceased, and
                                                                                                                                                                                          Rudolph Fischer                  previously included as minor child of Jean
                                                                                                                                                                                                                           C. Fischer;
 632 John R. Fischer          Jean C. Fischer          DKT 26, 29; 1:02-cv-        Jean C. Fischer, Individually, as Spouse of                                                            Jean C. Fischer as               Laura Jean Nemeth, Individually as Child of      WD
                                                       01616-JR; 3168              John R. Fischer, Deceased;                                                                             Parent/Guardian of Laura Jean    John R. Fischer, Deceased, and previously
                                                                                                                                                                                          Nemeth                           included as minor child of Jean C. Fischer;

 633 John Richard Keohane     Donald Edward            DKT 155; 1:02-cv-01616-     Donald Edward Keohane, Individually, as   Donald Edward Keohane as the Personal                                                                                                          WD
                              Keohane                  JR; P2971                   Parent of John Richard Keohane, Deceased; Representative of the Estate of John Richard
                                                                                                                             Keohane, Deceased;
 634 John Richard Keohane     Mary Ann Keohane         DKT 155; 1:02-cv-01616-     Mary Ann Keohane, Individually, as Parent Mary Ann Keohane as the Personal Representative of                                                                                             WD
                                                       JR; P2972                   of John Richard Keohane, Deceased;        the Estate of John Richard Keohane, Deceased;

 635 John Wayne Wright        Martha Oliverio Wright   DKT 26, 29; 1:02-cv-        Martha Oliverio Wright, Individually, as                                                               Martha Oliverio Wright as         Emily Virginia Wright, Individually as Child WD
                                                       01616-JR; 2437              Spouse of John Wayne Wright, Deceased;                                                                 Parent/Guardian of Emily Virginia of John Wayne Wright, Jr., Deceased, and
                                                                                                                                                                                          Wright                            previously included as minor child of Martha
                                                                                                                                                                                                                            Oliverio Wright;




                                                                                                                                   39
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 40 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
Number
                                  Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                         Plaintiff's Individual Capacity          Caption identifying the estate representative of        or Guardian of Previously
                                                               Complaint                                                                                                                                                             plaintiff in their own right
                                     complaint                                                                                                        9/11 Decedent                                  Minor Child


 636 John Wayne Wright          Martha Oliverio Wright   DKT 26, 29; 1:02-cv-        Martha Oliverio Wright, Individually, as                                                               Martha Oliverio Wright as         John Wayne Wright, III, Individually as Child WD
                                                         01616-JR; 2437              Spouse of John Wayne Wright, Deceased;                                                                 Parent/Guardian of John Wayne     of John Wayne Wright, Jr., Deceased, and
                                                                                                                                                                                            Wright, III                       previously included as minor child of Martha
                                                                                                                                                                                                                              Oliverio Wright;
 637 John Wayne Wright          Martha Oliverio Wright   DKT 26, 29; 1:02-cv-        Martha Oliverio Wright, Individually, as                                                               Martha Oliverio Wright as         Robert John Wright, Individually as Child of WD
                                                         01616-JR; 2437              Spouse of John Wayne Wright, Deceased;                                                                 Parent/Guardian of Robert John    John Wayne Wright, Jr., Deceased, and
                                                                                                                                                                                            Wright                            previously included as minor child of Martha
                                                                                                                                                                                                                              Oliverio Wright;
 638 Johnnie Doctor, Jr.        Andrea Gale Doctor       DKT 305; 1:02-cv-01616-     Andrea Gale Doctor, Individually, as Spouse Andrea Gale Doctor as the Personal Representative of Andrea Gale Doctor as                   Anthony Peter Newsome, Individually as        WD
                                                         JR; P4230                   of Johnnie Doctor, Jr., Deceased;           the Estate of Johnnie Doctor, Jr., Deceased;         Parent/Guardian of Anthony              Step-Child of Johnnie Doctor, Jr.,
                                                                                                                                                                                      Peter Newsome                           Deceased, and previously included as minor
                                                                                                                                                                                                                              child of Andrea Gale Doctor;
 639 Jon A. Perconti            Tammy Perconti           DKT 26, 29; 1:02-cv-        Tammy Perconti, Individually, as Spouse of                                                             Tammy Perconti as                 Julia Amelia Perconti, Individually as Child  WD
                                                         01616-JR; 2263              Jon A. Perconti, Deceased;                                                                             Parent/Guardian of Julia Amelia   of Jon A. Perconti, Deceased, and
                                                                                                                                                                                            Perconti                          previously included as minor child of Tammy
                                                                                                                                                                                                                              Perconti;
 640 Jonathan Cappello          Robert Emanuel           DKT 232; 1:02-cv-01616-     Robert Emanuel Cappello, Sr., Individually,   Robert Emanuel Cappello, Sr. as the Personal                                                                                             WD
                                Cappello, Sr.            JR; P3625                   as Parent of Jonathan Cappello, Deceased;     Representative of the Estate of Jonathan Cappello,
                                                                                                                                   Deceased;
 641 Jonathan Randall           Virginia Bladen          DKT 232; 1:02-cv-01616-                                                   Virginia Bladen as the Representative of the Estate of   Virginia Bladen as                Virginia Bladen on behalf of K.B.R., Child of WD
                                                         JR; P3921                                                                 Jonathan Randall, Deceased;                              Parent/Guardian of K.B.R.         Jonathan Randall, Deceased;
 642 Jose Angel Martinez, Jr.   Aida Martinez            DKT 305; 1:02-cv-01616-     Aida Martinez, Individually, as Spouse of     Aida Martinez as the Personal Representative of the      Aida Martinez as                  Michael Jesse Martinez, Individually as       WD
                                                         JR; AP247                   Jose Angel Martinez, Jr., Deceased;           Estate of Jose Angel Martinez, Jr., Deceased;            Parent/Guardian of Michael        Child of Jose Angel Martinez, Jr., Deceased,
                                                                                                                                                                                            Jesse Martinez                    and previously included as minor child of
                                                                                                                                                                                                                              Aida Martinez;
 643 Jose Angel Martinez, Jr.   Aida Martinez            DKT 305; 1:02-cv-01616-     Aida Martinez, Individually, as Spouse of     Aida Martinez as the Personal Representative of the      Aida Martinez as                  Christopher Michael Martinez, Individually    WD
                                                         JR; AP247                   Jose Angel Martinez, Jr., Deceased;           Estate of Jose Angel Martinez, Jr., Deceased;            Parent/Guardian of Christopher    as Child of Jose Angel Martinez, Jr.,
                                                                                                                                                                                            Michael Martinez                  Deceased, and previously included as minor
                                                                                                                                                                                                                              child of Aida Martinez;
 644 Jose Antonio Guadalupe     Elise S. Guadalupe       DKT 305; 1:02-cv-01616-     Elise S. Guadalupe, Individually, as Spouse   Elise S. Guadalupe as the Representative of the          Elise S. Guadalupe as             Elise S. Guadalupe on behalf of A.J.G.,       WD
                                                         JR; P4303                   of Jose Antonio Guadalupe, Deceased;          Estate of Jose Antonio Guadalupe, Deceased;              Parent/Guardian of A.J.G.         Child of Jose Antonio Guadalupe, Deceased;

 645 Jose Marrero               Jodi A. Marrero          DKT 3; 1:02-cv-01616-JR; Jodi A. Marrero, Individually, as Spouse of                                                               Jodi A. Marrero as                Jenna Marrero, Individually as Child of Jose WD
                                                         1413                     Jose Marrero, Deceased;                                                                                   Parent/Guardian of Jenna          Marrero, Deceased, and previously included
                                                                                                                                                                                            Marrero                           as minor child of Jodi A. Marrero;

 646 Jose Marrero               Jodi A. Marrero          DKT 3; 1:02-cv-01616-JR; Jodi A. Marrero, Individually, as Spouse of                                                               Jodi A. Marrero as                Jonathan Marrero, Individually as Child of    WD
                                                         1413                     Jose Marrero, Deceased;                                                                                   Parent/Guardian of Jonathan       Jose Marrero, Deceased, and previously
                                                                                                                                                                                            Marrero                           included as minor child of Jodi A. Marrero;

 647 Jose Marrero               Jodi A. Marrero          DKT 3; 1:02-cv-01616-JR; Jodi A. Marrero, Individually, as Spouse of                                                               Jodi A. Marrero as                Jordan Marrero, Individually as Child of Jose WD
                                                         1413                     Jose Marrero, Deceased;                                                                                   Parent/Guardian of Jordan         Marrero, Deceased, and previously included
                                                                                                                                                                                            Marrero                           as minor child of Jodi A. Marrero;

 648 Jose Marrero               Jodi A. Marrero          DKT 3; 1:02-cv-01616-JR;    Jodi A. Marrero, Individually, as Spouse of                                                          Jodi A. Marrero as              Jodi A. Marrero, on behalf of M.R., Child of WD
                                                         1413                        Jose Marrero, Deceased;                                                                              Parent/Guardian of M.R.         Jose Marrero, Deceased;
 649 Jose Orlando Calderon-     Gloria Esperanza         DKT HAND FILED (3-10-       Gloria Esperanza Calderon Garcia,             Gloria Esperanza Calderon Garcia as the Personal       Gloria Esperanza Calderon       Vanessa Aracely Calderon Garcia,             WD
     Olmedo                     Calderon Garcia          2004); 1:03-cv-9849         Individually, as Spouse of Jose Orlando       Representative of the Estate of Jose Orlando Calderon- Garcia as Parent/Guardian of    Individually as Child of Jose Orlando
                                                         (RCC); P5012                Calderon-Olmedo, Deceased;                    Olmedo, Deceased;                                      Vanessa Aracely Calderon Garcia Calderon-Olmedo, Deceased, and
                                                                                                                                                                                                                          previously included as minor child of Gloria
                                                                                                                                                                                                                          Esperanza Calderon Garcia;
 650 Jose Orlando Calderon-     Gloria Esperanza         DKT HAND FILED (3-10-       Gloria Esperanza Calderon Garcia,             Gloria Esperanza Calderon Garcia as the Personal       Gloria Esperanza Calderon       Jose Orlando Calderon-Garcia, Individually WD
     Olmedo                     Calderon Garcia          2004); 1:03-cv-9849         Individually, as Spouse of Jose Orlando       Representative of the Estate of Jose Orlando Calderon- Garcia as Parent/Guardian of    as Child of Jose Orlando Calderon-Olmedo,
                                                         (RCC); P5012                Calderon-Olmedo, Deceased;                    Olmedo, Deceased;                                      Jose Orlando Calderon-Garcia    Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Gloria Esperanza Calderon Garcia;


                                                                                                                                    40
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 41 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
Number
                                  Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of      or Guardian of Previously
                                                              Complaint                                                                                                                                                            plaintiff in their own right
                                     complaint                                                                                                         9/11 Decedent                                Minor Child


 651 Joseph A. LaFalce          Dominick Vincent        DKT 155; 1:02-cv-01616-     Dominick Vincent LaFalce, Jr., Individually,    Dominick Vincent LaFalce, Jr. as the Personal                                                                                           WD
                                LaFalce, Jr.            JR; P2982                   as Sibling of Joseph A. LaFalce, Deceased;      Representative of the Estate of Joseph A. LaFalce,
                                                                                                                                    Deceased;
 652 Joseph A. Lenihan          Ingrid Maria Lenihan    DKT 432; 1:02-cv-01616-     Ingrid Maria Lenihan, Individually, as          Ingrid Maria Lenihan as the Personal Representative    Ingrid Maria Lenihan as          Ingrid M. Lemihan on behalf of G.L., Child of WD
                                                        JR; P4883                   Spouse of Joseph A. Lenihan, Deceased;          of the Estate of Joseph A. Lenihan, Deceased;          Parent/Guardian of G.L.          Joseph A. Lenihan, Deceased;

 653 Joseph Agnello             VinnieCarla Agnello     DKT 26, 29; 1:02-CV-        VinnieCarla Agnello, Individually, as Spouse VinnieCarla Agnello as the Personal Representative of VinnieCarla Agnello as          Salvatore Ralph Agnello, Individually as             WD
                                                        01616-JR; 2542              of Joseph Agnello, Deceased;                 the Estate of Joseph Agnello, Deceased;               Parent/Guardian of Salvatore    Child of Joseph Agnello, Deceased, and
                                                                                                                                                                                       Ralph Agnello                   previously included as minor child of
                                                                                                                                                                                                                       VinnieCarla Agnello;
 654 Joseph Agnello             VinnieCarla Agnello     DKT 26, 29; 1:02-CV-        VinnieCarla Agnello, Individually, as Spouse VinnieCarla Agnello as the Personal Representative of VinnieCarla Agnello as          Vincent Joseph Agnello, Individually as              WD
                                                        01616-JR; 2542              of Joseph Agnello, Deceased;                 the Estate of Joseph Agnello, Deceased;               Parent/Guardian of Vincent      Child of Joseph Agnello, Deceased, and
                                                                                                                                                                                       Joseph Agnello                  previously included as minor child of
                                                                                                                                                                                                                       VinnieCarla Agnello;
 655 Joseph D. Mistrulli        Philomena Mistrulli     DKT 232; 1:02-cv-01616-     Philomena Mistrulli, Individually, as Spouse Philomena Mistrulli as the Personal Representative of Philomena Mistrulli as          Angela Marie Mistrulli-Cantone, Individually         WD
                                                        JR; P3849                   of Joseph D. Mistrulli, Deceased;            the Estate of Joseph D. Mistrulli, Deceased;          Parent/Guardian of Angela Marie as Child of Joseph D. Mistrulli, Deceased,
                                                                                                                                                                                       Mistrulli-Cantone               and previously included as minor child of
                                                                                                                                                                                                                       Philomena Mistrulli;

 656 Joseph Farrelly            Stacey E. Farrelly      DKT 3; 1:02-cv-01616-JR; Stacey E. Farrelly, Individually, as Spouse of                                                            Stacey E. Farrelly as            Julianne Carlene Farrelly, Individually as   WD
                                                        1094                     Joseph Farrelly, Deceased;                                                                                Parent/Guardian of Julianne      Child of Joseph Farrelly, Deceased, and
                                                                                                                                                                                           Carlene Farrelly                 previously included as minor child of Stacey
                                                                                                                                                                                                                            E. Farrelly;
 657 Joseph Francis Sacerdote   Arlene Sacerdote        DKT 305; 1:02-cv-01616-     Arlene Sacerdote, Individually, as Spouse of Arlene Sacerdote as the Personal Representative of                                                                                      WD
                                                        JR; P4506                   Joseph Francis Sacerdote, Deceased;          the Estate of Joseph Francis Sacerdote, Deceased;

 658 Joseph Gerard Leavey       Carole Jeanne Leavey    DKT HAND FILED (3-10-       Carole Jeanne Leavey, Individually, as          Carole Jeanne Leavey as the Personal Representative Carole Jeanne Leavey as             Caitlin Alexandra Leavey, Individually as       WD
                                                        2004); 1:03-cv-9849         Spouse of Joseph Gerard Leavey,                 of the Estate of Joseph Gerard Leavey, Deceased;    Parent/Guardian of Caitlin          Child of Joseph Gerard Leavey, Deceased,
                                                        (RCC); P5145                Deceased;                                                                                           Alexandra Leavey                    and previously included as minor child of
                                                                                                                                                                                                                            Carole Jeanne Leavey;
 659 Joseph Jenkins, Jr.        Jennifer Lynn Jenkins   DKT 232; 1:02-cv-01616-     Jennifer Lynn Jenkins, Individually, as Child   Jennifer Lynn Jenkins as the Personal Representative                                                                                    WD
                                                        JR; P3738                   of Joseph Jenkins, Jr., Deceased;               of the Estate of Joseph Jenkins, Jr., Deceased;

 660 Joseph John Angelini       Donna L. Angelini       DKT 26, 29; 1:02-cv-        Donna L. Angelini, Individually, as Spouse                                                             Donna L. Angelini as             Jacqueline Angelini, Individually as Child of WD
                                                        01616-JR; 1818              of Joseph John Angelini, Deceased;                                                                     Parent/Guardian of Jacqueline    Joseph John Angelini, Jr., Deceased, and
                                                                                                                                                                                           Angelini                         previously included as minor child of Donna
                                                                                                                                                                                                                            L. Angelini;
 661 Joseph John Angelini       Donna L. Angelini       DKT 26, 29; 1:02-cv-        Donna L. Angelini, Individually, as Spouse                                                             Donna L. Angelini as             Jennifer Angelini, Individually as Child of   WD
                                                        01616-JR; 1818              of Joseph John Angelini, Deceased;                                                                     Parent/Guardian of Jennifer      Joseph John Angelini, Jr., Deceased, and
                                                                                                                                                                                           Angelini                         previously included as minor child of Donna
                                                                                                                                                                                                                            L. Angelini;
 662 Joseph John Angelini       Donna L. Angelini       DKT 26, 29; 1:02-cv-        Donna L. Angelini, Individually, as Spouse                                                             Donna L. Angelini as             Joseph John Angelini, III, Individually as    WD
                                                        01616-JR; 1818              of Joseph John Angelini, Deceased;                                                                     Parent/Guardian of Joseph John   Child of Joseph John Angelini, Jr.,
                                                                                                                                                                                           Angelini, III                    Deceased, and previously included as minor
                                                                                                                                                                                                                            child of Donna L. Angelini;
 663 Joseph John Berry          Evelyn Berry            DKT 232; 1:02-cv-01616-     Evelyn Berry, Individually, as Spouse of        Evelyn Berry as the Personal Representative of the                                                                                    WD
                                                        JR; P3595                   Joseph John Berry, Deceased;                    Estate of Joseph John Berry, Deceased;
 664 Joseph M. Lenihan          Ingrid Maria Lenihan    DKT 432; 1:02-cv-01616-     Ingrid Maria Lenihan, Individually, as          Ingrid Maria Lenihan as the Personal Representative    Ingrid Maria Lenihan as          Ingrid M. Lemihan on behalf of J.L., Child of   WD
                                                        JR; P4883                   Spouse of Joseph A. Lenihan, Deceased;          of the Estate of Joseph A. Lenihan, Deceased;          Parent/Guardian of J.L.          Joseph A. Lenihan, Deceased;

 665 Joseph M. Lenihan          Ingrid Maria Lenihan    DKT 432; 1:02-cv-01616-     Ingrid Maria Lenihan, Individually, as          Ingrid Maria Lenihan as the Personal Representative    Ingrid Maria Lenihan as          Ingrid M. Lemihan on behalf of M.L., Child of WD
                                                        JR; P4883                   Spouse of Joseph A. Lenihan, Deceased;          of the Estate of Joseph A. Lenihan, Deceased;          Parent/Guardian of M.L.          Joseph A. Lenihan, Deceased;




                                                                                                                                     41
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 42 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
Number
                                Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                         Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                             plaintiff in their own right
                                   complaint                                                                                                         9/11 Decedent                                Minor Child


 666 Joseph Maffeo            Linda Louise Maffeo-     DKT 3; 1:02-cv-01616-JR; Linda Louise Maffeo-Melloy, Individually, as                                                             Linda Louise Maffeo-Melloy as      Christopher Joseph Maffeo, Individually as  WD
                              Melloy                   1392                     Spouse of Joseph Maffeo, Deceased;                                                                       Parent/Guardian of Christopher     Child of Joseph Maffeo, Deceased, and
                                                                                                                                                                                         Joseph Maffeo                      previously included as minor child of Linda
                                                                                                                                                                                                                            Louise Maffeo-Melloy;
 667 Joseph Maloney           Kathleen Maloney         DKT 432; 1:02-cv-01616-     Kathleen Maloney, Individually, as Spouse      Kathleen Maloney as the Personal Representative of     Kathleen Maloney as                Kathleen Maloney on behalf of J.E.M., Child WD
                                                       JR; P4888                   of Joseph Maloney, Deceased;                   the Estate of Joseph Maloney, Deceased;                Parent/Guardian of J.E.M.          of Joseph Maloney, Deceased;
 668 Joseph Maloney           Kathleen Maloney         DKT 432; 1:02-cv-01616-     Kathleen Maloney, Individually, as Spouse      Kathleen Maloney as the Personal Representative of     Kathleen Maloney as                Kathleen Maloney on behalf of M.K.M., Child WD
                                                       JR; P4888                   of Joseph Maloney, Deceased;                   the Estate of Joseph Maloney, Deceased;                Parent/Guardian of M.K.M.          of Joseph Maloney, Deceased;
 669 Joseph Mathai            Teresa Mathai            DKT 305; 1:02-cv-01616-     Teresa Mathai, Individually, as Spouse of      Teresa Mathai as the Personal Representative of the    Teresa Mathai as                   Teresa Mathai on behalf of R.M., Child of   WD
                                                       JR; P4408                   Joseph Mathai, Deceased;                       Estate of Joseph Mathai, Deceased;                     Parent/Guardian of R.M.            Joseph Mathai, Deceased;
 670 Joseph Mathai            Teresa Mathai            DKT 305; 1:02-cv-01616-     Teresa Mathai, Individually, as Spouse of      Teresa Mathai as the Personal Representative of the    Teresa Mathai as                   Michelle Van Niel, Individually as Child of WD
                                                       JR; P4408                   Joseph Mathai, Deceased;                       Estate of Joseph Mathai, Deceased;                     Parent/Guardian of Michelle Van    Joseph Mathai, Deceased, and previously
                                                                                                                                                                                         Niel                               included as minor child of Teresa Mathai;

 671 Joseph Michael Doyle     William H. Doyle, Sr.    DKT 1; 1:02-cv-01616-JR; William H. Doyle, Sr., Individually, as Parent William H. Doyle, Sr. as the Representative of the                                                                                           WD
                                                       12                       of Joseph Michael Doyle, Deceased;             Estate of Joseph Michael Doyle, Deceased;

 672 Joseph Oswald Pick       Marie E. Puccio-Pick     DKT 26, 29; 1:02-cv-        Marie E. Puccio-Pick, Individually, as                                                                Marie E. Puccio-Pick as            Jeannette Marie Puccio-Pick, Individually as WD
                                                       01616-JR; 4147              Spouse of Joseph Oswald Pick, Deceased;                                                               Parent/Guardian of Jeannette       Child of Joseph Oswald Pick, Deceased,
                                                                                                                                                                                         Marie Puccio-Pick                  and previously included as minor child of
                                                                                                                                                                                                                            Marie E. Puccio-Pick;

 673 Joseph P. Anchundia      Christine A. Anchundia   DKT 232; 1:02-cv-01616-     Christine A. Anchundia, Individually, as       Christine A. Anchundia as the Personal                                                                                                    WD
                                                       JR; P3580                   Parent of Joseph P. Anchundia, Deceased;       Representative of the Estate of Joseph P. Anchundia,
                                                                                                                                  Deceased;
 674 Joseph P. Anchundia      Elias A. Anchundia       DKT 232; 1:02-cv-01616-     Elias A. Anchundia, Individually, as Parent    Elias A. Anchundia as the Personal Representative of                                                                                      WD
                                                       JR; P3581                   of Joseph P. Anchundia, Deceased;              the Estate of Joseph P. Anchundia, Deceased;

 675 Joseph P. Gullickson     Naoemi P. Gullickson     DKT 26, 29; 1:02-cv-        Naoemi P. Gullickson, Individually, as    Naoemi P. Gullickson as the Personal Representative         Naoemi P. Gullickson as            Isabel Leah Gullickson, Individually as Child WD
                                                       01616-JR; 3328              Spouse of Joseph P. Gullickson, Deceased; of the Estate of Joseph P. Gullickson, Deceased;            Parent/Guardian of Isabel Leah     of Joseph P. Gullickson, Deceased, and
                                                                                                                                                                                         Gullickson                         previously included as minor child of
                                                                                                                                                                                                                            Naoemi P. Gullickson;
 676 Joseph P. Gullickson     Naoemi P. Gullickson     DKT 26, 29; 1:02-cv-        Naoemi P. Gullickson, Individually, as    Naoemi P. Gullickson as the Personal Representative         Naoemi P. Gullickson as            Amanda Rose Gullickson, Individually as       WD
                                                       01616-JR; 3328              Spouse of Joseph P. Gullickson, Deceased; of the Estate of Joseph P. Gullickson, Deceased;            Parent/Guardian of Amanda          Child of Joseph P. Gullickson, Deceased,
                                                                                                                                                                                         Rose Gullickson                    and previously included as minor child of
                                                                                                                                                                                                                            Naoemi P. Gullickson;
 677 Joseph P. Henry          Alice Anne Henry         DKT 155; 1:02-cv-01616-     Alice Anne Henry, Individually, as Parent of   Alice Anne Henry as the Personal Representative of                                                                                      WD
                                                       JR; P2926                   Joseph P. Henry, Deceased;                     the Estate of Joseph P. Henry, Deceased;
 678 Joseph P. Henry          Edward Henry             DKT 155; 1:02-cv-01616-     Edward Henry, Individually, as Parent of       Edward Henry as the Personal Representative of the                                                                                        WD
                                                       JR; P2928                   Joseph P. Henry, Deceased;                     Estate of Joseph P. Henry, Deceased;
 679 Joseph P. Spor, Jr.      Colleen Casey Spor       DKT 155; 1:02-cv-01616-     Colleen Casey Spor, Individually, as Spouse    Colleen Casey Spor as the Representative of the        Colleen Casey Spor as              Caitlin Marie Spor, Individually as Child of    WD
                                                       JR; P3094                   of Joseph P. Spor, Jr., Deceased;              Estate of Joseph P. Spor, Jr., Deceased;               Parent/Guardian of Caitlin Marie   Joseph P. Spor, Deceased, and previously
                                                                                                                                                                                         Spor                               included as minor child of Colleen Casey
                                                                                                                                                                                                                            Spor;
 680 Joseph P. Spor, Jr.      Colleen Casey Spor       DKT 155; 1:02-cv-01616-     Colleen Casey Spor, Individually, as Spouse Colleen Casey Spor as the Representative of the           Colleen Casey Spor as              Casey Ann Spor, Individually as Child of        WD
                                                       JR; P3094                   of Joseph P. Spor, Jr., Deceased;           Estate of Joseph P. Spor, Jr., Deceased;                  Parent/Guardian of Casey Ann       Joseph P. Spor, Deceased, and previously
                                                                                                                                                                                         Spor                               included as minor child of Colleen Casey
                                                                                                                                                                                                                            Spor;
 681 Joseph P. Spor, Jr.      Colleen Casey Spor       DKT 155; 1:02-cv-01616-     Colleen Casey Spor, Individually, as Spouse Colleen Casey Spor as the Representative of the           Colleen Casey Spor as              Joseph Patrick Spor, Individually as Child of   WD
                                                       JR; P3094                   of Joseph P. Spor, Jr., Deceased;           Estate of Joseph P. Spor, Jr., Deceased;                  Parent/Guardian of Joseph          Joseph P. Spor, Deceased, and previously
                                                                                                                                                                                         Patrick Spor, III                  included as minor child of Colleen Casey
                                                                                                                                                                                                                            Spor;
 682 Joseph P. Spor, Jr.      Colleen Casey Spor       DKT 155; 1:02-cv-01616-     Colleen Casey Spor, Individually, as Spouse Colleen Casey Spor as the Representative of the           Colleen Casey Spor as              Shannon Catherine Spor, Individually as         WD
                                                       JR; P3094                   of Joseph P. Spor, Jr., Deceased;           Estate of Joseph P. Spor, Jr., Deceased;                  Parent/Guardian of Shannon         Child of Joseph P. Spor, Deceased, and
                                                                                                                                                                                         Catherine Spor                     previously included as minor child of
                                                                                                                                                                                                                            Colleen Casey Spor;
                                                                                                                                   42
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 43 of 88




                                                                                                                                                                                                                                                                    Nature of Claim
Number
                                Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                         Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                            Complaint                                                                                                                                                        plaintiff in their own right
                                   complaint                                                                                                       9/11 Decedent                                 Minor Child


 683 Joseph Paul McDonald     Denise Eileen           DKT 432; 1:02-cv-01616-     Denise Eileen McDonald, Individually, as      Denise Eileen McDonald as the Personal                  Denise Eileen McDonald as    Brigid A. McDonald, Individually as Child of   WD
                              McDonald                JR; AP290 (DOE 139)         Spouse of Joseph Paul McDonald,               Representative of the Estate of Joseph Paul             Parent/Guardian of Brigid A. Joseph Paul McDonald, Deceased, and
                                                                                  Deceased;                                     McDonald, Deceased;                                     McDonald                     previously included as minor child of Denise
                                                                                                                                                                                                                     Eileen McDonald;
 684 Joseph Paul McDonald     Denise Eileen           DKT 432; 1:02-cv-01616-     Denise Eileen McDonald, Individually, as     Denise Eileen McDonald as the Personal                Denise Eileen McDonald as       Kathleen E. McDonald, Individually as Child    WD
                              McDonald                JR; AP290 (DOE 139)         Spouse of Joseph Paul McDonald,              Representative of the Estate of Joseph Paul           Parent/Guardian of Kathleen E.  of Joseph Paul McDonald, Deceased, and
                                                                                  Deceased;                                    McDonald, Deceased;                                   McDonald                        previously included as minor child of Denise
                                                                                                                                                                                                                     Eileen McDonald;
 685 Joseph Plumitallo        Doreen Plumitallo       DKT 232; 1:02-cv-01616-     Doreen Plumitallo, Individually, as Spouse   Doreen Plumitallo as the Representative of the Estate Doreen Plumitallo as            Genna Rose Plumitallo, Individually as Child   WD
                                                      JR; P4082                   of Joseph Plumitallo, Deceased;              of Joseph Plumitallo, Deceased;                       Parent/Guardian of Genna Rose of Joseph Plumitallo, Deceased, and
                                                                                                                                                                                     Plumitallo                      previously included as minor child of Doreen
                                                                                                                                                                                                                     Plumitallo;
 686 Joseph Plumitallo        Doreen Plumitallo       DKT 232; 1:02-cv-01616-     Doreen Plumitallo, Individually, as Spouse   Doreen Plumitallo as the Representative of the Estate Doreen Plumitallo as            Joseph Frank Plumitallo, Individually as       WD
                                                      JR; P4082                   of Joseph Plumitallo, Deceased;              of Joseph Plumitallo, Deceased;                       Parent/Guardian of Joseph Frank Child of Joseph Plumitallo, Deceased, and
                                                                                                                                                                                     Plumitallo                      previously included as minor child of Doreen
                                                                                                                                                                                                                     Plumitallo;
 687 Joseph Plumitallo        Doreen Plumitallo       DKT 232; 1:02-cv-01616-     Doreen Plumitallo, Individually, as Spouse   Doreen Plumitallo as the Representative of the Estate Doreen Plumitallo as            Lisa Grace Plumitallo, Individually as Child   WD
                                                      JR; P4082                   of Joseph Plumitallo, Deceased;              of Joseph Plumitallo, Deceased;                       Parent/Guardian of Lisa Grace   of Joseph Plumitallo, Deceased, and
                                                                                                                                                                                     Plumitallo                      previously included as minor child of Doreen
                                                                                                                                                                                                                     Plumitallo;
 688 Joseph Reina, Jr.        Lisa Ann Reina          DKT 1; 1:02-cv-01616-JR;    Lisa Ann Reina, Individually, as Spouse of   Lisa Ann Reina as the Representative of the Estate of Lisa Ann Reina as               Joseph Robert Reina, Individually as Child     WD
                                                      499                         Joseph Reina, Jr., Deceased;                 Joseph Reina, Jr., Deceased;                          Parent/Guardian of Joseph       of Joseph Reina, Jr., Deceased, and
                                                                                                                                                                                     Robert Reina                    previously included as minor child of Lisa
                                                                                                                                                                                                                     Ann Reina;
 689 Joseph Vincent Vigiano   Kathleen M. Vigiano     DKT 1; 1:02-cv-01616-JR;    Kathleen M. Vigiano, Individually, as Spouse Kathleen M. Vigiano as the Personal Representative of Kathleen M. Vigiano as          James Vincent Vigiano, Individually as Child   WD
                                                      637                         of Joseph Vincent Vigiano, Deceased;         the Estate of Joseph Vincent Vigiano, Deceased;       Parent/Guardian of James        of Joseph Vincent Vigiano, Deceased, and
                                                                                                                                                                                     Vincent Vigiano                 previously included as minor child of
                                                                                                                                                                                                                     Kathleen M. Vigiano;
 690 Joseph Vincent Vigiano   Kathleen M. Vigiano     DKT 1; 1:02-cv-01616-JR;    Kathleen M. Vigiano, Individually, as Spouse Kathleen M. Vigiano as the Personal Representative of Kathleen M. Vigiano as          John Michael Vigiano, Individually as Child    WD
                                                      637                         of Joseph Vincent Vigiano, Deceased;         the Estate of Joseph Vincent Vigiano, Deceased;       Parent/Guardian of John Michael of Joseph Vincent Vigiano, Deceased, and
                                                                                                                                                                                     Vigiano                         previously included as minor child of
                                                                                                                                                                                                                     Kathleen M. Vigiano;
 691 Joseph Vincent Vigiano   Kathleen M. Vigiano     DKT 1; 1:02-cv-01616-JR;    Kathleen M. Vigiano, Individually, as Spouse Kathleen M. Vigiano as the Personal Representative of Kathleen M. Vigiano as          Joseph John Vigiano, Individually as Child     WD
                                                      637                         of Joseph Vincent Vigiano, Deceased;         the Estate of Joseph Vincent Vigiano, Deceased;       Parent/Guardian of Joseph John of Joseph Vincent Vigiano, Deceased, and
                                                                                                                                                                                     Vigiano                         previously included as minor child of
                                                                                                                                                                                                                     Kathleen M. Vigiano;
 692 Joshua Alan Rosenthal    Avram Rosenthal         DKT 232; 1:02-cv-01616-     Avram Rosenthal, Individually, as Parent of Avram Rosenthal as the Co-Personal Representative                                                                                     WD
                                                      JR; P3936                   Joshua Alan Rosenthal, Deceased;             of the Estate of Joshua Alan Rosenthal, Deceased;

 693 Joshua Alan Rosenthal    Marilynn M. Rosenthal   DKT HAND FILED (3-10-       Marilynn M. Rosenthal, Individually, as    Marilynn M. Rosenthal as the Co-Representative of the                                                                                  WD
                                                      2004); 1:03-cv-9849         Parent of Joshua Alan Rosenthal, Deceased; Estate of Joshua Alan Rosenthal, Deceased;
                                                      (RCC); P5248
 694 Joshua I. Poptean        Vasile Poptean          DKT 77; 1:02-cv-01616-      Vasile Poptean, Individually, as Sibling of   Vasile Poptean as the Personal Representative of the                                                                                WD
                                                      JR; P2688                   Joshua I. Poptean, Deceased;                  Estate of Joshua I. Poptean, Deceased;
 695 Joshua M. Rosenblum      Richard M. Rosenblum    DKT 232; 1:02-cv-01616-     Richard M. Rosenblum, Individually, as        Richard M. Rosenblum as the Co-Representative of                                                                                    WD
                                                      JR; P3934                   Parent of Joshua M. Rosenblum, Deceased;      the Estate of Joshua M. Rosenblum, Deceased;

 696 Joshua M. Rosenblum      Susan S. Rosenblum      DKT 232; 1:02-cv-01616-     Susan S. Rosenblum, Individually, as     Susan S. Rosenblum as the Co-Representative of the                                                                                       WD
                                                      JR; P3935                   Parent of Joshua M. Rosenblum, Deceased; Estate of Joshua M. Rosenblum, Deceased;

 697 Joshua Michael Piver     Susan S. Piver          DKT 155; 1:02-cv-01616-     Susan S. Piver, Individually, as Parent of    Susan S. Piver as the Representative of the Estate of                                                                               WD
                                                      JR; P3071                   Joshua Michael Piver, Deceased;               Joshua Michael Piver, Deceased;
 698 Joshua S. Vitale         Susan R. Rosen          DKT 155; 1:02-cv-01616-     Susan R. Rosen, Individually, as Parent of    Susan R. Rosen as the Personal Representative of the                                                                                WD
                                                      JR; P3142                   Joshua S. Vitale, Deceased;                   Estate of Joshua S. Vitale, Deceased;



                                                                                                                                 43
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 44 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                   Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of        or Guardian of Previously
                                                               Complaint                                                                                                                                                                plaintiff in their own right
                                      complaint                                                                                                         9/11 Decedent                                  Minor Child


 699 Joyce Rose Cummings         Mitchum Kelvin          DKT 432; 1:02-cv-01616-     Mitchum Kelvin Cummings, Individually, as       Mitchum Kelvin Cummings as the Personal                                                                                                    WD
                                 Cummings                JR; P4806                   Child of Joyce Rose Cummings, Deceased;         Representative of the Estate of Joyce Rose
                                                                                                                                     Cummings, Deceased;
 700 Juan G. Salas               Silveria Segura         DKT 26, 29; 1:02-cv-        Silveria Segura, Individually, as Domestic      Silveria Segura as the Representative of the Estate of   Silveria Segura as                Jennifer Salas, Individually as Child of Juan   WD
                                                         01616-JR; 2330              Partner of Juan G. Salas, Deceased;             Juan G. Salas, Deceased;                                 Parent/Guardian of Jennifer Salas G. Salas, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of Silveria Segura;

 701 Juan G. Salas               Silveria Segura         DKT 26, 29; 1:02-cv-        Silveria Segura, Individually, as Domestic      Silveria Segura as the Representative of the Estate of   Silveria Segura as                 Juan Luiz Salas, Individually as Child of      WD
                                                         01616-JR; 2330              Partner of Juan G. Salas, Deceased;             Juan G. Salas, Deceased;                                 Parent/Guardian of Juan Luiz       Juan G. Salas, Deceased, and previously
                                                                                                                                                                                              Salas                              included as minor child of Silveria Segura;

 702 Juan Nieves, Jr.            Irma Luz Nieves         DKT 26, 29; 1:02-cv-        Irma Luz Nieves, Individually, as Spouse of                                                              Irma Luz Nieves as               Christine Lee Nieves, Individually as Child of WD
                                                         01616-JR; 4019              Juan Nieves, Jr., Deceased;                                                                              Parent/Guardian of Christine Lee Juan Nieves, Jr., Deceased, and previously
                                                                                                                                                                                              Nieves                           included as minor child of Irma Luz Nieves;

 703 Juan Nieves, Jr.            Michelle Nieves         DKT 26, 29; 1:02-cv-        Michelle Nieves, Individually, as Child of Michelle Nieves as the Representative of the Estate of                                                                                          WD
                                                         01616-JR; 4022              Juan Nieves, Jr., Deceased;                Juan Nieves, Jr., Deceased;
 704 Juanita Lee                 Edward N. Lee           DKT 1; 1:02-cv-01616-JR;    Edward N. Lee, Individually, as Spouse of  Edward N. Lee as the Personal Representative of the                                                                                             WD
                                                         338                         Juanita Lee, Deceased;                     Estate of Juanita Lee, Deceased;
 705 Judith Camilla Larocque     Carie Anne Lemack       DKT 305; 1:02-cv-01616-     Carie Anne Lemack, Individually, as Child of
                                                                                                                                Carie Anne Lemack as the Co-Personal                                                                                                            WD
                                                         JR; P4374                   Judith Camilla Larocque, Deceased;         Representative of the Estate of Judith Camilla
                                                                                                                                Larocque, Deceased;
 706 Judith Camilla Larocque     Danielle Bette Lemack   DKT 305; 1:02-cv-01616- Danielle Bette Lemack, Individually, as Child Danielle Bette Lemack as the Co-Personal                                                                                                         WD
                                                         JR; P4373                 of Judith Camilla Larocque, Deceased;        Representative of the Estate of Judith Camilla
                                                                                                                                Larocque, Deceased;
 707 Judith Florence Hofmiller   Robert Thomas Winkis    DKT 232; 1:02-cv-01616-JR;Robert
                                                                                    P3721Thomas Winkis, Individually, as        Robert Thomas Winkis as the Representative of the                                                                                               WD
                                                                                   Domestic Partner of Judith Florence          Estate of Judith Florence Hofmiller, Deceased;
                                                                                   Hofmiller, Deceased;
 708 Judson Cavalier             Gerard Charles          DKT 305; 1:02-cv-01616- Gerard Charles Cavalier, Jr., Individually, as Gerard Charles Cavalier, Jr. as the Personal                                                                                                    WD
                                 Cavalier, Jr.           JR; P4172                 Parent of Judson Cavalier, Deceased;         Representative of the Estate of Judson Cavalier,
                                                                                                                                Deceased;
 709 Jupiter Yambem              Nancy McCardle          DKT 432; 1:02-cv-01616- Nancy McCardle Yambem, Individually, as        Nancy McCardle Yambem as the Personal                         Nancy McCardle Yambem as           Santi Yambem, Individually as Child of        WD
                                 Yambem                  JR; P4981                 Spouse of Jupiter Yambem, Deceased;          Representative of the Estate of Jupiter Yambem,               Parent/Guardian of Santi           Jupiter Yambem, Deceased, and previously
                                                                                                                                Deceased;                                                     Yambem                             included as minor child of Nancy McCardle
                                                                                                                                                                                                                                 Yambem;
 710 Justin John Molisani        Jodi Ann Molisani       DKT 26, 29; 1:02-cv-        Jodi Ann Molisani, Individually, as Spouse of                                                            Jodi Ann Molisani as               Jodi Ann Molisani, on behalf of M.L.M.,       WD
                                                         01616-JR; 3936              Justin John Molisani, Deceased;                                                                          Parent/Guardian of M.L.M.          Child of Justin John Molisani, Jr., Deceased;

 711 Karen A. Martin             John A. Martin          DKT 305; 1:02-cv-01616-     John A. Martin, Individually, as Sibling of     John A. Martin as the Co-Representative of the Estate                                                                                      WD
                                                         JR; P4406                   Karen A. Martin, Deceased;                      of Karen A. Martin, Deceased;
 712 Karen A. Martin             Paul R. Martin          DKT 305; 1:02-cv-01616-     Paul R. Martin, Individually, as Sibling of     Paul R. Martin as the Co-Representative of the Estate                                                                                      WD
                                                         JR; P4407                   Karen A. Martin, Deceased;                      of Karen A. Martin, Deceased;
 713 Karen Lynn Seymour          William Gary Dietrich   DKT 26, 29; 1:02-cv-        William Gary Dietrich, Individually, as                                                                  William Gary Dietrich as           William Charles Dietrich, Individually as      WD
                                                         01616-JR; 2487              Domestic Partner of Karen Lynn Seymour,                                                                  Parent/Guardian of William         Child of Karen Lynn Seymour, Deceased,
                                                                                     Deceased;                                                                                                Charles Dietrich                   and previously included as minor child of
                                                                                                                                                                                                                                 William Gary Dietrich;
 714 Karen Lynn Seymour          William Gary Dietrich   DKT 26, 29; 1:02-cv-        William Gary Dietrich, Individually, as                                                                  William Gary Dietrich as           Sarah Elizabeth Dietrich, Individually as      WD
                                                         01616-JR; 2487              Domestic Partner of Karen Lynn Seymour,                                                                  Parent/Guardian of Sarah           Child of Karen Lynn Seymour, Deceased,
                                                                                     Deceased;                                                                                                Elizabeth Dietrich                 and previously included as minor child of
                                                                                                                                                                                                                                 William Gary Dietrich;
 715 Karen Renda                 Charles Renda           DKT 1; 1:02-cv-01616-JR; Charles Renda, Individually, as Spouse of          Charles Renda as the Representative of the Estate of     Charles Renda as                   Matthew Thomas Renda, Individually as          WD
                                                         503                      Karen Renda, Deceased;                             Karen Renda, Deceased;                                   Parent/Guardian of Matthew         Child of Karen Renda, Deceased, and
                                                                                                                                                                                              Thomas Renda                       previously included as minor child of
                                                                                                                                                                                                                                 Charles Renda;



                                                                                                                                      44
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 45 of 88




                                                                                                                                                                                                                                                                       Nature of Claim
Number
                                 Plaintiff's Name                                                                                Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                          Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                        Plaintiff's Individual Capacity        Caption identifying the estate representative of       or Guardian of Previously
                                                             Complaint                                                                                                                                                         plaintiff in their own right
                                    complaint                                                                                                     9/11 Decedent                                 Minor Child


 716 Karl T. Smith             Joanne Elizabeth Smith DKT 26, 29; 1:02-cv-         Joanne Elizabeth Smith, Individually, as                                                            Joanne Elizabeth Smith as        Bradford William Smith, Individually as Child WD
                                                      01616-JR; 4792               Spouse of Karl T. Smith, Deceased;                                                                  Parent/Guardian of Bradford      of Karl T. Smith, Deceased, and previously
                                                                                                                                                                                       William Smith                    included as minor child of Joanne Elizabeth
                                                                                                                                                                                                                        Smith;
 717 Karl W. Teepe             Donna Diane Teepe       DKT 313; 1:02-cv-01616-     Donna Diane Teepe, Individually, as Spouse Donna Diane Teepe as the Personal Representative of                                                                                     WD
                                                       JR; P4750                   of Karl W. Teepe, Deceased;                the Estate of Karl W. Teepe, Deceased;

 718 Karleton D. Fyfe          Haven A. Fyfe-Kiernan   DKT 1; 1:02-cv-01616-JR; Haven A. Fyfe-Kiernan, Individually, as                                                                Haven A. Fyfe-Kiernan as         Jackson A. Fyfe, Individually as Child of    WD
                                                       222                      Spouse of Karleton D. Fyfe, Deceased;                                                                  Parent/Guardian of Jackson A.    Karleton D. Fyfe, Deceased, and previously
                                                                                                                                                                                       Fyfe                             included as minor child of Haven A. Fyfe-
                                                                                                                                                                                                                        Kiernan;
 719 Karleton D. Fyfe          Haven A. Fyfe-Kiernan   DKT 1; 1:02-cv-01616-JR; Haven A. Fyfe-Kiernan, Individually, as                                                                Haven A. Fyfe-Kiernan as         Parker Douglas Fyfe-Kiernan, Individually as WD
                                                       222                      Spouse of Karleton D. Fyfe, Deceased;                                                                  Parent/Guardian of Parker        Child of Karleton D. Fyfe, Deceased, and
                                                                                                                                                                                       Douglas Fyfe-Kiernan             previously included as minor child of Haven
                                                                                                                                                                                                                        A. Fyfe-Kiernan;
 720 Karlie Barbara Rogers     Angela Elizabeth        DKT 432; 1:02-cv-01616-     Angela Elizabeth Rogers, Individually, as   Angela Elizabeth Rogers as the Co-Personal                                                                                            WD
                               Rogers                  JR; AP291                   Parent of Karlie Barbara Rogers, Deceased; Representative of the Estate of Karlie Barbara Rogers,
                                                                                                                               Deceased;
 721 Karlie Barbara Rogers     Keith Rogers            DKT 313; 1:02-cv-01616-     Keith Rogers, Individually, as Parent of    Keith Rogers as the Co-Representative of the Estate                                                                                     WD
                                                       JR; AP288                   Karlie Barbara Rogers, Deceased;            of Karlie Barbara Rogers, Deceased;
 722 Kathleen Faragher         Beth Ann Faragher       DKT 305; 1:02-cv-01616-     Beth Ann Faragher, Individually, as Sibling Beth Ann Faragher as the Personal Representative of                                                                                     WD
                                                       JR; P4260                   of Kathleen Faragher, Deceased;             the Estate of Kathleen Faragher, Deceased;

 723 Kathryn Laborie           Eric Laborie          DKT 305; 1:02-cv-01616-       Eric Laborie, Individually, as Spouse of    Eric Laborie as the Personal Representative of the                                                                                      WD
                                                     JR; P4369                     Kathryn Laborie, Deceased;                  Estate of Kathryn Laborie, Deceased;
 724 Keith Alexander Glascoe   Veronica Andrea Squef DKT 3; 1:02-cv-01616-JR;      Veronica Andrea Squef, Individually, as     Veronica Andrea Squef as the Personal                   Veronica Andrea Squef as         Owen Alexander Glascoe, Individually as        WD
                                                     1175                          Domestic Partner of Keith Alexander         Representative of the Estate of Keith Alexander         Parent/Guardian of Owen          Child of Keith Alexander Glascoe,
                                                                                   Glascoe, Deceased;                          Glascoe, Deceased;                                      Alexander Glascoe                Deceased, and previously included as minor
                                                                                                                                                                                                                        child of Veronica Andrea Squef;
 725 Keith Alexander Glascoe   Veronica Andrea Squef DKT 3; 1:02-cv-01616-JR; Veronica Andrea Squef, Individually, as          Veronica Andrea Squef as the Personal                   Veronica Andrea Squef as         Nolan Sebastian Glascoe, Individually as       WD
                                                     1175                     Domestic Partner of Keith Alexander              Representative of the Estate of Keith Alexander         Parent/Guardian of Nolan         Child of Keith Alexander Glascoe,
                                                                              Glascoe, Deceased;                               Glascoe, Deceased;                                      Sebastian Glascoe                Deceased, and previously included as minor
                                                                                                                                                                                                                        child of Veronica Andrea Squef;
 726 Keith Alexander Glascoe   Veronica Andrea Squef DKT 3; 1:02-cv-01616-JR; Veronica Andrea Squef, Individually, as          Veronica Andrea Squef as the Personal                   Veronica Andrea Squef as         Keith Alexander Glascoe, Individually as       WD
                                                     1175                     Domestic Partner of Keith Alexander              Representative of the Estate of Keith Alexander         Parent/Guardian of Keith         Child of Keith Alexander Glascoe,
                                                                              Glascoe, Deceased;                               Glascoe, Deceased;                                      Alexander Glascoe                Deceased, and previously included as minor
                                                                                                                                                                                                                        child of Veronica Andrea Squef;
 727 Keith Eugene Coleman      Elodie Coleman          DKT 3; 1:02-cv-01616-JR; Elodie Coleman, Individually, as Spouse of                                                             Elodie Coleman as                Vaughn McGwire Coleman, Individually as        WD
                                                       1832                     Keith Eugene Coleman, Deceased;                                                                        Parent/Guardian of Vaughn        Child of Keith Eugene Coleman, Deceased,
                                                                                                                                                                                       McGwire Coleman                  and previously included as minor child of
                                                                                                                                                                                                                        Elodie Coleman;
 728 Keith Eugene Coleman      Elodie Coleman          DKT 3; 1:02-cv-01616-JR; Elodie Coleman, Individually, as Spouse of                                                             Elodie Coleman as                Neva Rae Coleman, Individually as Child of     WD
                                                       1832                     Keith Eugene Coleman, Deceased;                                                                        Parent/Guardian of Neva Rae      Keith Eugene Coleman, Deceased, and
                                                                                                                                                                                       Coleman                          previously included as minor child of Elodie
                                                                                                                                                                                                                        Coleman;
 729 Keith George Fairben      Kenneth Bruce Fairben DKT 77; 1:02-cv-01616-        Kenneth Bruce Fairben, Individually, as     Kenneth Bruce Fairben as the Personal                                                                                                   WD
                                                     JR; P2588                     Parent of Keith George Fairben, Deceased;   Representative of the Estate of Keith George Fairben,
                                                                                                                               Deceased;
 730 Kelly Ann Booms           Richard Lavern Booms    DKT 432; 1:02-cv-01616-     Richard Lavern Booms, Individually, as      Richard Lavern Booms as the Personal                                                                                                    WD
                                                       JR; P4773                   Parent of Kelly Ann Booms, Deceased;        Representative of the Estate of Kelly Ann Booms,
                                                                                                                               Deceased;
 731 Kenneth B. Kumpel         Nancy A. Kumpel         DKT 3; 1:02-cv-01616-JR; Nancy A. Kumpel, Individually, as Spouse of                                                            Nancy A. Kumpel as               Carl Philip Kumpel, Individually as Child of   WD
                                                       1313                     Kenneth B. Kumpel, Deceased;                                                                           Parent/Guardian of Carl Philip   Kenneth B. Kumpel, Deceased, and
                                                                                                                                                                                       Kumpel                           previously included as minor child of Nancy
                                                                                                                                                                                                                        A. Kumpel;


                                                                                                                                 45
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 46 of 88




                                                                                                                                                                                                                                                                               Nature of Claim
Number
                                  Plaintiff's Name                                                                                      Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                        Plaintiff's Individual Capacity              Caption identifying the estate representative of      or Guardian of Previously
                                                              Complaint                                                                                                                                                                plaintiff in their own right
                                     complaint                                                                                                           9/11 Decedent                                Minor Child


 732 Kenneth B. Kumpel          Nancy A. Kumpel         DKT 3; 1:02-cv-01616-JR; Nancy A. Kumpel, Individually, as Spouse of                                                                 Nancy A. Kumpel as                 Gregory James Kumpel, Individually as       WD
                                                        1313                     Kenneth B. Kumpel, Deceased;                                                                                Parent/Guardian of Gregory         Child of Kenneth B. Kumpel, Deceased, and
                                                                                                                                                                                             James Kumpel                       previously included as minor child of Nancy
                                                                                                                                                                                                                                A. Kumpel;
 733 Kenneth F. Tietjen         Laurie Ann Tietjen      DKT 155; 1:02-cv-01616-     Laurie Ann Tietjen, Individually, as Sibling of   Laurie Ann Tietjen as the Personal Representative of                                                                                  WD
                                                        JR; P3133                   Kenneth F. Tietjen, Deceased;                     the Estate of Kenneth F. Tietjen, Deceased;
 734 Kenneth Joseph Marino      Katrina Margit Marino   DKT 26, 29; 1:02-cv-        Katrina Margit Marino, Individually, as           Katrina Margit Marino as the Personal Representative   Katrina Margit Marino as           Tyler Kenneth Marino, Individually as Child WD
                                                        01616-JR; 3733              Spouse of Kenneth Joseph Marino,                  of the Estate of Kenneth Joseph Marino, Deceased;      Parent/Guardian of Tyler           of Kenneth Joseph Marino, Deceased, and
                                                                                    Deceased;                                                                                                Kenneth Marino                     previously included as minor child of Katrina
                                                                                                                                                                                                                                Margit Marino;
 735 Kenneth Joseph Marino      Katrina Margit Marino   DKT 26, 29; 1:02-cv-        Katrina Margit Marino, Individually, as           Katrina Margit Marino as the Personal Representative   Katrina Margit Marino as           Kristin Marie Marino, Individually as Child of WD
                                                        01616-JR; 3733              Spouse of Kenneth Joseph Marino,                  of the Estate of Kenneth Joseph Marino, Deceased;      Parent/Guardian of Kristin Marie   Kenneth Joseph Marino, Deceased, and
                                                                                    Deceased;                                                                                                Marino                             previously included as minor child of Katrina
                                                                                                                                                                                                                                Margit Marino;
 736 Kenneth Joseph Tarantino   Jennifer Tarantino      DKT 26, 29: 1:02-cv-        Jennifer Tarantino, Individually, as Spouse                                                              Jennifer Tarantino as              Jennifer Tarantino, on behalf of J.T., Child   WD
                                                        01616-JR; 2453              of Kenneth Joseph Tarantino, Deceased;                                                                   Parent/Guardian of J.T.            of Kenneth Joseph Tarantino, Deceased;

 737 Kenneth Joseph Tarantino   Jennifer Tarantino      DKT 26, 29: 1:02-cv-        Jennifer Tarantino, Individually, as Spouse                                                              Jennifer Tarantino as              Jennifer Tarantino, on behalf of K.T., Child   WD
                                                        01616-JR; 2453              of Kenneth Joseph Tarantino, Deceased;                                                                   Parent/Guardian of K.T.            of Kenneth Joseph Tarantino, Deceased;

 738 Kenneth M. McBrayer        Marsha K. McBrayer      DKT 232; 1:02-cv-01616-     Marsha K. McBrayer, Individually, as     Marsha K. McBrayer as the Personal Representative                                                                                                 WD
                                                        JR; P3823                   Spouse of Kenneth M. McBrayer, Deceased; of the Estate of Kenneth M. McBrayer, Deceased;

 739 Kenneth Warren Van Auken Lorie Jill Van Auken      DKT 1; 1:02-cv-01616-JR; Lorie Jill Van Auken, Individually, as Spouse                                                               Lorie Jill Van Auken as          Sarah B. Van Auken, Individually as Child of WD
                                                        773                      of Kenneth Warren Van Auken, Deceased;                                                                      Parent/Guardian of Sarah B. Van Kenneth Warren Van Auken, Deceased,
                                                                                                                                                                                             Auken                            and previously included as minor child of
                                                                                                                                                                                                                              Lorie Jill Van Auken;
 740 Kenneth Warren Van Auken Lorie Jill Van Auken      DKT 1; 1:02-cv-01616-JR; Lorie Jill Van Auken, Individually, as Spouse                                                               Lorie Jill Van Auken as          Matthew D. Van Auken, Individually as Child WD
                                                        773                      of Kenneth Warren Van Auken, Deceased;                                                                      Parent/Guardian of Matthew D.    of Kenneth Warren Van Auken, Deceased,
                                                                                                                                                                                             Van Auken                        and previously included as minor child of
                                                                                                                                                                                                                              Lorie Jill Van Auken;
 741 Kenneth Wilburn White      Catherine Christina     DKT 232; 1:02-cv-01616-     Catherine Christina White, Individually, as       Catherine Christina White as the Personal              Catherine Christina White as     Allison Sarah Fekete, Individually as Child  WD
                                White                   JR; P4021                   Spouse of Kenneth Wilburn White,                  Representative of the Estate of Kenneth Wilburn        Parent/Guardian of Allison Sarah of Kenneth Wilburn White, Deceased, and
                                                                                    Deceased;                                         White, Deceased;                                       Fekete                           previously included as minor child of
                                                                                                                                                                                                                              Catherine Christina White;
 742 Kenneth William Basnicki   Maureen Elizabeth       DKT 305; 1:02-cv-01616-     Maureen Elizabeth Basnicki, Individually, as      Maureen Elizabeth Basnicki as the Personal                                                                                           WD
                                Basnicki                JR; P4121                   Spouse of Kenneth William Basnicki,               Representative of the Estate of Kenneth William
                                                                                    Deceased;                                         Basnicki, Deceased;
 743 Kermit C. Anderson         Jill Elva Grashof       DKT 305; 1:02-cv-01616-     Jill Elva Grashof Anderson, Individually, as      Jill Elva Grashof Anderson as the Personal                                                                                               WD
                                Anderson                JR; P4107                   Spouse of Kermit C. Anderson, Deceased;           Representative of the Estate of Kermit C. Anderson,
                                                                                                                                      Deceased;
 744 Kevin James Hannaford      Eileen A. Hannaford     DKT 1; 1:02-cv-01616-JR; Eileen A. Hannaford, Individually, as Spouse                                                                Eileen A. Hannaford as             Eileen A. Hannaford, on behalf of K.H.,   WD
                                                        270                      of Kevin James Hannaford, Deceased;                                                                         Parent/Guardian of K.H.            Child of Kevin James Hannaford, Deceased;

 745 Kevin James Hannaford      Eileen A. Hannaford     DKT 1; 1:02-cv-01616-JR; Eileen A. Hannaford, Individually, as Spouse                                                                Eileen A. Hannaford as             Eileen A. Hannaford, on behalf of P.J.H., WD
                                                        270                      of Kevin James Hannaford, Deceased;                                                                         Parent/Guardian of P.J.H.          Child of Kevin James Hannaford, Deceased;

 746 Kevin Leah Bowser          Stephanie Ayn Bowser    DKT 77; 1:02-cv-01616-      Stephanie Ayn Bowser, Individually, as            Stephanie Ayn Bowser as the Personal Representative                                                                                      WD
                                                        JR; P2542                   Spouse of Kevin Leah Bowser, Deceased;            of the Estate of Kevin Leah Bowser, Deceased;

 747 Kevin M. Cosgrove          Wendy E. Cosgrove       DKT 1; 1:02-cv-01616-JR; Wendy E. Cosgrove, Individually, as Spouse                                                                  Wendy E. Cosgrove as               Brian Matthew Cosgrove, Individually as     WD
                                                        818                      of Kevin M. Cosgrove, Deceased;                                                                             Parent/Guardian of Brian           Child of Kevin M. Cosgrove, Deceased, and
                                                                                                                                                                                             Matthew Cosgrove                   previously included as minor child of Wendy
                                                                                                                                                                                                                                E. Cosgrove;



                                                                                                                                       46
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 47 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
Number
                                Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                            Complaint                                                                                                                                                               plaintiff in their own right
                                   complaint                                                                                                         9/11 Decedent                                 Minor Child


 748 Kevin M. Cosgrove        Wendy E. Cosgrove       DKT 1; 1:02-cv-01616-JR; Wendy E. Cosgrove, Individually, as Spouse                                                                 Wendy E. Cosgrove as               Claire Marie Cosgrove, Individually as Child WD
                                                      818                      of Kevin M. Cosgrove, Deceased;                                                                            Parent/Guardian of Claire Marie    of Kevin M. Cosgrove, Deceased, and
                                                                                                                                                                                          Cosgrove                           previously included as minor child of Wendy
                                                                                                                                                                                                                             E. Cosgrove;
 749 Kevin M. Cosgrove        Wendy E. Cosgrove       DKT 1; 1:02-cv-01616-JR; Wendy E. Cosgrove, Individually, as Spouse                                                                 Wendy E. Cosgrove as               Elizabeth Michelle Cosgrove, Individually as WD
                                                      818                      of Kevin M. Cosgrove, Deceased;                                                                            Parent/Guardian of Elizabeth       Child of Kevin M. Cosgrove, Deceased, and
                                                                                                                                                                                          Michelle Cosgrove                  previously included as minor child of Wendy
                                                                                                                                                                                                                             E. Cosgrove;
 750 Kevin M. Prior           Gerard John Prior       DKT 26, 29; 1:02-cv-        Gerard John Prior, Individually, as Parent of   Gerard John Prior as the Representative of the Estate                                                                                   WD
                                                      01616-JR; 4176              Kevin M. Prior, Deceased;                       of Kevin M. Prior, Deceased;
 751 Kevin Michael McCarthy   Debra Diane Menich      DKT 1; 1:02-cv-01616-JR;    Debra Diane Menich, Individually, as                                                                    Debra Diane Menich as             Andrew Michael McCarthy, Individually as         WD
                                                      383                         Spouse of Kevin Michael McCarthy,                                                                       Parent/Guardian of Andrew         Child of Kevin Michael McCarthy,
                                                                                  Deceased;                                                                                               Michael McCarthy                  Deceased, and previously included as minor
                                                                                                                                                                                                                            child of Debra Diane Menich;
 752 Kevin Michael McCarthy   Debra Diane Menich      DKT 1; 1:02-cv-01616-JR; Debra Diane Menich, Individually, as                                                                       Debra Diane Menich as             Chelsea Rhea McCarthy, Individually as           WD
                                                      383                      Spouse of Kevin Michael McCarthy,                                                                          Parent/Guardian of Chelsea        Step-Child of Kevin Michael McCarthy,
                                                                               Deceased;                                                                                                  Rhea McCarthy                     Deceased, and previously included as minor
                                                                                                                                                                                                                            child of Debra Diane Menich;
 753 Kevin Michael McCarthy   Debra Diane Menich      DKT 1; 1:02-cv-01616-JR; Debra Diane Menich, Individually, as                                                                       Debra Diane Menich as             Stephanie Marie McCarthy, Individually as        WD
                                                      383                      Spouse of Kevin Michael McCarthy,                                                                          Parent/Guardian of Stephanie      Child of Kevin Michael McCarthy,
                                                                               Deceased;                                                                                                  Marie McCarthy                    Deceased, and previously included as minor
                                                                                                                                                                                                                            child of Debra Diane Menich;
 754 Kevin Raymond Crotty     Lori Ann Crotty         DKT 1; 1:02-cv-01616-JR; Lori Ann Crotty, Individually, as Spouse of        Lori Ann Crotty as the Personal Representative of the   Lori Ann Crotty as                Megan Anna Crotty, Individually as Child of      WD
                                                      794                      Kevin Raymond Crotty, Deceased;                    Estate of Kevin Raymond Crotty, Deceased;               Parent/Guardian of Megan Anna Kevin Raymond Crotty, Deceased, and
                                                                                                                                                                                          Crotty                            previously included as minor child of Lori
                                                                                                                                                                                                                            Ann Crotty;
 755 Kevin Raymond Crotty     Lori Ann Crotty         DKT 1; 1:02-cv-01616-JR; Lori Ann Crotty, Individually, as Spouse of        Lori Ann Crotty as the Personal Representative of the   Lori Ann Crotty as                Kyle J. Crotty, Individually as Child of Kevin   WD
                                                      794                      Kevin Raymond Crotty, Deceased;                    Estate of Kevin Raymond Crotty, Deceased;               Parent/Guardian of Kyle J. Crotty Raymond Crotty, Deceased, and previously
                                                                                                                                                                                                                            included as minor child of Lori Ann Crotty;

 756 Kevin Raymond Crotty     Lori Ann Crotty         DKT 1; 1:02-cv-01616-JR; Lori Ann Crotty, Individually, as Spouse of        Lori Ann Crotty as the Personal Representative of the   Lori Ann Crotty as                 Sean P. Crotty, Individually as Child of        WD
                                                      794                      Kevin Raymond Crotty, Deceased;                    Estate of Kevin Raymond Crotty, Deceased;               Parent/Guardian of Sean P.         Kevin Raymond Crotty, Deceased, and
                                                                                                                                                                                          Crotty                             previously included as minor child of Lori
                                                                                                                                                                                                                             Ann Crotty;
 757 Kevin Sanford Cohen      Marcia Elaine Cohen     DKT 232; 1:02-cv-01616-     Marcia Elaine Cohen, Individually, as Parent Marcia Elaine Cohen as the Personal Representative                                                                                            WD
                                                      JR; P3644                   of Kevin Sanford Cohen, Deceased;            of the Estate of Kevin Sanford Cohen, Deceased;

 758 Kevin W. Donnelly        Edward Lawrence         DKT 155; 1:02-cv-01616-     Edward Lawrence Donnelly, Jr., Individually, Edward Lawrence Donnelly, Jr. as the Personal                                                                                                 WD
                              Donnelly, Jr.           JR; P2880                   as Sibling of Kevin W. Donnelly, Deceased; Representative of the Estate of Kevin W. Donnelly,
                                                                                                                               Deceased;
 759 Khang N. Nguyen          Tu Anh Honguyen         DKT 432; 1:02-cv-01616-     Tu Anh Honguyen, Individually, as Spouse     Tu Anh Honguyen as the Representative of the Estate        Tu Anh Honguyen as                 An Ho-Ngoc Nguyen, Individually as Child of WD
                                                      JR; P4905                   of Khang N. Nguyen, Deceased;                of Khang N. Nguyen, Deceased;                              Parent/Guardian of An Ho-Ngoc      Khang N. Nguyen, Deceased, and
                                                                                                                                                                                          Nguyen                             previously included as minor child of Tu Anh
                                                                                                                                                                                                                             Honguyen;
 760 Kirsten L. Christophe    Charles Christophe      DKT 26, 29; 1:02-cv-        Charles Christophe, Individually, as Spouse                                                             Charles Christophe as              Gretchen Dagmar Christophe, Individually     WD
                                                      01616-JR; 2849              of Kirsten L. Christophe, Deceased;                                                                     Parent/Guardian of Gretchen        as Child of Kirsten L. Christophe, Deceased,
                                                                                                                                                                                          Dagmar Christophe                  and previously included as minor child of
                                                                                                                                                                                                                             Charles Christophe;

 761 Kristen Nicole Fiedel    Isabel Marilyn Fiedel   DKT 77; 1:02-cv-01616-      Isabel Marilyn Fiedel, Individually, as Parent Isabel Marilyn Fiedel as the Personal Representative                                                                                        WD
                                                      JR; P2590                   of Kristen Nicole Fiedel, Deceased;            of the Estate of Kristen Nicole Fiedel, Deceased;

 762 Kristen Nicole Fiedel    Warren Irwin Fiedel     DKT 77; 1:02-cv-01616-      Warren Irwin Fiedel, Individually, as Parent    Warren Irwin Fiedel as the Personal Representative of                                                                                      WD
                                                      JR; P2592                   of Kristen Nicole Fiedel, Deceased;             the Estate of Kristen Nicole Fiedel, Deceased;



                                                                                                                                   47
                                                                Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 48 of 88




                                                                                                                                                                                                                                                                                 Nature of Claim
Number
                                   Plaintiff's Name                                                                                        Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                           Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                          Plaintiff's Individual Capacity              Caption identifying the estate representative of        or Guardian of Previously
                                                                 Complaint                                                                                                                                                               plaintiff in their own right
                                      complaint                                                                                                             9/11 Decedent                                  Minor Child


 763 Kristin Olga White-Gould    Allison Kristin Beckler   DKT 432; 1:02-cv-01616-     Allison Kristin Beckler, Individually, as Child   Allison Kristin Beckler as the Personal Representative                                                                                  WD
                                                           JR; P4977                   of Kristin Olga White-Gould, Deceased;            of the Estate of Kristin Olga White-Gould, Deceased;

 764 Kyung Hee Cho               Yuree Cho                 DKT 77; 1:02-cv-01616-      Yuree Cho, Individually, as Parent of Kyung       Yuree Cho as the Personal Representative of the                                                                                         WD
                                                           JR; P2569                   Hee Cho, Deceased;                                Estate of Kyung Hee Cho, Deceased;
 765 Larry John Senko            Debbi Ellen Senko-        DKT 232; 1:02-cv-01616-     Debbi Ellen Senko-Goldman, Individually,          Debbi Ellen Senko-Goldman as the Representative of       Debbi Ellen Senko-Goldman as    Tyler Jay Senko Goldman, Individually as       WD
                                 Goldman                   JR; P3946                   as Spouse of Larry John Senko, Deceased;          the Estate of Larry John Senko, Deceased;                Parent/Guardian of Tyler Jay    Child of Larry John Senko, Deceased, and
                                                                                                                                                                                                  Senko Goldman                   previously included as minor child of Debbi
                                                                                                                                                                                                                                  Ellen Senko-Goldman;

 766 Larry Lee Strickland        Debra Louise Strickland DKT 155; 1:02-cv-01616-       Debra Louise Strickland, Individually, as   Debra Louise Strickland as the Personal                                                                                                       WD
                                                         JR; P3104                     Spouse of Larry Lee Strickland, Deceased;   Representative of the Estate of Larry Lee Strickland,
                                                                                                                                   Deceased;
 767 Laura Angilletta            Carmelo Angilletta        DKT 1; 1:02-cv-01616-JR; Carmelo Angilletta, Individually, as Parent of Carmelo Angilletta as the Co-Personal Representative                                                                                          WD
                                                           890 (DOE 39)             Laura Angilletta, Deceased;                    of the Estate of Laura Angilletta, Deceased;

 768 Laura Angilletta            Dorotea Angilletta        DKT 1; 1:02-cv-01616-JR; Dorotea Angilletta, Individually, as Parent of       Dorotea Angilletta as the Co-Personal Representative                                                                                    WD
                                                           891 (DOE 39)             Laura Angilletta, Deceased;                          of the Estate of Laura Angilletta, Deceased;

 769 Laura M. Longing            Christopher Longing       DKT 232; 1:02-cv-01616-     Christopher Longing, Individually, as             Christopher Longing as the Personal Representative of Christopher Longing as             William A. Longing, Individually as Child of   WD
                                                           JR; P3794                   Spouse of Laura M. Longing, Deceased;             the Estate of Laura M. Longing, Deceased;             Parent/Guardian of William A.      Laura M. Longing, Deceased, and
                                                                                                                                                                                               Longing                            previously included as minor child of
                                                                                                                                                                                                                                  Christopher Longing;
 770 Laura M. Longing            Christopher Longing       DKT 232; 1:02-cv-01616-     Christopher Longing, Individually, as             Christopher Longing as the Personal Representative of Christopher Longing as             Bryan C. Longing, Individually as Child of     WD
                                                           JR; P3794                   Spouse of Laura M. Longing, Deceased;             the Estate of Laura M. Longing, Deceased;             Parent/Guardian of Bryan C.        Laura M. Longing, Deceased, and
                                                                                                                                                                                               Longing                            previously included as minor child of
                                                                                                                                                                                                                                  Christopher Longing;
 771 Lauren C. Grandcolas        Jack Andrew               DKT 232; 1:02-cv-01616-     Jack Andrew Grandcolas, Individually, as      Jack Andrew Grandcolas as the Personal                                                                                                      WD
                                 Grandcolas                JR; P3704                   Spouse of Lauren C. Grandcolas, Deceased; Representative of the Estate of Lauren C. Grandcolas,
                                                                                                                                     Deceased;
 772 Laurie Ann Neira            Francisca A. Wester       DKT 305; 1:02-cv-01616-     Francisca A. Wester, Individually, as Child   Francisca A. Wester as the Representative of the                                                                                            WD
                                                           JR; P4448                   of Laurie Ann Neira, Deceased;                Estate of Laurie Ann Neira, Deceased;
 773 Lawrence J. Veling          Dianne J. Veling          DKT 313; 1:02-cv-01616-     Dianne J. Veling, Individually, as Spouse of Dianne J. Veling as the Representative of the Estate of Dianne J. Veling as               Cynthia Veling, Individually as Child of           WD
                                                           JR; P4755                   Lawrence J. Veling, Deceased;                 Lawrence J. Veling, Deceased;                          Parent/Guardian of Cynthia Veling Lawrence J. Veling, Deceased, and
                                                                                                                                                                                                                              previously included as minor child of Dianne
                                                                                                                                                                                                                              J. Veling;
 774 Lawrence J. Veling          Dianne J. Veling          DKT 313; 1:02-cv-01616-     Dianne J. Veling, Individually, as Spouse of Dianne J. Veling as the Representative of the Estate of Dianne J. Veling as               Kevin Veling, Individually as Child of             WD
                                                           JR; P4755                   Lawrence J. Veling, Deceased;                 Lawrence J. Veling, Deceased;                          Parent/Guardian of Kevin Veling Lawrence J. Veling, Deceased, and
                                                                                                                                                                                                                              previously included as minor child of Dianne
                                                                                                                                                                                                                              J. Veling;
 775 Lawrence J. Veling          Dianne J. Veling          DKT 313; 1:02-cv-01616-     Dianne J. Veling, Individually, as Spouse of Dianne J. Veling as the Representative of the Estate of Dianne J. Veling as               Ryan Veling, Individually as Child of              WD
                                                           JR; P4755                   Lawrence J. Veling, Deceased;                 Lawrence J. Veling, Deceased;                          Parent/Guardian of Ryan Veling Lawrence J. Veling, Deceased, and
                                                                                                                                                                                                                              previously included as minor child of Dianne
                                                                                                                                                                                                                              J. Veling;
 776 Lawrence Patrick Dickinson Deirdre D. Sullivan        DKT 155; 1:02-cv-01616-     Deirdre D. Sullivan, Individually, as Sibling                                                        Deirdre D. Sullivan as            Conor Lawrence Sullivan, Individually as           WD
                                                           JR; P3110                   of Lawrence Patrick Dickinson, Deceased;                                                             Parent/Guardian of Conor          Child of Thomas G. Sullivan, Deceased,
                                                                                                                                                                                            Lawrence Sullivan                 and previously included as minor child of
                                                                                                                                                                                                                              Deirdre D. Sullivan;
 777 Lawrence Patrick Dickinson Deirdre D. Sullivan        DKT 155; 1:02-cv-01616-     Deirdre D. Sullivan, Individually, as Sibling                                                        Deirdre D. Sullivan as            Dermot Joseph Sullivan, Individually as            WD
                                                           JR; P3110                   of Lawrence Patrick Dickinson, Deceased;                                                             Parent/Guardian of Dermot         Child of Thomas G. Sullivan, Deceased,
                                                                                                                                                                                            Joseph Sullivan                   and previously included as minor child of
                                                                                                                                                                                                                              Deirdre D. Sullivan;




                                                                                                                                          48
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 49 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
Number
                                   Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                      Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                           plaintiff in their own right
                                      complaint                                                                                                      9/11 Decedent                                Minor Child


 778 Lawrence Patrick Dickinson Linda M. Dickinson-    DKT 26, 29; 1:02-cv-        Linda M. Dickinson-Pancila, Individually, as   Linda M. Dickinson-Pancila as the Personal             Linda M. Dickinson-Pancila as    Erin R. Dickinson, Individually as Child of WD
                                Pancila                01616-JR; 3014              Spouse of Lawrence Patrick Dickinson,          Representative of the Estate of Lawrence Patrick       Parent/Guardian of Erin R.       Lawrence Patrick Dickinson, Deceased, and
                                                                                   Deceased;                                      Dickinson, Deceased;                                   Dickinson                        previously included as minor child of Linda
                                                                                                                                                                                                                          M. Dickinson-Pancila;

 779 Lawrence Patrick Dickinson Linda M. Dickinson-    DKT 26, 29; 1:02-cv-        Linda M. Dickinson-Pancila, Individually, as   Linda M. Dickinson-Pancila as the Personal             Linda M. Dickinson-Pancila as    Patrick J. Dickinson, Individually as Child of WD
                                Pancila                01616-JR; 3014              Spouse of Lawrence Patrick Dickinson,          Representative of the Estate of Lawrence Patrick       Parent/Guardian of Patrick J.    Lawrence Patrick Dickinson, Deceased, and
                                                                                   Deceased;                                      Dickinson, Deceased;                                   Dickinson                        previously included as minor child of Linda
                                                                                                                                                                                                                          M. Dickinson-Pancila;

 780 Lee Alan Adler             Alice Fay Doerge Adler DKT 232; 1:02-cv-01616-     Alice Fay Doerge Adler, Individually, as       Alice Fay Doerge Adler as the Personal                 Alice Fay Doerge Adler as        Alice Fay Doerge Adler on behalf of L.A.,       WD
                                                       JR; P4041                   Spouse of Lee Alan Adler, Deceased;            Representative of the Estate of Lee Alan Adler,        Parent/Guardian of L.A.          Child of Lee Alan Adler, Deceased;
                                                                                                                                  Deceased;
 781 Leo A. Roberts             Debra Roberts          DKT 232; 1:02-cv-01616-     Debra Roberts, Individually, as Spouse of      Debra Roberts as the Representative of the Estate of   Debra Roberts as                 Daniel Alexander Roberts, Individually as       WD
                                                       JR; P3931                   Leo A. Roberts, Deceased;                      Leo A. Roberts, Deceased;                              Parent/Guardian of Daniel        Child of Leo A. Roberts, Deceased, and
                                                                                                                                                                                         Alexander Roberts                previously included as minor child of Debra
                                                                                                                                                                                                                          Roberts;
 782 Leo A. Roberts             Debra Roberts          DKT 232; 1:02-cv-01616-     Debra Roberts, Individually, as Spouse of      Debra Roberts as the Representative of the Estate of   Debra Roberts as                 Jeffrey Roberts, Individually as Child of Leo   WD
                                                       JR; P3931                   Leo A. Roberts, Deceased;                      Leo A. Roberts, Deceased;                              Parent/Guardian of Jeffrey       A. Roberts, Deceased, and previously
                                                                                                                                                                                         Roberts                          included as minor child of Debra Roberts;

 783 Leo A. Roberts             Debra Roberts          DKT 232; 1:02-cv-01616-     Debra Roberts, Individually, as Spouse of      Debra Roberts as the Representative of the Estate of   Debra Roberts as                 Michael Leo Roberts, Individually as Child of WD
                                                       JR; P3931                   Leo A. Roberts, Deceased;                      Leo A. Roberts, Deceased;                              Parent/Guardian of Michael Leo   Leo A. Roberts, Deceased, and previously
                                                                                                                                                                                         Roberts                          included as minor child of Debra Roberts;

 784 Leo A. Roberts             Debra Roberts          DKT 232; 1:02-cv-01616-     Debra Roberts, Individually, as Spouse of      Debra Roberts as the Representative of the Estate of   Debra Roberts as                 Taylor Nicole Roberts, Individually as Child WD
                                                       JR; P3931                   Leo A. Roberts, Deceased;                      Leo A. Roberts, Deceased;                              Parent/Guardian of Taylor Nicole of Leo A. Roberts, Deceased, and
                                                                                                                                                                                         Roberts                          previously included as minor child of Debra
                                                                                                                                                                                                                          Roberts;
 785 Leo Russell Keene, III     Kristen M. Keene       DKT 155; 1:02-cv-01616-     Kristen M. Keene, Individually, as Spouse of Kristen M. Keene as the Personal Representative of       Kristen M. Keene as              Kristen M. Keene on behalf of M.M.K., Child WD
                                                       JR; P2965                   Leo Russell Keene, III, Deceased;            the Estate of Leo Russell Keene, III, Deceased;          Parent/Guardian of M.M.K.        of Leo Russell Keene, III, Deceased;

 786 Leonard J. Ragaglia        Donna Ragaglia         DKT 3; 1:02-cv-01616-JR; Donna Ragaglia, Individually, as Spouse of        Donna Ragaglia as the Representative of the Estate of Donna Ragaglia as        Anthony Salvatore Ragaglia, Individually as              WD
                                                       1547                     Leonard J. Ragaglia, Deceased;                    Leonard J. Ragaglia, Deceased;                        Parent/Guardian of Anthony
                                                                                                                                                                                                                 Child of Leonard J. Ragaglia, Deceased,
                                                                                                                                                                                        Salvatore Ragaglia       and previously included as minor child of
                                                                                                                                                                                                                 Donna Ragaglia;
 787 Leonard J. Ragaglia        Donna Ragaglia         DKT 3; 1:02-cv-01616-JR; Donna Ragaglia, Individually, as Spouse of Donna Ragaglia as the Representative of the Estate of Donna Ragaglia as               Leonard John Ragaglia, Jr., Individually as              WD
                                                       1547                     Leonard J. Ragaglia, Deceased;               Leonard J. Ragaglia, Deceased;                      Parent/Guardian of Leonard John Child of Leonard J. Ragaglia, Deceased,
                                                                                                                                                                                 Ragaglia, Jr.                   and previously included as minor child of
                                                                                                                                                                                                                 Donna Ragaglia;
 788 Leonard J. Ragaglia        Leonard Salvatore      DKT 3; 1:02-cv-01616-JR; Leonard Salvatore Ragaglia, Individually, as                                                     Leonard Salvatore Ragaglia as   Stephen Anthony Ragaglia, Individually as                WD
                                Ragaglia               1545                     Parent of Leonard J. Ragaglia, Deceased;                                                         Parent/Guardian of Stephen      Sibling of Leonard J. Ragaglia, Deceased,
                                                                                                                                                                                 Anthony Ragaglia                and previously included as minor child of
                                                                                                                                                                                                                 Leonard Salvatore Ragaglia;

 789 Leonard J. Ragaglia        Leonard Salvatore      DKT 3; 1:02-cv-01616-JR; Leonard Salvatore Ragaglia, Individually, as                                                             Leonard Salvatore Ragaglia as    Maureen Elizabeth Scparta, Individually as      WD
                                Ragaglia               1545                     Parent of Leonard J. Ragaglia, Deceased;                                                                 Parent/Guardian of Maureen       Sibling of Leonard J. Ragaglia, Deceased,
                                                                                                                                                                                         Elizabeth Scparta                and previously included as minor child of
                                                                                                                                                                                                                          Leonard Salvatore Ragaglia;

 790 Liam Callahan              Joan E. Callahan       DKT 77; 1:02-cv-01616-      Joan E. Callahan, Individually, as Spouse of Joan E. Callahan as the Personal Representative of       Joan E. Callahan as              Brian J. Callahan, Individually as Child of  WD
                                                       JR; P2554                   Liam Callahan, Deceased;                     the Estate of Liam Callahan, Deceased;                   Parent/Guardian of Brian J.      Liam Callahan, Deceased, and previously
                                                                                                                                                                                         Callahan                         included as minor child of Joan E. Callahan;

 791 Lillian Caceres            Julio Caceres          DKT 1; 1:02-cv-01616-JR; Julio Caceres, Individually, as Spouse of                                                                Julio Caceres as                 Julio Caceres, on behalf of J.C., Child of      WD
                                                       100                      Lillian Caceres, Deceased;                                                                               Parent/Guardian of J.C.          Lillian Caceres, Deceased;
                                                                                                                                   49
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 50 of 88




                                                                                                                                                                                                                                                                              Nature of Claim
Number
                                   Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                               Complaint                                                                                                                                                             plaintiff in their own right
                                      complaint                                                                                                         9/11 Decedent                                 Minor Child


 792 Lillian Frederick-Lambert   Henry Lambert           DKT 232; 1:02-cv-01616-     Henry Lambert, Individually, as Spouse of       Henry Lambert as the Personal Representative of the                                                                                      WD
                                                         JR; P3696                   Lillian Frederick-Lambert, Deceased;            Estate of Lillian Frederick-Lambert, Deceased;
 793 Liming Gu                   Jin Liu                 DKT 1; 1:02-cv-01616-JR;    Jin Liu, Individually, as Spouse of Liming                                                              Jin Liu as Parent/Guardian of    Jin Liu, on behalf of A.G., Child of Liming     WD
                                                         703                         Gu, Deceased;                                                                                           A.G.                             Gu, Deceased;
 794 Linda Anne Luzzicone        Ralph Luzzicone         DKT 1; 1:02-cv-01616-JR;    Ralph Luzzicone, Individually, as Parent of     Ralph Luzzicone as the Personal Representative of                                                                                        WD
                                                         353                         Linda Anne Luzzicone, Deceased;                 the Estate of Linda Anne Luzzicone, Deceased;
 795 Linda George                Richard Albert George   DKT 313; 1:02-cv-01616-     Richard Albert George, Individually, as         Richard Albert George as the Personal Representative                                                                                     WD
                                                         JR; P4646                   Parent of Linda George, Deceased;               of the Estate of Linda George, Deceased;

 796 Linda June Sheehan          Robert Daniel Sheehan DKT 1; 1:02-cv-01616-JR; Robert Daniel Sheehan, Individually, as       Robert Daniel Sheehan as the Personal                                                                                                           WD
                                                       578                      Sibling of Linda June Sheehan, Deceased;      Representative of the Estate of Linda June Sheehan,
                                                                                                                              Deceased;
 797 Linda M. Colon              Carlos R. Colon         DKT 432; 1:02-cv-01616- Carlos R. Colon, Individually, as Spouse of Carlos R. Colon as the Personal Representative of the           Carlos R. Colon as               Carlos R. Colon on behalf of C.N.C., Child      WD
                                                         JR; P4797                Linda M. Colon, Deceased;                   Estate of Linda M. Colon, Deceased;                            Parent/Guardian of C.N.C.        of Linda M. Colon, Deceased;
 798 Linda M. Colon              Carlos R. Colon         DKT 432; 1:02-cv-01616- Carlos R. Colon, Individually, as Spouse of Carlos R. Colon as the Personal Representative of the           Carlos R. Colon as               Carlos R. Colon on behalf of T.M.C., Child      WD
                                                         JR; P4797                Linda M. Colon, Deceased;                   Estate of Linda M. Colon, Deceased;                            Parent/Guardian of T.M.C.        of Linda M. Colon, Deceased;
 799 Lindsay S. Morehouse        Kathleen Stapleton      DKT 1; 1:02-cv-01616-JR; Kathleen Stapleton Maycen, Individually, as Kathleen Stapleton Maycen as the Personal                                                                                                       WD
                                 Maycen                  405                      Parent of Lindsay S. Morehouse, Deceased; Representative of the Estate of Lindsay S. Morehouse,
                                                                                                                              Deceased;
 800 Lizie Martinez-Calderon     Marino Calderon         DKT 232; 1:02-cv-01616- Marino Calderon, Individually, as Spouse of Marino Calderon as the Representative of the Estate             Marino Calderon as               Marino Calderon on behalf of N.C.,              WD
                                                         JR; P3821                Lizie Martinez-Calderon, Deceased;          of Lizie Martinez-Calderon, Deceased;                          Parent/Guardian of N.C.          Daughter of Lizie Martinez-Calderon,
                                                                                                                                                                                                                              Deceased;
 801 Lizie Martinez-Calderon     Marino Calderon         DKT 232; 1:02-cv-01616-     Marino Calderon, Individually, as Spouse of     Marino Calderon as the Representative of the Estate     Marino Calderon as               Marino Calderon on behalf of N.C., Son of       WD
                                                         JR; P3821                   Lizie Martinez-Calderon, Deceased;              of Lizie Martinez-Calderon, Deceased;                   Parent/Guardian of N.C.          Lizie Martinez-Calderon, Deceased;

 802 Lorraine Lee                Johnny Lee              DKT 1; 1:02-cv-01616-JR;    Johnny Lee, Individually, as Spouse of          Johnny Lee as the Representative of the Estate of                                                                                        WD
                                                         340                         Lorraine Lee, Deceased;                         Lorraine Lee, Deceased;
 803 Louie Anthony Williams      Murna T. Williams       DKT 432; 1:03-md-01570-     Murna T. Williams, Individually, as Parent of   Murna T. Williams as the Representative of the Estate                                                                                    WD
                                                         GBD-SN; P5468               Louie Anthony Williams, Deceased;               of Louie Anthony Williams, Deceased;

 804 Louis Arena                 Wandalee M. Arena       DKT 305; 1:02-cv-01616-     Wandalee M. Arena, Individually, as Spouse Wandalee M. Arena as the Personal Representative of Wandalee M. Arena as                      Nina Louise Arena, Individually as Child of     WD
                                                         JR; P4112                   of Louis Arena, Deceased;                  the Estate of Louis Arena, Deceased;                Parent/Guardian of Nina Louise            Louis Arena, Deceased, and previously
                                                                                                                                                                                    Arena                                     included as minor child of Wandalee M.
                                                                                                                                                                                                                              Arena;
 805 Louis Arena                 Wandalee M. Arena       DKT 305; 1:02-cv-01616-     Wandalee M. Arena, Individually, as Spouse Wandalee M. Arena as the Personal Representative of Wandalee M. Arena as                      Joseph Anthony Arena, Individually as Child     WD
                                                         JR; P4112                   of Louis Arena, Deceased;                  the Estate of Louis Arena, Deceased;                Parent/Guardian of Joseph                 of Louis Arena, Deceased, and previously
                                                                                                                                                                                    Anthony Arena                             included as minor child of Wandalee M.
                                                                                                                                                                                                                              Arena;
 806 Louis V. Fersini, Jr.       Cathy Lyn Fersini       DKT 1; 1:02-cv-01616-JR; Cathy Lyn Fersini, Individually, as Spouse of Cathy Lyn Fersini as the Personal Representative of          Cathy Lyn Fersini as             Brian Tyler Fersini, Individually as Child of   WD
                                                         217                      Louis V. Fersini, Jr., Deceased;              the Estate of Louis V. Fersini, Jr., Deceased;               Parent/Guardian of Brian Tyler   Louis V. Fersini, Jr., Deceased, and
                                                                                                                                                                                             Fersini                          previously included as minor child of Cathy
                                                                                                                                                                                                                              Lyn Fersini;
 807 Louis V. Fersini, Jr.       Cathy Lyn Fersini       DKT 1; 1:02-cv-01616-JR; Cathy Lyn Fersini, Individually, as Spouse of Cathy Lyn Fersini as the Personal Representative of          Cathy Lyn Fersini as             Christopher Michael Fersini, Individually as    WD
                                                         217                      Louis V. Fersini, Jr., Deceased;              the Estate of Louis V. Fersini, Jr., Deceased;               Parent/Guardian of Christopher   Child of Louis V. Fersini, Jr., Deceased, and
                                                                                                                                                                                             Michael Fersini                  previously included as minor child of Cathy
                                                                                                                                                                                                                              Lyn Fersini;
 808 Louis V. Fersini, Jr.       Cathy Lyn Fersini       DKT 1; 1:02-cv-01616-JR; Cathy Lyn Fersini, Individually, as Spouse of Cathy Lyn Fersini as the Personal Representative of          Cathy Lyn Fersini as             Katelyn Elizabeth Fersini, Individually as      WD
                                                         217                      Louis V. Fersini, Jr., Deceased;              the Estate of Louis V. Fersini, Jr., Deceased;               Parent/Guardian of Katelyn       Child of Louis V. Fersini, Jr., Deceased, and
                                                                                                                                                                                             Elizabeth Fersini                previously included as minor child of Cathy
                                                                                                                                                                                                                              Lyn Fersini;
 809 Louis V. Fersini, Jr.       Cathy Lyn Fersini       DKT 1; 1:02-cv-01616-JR; Cathy Lyn Fersini, Individually, as Spouse of Cathy Lyn Fersini as the Personal Representative of          Cathy Lyn Fersini as             Thomas Jeffrey Fersini, Individually as Child   WD
                                                         217                      Louis V. Fersini, Jr., Deceased;              the Estate of Louis V. Fersini, Jr., Deceased;               Parent/Guardian of Thomas        of Louis V. Fersini, Jr., Deceased, and
                                                                                                                                                                                             Jeffrey Fersini                  previously included as minor child of Cathy
                                                                                                                                                                                                                              Lyn Fersini;



                                                                                                                                      50
                                                               Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 51 of 88




                                                                                                                                                                                                                                                                               Nature of Claim
Number
                                   Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                         Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                                Complaint                                                                                                                                                              plaintiff in their own right
                                      complaint                                                                                                         9/11 Decedent                                  Minor Child


 810 Lynne Irene Morris          Harold Charles Morris,   DKT 232; 1:02-cv-01616-     Harold Charles Morris, Jr., Individually, as
                                                                                                                                 Harold Charles Morris, Jr. as the Co-Personal                                                                                                 WD
                                 Jr.                      JR; P3856                   Parent of Lynne Irene Morris, Deceased;    Representative of the Estate of Lynne Irene Morris,
                                                                                                                                 Deceased;
 811 Lynne Irene Morris          Patricia Marie Morris    DKT 232; 1:02-cv-01616- Patricia Marie Morris, Individually, as Parent Patricia Marie Morris as the Co-Personal                                                                                                      WD
                                                          JR; P3857                of Lynne Irene Morris, Deceased;              Representative of the Estate of Lynne Irene Morris,
                                                                                                                                 Deceased;
 812 Lyudmila Ksido              Felix Ksido              DKT 3; 1:02-cv-01616-JR; Felix Ksido, Individually, as Spouse of                                                                    Felix Ksido as Parent/Guardian    Lawrence Irving Ksido, Individually as Child   WD
                                                          1310                     Lyudmila Ksido, Deceased;                                                                                  of Lawrence Irving Ksido          of Lyudmila Ksido, Deceased, and
                                                                                                                                                                                                                                previously included as minor child of Felix
                                                                                                                                                                                                                                Ksido;
 813 Maclovio Lopez, Jr.         Rhonda Lyn Lopez-        DKT HAND FILED (3-10-       Rhonda Lyn Lopez-Manley, Individually, as      Rhonda Lyn Lopez-Manley as the Personal                                                                                                   WD
                                 Manley                   2004); 1:03-cv-9849         Spouse of Maclovio Lopez, Jr., Deceased;       Representative of the Estate of Maclovio Lopez, Jr.,
                                                          (RCC); P5154                                                               Deceased;
 814 Madeline Amy Sweeney        Michael Gerard           DKT 232; 1:02-cv-01616-     Michael Gerard Sweeney, Individually, as       Michael Gerard Sweeney as the Personal                   Michael Gerard Sweeney as         Anna Elizabeth Sweeney, Individually as      WD
                                 Sweeney                  JR; P3970                   Spouse of Madeline Amy Sweeney,                Representative of the Estate of Madeline Amy             Parent/Guardian of Anna           Child of Madeline Amy Sweeney, Deceased,
                                                                                      Deceased;                                      Sweeney, Deceased;                                       Elizabeth Sweeney                 and previously included as minor child of
                                                                                                                                                                                                                                Michael Gerard Sweeney;
 815 Madeline Amy Sweeney        Michael Gerard           DKT 232; 1:02-cv-01616-     Michael Gerard Sweeney, Individually, as       Michael Gerard Sweeney as the Personal                   Michael Gerard Sweeney as         Jack Michael Sweeney, Individually as Child WD
                                 Sweeney                  JR; P3970                   Spouse of Madeline Amy Sweeney,                Representative of the Estate of Madeline Amy             Parent/Guardian of Jack Michael   of Madeline Amy Sweeney, Deceased, and
                                                                                      Deceased;                                      Sweeney, Deceased;                                       Sweeney                           previously included as minor child of
                                                                                                                                                                                                                                Michael Gerard Sweeney;
 816 Manette M. Beckles          Edward C. Williams       DKT 232; 1:02-cv-01616-                                                    Edward C. Williams as the Personal Representative of Edward C. Williams as                 Brandice Williams, Individually as Child of  WD
                                                          JR; P3592                                                                  the Estate of Manette M. Beckles, Deceased;          Parent/Guardian of Brandice           Manette M. Beckles, Deceased, and
                                                                                                                                                                                          Williams                              previously included as minor child of Edward
                                                                                                                                                                                                                                C. Williams;
 817 Manual Asitimbay            Carmen C. Mejia          DKT 26, 29; 1:02-cv-        Carmen C. Mejia, Individually, as Spouse of    Carmen C. Mejia as the Representative of the Estate      Carmen C. Mejia as                Carmen C. Mejia on behalf of W.A., Child of WD
                                                          01616-JR; 1826              Manual Asitimbay, Deceased;                    of Manuel Asitimbay, Deceased;                           Parent/Guardian of W.A.           Manual Asitimbay, Deceased;
 818 Manual Asitimbay            Carmen C. Mejia          DKT 26, 29; 1:02-cv-        Carmen C. Mejia, Individually, as Spouse of    Carmen C. Mejia as the Representative of the Estate      Carmen C. Mejia as                Carmen C. Mejia on behalf of R.A., Child of WD
                                                          01616-JR; 1826              Manual Asitimbay, Deceased;                    of Manuel Asitimbay, Deceased;                           Parent/Guardian of R.A.           Manual Asitimbay, Deceased;
 819 Manual Asitimbay            Carmen C. Mejia          DKT 26, 29; 1:02-cv-        Carmen C. Mejia, Individually, as Spouse of    Carmen C. Mejia as the Representative of the Estate      Carmen C. Mejia as                Carmen C. Mejia on behalf of E.M.A., Child WD
                                                          01616-JR; 1826              Manual Asitimbay, Deceased;                    of Manuel Asitimbay, Deceased;                           Parent/Guardian of E.M.A.         of Manual Asitimbay, Deceased;
 820 Manuel Del Del Valle, Jr.   Gricel G. Zayas-Moyer    DKT 1; 1:02-cv-01616-JR;    Gricel G. Zayas-Moyer, Individually, as        Gricel G. Zayas-Moyer as the Co-Personal                                                                                                WD
                                                          179                         Parent of Manuel Del Valle, Jr., Deceased;     Representative of the Estate of Manuel Del Valle, Jr.,
                                                                                                                                     Deceased;
 821 Manuel Del Del Valle, Jr.   Manuel Del Valle, Sr.    DKT 305; 1:02-cv-01616-     Manuel Del Valle, Sr., Individually, as Parent Manuel Del Valle, Sr. as the Co-Personal                                                                                                  WD
                                                          JR; P4225                   of Manuel Del Valle, Jr., Deceased;            Representative of the Estate of Manuel Del Valle, Jr.,
                                                                                                                                     Deceased;
 822 Manuel John DaMota          Barbara E. DaMota        DKT 155; 1:02-cv-01616-     Barbara E. DaMota, Individually, as Spouse Barbara E. DaMota as the Personal Representative of          Barbara E. DaMota as              Christopher Manuel DaMota, Individually as     WD
                                                          JR; P2868                   of Manuel John DaMota, Deceased;               the Estate of Manuel John DaMota, Deceased;              Parent/Guardian of Christopher    Child of Manuel John DaMota, Deceased,
                                                                                                                                                                                              Manuel DaMota                     and previously included as minor child of
                                                                                                                                                                                                                                Barbara E. DaMota;
 823 Manuel John DaMota          Barbara E. DaMota        DKT 155; 1:02-cv-01616-     Barbara E. DaMota, Individually, as Spouse     Barbara E. DaMota as the Personal Representative of      Barbara E. DaMota as              Barbara E. DaMota on behalf of M.D., Child     WD
                                                          JR; P2868                   of Manuel John DaMota, Deceased;               the Estate of Manuel John DaMota, Deceased;              Parent/Guardian of M.D.           of Manuel John DaMota, Deceased;

 824 Margaret Alario             James Alario, Sr.        DKT 1; 1:02-cv-01616-JR; James Alario, Sr., Individually, as Spouse of James Alario, Sr. as the Personal Representative of          James Alario, Sr. as              Dante Alario, Individually as Child of        WD
                                                          33                       Margaret Alario, Deceased;                    the Estate of Margaret Alario, Deceased;                     Parent/Guardian of Dante Alario   Margaret Alario, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of James Alario, Sr.;

 825 Margaret Alario             James Alario, Sr.        DKT 1; 1:02-cv-01616-JR; James Alario, Sr., Individually, as Spouse of James Alario, Sr. as the Personal Representative of          James Alario, Sr. as              James Michael Alario, Jr., Individually as     WD
                                                          33                       Margaret Alario, Deceased;                    the Estate of Margaret Alario, Deceased;                     Parent/Guardian of James          Child of Margaret Alario, Deceased, and
                                                                                                                                                                                              Michael Alario, Jr.               previously included as minor child of James
                                                                                                                                                                                                                                Alario, Sr.;
 826 Margaret Mary Conner        Michael Anthony          DKT 232; 1:02-cv-01616-     Michael Anthony Conner, Individually, as       Michael Anthony Conner as the Personal                                                                                                    WD
                                 Conner                   JR; P3658                   Spouse of Margaret Mary Conner,                Representative of the Estate of Margaret Mary Conner,
                                                                                      Deceased;                                      Deceased;


                                                                                                                                      51
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 52 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
Number
                                Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of      or Guardian of Previously
                                                            Complaint                                                                                                                                                           plaintiff in their own right
                                   complaint                                                                                                         9/11 Decedent                                Minor Child


 827 Maria Behr               George Behr            DKT 305; 1:02-cv-01616-      George Behr, Individually, as Parent of         George Behr as the Personal Representative of the                                                                                      WD
                                                     JR; P4140                    Maria Behr, Deceased;                           Estate of Maria Behr, Deceased;
 828 Maria LaVache            Mary Jane LaVache      DKT 155; 1:02-cv-01616-      Mary Jane LaVache, Individually, as Child of    Mary Jane LaVache as the Personal Representative of                                                                                    WD
                                                     JR; P2989                    Maria LaVache, Deceased;                        the Estate of Maria LaVache, Deceased;

 829 Marianne Simone          Teresa M. Hargrave      DKT 3; 1:02-cv-01616-JR;    Teresa M. Hargrave, Individually, as Child ofTeresa M. Hargrave as the Representative of the                                                                                           WD
                                                      1647                        Marianne Simone, Deceased;                   Estate of Marianne Simone, Deceased;
 830 Marie Lukas              Marie Lukas             DKT 232; 1:02-cv-01616-     Marie Lukas, Individually, as Parent of MarieMarie Lukas as the Representative of the Estate of                                                                                        WD
                                                      JR; P4067                   Lukas, Deceased;                             Marie Lukas, Deceased;
 831 Mari-Rae Sopper          Christina Louise Kminek DKT 305; 1:02-cv-01616-     Christina Louise Kminek, Individually, as    Christina Louise Kminek as the Personal                                                                                                   WD
                                                      JR; P4531                   Step-sibling of Mari-Rae Sopper, Deceased;   Representative of the Estate of Mari-Rae Sopper,
                                                                                                                               Deceased;
 832 Mark D. Rothenberg       Meredith Harris        DKT 313; 1:02-cv-01616-      Meredith Harris Rothenberg, Individually, as Meredith Harris Rothenberg as the Representative of                                                                                       WD
                              Rothenberg             JR; P4720                    Spouse of Mark D. Rothenberg, Deceased; the Estate of Mark D. Rothenberg, Deceased;

 833 Mark Frederick Hemschoot Debora Hemschoot       DKT 26, 29; 1:02-cv-         Debora Hemschoot, Individually, as Spouse Debora Hemschoot as the Personal Representative of                                                                                           WD
                                                     01616-JR; 3423               of Mark Frederick Hemschoot, Deceased;    the Estate of Mark Frederick Hemschoot, Deceased;

 834 Mark G. Ludvigsen        Maureen Kelly          DKT 313; 1:02-cv-01616-      Maureen Kelly, Individually, as Spouse of       Maureen Kelly as the Representative of the Estate of                                                                                   WD
                                                     JR; P4690                    Mark G. Ludvigsen, Deceased;                    Mark G. Ludvigsen, Deceased;
 835 Mark H. Rosen            Patricia Rosen         DKT 26, 29; 1:02-cv-         Patricia Rosen, Individually, as Spouse of                                                             Patricia Rosen as               Patricia Rosen, on behalf of A.H.R., Child of   WD
                                                     01616-JR; 2321               Mark H. Rosen, Deceased;                                                                               Parent/Guardian of A.H.R.       Mark H. Rosen, Deceased;
 836 Mark H. Rosen            Patricia Rosen         DKT 26, 29; 1:02-cv-         Patricia Rosen, Individually, as Spouse of                                                             Patricia Rosen as               Patricia Rosen, on behalf of B.M.R., Child of   WD
                                                     01616-JR; 2321               Mark H. Rosen, Deceased;                                                                               Parent/Guardian of B.M.R.       Mark H. Rosen, Deceased;
 837 Mark H. Rosen            Patricia Rosen         DKT 26, 29; 1:02-cv-         Patricia Rosen, Individually, as Spouse of                                                             Patricia Rosen as               Patricia Rosen, on behalf of M.E.R., Child of   WD
                                                     01616-JR; 2321               Mark H. Rosen, Deceased;                                                                               Parent/Guardian of M.E.R.       Mark H. Rosen, Deceased;
 838 Mark J. Colaio           June Elizabeth Coppola DKT 232; 1:02-cv-01616-      June Elizabeth Coppola, Individually, as        June Elizabeth Coppola as the Personal                 June Elizabeth Coppola as       Joseph Colaio-Coppola, Individually as          WD
                                                     JR; P3645                    Spouse of Mark J. Colaio, Deceased;             Representative of the Estate of Mark J. Colaio,        Parent/Guardian of Joseph       Child of Mark J. Colaio, Deceased, and
                                                                                                                                  Deceased;                                              Colaio-Coppola                  previously included as minor child of June
                                                                                                                                                                                                                         Elizabeth Coppola;
 839 Mark J. Colaio           June Elizabeth Coppola DKT 232; 1:02-cv-01616-      June Elizabeth Coppola, Individually, as        June Elizabeth Coppola as the Personal                 June Elizabeth Coppola as       Delaney Colaio-Coppola, Individually as         WD
                                                     JR; P3645                    Spouse of Mark J. Colaio, Deceased;             Representative of the Estate of Mark J. Colaio,        Parent/Guardian of Delaney      Child of Mark J. Colaio, Deceased, and
                                                                                                                                  Deceased;                                              Colaio-Coppola                  previously included as minor child of June
                                                                                                                                                                                                                         Elizabeth Coppola;
 840 Mark L. Charette         Cheryl Ann Desmarais   DKT 232; 1:02-cv-01616-      Cheryl Ann Desmarais, Individually, as          Cheryl Ann Desmarais as the Personal Representative Cheryl Ann Desmarais as            Andrew Denton Charette, Individually as         WD
                                                     JR; P3631                    Spouse of Mark L. Charette, Deceased;           of the Estate of Mark L. Charette, Deceased;        Parent/Guardian of Andrew          Child of Mark L. Charette, Deceased, and
                                                                                                                                                                                      Denton Charette                    previously included as minor child of Cheryl
                                                                                                                                                                                                                         Ann Desmarais;
 841 Mark L. Charette         Cheryl Ann Desmarais   DKT 232; 1:02-cv-01616-      Cheryl Ann Desmarais, Individually, as          Cheryl Ann Desmarais as the Personal Representative Cheryl Ann Desmarais as            Jonathan Hunter Charette, Individually as       WD
                                                     JR; P3631                    Spouse of Mark L. Charette, Deceased;           of the Estate of Mark L. Charette, Deceased;        Parent/Guardian of Jonathan        Child of Mark L. Charette, Deceased, and
                                                                                                                                                                                      Hunter Charette                    previously included as minor child of Cheryl
                                                                                                                                                                                                                         Ann Desmarais;
 842 Mark L. Charette         Cheryl Ann Desmarais   DKT 232; 1:02-cv-01616-      Cheryl Ann Desmarais, Individually, as          Cheryl Ann Desmarais as the Personal Representative Cheryl Ann Desmarais as            Lauren Casey Charette, Individually as Child    WD
                                                     JR; P3631                    Spouse of Mark L. Charette, Deceased;           of the Estate of Mark L. Charette, Deceased;        Parent/Guardian of Lauren          of Mark L. Charette, Deceased, and
                                                                                                                                                                                      Casey Charette                     previously included as minor child of Cheryl
                                                                                                                                                                                                                         Ann Desmarais;
 843 Mark Lawrence Bavis      Mary Terese Bavis      DKT 232; 1:02-cv-01616-      Mary Terese Bavis, Individually, as Parent of Mary Terese Bavis as the Personal Representative of                                                                                      WD
                                                     JR; P4043                    Mark Lawrence Bavis, Deceased;                the Estate of Mark Lawrence Bavis, Deceased;

 844 Mark M. Whitford         Renee Whitford         DKT 26, 29; 1:02-cv-         Renee Whitford, Individually, as Spouse of                                                             Renee Whitford as               Matthew Ryan Whitford, Individually as          WD
                                                     01616-JR; 4712               Mark M. Whitford, Deceased;                                                                            Parent/Guardian of Matthew      Child of Mark P. Whitford, Deceased, and
                                                                                                                                                                                         Ryan Whitford                   previously included as minor child of Renee
                                                                                                                                                                                                                         Whitford;




                                                                                                                                   52
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 53 of 88




                                                                                                                                                                                                                                                                                  Nature of Claim
Number
                                    Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                                   Name of previously minor child now a
         9/11 Decedent Name        Currently named in                                      Plaintiff's Individual Capacity              Caption identifying the estate representative of       or Guardian of Previously
                                                              Complaint                                                                                                                                                                  plaintiff in their own right
                                       complaint                                                                                                         9/11 Decedent                                 Minor Child


 845 Mark M. Whitford            Renee Whitford         DKT 26, 29; 1:02-cv-        Renee Whitford, Individually, as Spouse of                                                                Renee Whitford as                   Timothy Jay Whitford, Individually as Child     WD
                                                        01616-JR; 4712              Mark M. Whitford, Deceased;                                                                               Parent/Guardian of Timothy Jay      of Mark P. Whitford, Deceased, and
                                                                                                                                                                                              Whitford                            previously included as minor child of Renee
                                                                                                                                                                                                                                  Whitford;
 846 Mark Schwartz               Patricia Schwartz      DKT 3; 1:02-cv-01616-JR;    Patricia Schwartz, Individually, as Spouse of     Patricia Schwartz as the Representative of the Estate                                                                                       WD
                                                        1630                        Mark Schwartz, Deceased;                          of Mark Schwartz, Deceased;
 847 Mark Y. Gilles              Marie Myriam Jean-     DKT 155; 1:02-cv-01616-     Marie Myriam Jean-Gilles, Individually, as        Marie Myriam Jean-Gilles as the Personal                                                                                                    WD
                                 Gilles                 JR; P2905                   Sibling of Mark Y. Gilles, Deceased;              Representative of the Estate of Mark Y. Gilles,
                                                                                                                                      Deceased;
 848 Mark Zangrilli              Jill Zangrilli         DKT HAND FILED (3-10-       Jill Zangrilli, Individually, as Spouse of Mark   Jill Zangrilli as the Personal Representative of the    Jill Zangrilli as Parent/Guardian   Alexander Zangrilli, Individually as Child of   WD
                                                        2004); 1:03-cv-9849         Zangrilli, Deceased;                              Estate of Mark Zangrilli, Deceased;                     of Alexander Zangrilli              Mark Zangrilli, Deceased, and previously
                                                        (RCC); P5308                                                                                                                                                              included as minor child of Jill Zangrilli;

 849 Mark Zangrilli              Jill Zangrilli         DKT HAND FILED (3-10-       Jill Zangrilli, Individually, as Spouse of Mark   Jill Zangrilli as the Personal Representative of the    Jill Zangrilli as Parent/Guardian   Nicholas Zangrilli, Individually as Child of    WD
                                                        2004); 1:03-cv-9849         Zangrilli, Deceased;                              Estate of Mark Zangrilli, Deceased;                     of Nicholas Zangrilli               Mark Zangrilli, Deceased, and previously
                                                        (RCC); P5308                                                                                                                                                              included as minor child of Jill Zangrilli;
 850 Marsha Ratchford            Rodney Ratchford       DKT 313; 1:02-cv-01616-     Rodney Ratchford, Individually, as Spouse         Rodney Ratchford as the Representative of the Estate    Rodney Ratchford as                 Rodney Ratchford on behalf of M.C.R.,           WD
                                                        JR; P4716                   of Marsha Ratchford, Deceased;                    of Marsha Ratchford, Deceased;                          Parent/Guardian of M.C.R.           Child of Marshal Ratchford, Deceased;
 851 Marsha Ratchford            Rodney Ratchford       DKT 313; 1:02-cv-01616-     Rodney Ratchford, Individually, as Spouse         Rodney Ratchford as the Representative of the Estate    Rodney Ratchford as                 Rodney Ratchford on behalf of M.R.R.,           WD
                                                        JR; P4716                   of Marsha Ratchford, Deceased;                    of Marsha Ratchford, Deceased;                          Parent/Guardian of M.R.R.           Child of Marshal Ratchford, Deceased;
 852 Marsha Ratchford            Rodney Ratchford       DKT 313; 1:02-cv-01616-     Rodney Ratchford, Individually, as Spouse         Rodney Ratchford as the Representative of the Estate    Rodney Ratchford as                 Rodney Ratchford on behalf of R.R., Child       WD
                                                        JR; P4716                   of Marsha Ratchford, Deceased;                    of Marsha Ratchford, Deceased;                          Parent/Guardian of R.R.             of Marshal Ratchford, Deceased;
 853 Martin Egan, Jr.            Diane Egan             DKT 1; 1:02-cv-01616-JR;    Diane Egan, Individually, as Spouse of            Diane Egan as the Personal Representative of the        Diane Egan as Parent/Guardian       Kerry Ann Egan, Individually as Child of        WD
                                                        186                         Martin Egan, Jr., Deceased;                       Estate of Martin Egan, Jr., Deceased;                   of Kerry Ann Egan                   Martin Egan, Jr., Deceased, and previously
                                                                                                                                                                                                                                  included as minor child of Diane Egan;

 854 Martin Egan, Jr.            Diane Egan             DKT 1; 1:02-cv-01616-JR; Diane Egan, Individually, as Spouse of               Diane Egan as the Personal Representative of the        Diane Egan as Parent/Guardian       Sean Christopher Egan, Individually as          WD
                                                        186                      Martin Egan, Jr., Deceased;                          Estate of Martin Egan, Jr., Deceased;                   of Sean Christopher Egan            Child of Martin Egan, Jr., Deceased, and
                                                                                                                                                                                                                                  previously included as minor child of Diane
                                                                                                                                                                                                                                  Egan;
 855 Martin Giovinazzo           Dorothy Giovinazzo     DKT 1; 1:02-cv-01616-JR; Dorothy Giovinazzo, Individually, as Spouse Dorothy Giovinazzo as the Personal Representative of             Dorothy Giovinazzo as               Andrew Dominick Giovinazzo, Individually        WD
                                                        244                      of Martin Giovinazzo, Deceased;             the Estate of Martin Giovinazzo, Deceased;                       Parent/Guardian of Andrew           as Child of Martin Giovinazzo, Deceased,
                                                                                                                                                                                              Dominick Giovinazzo                 and previously included as minor child of
                                                                                                                                                                                                                                  Dorothy Giovinazzo;

 856 Martin Giovinazzo           Dorothy Giovinazzo     DKT 1; 1:02-cv-01616-JR; Dorothy Giovinazzo, Individually, as Spouse Dorothy Giovinazzo as the Personal Representative of             Dorothy Giovinazzo as           Ashley Marie Giovinazzo, Individually as            WD
                                                        244                      of Martin Giovinazzo, Deceased;             the Estate of Martin Giovinazzo, Deceased;                       Parent/Guardian of Ashley Marie Child of Martin Giovinazzo, Deceased, and
                                                                                                                                                                                              Giovinazzo                      previously included as minor child of
                                                                                                                                                                                                                              Dorothy Giovinazzo;
 857 Martin Giovinazzo           Dorothy Giovinazzo     DKT 1; 1:02-cv-01616-JR; Dorothy Giovinazzo, Individually, as Spouse Dorothy Giovinazzo as the Personal Representative of             Dorothy Giovinazzo as           Theresa Jean Giovinazzo, Individually as            WD
                                                        244                      of Martin Giovinazzo, Deceased;             the Estate of Martin Giovinazzo, Deceased;                       Parent/Guardian of Theresa Jean Child of Martin Giovinazzo, Deceased, and
                                                                                                                                                                                              Giovinazzo                      previously included as minor child of
                                                                                                                                                                                                                              Dorothy Giovinazzo;
 858 Martin Lizzul               Jean Lucido Prisco     DKT 305; 1:02-cv-01616-     Jean Lucido Prisco, Individually, as Spouse       Jean Lucido Prisco as the Personal Representative of                                                                                        WD
                                                        JR; AP256 (DOE 123)         of Martin Lizzul, Deceased;                       the Estate of Martin Lizzul, Deceased;

 859 Martin N. DeMeo             Joan DeMeo             DKT 432; 1:02-cv-01616-     Joan DeMeo, Individually, as Spouse of            Joan DeMeo as the Personal Representative of the        Joan DeMeo as Parent/Guardian Nicholas DeMeo, Individually as Child of  WD
                                                        JR; P4825                   Martin N. DeMeo, Deceased;                        Estate of Martin N. DeMeo, Deceased;                    of Nicholas DeMeo             Martin N. DeMeo, Deceased, and previously
                                                                                                                                                                                                                            included as minor child of Joan DeMeo;

 860 Martin Phillips Wohlforth   Susan Wohlforth        DKT 602; 1:02-cv-01616-     Susan Wohlforth, Individually, as Spouse of       Susan Wohlforth as the Representative of the Estate                                                                                         WD
                                                        JR; P5513                   Martin Phillips Wohlforth, Deceased;              of Martin Phillips Wohlforth, Deceased;

 861 Martin Stewart Niederer     Charles W. Niederer    DKT 232; 1:02-cv-01616-     Charles W. Niederer, Individually, as Parent Charles W. Niederer as the Representative of the                                                                                                 WD
                                                        JR; P3870                   of Martin Stewart Niederer, Deceased;        Estate of Martin Stewart Niederer, Deceased;


                                                                                                                                       53
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 54 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
Number
                                  Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                           Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                             Complaint                                                                                                                                                          plaintiff in their own right
                                     complaint                                                                                                       9/11 Decedent                                 Minor Child


 862 Martin Wortley            Karen L. Beetel         DKT 155; 1:02-cv-01616-     Karen L. Beetel, Individually, as Spouse of    Karen L. Beetel as the Personal Representative of the                                                                                 WD
                                                       JR; P3164                   Martin Wortley, Deceased;                      Estate of Martin Wortley, Deceased;
 863 Mary Alice Wahlstrom      Michael Owen            DKT 305; 1:02-cv-01616-     Michael Owen Wahlstrom, Individually, as       Michael Owen Wahlstrom as the Personal                                                                                                WD
                               Wahlstrom               JR; P4559                   Child of Mary Alice Wahlstrom, Deceased;       Representative of the Estate of Mary Alice Wahlstrom,
                                                                                                                                  Deceased;
 864 Mary D'Antonio            Louisa D'Antonio        DKT 26, 29; 1:02-cv-        Louisa D'Antonio, Individually, as Child of    Louisa D'Antonio as the Personal Representative of     Louisa D'Antonio as              Louisa D'Antonio on behalf of E.G.D., Child   WD
                                                       01616-JR; 1927              Mary D'Antonio, Deceased;                      the Estate of Mary D'Antonio, Deceased;                Parent/Guardian of E.G.D.        of Mary D'Antonio, Deceased;
 865 Mary Domenica Stanley     Paul J. Stanley         DKT 305; 1:02-cv-01616-     Paul J. Stanley, Individually, as Spouse of    Paul J. Stanley as the Representative of the Estate of                                                                                WD
                                                       JR; P4539                   Mary Domenica Stanley, Deceased;               Mary Domenica Stanley, Deceased;
 866 Mary Lou Langley          Joseph P. Langley       DKT 432; 1:02-cv-01616-     Joseph P. Langley, Individually, as Sibling of Joseph P. Langley as the Personal Representative of                                                                                   WD
                                                       JR; P4876                   Mary Lou Langley, Deceased;                    the Estate of Mary Lou Langley, Deceased;

 867 Mary Melendez             Ramon Melendez          DKT 26, 29; 1:02-cv-        Ramon Melendez, Individually, as Spouse of Ramon Melendez as the Personal Representative of            Ramon Melendez as               Ramon Melendez, on behalf of J.R.M., Child WD
                                                       01616-JR; 3882              Mary Melendez, Deceased;                   the Estate of Mary Melendez, Deceased;                      Parent/Guardian of J.R.M.       of Mary Melendez, Deceased;
 868 Mary Melendez             Ramon Melendez          DKT 26, 29; 1:02-cv-        Ramon Melendez, Individually, as Spouse of Ramon Melendez as the Personal Representative of            Ramon Melendez as               Ramon Melendez, on behalf of T.M.M.,       WD
                                                       01616-JR; 3882              Mary Melendez, Deceased;                   the Estate of Mary Melendez, Deceased;                      Parent/Guardian of T.M.M.       Child of Mary Melendez, Deceased;
 869 Mary Wieman               Marc Elmo Wieman        DKT 232; 1:02-cv-01616-     Marc Elmo Wieman, Individually, as Spouse Marc Elmo Wieman as the Personal Representative of           Marc Elmo Wieman as             Marc Elmo Wieman on behalf of A.W., Child WD
                                                       JR; P4032                   of Mary Wieman, Deceased;                  the Estate of Mary Wieman, Deceased;                        Parent/Guardian of A.W.         of Mary Wieman, Deceased;

 870 Mary Wieman               Marc Elmo Wieman        DKT 232; 1:02-cv-01616-     Marc Elmo Wieman, Individually, as Spouse Marc Elmo Wieman as the Personal Representative of Marc Elmo Wieman as                       Marc Elmo Wieman on behalf of C.W., Child WD
                                                       JR; P4032                   of Mary Wieman, Deceased;                 the Estate of Mary Wieman, Deceased;               Parent/Guardian of C.W.                   of Mary Wieman, Deceased;

 871 Mary Wieman               Marc Elmo Wieman        DKT 232; 1:02-cv-01616-     Marc Elmo Wieman, Individually, as Spouse Marc Elmo Wieman as the Personal Representative of Marc Elmo Wieman as                       Marc Elmo Wieman on behalf of M.J.W.,         WD
                                                       JR; P4032                   of Mary Wieman, Deceased;                 the Estate of Mary Wieman, Deceased;               Parent/Guardian of M.J.W.                 Child of Mary Wieman, Deceased;

 872 Marylou Hague             Elizabeth Jane Adams    DKT 155; 1:02-cv-01616-     Elizabeth Jane Adams, Individually, as         Elizabeth Jane Adams as the Personal Representative                                                                                   WD
                                                       JR; P2923                   Parent of Marylou Hague, Deceased;             of the Estate of Marylou Hague, Deceased;

 873 Matthew Blake Wallens     Raina Allison Wallens   DKT 432; 1:02-cv-01616-  Raina Allison Wallens, Individually, as           Raina Allison Wallens as the Personal Representative                                                                                  WD
                                                       JR; P4975                Spouse of Matthew Blake Wallens,                  of the Estate of Matthew Blake Wallens, Deceased;
                                                                                Deceased;
 874 Matthew Carmen Sellitto   Matthew Thomas          DKT 1; 1:02-cv-01616-JR; Matthew Thomas Sellitto, Individually, as         Matthew Thomas Sellitto as the Personal                                                                                               WD
                               Sellitto                559                      Parent of Matthew Carmen Sellitto,                Representative of the Estate of Matthew Carmen
                                                                                Deceased;                                         Sellitto, Deceased;
 875 Matthew D. Horning        Kurt Douglas Horning    DKT 232; 1:02-cv-01616- Kurt Douglas Horning, Individually, as             Kurt Douglas Horning as the Personal Representative                                                                                   WD
                                                       JR; AP225                Parent of Matthew D. Horning, Deceased;           of the Estate of Matthew D. Horning, Deceased;

 876 Matthew J. Burke          John Joseph Burke       DKT 232; 1:02-cv-01616-     John Joseph Burke, Individually, as Parent     John Joseph Burke as the Personal Representative of                                                                                   WD
                                                       JR; P3620                   of Matthew J. Burke, Deceased;                 the Estate of Matthew J. Burke, Deceased;

 877 Matthew James Grzymalski Patricia Grzymalski      DKT 232; 1:02-cv-01616-     Patricia Grzymalski, Individually, as Parent   Patricia Grzymalski as the Personal Representative of                                                                                 WD
                                                       JR; P3708                   of Matthew James Grzymalski, Deceased;         the Estate of Matthew James Grzymalski, Deceased;

 878 Matthew Martin Picerno    Petrina M. Picerno      DKT 432; 1:02-cv-01616-     Petrina M. Picerno, Individually, as Spouse    Petrina M. Picerno as the Representative of the Estate Petrina M. Picerno as            Anthony Joseph Picerno, Individually as    WD
                                                       JR; P4926                   of Matthew Martin Picerno, Deceased;           of Matthew Martin Picerno, Deceased;                   Parent/Guardian of Anthony       Child of Matthew Martin Picerno, Deceased,
                                                                                                                                                                                         Joseph Picerno                   and previously included as minor child of
                                                                                                                                                                                                                          Petrina M. Picerno;
 879 Matthew Martin Picerno    Petrina M. Picerno      DKT 432; 1:02-cv-01616-     Petrina M. Picerno, Individually, as Spouse    Petrina M. Picerno as the Representative of the Estate Petrina M. Picerno as            Francesca Marie Picerno, Individually as   WD
                                                       JR; P4926                   of Matthew Martin Picerno, Deceased;           of Matthew Martin Picerno, Deceased;                   Parent/Guardian of Francesca     Child of Matthew Martin Picerno, Deceased,
                                                                                                                                                                                         Marie Picerno                    and previously included as minor child of
                                                                                                                                                                                                                          Petrina M. Picerno;
 880 Matthew Martin Picerno    Petrina M. Picerno      DKT 432; 1:02-cv-01616-     Petrina M. Picerno, Individually, as Spouse    Petrina M. Picerno as the Representative of the Estate Petrina M. Picerno as            Matthew Michael Picerno, Individually as   WD
                                                       JR; P4926                   of Matthew Martin Picerno, Deceased;           of Matthew Martin Picerno, Deceased;                   Parent/Guardian of Matthew       Child of Matthew Martin Picerno, Deceased,
                                                                                                                                                                                         Michael Picerno                  and previously included as minor child of
                                                                                                                                                                                                                          Petrina M. Picerno;


                                                                                                                                   54
                                                               Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 55 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                   Plaintiff's Name                                                                                      Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                         Plaintiff's Individual Capacity             Caption identifying the estate representative of      or Guardian of Previously
                                                                Complaint                                                                                                                                                              plaintiff in their own right
                                      complaint                                                                                                           9/11 Decedent                                Minor Child


 881 Maurice V. Barry            Marianne Joan Barry      DKT 155; 1:02-cv-01616-     Marianne Joan Barry, Individually, as            Marianne Joan Barry as the Personal Representative                                                                                       WD
                                                          JR; P2821                   Spouse of Maurice V. Barry, Deceased;            of the Estate of Maurice V. Barry, Deceased;

 882 Maurita Tam                 Jin Ark Tam              DKT 26, 29; 1:02-cv-        Jin Ark Tam, Individually, as Parent of          Jin Ark Tam as the Personal Representative of the                                                                                        WD
                                                          01616-JR; 2386              Maurita Tam, Deceased;                           Estate of Maurita Tam, Deceased;
 883 Melanie Louise De Vere      David de Vere            DKT 232; 1:02-cv-01616-     David de Vere, Individually, as Parent of        David de Vere as the Co-Personal Representative of                                                                                       WD
                                                          JR; P3674                   Melanie Louise De Vere, Deceased;                the Estate of Melanie Louise De Vere, Deceased;

 884 Melanie Louise De Vere      Margaret H. Owen         DKT 232; 1:02-cv-01616-     Margaret H. Owen, Individually, as Parent of Margaret H. Owen as the Co-Personal Representative                                                                                           WD
                                                          JR; P3675                   Melanie Louise De Vere, Deceased;            of the Estate of Melanie Louise De Vere, Deceased;

 885 Melissa Rose Barnes         Alan M. Mennie           DKT 77; 1:02-cv-01616-      Alan M. Mennie, Individually, as Parent of       Alan M. Mennie as the Personal Representative of the                                                                                     WD
                                                          JR; P2666                   Melissa Rose Barnes, Deceased;                   Estate of Melissa Rose Barnes, Deceased;
 886 Melissa Vincent             David Relf Vincent       DKT 602; 1:03-md-01570-     David Relf Vincent, Individually, as Parent of   David Relf Vincent as the Personal Representative of                                                                                     WD
                                                          GBD-SN; P5509               Melissa Vincent, Deceased;                       the Estate of Melissa Vincent, Deceased;

 887 Meredith Emily June Ewart   Jennifer Rene Ewart      DKT 305; 1:02-cv-01616-     Jennifer Rene Ewart, Individually, as Sibling Jennifer Rene Ewart as the Personal Representative                                                                                          WD
                                                          JR; P4251                   of Meredith Emily June Ewart, Deceased;       of the Estate of Meredith Emily June Ewart, Deceased;

 888 Michael A. Davidson         Ellen R. Davidson        DKT 305; 1:02-cv-01616-     Ellen R. Davidson, Individually, as Parent of Ellen R. Davidson as the Personal Representative of                                                                                         WD
                                                          JR; P4214                   Michael A. Davidson, Deceased;                the Estate of Michael A. Davidson, Deceased;

 889 Michael A. Trinidad         Monique Padilla-Ferrer   DKT 155; 1:02-cv-01616-                                                      Monique Padilla-Ferrer as the Personal                 Monique Padilla-Ferrer as         Thea Megan Trinidad, Individually as Child  WD
                                                          JR; P3136                                                                    Representative of the Estate of Michael A. Trinidad,   Parent/Guardian of Thea Megan     of Michael A. Trinidad, Deceased, and
                                                                                                                                       Deceased;                                              Trinidad                          previously included as minor child of
                                                                                                                                                                                                                                Monique Padilla-Ferrer;
 890 Michael A. Trinidad         Monique Padilla-Ferrer   DKT 155; 1:02-cv-01616-                                                      Monique Padilla-Ferrer as the Personal                 Monique Padilla-Ferrer as         Timothy Michael Trinidad, Individually as   WD
                                                          JR; P3136                                                                    Representative of the Estate of Michael A. Trinidad,   Parent/Guardian of Timothy        Child of Michael A. Trinidad, Deceased, and
                                                                                                                                       Deceased;                                              Michael Trinidad                  previously included as minor child of
                                                                                                                                                                                                                                Monique Padilla-Ferrer;
 891 Michael A. Uliano           Linda Buffa Uliano       DKT 305; 1:02-cv-01616-     Linda Buffa Uliano, Individually, as Spouse      Linda Buffa Uliano as the Personal Representative of                                                                                 WD
                                                          JR; P4557                   of Michael A. Uliano, Deceased;                  the Estate of Michael A. Uliano, Deceased;
 892 Michael Asciak              Elaine V. Asciak         DKT 26, 29; 1:02-CV-        Elaine V. Asciak, Individually, as Spouse of                                                            Elaine V. Asciak as               Loren Asciak, Individually as Child of          WD
                                                          01616-JR; 2585              Michael Asciak, Deceased;                                                                               Parent/Guardian of Loren Asciak   Michael Asciak, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of Elaine V. Asciak;

 893 Michael B. Packer           Rekha D. Packer          DKT 232; 1:02-cv-01616-     Rekha D. Packer, Individually, as Spouse of Rekha D. Packer as the Representative of the Estate         Rekha D. Packer as                Sarita Emily Packer, Individually as Child of   WD
                                                          JR; P3879                   Michael B. Packer, Deceased;                of Michael B. Packer, Deceased;                             Parent/Guardian of Sarita Emily   Michael B. Packer, Deceased, and
                                                                                                                                                                                              Packer                            previously included as minor child of Rekha
                                                                                                                                                                                                                                D. Packer;
 894 Michael C. Howell           Emily Howell             DKT 26, 29; 1:02-cv-        Emily Howell, Individually, as Spouse of         Emily Howell as the Personal Representative of the                                                                                       WD
                                                          01616-JR; 3469              Michael C. Howell, Deceased;                     Estate of Michael C. Howell, Deceased;
 895 Michael Cahill              Colleen Casey Cahill     DKT432; 1:03-md-01570-      Colleen Casey Cahill, Individually, as           Colleen Casey Cahill as the Personal Representative    Colleen Casey Cahill as           Fiona Cahill, Individually as Child of Michael WD
                                                          GBD-SN; P5327               Spouse of Michael Cahill, Deceased;              of the Estate of Michael Cahill, Deceased;             Parent/Guardian of Fiona Cahill   Cahill, Deceased, and previously included
                                                                                                                                                                                                                                as minor child of Colleen Casey Cahill;

 896 Michael Cahill              Colleen Casey Cahill     DKT432; 1:03-md-01570-      Colleen Casey Cahill, Individually, as           Colleen Casey Cahill as the Personal Representative    Colleen Casey Cahill as           Conor Cahill, Individually as Child of Michael WD
                                                          GBD-SN; P5327               Spouse of Michael Cahill, Deceased;              of the Estate of Michael Cahill, Deceased;             Parent/Guardian of Conor Cahill   Cahill, Deceased, and previously included
                                                                                                                                                                                                                                as minor child of Colleen Casey Cahill;

 897 Michael D. Diehl            Loisanne Diehl           DKT 26, 29; 1:02-cv-        Loisanne Diehl, Individually, as Spouse of                                                              Loisanne Diehl as                 Loisanne Diehl, on behalf of J.D., Child of     WD
                                                          01616-JR; 3017              Michael D. Diehl, Deceased;                                                                             Parent/Guardian of J.D.           Michael D. Diehl, Deceased;
 898 Michael E. Beekman, Sr.     Theodora Beekman         DKT 232; 1:02-cv-01616-     Theodora Beekman, Individually, as Spouse Theodora Beekman as the Personal Representative of            Theodora Beekman as               Theresa N. Beekman, Individually as Child       WD
                                                          JR; P3593                   of Michael E. Beekman, Sr., Deceased;      the Estate of Michael E. Beekman, Sr., Deceased;             Parent/Guardian of Theresa N.     of Michael E. Beekman, Deceased, and
                                                                                                                                                                                              Beekman                           previously included as minor child of
                                                                                                                                                                                                                                Theodora Beekman;
                                                                                                                                        55
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 56 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
Number
                                 Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name     Currently named in                                      Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                           Complaint                                                                                                                                                            plaintiff in their own right
                                    complaint                                                                                                       9/11 Decedent                                 Minor Child


 899 Michael E. Beekman, Sr.   Theodora Beekman      DKT 232; 1:02-cv-01616-     Theodora Beekman, Individually, as Spouse Theodora Beekman as the Personal Representative of Theodora Beekman as                        Michael E. Beekman, Individually as Child of WD
                                                     JR; P3593                   of Michael E. Beekman, Sr., Deceased;     the Estate of Michael E. Beekman, Sr., Deceased;   Parent/Guardian of Michael                 Michael E. Beekman, Deceased, and
                                                                                                                                                                              Beekman, Jr.                               previously included as minor child of
                                                                                                                                                                                                                         Theodora Beekman;
 900 Michael E. McHugh, Jr.    Maria Amalia Sayegh   DKT 155; 1:02-cv-01616-     Maria Amalia Sayegh, Individually, as           Maria Amalia Sayegh as the Personal Representative      Maria Amalia Sayegh as          Connor Joseph McHugh, Individually as        WD
                                                     JR; P3029                   Spouse of Michael E. McHugh, Jr.,               of the Estate of Michael E. McHugh, Jr., Deceased;      Parent/Guardian of Connor       Child of Michael E. McHugh, Deceased, and
                                                                                 Deceased;                                                                                               Joseph McHugh                   previously included as minor child of Maria
                                                                                                                                                                                                                         Amalia Sayegh;
 901 Michael E. McHugh, Jr.    Maria Amalia Sayegh   DKT 155; 1:02-cv-01616-     Maria Amalia Sayegh, Individually, as           Maria Amalia Sayegh as the Personal Representative      Maria Amalia Sayegh as          Michael Edward McHugh, Individually as       WD
                                                     JR; P3029                   Spouse of Michael E. McHugh, Jr.,               of the Estate of Michael E. McHugh, Jr., Deceased;      Parent/Guardian of Michael      Child of Michael E. McHugh, Deceased, and
                                                                                 Deceased;                                                                                               Edward McHugh, III              previously included as minor child of Maria
                                                                                                                                                                                                                         Amalia Sayegh;
 902 Michael E. McHugh, Jr.    Maria Amalia Sayegh   DKT 155; 1:02-cv-01616-     Maria Amalia Sayegh, Individually, as           Maria Amalia Sayegh as the Personal Representative      Maria Amalia Sayegh as          Christian Salvatore McHugh, Individually as WD
                                                     JR; P3029                   Spouse of Michael E. McHugh, Jr.,               of the Estate of Michael E. McHugh, Jr., Deceased;      Parent/Guardian of Christian    Child of Michael E. McHugh, Deceased, and
                                                                                 Deceased;                                                                                               Salvatore McHugh                previously included as minor child of Maria
                                                                                                                                                                                                                         Amalia Sayegh;
 903 Michael Edward Asher      Dana Jill Asher       DKT 305; 1:02-cv-01616-     Dana Jill Asher, Individually, as Spouse of     Dana Jill Asher as the Personal Representative of the   Dana Jill Asher as              Rachel Marin Asher, Individually as Child of WD
                                                     JR; P4117                   Michael Edward Asher, Deceased;                 Estate of Michael Edward Asher, Deceased;               Parent/Guardian of Rachel Marin Michael Edward Asher, Deceased, and
                                                                                                                                                                                         Asher                           previously included as minor child of Dana
                                                                                                                                                                                                                         Jill Asher;
 904 Michael Edward Gould      Kathryn Gould         DKT 155; 1:02-cv-01616-     Kathryn Gould Anderson, Individually, as    Kathryn Gould Anderson as the Personal                                                                                                   WD
                               Anderson              JR; P2915                   Parent of Michael Edward Gould, Deceased; Representative of the Estate of Michael Edward Gould,
                                                                                                                             Deceased;
 905 Michael Egan              Anna Maria Egan       DKT 155; 1:02-cv-01616-     Anna Maria Egan, Individually, as Spouse of Anna Maria Egan as the Personal Representative of   Anna Maria Egan as                      Anna Maria Egan as Legal Guardian of            WD
                                                     JR; P2887                   Michael Egan, Deceased;                     the Estate of Michael Egan, Deceased;               Parent/Guardian of Matthew B.           Matthew B. Egan, Child of Michael Egan,
                                                                                                                                                                                 Egan                                    Deceased;
 906 Michael Emmett Brennan    Eileen Walsh          DKT 77; 1:02-cv-01616-      Eileen Walsh, Individually, as Parent of    Eileen Walsh as the Co-Personal Representative of                                                                                           WD
                                                     JR; P2742                   Michael Emmett Brennan, Deceased;           the Estate of Michael Emmett Brennan, Deceased;

 907 Michael Emmett Brennan    Michael F. Brennan    DKT 77; 1:02-cv-01616-      Michael F. Brennan, Individually, as Parent     Michael F. Brennan as the Co-Personal                                                                                                   WD
                                                     JR; P2547                   of Michael Emmett Brennan, Deceased;            Representative of the Estate of Michael Emmett
                                                                                                                                 Brennan, Deceased;
 908 Michael F. Stabile        Roseanna Stabile      DKT 1; 1:02-cv-01616-JR;    Roseanna Stabile, Individually, as Spouse       Roseanna Stabile as the Representative of the Estate                                                                                    WD
                                                     596                         of Michael F. Stabile, Deceased;                of Michael F. Stabile, Deceased;
 909 Michael Francis Lynch     Denise Lynch          DKT 305; 1:02-cv-01616-     Denise Lynch, Individually, as Spouse of        Denise Lynch as the Personal Representative of the      Denise Lynch as                 John Ryan Lynch, Individually as Child of       WD
                                                     JR; P4392                   Michael Francis Lynch, Deceased;                Estate of Michael Francis Lynch, Deceased;              Parent/Guardian of John Ryan    Michael Francis Lynch, Deceased, and
                                                                                                                                                                                         Lynch                           previously included as minor child of Denise
                                                                                                                                                                                                                         Lynch;
 910 Michael Francis Lynch     Denise Lynch          DKT 305; 1:02-cv-01616-     Denise Lynch, Individually, as Spouse of        Denise Lynch as the Personal Representative of the      Denise Lynch as                 Michael F. Lynch, Individually as Child of      WD
                                                     JR; P4392                   Michael Francis Lynch, Deceased;                Estate of Michael Francis Lynch, Deceased;              Parent/Guardian of Michael      Michael Francis Lynch, Deceased, and
                                                                                                                                                                                         Lynch, Jr.                      previously included as minor child of Denise
                                                                                                                                                                                                                         Lynch;
 911 Michael G. Arczynski      Lori A. Arczynski     DKT 26, 29; 1:02-CV-        Lori A. Arczynski, Individually, as Spouse of                                                           Lori A. Arczynski as            Emma N. Arczynski, Individually as Child of     WD
                                                     01616-JR; 2580              Michael G. Arczynski, Deceased;                                                                         Parent/Guardian of Emma N.      Michael G. Arczynski, Deceased, and
                                                                                                                                                                                         Arczynski                       previously included as minor child of Lori A.
                                                                                                                                                                                                                         Arczynski;
 912 Michael G. Arczynski      Lori A. Arczynski     DKT 26, 29; 1:02-CV-        Lori A. Arczynski, Individually, as Spouse of                                                           Lori A. Arczynski as            Sydney Elizabeth Arczynski, Individually as     WD
                                                     01616-JR; 2580              Michael G. Arczynski, Deceased;                                                                         Parent/Guardian of Sydney       Child of Michael G. Arczynski, Deceased,
                                                                                                                                                                                         Elizabeth Arczynski             and previously included as minor child of
                                                                                                                                                                                                                         Lori A. Arczynski;

 913 Michael G. Arczynski      Lori A. Arczynski     DKT 26, 29; 1:02-CV-        Lori A. Arczynski, Individually, as Spouse of                                                           Lori A. Arczynski as            Maximilion Peter Arczynski, Individually as     WD
                                                     01616-JR; 2580              Michael G. Arczynski, Deceased;                                                                         Parent/Guardian of Maximilion   Child of Michael G. Arczynski, Deceased,
                                                                                                                                                                                         Peter Arczynski                 and previously included as minor child of
                                                                                                                                                                                                                         Lori A. Arczynski;


                                                                                                                                  56
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 57 of 88




                                                                                                                                                                                                                                                                       Nature of Claim
Number
                                Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity          Caption identifying the estate representative of      or Guardian of Previously
                                                           Complaint                                                                                                                                                           plaintiff in their own right
                                   complaint                                                                                                      9/11 Decedent                                Minor Child


 914 Michael G. Arczynski     Lori A. Arczynski      DKT 26, 29; 1:02-CV-        Lori A. Arczynski, Individually, as Spouse of                                                       Lori A. Arczynski as             Michael Steel Arczynski, Individually as         WD
                                                     01616-JR; 2580              Michael G. Arczynski, Deceased;                                                                     Parent/Guardian of Michael Steel Child of Michael G. Arczynski, Deceased,
                                                                                                                                                                                     Arczynski                        and previously included as minor child of
                                                                                                                                                                                                                      Lori A. Arczynski;
 915 Michael G. Montesi       Nancy Eileen Montesi   DKT 26, 29; 1:02-cv-        Nancy Eileen Montesi, Individually, as                                                              Nancy Eileen Montesi as          Ian Montesi, Individually as Child of Michael    WD
                                                     01616-JR; 3945              Spouse of Michael G. Montesi, Deceased;                                                             Parent/Guardian of Ian Montesi   G. Montesi, Deceased, and previously
                                                                                                                                                                                                                      included as minor child of Nancy Eileen
                                                                                                                                                                                                                      Montesi;
 916 Michael G. Montesi       Nancy Eileen Montesi   DKT 26, 29; 1:02-cv-        Nancy Eileen Montesi, Individually, as                                                              Nancy Eileen Montesi as          Matthew J. Montesi, Individually as Child of     WD
                                                     01616-JR; 3945              Spouse of Michael G. Montesi, Deceased;                                                             Parent/Guardian of Matthew J.    Michael G. Montesi, Deceased, and
                                                                                                                                                                                     Montesi                          previously included as minor child of Nancy
                                                                                                                                                                                                                      Eileen Montesi;
 917 Michael G. Montesi       Nancy Eileen Montesi   DKT 26, 29; 1:02-cv-        Nancy Eileen Montesi, Individually, as                                                              Nancy Eileen Montesi as          Ryan Montesi, Individually as Child of           WD
                                                     01616-JR; 3945              Spouse of Michael G. Montesi, Deceased;                                                             Parent/Guardian of Ryan Montesi Michael G. Montesi, Deceased, and
                                                                                                                                                                                                                      previously included as minor child of Nancy
                                                                                                                                                                                                                      Eileen Montesi;
 918 Michael Gogliormella     Daniela Gogliormella   DKT 432; 1:02-cv-01616-     Daniela Gogliormella, Individually, as    Daniela Gogliormella as the Personal Representative       Daniela Gogliormella as          Gillian Gogliormella, Individually as Child of   WD
                                                     JR; P4848                   Spouse of Michael Gogliormella, Deceased; of the Estate of Michael Gogliormella, Deceased;          Parent/Guardian of Gillian       Michael Gogliormella, Deceased, and
                                                                                                                                                                                     Gogliormella                     previously included as minor child of
                                                                                                                                                                                                                      Daniela Gogliormella;
 919 Michael Grady Jacobs     Michael John Brady     DKT 155; 1:02-cv-01616-     Michael John Brady, Individually, as Child of Michael John Brady as the Co-Personal                                                                                                   WD
                                                     JR; P2956                   Michael Grady Jacobs, Deceased;                Representative of the Estate of Michael Grady Jacobs,
                                                                                                                                Deceased;
 920 Michael Grady Jacobs     Peter Brady            DKT 155; 1:02-cv-01616-     Peter Brady, Individually, as Child of Michael Peter Brady as the Co-Personal Representative of the                                                                                   WD
                                                     JR; P2957                   Grady Jacobs, Deceased;                        Estate of Michael Grady Jacobs, Deceased;
 921 Michael Helmut Haub      Erika Ann Haub         DKT HAND FILED (3-10-       Erika Ann Haub, Individually, as Spouse of Erika Ann Haub as the Personal Representative of the Erika Ann Haub as               Kiersten E. Haub, Individually as Child of            WD
                                                     2004); 1:03-cv-9849         Michael Helmut Haub, Deceased;                 Estate of Michael Helmut Haub, Deceased;              Parent/Guardian of Kiersten E.
                                                                                                                                                                                                                 Michael Helmut Haub, Deceased, and
                                                     (RCC); P5084                                                                                                                     Haub                       previously included as minor child of Erika
                                                                                                                                                                                                                 Ann Haub;
 922 Michael Helmut Haub      Erika Ann Haub         DKT HAND FILED (3-10-       Erika Ann Haub, Individually, as Spouse of Erika Ann Haub as the Personal Representative of the Erika Ann Haub as               Michael Andreas Haub, Individually as Child           WD
                                                     2004); 1:03-cv-9849         Michael Helmut Haub, Deceased;              Estate of Michael Helmut Haub, Deceased;            Parent/Guardian of Michael      of Michael Helmut Haub, Deceased, and
                                                     (RCC); P5084                                                                                                                Andreas Haub                    previously included as minor child of Erika
                                                                                                                                                                                                                 Ann Haub;
 923 Michael J. McCabe        Lynn C. McCabe         DKT 232; 1:02-cv-01616-     Lynn C. McCabe, Individually, as Spouse of Lynn C. McCabe as the Personal Representative of     Lynn C. McCabe as               Cassidy McCabe, Individually as Child of              WD
                                                     JR; P3824                   Michael J. McCabe, Deceased;                the Estate of Michael J. McCabe, Deceased;          Parent/Guardian of Cassidy      Michael J. McCabe, Deceased, and
                                                                                                                                                                                 McCabe                          previously included as minor child of Lynn
                                                                                                                                                                                                                 C. McCabe;
 924 Michael J. McCabe        Lynn C. McCabe         DKT 232; 1:02-cv-01616-     Lynn C. McCabe, Individually, as Spouse of Lynn C. McCabe as the Personal Representative of     Lynn C. McCabe as               Liam Patrick McCabe, Individually as Child            WD
                                                     JR; P3824                   Michael J. McCabe, Deceased;                the Estate of Michael J. McCabe, Deceased;          Parent/Guardian of Liam Patrick of Michael J. McCabe, Deceased, and
                                                                                                                                                                                 McCabe                          previously included as minor child of Lynn
                                                                                                                                                                                                                 C. McCabe;
 925 Michael J. McCabe        Lynn C. McCabe         DKT 232; 1:02-cv-01616-     Lynn C. McCabe, Individually, as Spouse of Lynn C. McCabe as the Personal Representative of     Lynn C. McCabe as               Regan Grace McCabe, Individually as Child             WD
                                                     JR; P3824                   Michael J. McCabe, Deceased;                the Estate of Michael J. McCabe, Deceased;          Parent/Guardian of Regan Grace of Michael J. McCabe, Deceased, and
                                                                                                                                                                                 McCabe                          previously included as minor child of Lynn
                                                                                                                                                                                                                 C. McCabe;
 926 Michael J. Otten         Marion Susan Otten     DKT 232; 1:02-cv-01616-     Marion Susan Otten, Individually, as Spouse Marion Susan Otten as the Representative of the     Marion Susan Otten as           Christopher Michael Otten, Individually as            WD
                                                     JR; P3873                   of Michael J. Otten, Deceased;              Estate of Michael J. Otten, Deceased;               Parent/Guardian of Christopher  Child of Michael J. Otten, Deceased, and
                                                                                                                                                                                 Michael Otten                   previously included as minor child of Marion
                                                                                                                                                                                                                 Susan Otten;
 927 Michael J. Otten         Marion Susan Otten     DKT 232; 1:02-cv-01616-     Marion Susan Otten, Individually, as Spouse Marion Susan Otten as the Representative of the     Marion Susan Otten as           Jason Robert Otten, Individually as Child of          WD
                                                     JR; P3873                   of Michael J. Otten, Deceased;              Estate of Michael J. Otten, Deceased;               Parent/Guardian of Jason Robert Michael J. Otten, Deceased, and previously
                                                                                                                                                                                 Otten                           included as minor child of Marion Susan
                                                                                                                                                                                                                 Otten;




                                                                                                                                 57
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 58 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
Number
                                  Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                             Complaint                                                                                                                                                            plaintiff in their own right
                                     complaint                                                                                                       9/11 Decedent                                  Minor Child


 928 Michael J. Otten           Marion Susan Otten     DKT 232; 1:02-cv-01616-     Marion Susan Otten, Individually, as Spouse Marion Susan Otten as the Representative of the             Marion Susan Otten as       Jonathan Daniel Otten, Individually as Child WD
                                                       JR; P3873                   of Michael J. Otten, Deceased;              Estate of Michael J. Otten, Deceased;                       Parent/Guardian of Jonathan of Michael J. Otten, Deceased, and
                                                                                                                                                                                           Daniel Otten                previously included as minor child of Marion
                                                                                                                                                                                                                       Susan Otten;
 929 Michael James Stewart      Diana Stewart          DKT 26, 29; 1:02-cv-                                                                                                             Diana Stewart as               Eamon Pedro Dominicci Stewart,               WD
                                                       01616-JR; 1735                                                                                                                   Parent/Guardian of Eamon Pedro Individually as Child of Michael James
                                                                                                                                                                                        Dominicci Stewart              Stewart, Deceased, and previously included
                                                                                                                                                                                                                       as minor child of Diana Stewart;
 930 Michael James Stewart      Diana Stewart          DKT 26, 29; 1:02-cv-                                                                                                             Diana Stewart as               Francisco Patrick Dominicci Stewart,         WD
                                                       01616-JR; 1735                                                                                                                   Parent/Guardian of Francisco   Individually as Child of Michael James
                                                                                                                                                                                        Patrick Dominicci Stewart      Stewart, Deceased, and previously included
                                                                                                                                                                                                                       as minor child of Diana Stewart;
 931 Michael John Clarke        John Francis Clarke    DKT 26, 29; 1:02-cv-        John Francis Clarke, Individually, as Parent   John Francis Clarke as the Personal Representative of                                                                             WD
                                                       01616-JR; 2865              of Michael John Clarke, Deceased;              the Estate of Michael John Clarke, Deceased;

 932 Michael John Pescherine    Lynn Pescherine        DKT 602; 1:03-md-01570- Lynn Pescherine, Individually, as Spouse of        Lynn Pescherine as the Representative of the Estate                                                                                    WD
                                                       GBD-SN; P5497           Michael John Pescherine, Deceased;                 of Michael John Pescherine, Deceased;

 933 Michael John Simon         Eileen Heather Simon   DKT 26, 29; 1:02-cv-        Eileen Heather Simon, Individually, as                                                                  Eileen Heather Simon as         Eileen Heather Simon, on behalf of B.R.S.,    WD
                                                       01616-JR; 2366              Spouse of Michael John Simon, Deceased;                                                                 Parent/Guardian of B.R.S.       Child of Michael John Simon, Deceased;

 934 Michael John Simon         Eileen Heather Simon   DKT 26, 29; 1:02-cv-        Eileen Heather Simon, Individually, as                                                                  Eileen Heather Simon as         Eileen Heather Simon, on behalf of M.J.S.,    WD
                                                       01616-JR; 2366              Spouse of Michael John Simon, Deceased;                                                                 Parent/Guardian of M.J.S.       Child of Michael John Simon, Deceased;

 935 Michael John Simon         Eileen Heather Simon   DKT 26, 29; 1:02-cv-        Eileen Heather Simon, Individually, as                                                                  Eileen Heather Simon as         Eileen Heather Simon, on behalf of T.I.S.,    WD
                                                       01616-JR; 2366              Spouse of Michael John Simon, Deceased;                                                                 Parent/Guardian of T.I.S.       Child of Michael John Simon, Deceased;

 936 Michael Joseph Armstrong   Mary Ellen Armstrong   DKT 313; 1:02-cv-01616-   Mary Ellen Armstrong, Individually, as           Mary Ellen Armstrong as the Personal Representative                                                                                    WD
                                                       JR; P4592                 Parent of Michael Joseph Armstrong,              of the Estate of Michael Joseph Armstrong, Deceased;
                                                                                 Deceased;
 937 Michael Joseph Cawley      John J. Cawley         DKT 26, 29; 1:02-cv-      John J. Cawley, Individually, as Parent of       John J. Cawley as the Personal Representative of the                                                                                   WD
                                                       01616-JR; 2823            Michael Joseph Cawley, Deceased;                 Estate of Michael Joseph Cawley, Deceased;
 938 Michael Joseph Horn        Charles H. Horn        DKT 232; 1:02-cv-01616-JR;Charles
                                                                                  P3728 H. Horn, Individually, as Parent of       Charles H. Hornas the Representative of the Estate of                                                                                  WD
                                                                                 Michael Joseph Horn, Deceased;                   Michael Joseph Horn, Deceased;
 939 Michael Jude D'Esposito    Grace Elizabeth        DKT 1; 1:02-cv-01616-JR; Grace Elizabeth Lieberman, Individually, as       Grace Elizabeth Lieberman as the Personal                Grace Elizabeth Lieberman as    Ashley May D'Esposito, Individually as Child WD
                                Lieberman              151                       Spouse of Michael Jude D'Esposito,               Representative of the Estate of Michael Jude             Parent/Guardian of Ashley May   of Michael Jude D'Esposito, Deceased, and
                                                                                 Deceased;                                        D'Esposito, Deceased;                                    D'Esposito                      previously included as minor child of Grace
                                                                                                                                                                                                                           Elizabeth Lieberman;

 940 Michael L. Collins         Lissa L. Collins       DKT 305; 1:02-cv-01616-     Lissa L. Collins, Individually, as Spouse of   Lissa L. Collins as the Personal Representative of the                                                                                 WD
                                                       JR; P4195                   Michael L. Collins, Deceased;                  Estate of Michael L. Collins, Deceased;
 941 Michael M. Taylor          Mary Kaye Crenshaw     DKT 232; 1:02-cv-01616-     Mary Kaye Crenshaw, Individually, as           Mary Kaye Crenshaw as the Personal Representative                                                                                      WD
                                                       JR; P4091                   Sibling of Michael M. Taylor, Deceased;        of the Estate of Michael M. Taylor, Deceased;

 942 Michael Massaroli          Diane Massaroli        DKT 1; 1:02-cv-01616-JR; Diane Massaroli, Individually, as Spouse of                                                                Diane Massaroli as              Angelina Nicole Massaroli, Individually as    WD
                                                       369                      Michael Massaroli, Deceased;                                                                               Parent/Guardian of Angelina     Child of Michael Massaroli, Deceased, and
                                                                                                                                                                                           Nicole Massaroli                previously included as minor child of Diane
                                                                                                                                                                                                                           Massaroli;
 943 Michael Massaroli          Diane Massaroli        DKT 1; 1:02-cv-01616-JR; Diane Massaroli, Individually, as Spouse of                                                                Diane Massaroli as              Michael Cesare Massaroli, Individually as     WD
                                                       369                      Michael Massaroli, Deceased;                                                                               Parent/Guardian of Michael      Child of Michael Massaroli, Deceased, and
                                                                                                                                                                                           Cesare Massaroli                previously included as minor child of Diane
                                                                                                                                                                                                                           Massaroli;
 944 Michael Matthew Miller     Betty Ann Miller       DKT 232; 1:02-cv-01616-     Betty Ann Miller, Individually, as Parent of   Betty Ann Miller as the Co-Personal Representative of                                                                                  WD
                                                       JR; P3847                   Michael Matthew Miller, Deceased;              the Estate of Michael Matthew Miller, Deceased;



                                                                                                                                   58
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 59 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
Number
                                   Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
         9/11 Decedent Name       Currently named in                                        Plaintiff's Individual Capacity          Caption identifying the estate representative of       or Guardian of Previously
                                                               Complaint                                                                                                                                                           plaintiff in their own right
                                      complaint                                                                                                       9/11 Decedent                                 Minor Child


 945 Michael Matthew Miller      James H. Miller         DKT 232; 1:02-cv-01616-     James H. Miller, Individually, as Parent of   James H. Miller as the Co-Personal Representative of                                                                                    WD
                                                         JR; P3848                   Michael Matthew Miller, Deceased;             the Estate of Michael Matthew Miller, Deceased;

 946 Michael N. Fodor            Deborah A. Fodor        DKT 26, 29; 1:02-cv-        Deborah A. Fodor, Individually, as Spouse                                                            Deborah A. Fodor as              Ashley Elizabeth Fodor, Individually as Child   WD
                                                         01616-JR; 3184              of Michael N. Fodor, Deceased;                                                                       Parent/Guardian of Ashley        of Michael N. Fodor, Deceased, and
                                                                                                                                                                                          Elizabeth Fodor                  previously included as minor child of
                                                                                                                                                                                                                           Deborah A. Fodor;
 947 Michael P. O'Brien          Rachel O'Brien          DKT 3; 1:02-cv-01616-JR; Rachel O'Brien, Individually, as Spouse of                                                              Rachel O'Brien as                Derek Michael O'Brien, Individually as Child    WD
                                                         1497                     Michael P. O'Brien, Deceased;                                                                           Parent/Guardian of Derek         of Michael P. O'Brien, Deceased, and
                                                                                                                                                                                          Michael O'Brien                  previously included as minor child of Rachel
                                                                                                                                                                                                                           O'Brien;
 948 Michael P. O'Brien          Rachel O'Brien          DKT 3; 1:02-cv-01616-JR; Rachel O'Brien, Individually, as Spouse of                                                              Rachel O'Brien as                Kevin Patrick O'Brien, Individually as Child    WD
                                                         1497                     Michael P. O'Brien, Deceased;                                                                           Parent/Guardian of Kevin Patrick of Michael P. O'Brien, Deceased, and
                                                                                                                                                                                          O'Brien                          previously included as minor child of Rachel
                                                                                                                                                                                                                           O'Brien;
 949 Michael P. O'Brien          Rachel O'Brien          DKT 3; 1:02-cv-01616-JR; Rachel O'Brien, Individually, as Spouse of                                                              Rachel O'Brien as                Sarah O'Brien Van Oudenaren, Individually       WD
                                                         1497                     Michael P. O'Brien, Deceased;                                                                           Parent/Guardian of Sarah         as Child of Michael P. O'Brien, Deceased,
                                                                                                                                                                                          O'Brien Van Oudenaren            and previously included as minor child of
                                                                                                                                                                                                                           Rachel O'Brien;

 950 Michael Patrick McDonnell   Cheryl Ann McDonnell    DKT 26, 29; 1:02-cv-        Cheryl Ann McDonnell, Individually, as                                                               Cheryl Ann McDonnell as          Kevin Michael McDonnell, Individually as   WD
                                                         01616-JR; 3818              Spouse of Michael Patrick McDonnell,                                                                 Parent/Guardian of Kevin         Child of Michael Patrick McDonnell,
                                                                                     Deceased;                                                                                            Michael McDonnell                Deceased, and previously included as minor
                                                                                                                                                                                                                           child of Cheryl Ann McDonnell;
 951 Michael Patrick McDonnell   Cheryl Ann McDonnell    DKT 26, 29; 1:02-cv-        Cheryl Ann McDonnell, Individually, as                                                               Cheryl Ann McDonnell as          Brian Michael McDonnell, Individually as   WD
                                                         01616-JR; 3818              Spouse of Michael Patrick McDonnell,                                                                 Parent/Guardian of Brian Michael Child of Michael Patrick McDonnell,
                                                                                     Deceased;                                                                                            McDonnell                        Deceased, and previously included as minor
                                                                                                                                                                                                                           child of Cheryl Ann McDonnell;
 952 Michael R. Canty            Edward James Canty      DKT 155; 1:02-cv-01616-     Edward James Canty, Individually, as          Edward James Canty as the Representative of the                                                                                    WD
                                                         JR; P2837                   Parent of Michael R. Canty, Deceased;         Estate of Michael R. Canty, Deceased;
 953 Michael Robert Horrocks     Miriam Horrocks         DKT 313; 1:02-cv-01616-     Miriam Horrocks, Individually, as Spouse of   Miriam Horrocks as the Personal Representative of the Miriam Horrocks as               Michael Alan Horrocks, Individually as Child WD
                                                         JR; P4659                   Michael Robert Horrocks, Deceased;            Estate of Michael Robert Horrocks, Deceased;          Parent/Guardian of Michael Alan  of Michael Robert Horrocks, Deceased, and
                                                                                                                                                                                         Horrocks                         previously included as minor child of Miriam
                                                                                                                                                                                                                          Horrocks;
 954 Michael Robert Horrocks     Miriam Horrocks         DKT 313; 1:02-cv-01616-     Miriam Horrocks, Individually, as Spouse of   Miriam Horrocks as the Personal Representative of the Miriam Horrocks as               Christa Leigh Horrocks, Individually as Child WD
                                                         JR; P4659                   Michael Robert Horrocks, Deceased;            Estate of Michael Robert Horrocks, Deceased;          Parent/Guardian of Christa Leigh of Michael Robert Horrocks, Deceased, and
                                                                                                                                                                                         Smith                            previously included as minor child of Miriam
                                                                                                                                                                                                                          Horrocks;
 955 Michael Rourke Andrews      Edward S. Andrews       DKT 232; 1:02-cv-01616-     Edward S. Andrews, Individually, as Parent    Edward S. Andrews as the Personal Representative of                                                                                  WD
                                                         JR; P4042                   of Michael Rourke Andrews, Deceased;          the Estate ofMichael Rourke Andrews, Deceased;

 956 Michael S. Costello         Nancy Eileen Costello   DKT 232; 1:02-cv-01616-     Nancy Eileen Costello, Individually, as       Nancy Eileen Costello as the Personal Representative                                                                                    WD
                                                         JR; P3660                   Parent of Michael S. Costello, Deceased;      of the Estate of Michael S. Costello, Deceased;

 957 Michael T. Wholey           Jennifer Wholey         DKT 155; 1:02-cv-01616-     Jennifer Wholey, Individually, as Spouse of   Jennifer Wholey as the Personal Representative of the Jennifer Wholey as                Erin Elizabeth Wholey, Individually as Child    WD
                                                         JR; P3148                   Michael T. Wholey, Deceased;                  Estate of Michael T. Wholey, Deceased;                Parent/Guardian of Erin Elizabeth of Michael T. Wholey, Deceased, and
                                                                                                                                                                                         Wholey                            previously included as minor child of
                                                                                                                                                                                                                           Jennifer Wholey;
 958 Michael T. Wholey           Jennifer Wholey         DKT 155; 1:02-cv-01616-     Jennifer Wholey, Individually, as Spouse of   Jennifer Wholey as the Personal Representative of the Jennifer Wholey as                Meagan Rose Wholey, Individually as Child       WD
                                                         JR; P3148                   Michael T. Wholey, Deceased;                  Estate of Michael T. Wholey, Deceased;                Parent/Guardian of Meagan         of Michael T. Wholey, Deceased, and
                                                                                                                                                                                         Rose Wholey                       previously included as minor child of
                                                                                                                                                                                                                           Jennifer Wholey;
 959 Michael T. Wholey           Jennifer Wholey         DKT 155; 1:02-cv-01616-     Jennifer Wholey, Individually, as Spouse of   Jennifer Wholey as the Personal Representative of the Jennifer Wholey as                Patrick Thomas Wholey, Individually as          WD
                                                         JR; P3148                   Michael T. Wholey, Deceased;                  Estate of Michael T. Wholey, Deceased;                Parent/Guardian of Patrick        Child of Michael T. Wholey, Deceased, and
                                                                                                                                                                                         Thomas Wholey                     previously included as minor child of
                                                                                                                                                                                                                           Jennifer Wholey;
                                                                                                                                    59
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 60 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                  Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
         9/11 Decedent Name      Currently named in                                         Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                               Complaint                                                                                                                                                               plaintiff in their own right
                                     complaint                                                                                                          9/11 Decedent                                 Minor Child


 960 Michael Vernon Kiefer      Henry Francis Kiefer, Jr. DKT 77; 1:02-cv-01616-     Henry Francis Kiefer, Jr. , Individually, as  Henry Francis Kiefer, Jr. as the Personal                                                                                                    WD
                                                          JR; P2639                  Parent of Michael Vernon Kiefer, Deceased; Representative of the Estate of Michael Vernon Kiefer,
                                                                                                                                   Deceased;
 961 Michael Warchola           Denis Andrew Warchola DKT 232; 1:02-cv-01616-        Denis Andrew Warchola, Individually, as       Denis Andrew Warchola as the Personal                                                                                                        WD
                                                      JR; P4008                      Sibling of Michael Warchola, Deceased;        Representative of the Estate of Michael Warchola,
                                                                                                                                   Deceased;
 962 Michele Bernadette Lanza   Robert A. Lanza, Jr.    DKT 26, 29; 1:02-cv-         Robert A. Lanza, Jr., Individually, as Spouse                                                     Robert A. Lanza, Jr. as                  Nicholas Joshua Lanza, Individually as Child WD
                                                        01616-JR; 2461               of Michele Bernadette Lanza, Deceased;                                                            Parent/Guardian of Nicholas              of Michele Bernadette Lanza, Deceased,
                                                                                                                                                                                       Joshua Lanza                             and previously included as minor child of
                                                                                                                                                                                                                                Robert A. Lanza, Jr.;
 963 Michele M. Heidenberger    Thomas P.               DKT 1; 1:02-cv-01616-JR; Thomas P. Heidenberger, Sr., Individually,                                                                  Thomas P. Heidenberger, Sr. as     Thomas Peter Heidenberger, II, Individually WD
                                Heidenberger, Sr.       712                      as Spouse of Michele M. Heidenberger,                                                                       Parent/Guardian of Thomas          as Child of Michele M. Heidenberger,
                                                                                 Deceased;                                                                                                   Peter Heidenberger, II             Deceased, and previously included as minor
                                                                                                                                                                                                                                child of Thomas P. Heidenberger, Sr. ;

 964 Michell L. Robotham        William H. Robotham, III DKT 313; 1:02-cv-01616-                                                                                                             William H. Robotham, III as        William H. Robotham, III on behalf of           WD
                                                         JR; P4718                                                                                                                           Parent/Guardian of A.R.R.          A.R.R., Child of Michell L. Robotham,
                                                                                                                                                                                                                                Deceased;
 965 Michelle Renee Bratton     William Joseph Bratton, DKT 232; 1:02-cv-01616-      William Joseph Bratton, Jr., Individually, as   William Joseph Bratton, Jr. as the Personal                                                                                                WD
                                Jr.                     JR; P3612                    Parent of Michelle Renee Bratton,               Representative of the Estate of Michelle Renee
                                                                                     Deceased;                                       Bratton, Deceased;
 966 Milagros Hromada           Joseph W. Hromada       DKT 26, 29; 1:02-cv-         Joseph W. Hromada, Individually, as             Joseph W. Hromada as the Personal Representative                                                                                           WD
                                                        01616-JR; 2067               Spouse of Milagros Hromada, Deceased;           of the Estate of Milagros Hromada, Deceased;

 967 Ming-Hao Liu               Jiun-Min H. Liu         DKT 305; 1:02-cv-01616-      Jiun-Min H. Liu, Individually, as Spouse of     Jiun-Min H. Liu as the Personal Representative of the   Jiun-Min H. Liu as                 Allen H. Liu, Individually as Child of Ming- WD
                                                        JR; P4387                    Ming-Hao Liu, Deceased;                         Estate of Ming-Hao Liu, Deceased;                       Parent/Guardian of Allen H. Liu    Hao Liu, Deceased, and previously included
                                                                                                                                                                                                                                as minor child of Jiun-Min H. Liu;

 968 Ming-Hao Liu               Jiun-Min H. Liu         DKT 305; 1:02-cv-01616-      Jiun-Min H. Liu, Individually, as Spouse of     Jiun-Min H. Liu as the Personal Representative of the   Jiun-Min H. Liu as                 Austin H. Liu, Individually as Child of Ming- WD
                                                        JR; P4387                    Ming-Hao Liu, Deceased;                         Estate of Ming-Hao Liu, Deceased;                       Parent/Guardian of Austin H. Liu   Hao Liu, Deceased, and previously included
                                                                                                                                                                                                                                as minor child of Jiun-Min H. Liu;

 969 Mitchel Scott Wallace      Michele Jan Miller      DKT 432; 1:02-cv-01616-      Michele Jan Miller, Individually, as Sibling of Michele Jan Miller as the Personal Representative of                                                                                       WD
                                                        JR; P4972                    Mitchel Scott Wallace, Deceased;                the Estate of Mitchel Scott Wallace, Deceased;

 970 Monica Goldstein           Morris Sonny Goldstein DKT 1; 1:02-cv-01616-JR;      Morris Sonny Goldstein, Individually, as        Morris Sonny Goldstein as the Representative of the                                                                                        WD
                                                       255                           Parent of Monica Goldstein, Deceased;           Estate of Monica Goldstein, Deceased;
 971 Montgomery McCullough      Lisa S. Hord           DKT 26, 29; 1:02-cv-          Lisa S. Hord, Individually, as Spouse of                                                                Lisa S. Hord as Parent/Guardian    Molly Williams Hord, Individually as Child of   WD
     Hord                                              01616-JR; 2059                Montgomery McCullough Hord, Deceased;                                                                   of Molly Williams Hord             Montgomery McCullough Hord, Deceased,
                                                                                                                                                                                                                                and previously included as minor child of
                                                                                                                                                                                                                                Lisa S. Hord;
 972 Montgomery McCullough      Lisa S. Hord            DKT 26, 29; 1:02-cv-         Lisa S. Hord, Individually, as Spouse of                                                                Lisa S. Hord as Parent/Guardian    Sophie McCullough Hord, Individually as         WD
     Hord                                               01616-JR; 2059               Montgomery McCullough Hord, Deceased;                                                                   of Sophie McCullough Hord          Child of Montgomery McCullough Hord,
                                                                                                                                                                                                                                Deceased, and previously included as minor
                                                                                                                                                                                                                                child of Lisa S. Hord;
 973 Montgomery McCullough      Lisa S. Hord            DKT 26, 29; 1:02-cv-         Lisa S. Hord, Individually, as Spouse of                                                                Lisa S. Hord as Parent/Guardian    Jackson Sharp Hord, Individually as Child of    WD
     Hord                                               01616-JR; 2059               Montgomery McCullough Hord, Deceased;                                                                   of Jackson Sharp Hord              Montgomery McCullough Hord, Deceased,
                                                                                                                                                                                                                                and previously included as minor child of
                                                                                                                                                                                                                                Lisa S. Hord;
 974 Myoung Woo Lee             Mi Yong Lee             DKT 432; 1:03-md-01570-      Mi Yong Lee, Individually, as Spouse of         Mi Yong Lee as the Representative of the Estate of      Mi Yong Lee as Parent/Guardian     Mi Yong Lee on behalf of S.H.L., Child of       WD
                                                        GBD-SN; P5392                Myoung Woo Lee, Deceased;                       Myoung Woo Lee, Deceased;                               of S.H.L.                          Myoung Woo Lee, Deceased;
 975 Myra Joy Aronson           Jules Phelan Aronson    DKT 313; 1:02-cv-01616-      Jules Phelan Aronson, Individually, as          Jules Phelan Aronson as the Personal Representative                                                                                        WD
                                                        JR; P4600                    Sibling of Myra Joy Aronson, Deceased;          of the Estate of Myra Joy Aronson, Deceased;




                                                                                                                                      60
                                                                 Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 61 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
Number
                                     Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                            Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
         9/11 Decedent Name         Currently named in                                         Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                                  Complaint                                                                                                                                                             plaintiff in their own right
                                        complaint                                                                                                         9/11 Decedent                                 Minor Child


 976 Nancy Clare Bueche            James T. Bueche          DKT 432; 1:02-cv-01616-     James T. Bueche, Individually, as Spouse of James T. Bueche as the Representative of the Estate       James T. Bueche as                 James T. Bueche on behalf of B.C.B, Child      WD
                                                            JR; P4782                   Nancy Clare Bueche, Deceased;               of Nancy Clare Bueche, Deceased;                          Parent/Guardian of B.C.B.          of Nancy Clare Bueche, Deceased

 977 Narender Nath                 Keolahmatie Nath         DKT 232; 1:02-cv-01616-     Keolahmatie Nath, Individually, as Spouse      Keolahmatie Nath as the Representative of the Estate                                                                                     WD
                                                            JR; P3867                   of Narender Nath, Deceased;                    of Narender Nath, Deceased;
 978 Natalie Janis Lasden          Linda Sue LeBlanc        DKT 305; 1:02-cv-01616-     Linda Sue LeBlanc, Individually, as Sibling    Linda Sue LeBlanc as the Personal Representative of                                                                                      WD
                                                            JR; P4375                   of Natalie Janis Lasden, Deceased;             the Estate of Natalie Janis Lasden, Deceased;

 979 Neil James Cudmore            James Cudmore            DKT 313; 1:02-cv-01616-     James Cudmore, Individually, as Parent of    James Cudmore as the Personal Representative of                                                                                            WD
                                                            JR; AP267                   Neil James Cudmore, Deceased;                the Estate of Neil James Cudmore, Deceased;
 980 Neil Lai                      Hui Fen Pan              DKT 26, 29; 1:02-cv-        Hui Fen Pan, Individually, as Spouse of Neil                                                          Hui Fen Pan as Parent/Guardian     Jay Wei Lai, Individually as Child of Neil     WD
                                                            01616-JR; 3582              Lai, Deceased;                                                                                        of Jay Wei Lai                     Kwong-Wah Lai, Deceased, and previously
                                                                                                                                                                                                                                 included as minor child of Hui Fen Pan ;

 981 Neil Lai                      Hui Fen Pan              DKT 26, 29; 1:02-cv-        Hui Fen Pan, Individually, as Spouse of Neil                                                          Hui Fen Pan as Parent/Guardian     Jean Ya Lai, Individually as Child of Neil     WD
                                                            01616-JR; 3582              Lai, Deceased;                                                                                        of Jean Ya Lai                     Kwong-Wah Lai, Deceased, and previously
                                                                                                                                                                                                                                 included as minor child of Hui Fen Pan ;

 982 Neil Matthew Dollard          Helen Ann Dollard        DKT 305; 1:02-cv-01616-     Helen Ann Dollard, Individually, as Parent of Helen Ann Dollard as the Personal Representative of                                                                                       WD
                                                            JR; P4232                   Neil Matthew Dollard, Deceased;               the Estate of Neil Matthew Dollard, Deceased;

 983 Neilie Anne Heffernan         Michael W. Casey         DKT 313; 1:02-cv-01616-     Michael W. Casey, Individually, as Spouse      Michael W. Casey as the Personal Representative of   Michael W. Casey as                  Riley Eileen Casey, Individually as Child of   WD
     Casey                                                  JR; P4625                   of Neilie Anne Heffernan Casey, Deceased;      the Estate of Neilie Anne Heffernan Casey, Deceased; Parent/Guardian of Riley Eileen      Neilie Anne Heffernan Casey, Deceased,
                                                                                                                                                                                            Casey                                and previously included as minor child of
                                                                                                                                                                                                                                 Michael W. Casey;
 984 Nestor Julio Chevalier, Jr.   Zeneida Mercedes         DKT 232; 1:02-cv-01616-     Zeneida Mercedes Chevalier, Individually,      Zeneida Mercedes Chevalier as the Personal                                                                                               WD
                                   Chevalier                JR; P3639                   as Parent of Nestor Julio Chevalier, Jr.,      Representative of the Estate of Nestor Julio Chevalier,
                                                                                        Deceased;                                      Jr., Deceased;
 985 Nicholas John                 Glyn John                DKT 313; 1:02-cv-01616-     Glyn John, Individually, as Parent of          Glyn John as the Co-Personal Representative of the                                                                                       WD
                                                            JR; AP279                   Nicholas John, Deceased;                       Estate of Nicholas John, Deceased;
 986 Nicholas John                 Timothy John             DKT 313; 1:02-cv-01616-     Timothy John, Individually, as Sibling of      Timothy John as the Co-Personal Representative of                                                                                        WD
                                                            JR; AP273                   Nicholas John, Deceased;                       the Estate of Nicholas John, Deceased;
 987 Nicholas P. Pietrunti         John Joseph Pietrunti,   DKT 155; 1:02-cv-01616-     John Joseph Pietrunti, Jr., Individually, as   John Joseph Pietrunti, Jr. as the Personal                                                                                               WD
                                   Jr.                      JR; P3070                   Sibling of Nicholas P. Pietrunti, Deceased;    Representative of the Estate of Nicholas P. Pietrunti,
                                                                                                                                       Deceased;
 988 Nicholas Paul Chiofalo        Joan Nardello Chiofalo   DKT 155; 1:02-cv-01616-     Joan Nardello Chiofalo, Individually, as       Joan Nardello Chiofalo as the Representative of the     Joan Nardello Chiofalo as        Nicholas Paul Chiofalo, Individually as Child   WD
                                                            JR; P2847                   Spouse of Nicholas Paul Chiofalo,              Estate of Nicholas Paul Chiofalo, Deceased;             Parent/Guardian of Nicholas Paul of Nicholas Paul Chiofalo, Deceased, and
                                                                                        Deceased;                                                                                              Chiofalo, Jr.                    previously included as minor child of Joan
                                                                                                                                                                                                                                Nardello Chiofalo;
 989 Nicholas W. Brandemarti       Nicholas Michael         DKT 313; 1:02-cv-01616-     Nicholas Michael Brandemarti, Individually,    Nicholas Michael Brandemarti as the Personal                                                                                             WD
                                   Brandemarti              JR; P4616                   as Parent of Nicholas W. Brandemarti,          Representative of the Estate of Nicholas W.
                                                                                        Deceased;                                      Brandemarti, Deceased;
 990 Nickie Lindo                  Deryck D. Lindo          DKT HAND FILED (3-10-       Deryck D. Lindo, Individually, as Spouse of    Deryck D. Lindo as the Representative of the Estate of Deryck D. Lindo as                Deryck D. Lindo on behalf of D.L., Child of     WD
                                                            2004); 1:03-cv-9849         Nickie Lindo, Deceased;                        Nickie Lindo, Deceased;                                 Parent/Guardian of D.L.          Nickie Lindo, Deceased;
                                                            (RCC); P5150
 991 Noell Charles Maerz           Jennifer Lyn Maerz       DKT 432; 1:02-cv-01616-     Jennifer Lyn Maerz, Individually, as Spouse    Jennifer Lyn Maerz as the Personal Representative of   Jennifer Lyn Maerz as              Noelle Brianna Maerz, Individually as Child WD
                                                            JR; P4887                   of Noell Charles Maerz, Deceased;              the Estate of Noell Charles Maerz, Deceased;           Parent/Guardian of Noelle          of Noell Charles Maerz, Deceased, and
                                                                                                                                                                                              Brianna Maerz                      previously included as minor child of
                                                                                                                                                                                                                                 Jennifer Lyn Maerz;
 992 Norberto Hernandez            Eslyn Hernandez, Sr.     DKT 3; 1:02-cv-01616-JR; Eslyn Hernandez, Sr., Individually, as                                                                   Eslyn Hernandez, Sr. as            Eslyn J. Hernandez, Jr., Individually as Child WD
                                                            1232                     Spouse of Norberto Hernandez, Deceased;                                                                  Parent/Guardian of Eslyn           of Claribel Hernandez, Deceased, and
                                                                                                                                                                                              Hernandez, Jr.                     previously included as minor child of Eslyn
                                                                                                                                                                                                                                 Hernandez, Sr.;
 993 Norberto Hernandez            Eslyn Hernandez, Sr.     DKT 3; 1:02-cv-01616-JR; Eslyn Hernandez, Sr., Individually, as                                                                   Eslyn Hernandez, Sr. as            Eslyn Hernandez, Sr., on behalf of S.M.H.,     WD
                                                            1232                     Spouse of Norberto Hernandez, Deceased;                                                                  Parent/Guardian of S.M.H.          Child of Claribel Hernandez, Deceased;


                                                                                                                                        61
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 62 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
 Number
                                 Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity             Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                              plaintiff in their own right
                                    complaint                                                                                                          9/11 Decedent                                Minor Child


  994 Norberto Hernandez       Eulogia Hernandez       DKT 3; 1:02-cv-01616-JR; Eulogia Hernandez, Individually, as Spouse                                                                 Eulogia Hernandez as              Tatiana Hernandez, Individually as Child of WD
                                                       1235                     of Norberto Hernandez, Deceased;                                                                           Parent/Guardian of Tatiana        Norberto Hernandez, Deceased, and
                                                                                                                                                                                           Hernandez                         previously included as minor child of Eulogia
                                                                                                                                                                                                                             Hernandez;
  995 Oliver Duncan Bennett    Adrian John Moberly     DKT 313; 1:02-cv-01616-     Adrian John Moberly Bennett, Individually,       Adrian John Moberly Bennett as the Co-Administrator                                                                                    WD
                               Bennett                 JR; AP275                   as Parent of Oliver Duncan Bennett,              of the Estate of Oliver Duncan Bennett, Deceased;
                                                                                   Deceased;
  996 Oliver Duncan Bennett    Joy Bennett             DKT 313; 1:02-cv-01616-     Joy Bennett, Individually, as Parent of Oliver   Joy Bennett as the Co-Administrator of the Estate of                                                                                    WD
                                                       JR; AP276                   Duncan Bennett, Deceased;                        Oliver Duncan Bennett, Deceased;
  997 Paige Farley Hackel      Marjorie Ann Farley     DKT 432; 1:02-cv-01616-     Marjorie Ann Farley, Individually, as Parent     Marjorie Ann Farley as the Representative of the                                                                                        WD
                                                       JR; P4858                   of Paige Farley Hackel, Deceased;                Estate of Paige Farley Hackel, Deceased;

  998 Pamela J. Boyce          Laura Maria Alessi      DKT 432; 1:02-cv-01616-     Laura Maria Alessi, Individually, as Parent of Laura Maria Alessi as the Personal Representative of                                                                                      WD
                                                       JR; P4777                   Pamela J. Boyce, Deceased;                     the Estate of Pamela J. Boyce, Deceased;

  999 Patricia Ann Puma        Kevin Puma              DKT 1; 1:02-cv-01616-JR; Kevin Puma, Individually, as Spouse of              Kevin Puma as the Representative of the Estate of      Kevin Puma as Parent/Guardian     BriAnna Puma, Individually as Child of        WD
                                                       482                      Patricia Ann Puma, Deceased;                        Patricia Ann Puma, Deceased;                           of BriAnna Puma                   Patricia Ann Puma, Deceased, and
                                                                                                                                                                                                                             previously included as minor child of Kevin
                                                                                                                                                                                                                             Puma;
1,000 Patricia Ann Puma        Kevin Puma              DKT 1; 1:02-cv-01616-JR; Kevin Puma, Individually, as Spouse of              Kevin Puma as the Representative of the Estate of      Kevin Puma as Parent/Guardian     Dylan Puma, Individually as Child of Patricia WD
                                                       482                      Patricia Ann Puma, Deceased;                        Patricia Ann Puma, Deceased;                           of Dylan Puma                     Ann Puma, Deceased, and previously
                                                                                                                                                                                                                             included as minor child of Kevin Puma;

1,001 Patricia Ann Puma        Kevin Puma              DKT 1; 1:02-cv-01616-JR; Kevin Puma, Individually, as Spouse of              Kevin Puma as the Representative of the Estate of      Kevin Puma as Parent/Guardian     Kiefer Puma, Individually as Child of Patricia WD
                                                       482                      Patricia Ann Puma, Deceased;                        Patricia Ann Puma, Deceased;                           of Kiefer Puma                    Ann Puma, Deceased, and previously
                                                                                                                                                                                                                             included as minor child of Kevin Puma;

1,002 Patrick D. Byrne         Robert Guy Byrne, Sr.   DKT 26, 29; 1:02-cv-        Robert Guy Byrne, Sr., Individually, as          Robert Guy Byrne, Sr. as the Personal Representative                                                                                    WD
                                                       01616-JR; 2754              Parent of Patrick D. Byrne, Deceased;            of the Estate of Patrick D. Byrne, Deceased;

1,003 Patrick J. Brown         Michael Everett Brown   DKT 432; 1:02-cv-01616-     Michael Everett Brown, Individually, as          Michael Everett Brown as the Personal Representative                                                                                    WD
                                                       JR; P4780                   Sibling of Patrick J. Brown, Deceased;           of the Estate of Patrick J. Brown, Deceased;

1,004 Patrick J. Waters        Janice Ann Waters       DKT 26, 29; 1:02-cv-        Janice Ann Waters, Individually, as Spouse                                                              Janice Ann Waters as              Christopher Patrick Waters, Individually as    WD
                                                       01616-JR; 4672              of Patrick J. Waters, Deceased;                                                                         Parent/Guardian of Christopher    Child of Patrick J. Waters, Deceased, and
                                                                                                                                                                                           Patrick Waters                    previously included as minor child of Janice
                                                                                                                                                                                                                             Ann Waters;
1,005 Patrick J. Waters        Janice Ann Waters       DKT 26, 29; 1:02-cv-        Janice Ann Waters, Individually, as Spouse                                                              Janice Ann Waters as              Daniel Joseph Waters, Individually as Child    WD
                                                       01616-JR; 4672              of Patrick J. Waters, Deceased;                                                                         Parent/Guardian of Daniel         of Patrick J. Waters, Deceased, and
                                                                                                                                                                                           Joseph Waters                     previously included as minor child of Janice
                                                                                                                                                                                                                             Ann Waters;
1,006 Patrick John Lyons       Irene Sofia Lyons-      DKT 26, 29; 1:02-cv-        Irene Sofia Lyons-Loeffler, Individually, as                                                            Irene Sofia Lyons-Loeffler as     Irene Sofia Lyons-Loeffler, on behalf of       WD
                               Loeffler                01616-JR; 3682              Spouse of Patrick John Lyons, Deceased;                                                                 Parent/Guardian of P.M.L.         P.M.L., Child of Patrick John Lyons,
                                                                                                                                                                                                                             Deceased;
1,007 Patrick Joseph O'Keefe   Karen Lisa O'Keefe      DKT 26, 29; 1:02-cv-        Karen Lisa O'Keefe, Individually, as Spouse Karen Lisa O'Keefe as the Representative of the                                                                                              WD
                                                       01616-JR; 4069              of Patrick Joseph O'Keefe, Deceased;        Estate of Patrick Joseph O'Keefe, Deceased;

1,008 Patrick McGuire          Danielle McGuire        DKT 432; 1:03-md-01570- Danielle McGuire, Individually, as Spouse of Danielle McGuire as the Personal Representative of             Danielle McGuire as               Mara Moran McGuire, Individually as Child      WD
                                                       GBD-SN; P5402           Patrick McGuire, Deceased;                   the Estate of Patrick McGuire, Deceased;                       Parent/Guardian of Mara Moran     of Patrick McGuire, Deceased, and
                                                                                                                                                                                           McGuire                           previously included as minor child of
                                                                                                                                                                                                                             Danielle McGuire;
1,009 Patrick McGuire          Danielle McGuire        DKT 432; 1:03-md-01570- Danielle McGuire, Individually, as Spouse of Danielle McGuire as the Personal Representative of             Danielle McGuire as               Ryan Patrick McGuire, Individually as Child    WD
                                                       GBD-SN; P5402           Patrick McGuire, Deceased;                   the Estate of Patrick McGuire, Deceased;                       Parent/Guardian of Ryan Patrick   of Patrick McGuire, Deceased, and
                                                                                                                                                                                           McGuire                           previously included as minor child of
                                                                                                                                                                                                                             Danielle McGuire;


                                                                                                                                     62
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 63 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
 Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                              plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                Minor Child


1,010 Patrick McGuire          Danielle McGuire       DKT 432; 1:03-md-01570- Danielle McGuire, Individually, as Spouse of Danielle McGuire as the Personal Representative of            Danielle McGuire as                 Sean Patrick McGuire, Individually as Child     WD
                                                      GBD-SN; P5402           Patrick McGuire, Deceased;                   the Estate of Patrick McGuire, Deceased;                      Parent/Guardian of Sean Patrick     of Patrick McGuire, Deceased, and
                                                                                                                                                                                         McGuire                             previously included as minor child of
                                                                                                                                                                                                                             Danielle McGuire;
1,011 Patrick McGuire          Danielle McGuire       DKT 432; 1:03-md-01570- Danielle McGuire, Individually, as Spouse of Danielle McGuire as the Personal Representative of            Danielle McGuire as                 Shea Elizabeth McGuire, Individually as         WD
                                                      GBD-SN; P5402           Patrick McGuire, Deceased;                   the Estate of Patrick McGuire, Deceased;                      Parent/Guardian of Shea             Child of Patrick McGuire, Deceased, and
                                                                                                                                                                                         Elizabeth McGuire                   previously included as minor child of
                                                                                                                                                                                                                             Danielle McGuire;
1,012 Patrick Woods            Patrick Joseph Woods, DKT 3; 1:02-cv-01616-JR; Patrick Joseph Woods, Sr., Individually, as         Patrick Joseph Woods, Sr. as the Personal                                                                                                  WD
                               Sr.                   1743                     Parent of Patrick Woods, Deceased;                  Representative of the Estate of Patrick Woods,
                                                                                                                                  Deceased;
1,013 Paul Andrew Acquaviva    Courtney Lizabeth      DKT 305; 1:02-cv-01616-      Courtney Lizabeth Acquaviva, Individually,     Courtney Lizabeth Acquaviva as the Personal            Courtney Lizabeth Acquaviva as      Paul Andrew Acquaviva, Individually as    WD
                               Acquaviva              JR; P4102                    as Spouse of Paul Andrew Acquaviva,            Representative of the Estate of Paul Andrew            Parent/Guardian of Paul Andrew      Child of Paul Andrew Acquaviva, Deceased,
                                                                                   Deceased;                                      Acquaviva, Deceased;                                   Acquaviva, Jr.                      and previously included as minor child of
                                                                                                                                                                                                                             Courtney Lizabeth Acquaviva;

1,014 Paul Andrew Acquaviva    Courtney Lizabeth      DKT 305; 1:02-cv-01616-      Courtney Lizabeth Acquaviva, Individually,     Courtney Lizabeth Acquaviva as the Personal            Courtney Lizabeth Acquaviva as      Sarah Lizabeth Acquaviva, Individually as WD
                               Acquaviva              JR; P4102                    as Spouse of Paul Andrew Acquaviva,            Representative of the Estate of Paul Andrew            Parent/Guardian of Sarah            Child of Paul Andrew Acquaviva, Deceased,
                                                                                   Deceased;                                      Acquaviva, Deceased;                                   Lizabeth Acquaviva                  and previously included as minor child of
                                                                                                                                                                                                                             Courtney Lizabeth Acquaviva;

1,015 Paul Dario Curioli       Kathi S. Curioli       DKT 26, 29; 1:02-cv-         Kathi S. Curioli, Individually, as Spouse of                                                          Kathi S. Curioli as                Nicholas J. Curioli, Individually as Child of    WD
                                                      01616-JR; 4812               Paul Dario Curioli, Deceased;                                                                         Parent/Guardian of Nicholas J.     Paul Dario Curioli, Deceased, and
                                                                                                                                                                                         Curioli                            previously included as minor child of Kathi
                                                                                                                                                                                                                            S. Curioli;
1,016 Paul Dario Curioli       Kathi S. Curioli       DKT 26, 29; 1:02-cv-         Kathi S. Curioli, Individually, as Spouse of                                                          Kathi S. Curioli as                Paul A. Curioli, Individually as Child of Paul   WD
                                                      01616-JR; 4812               Paul Dario Curioli, Deceased;                                                                         Parent/Guardian of Paul A. Curioli Dario Curioli, Deceased, and previously
                                                                                                                                                                                                                            included as minor child of Kathi S. Curioli;

1,017 Paul DeCola              Virginia Marie Bowrosen DKT 232; 1:02-cv-01616-     Virginia Marie Bowrosen, Individually, as      Virginia Marie Bowrosen as the Personal                                                                                                    WD
                                                       JR; P3672                   Spouse of Paul DeCola, Deceased;               Representative of the Estate of Paul DeCola,
                                                                                                                                  Deceased;
1,018 Paul Gary Bristow        Derek Edward Bristow   DKT 313; 1:02-cv-01616-      Derek Edward Bristow, Individually, as         Derek Edward Bristow as the Personal Representative                                                                                        WD
                                                      JR; AP282                    Parent of Paul Gary Bristow, Deceased;         of the Estate of Paul Gary Bristow, Deceased;

1,019 Paul J. Simon            Shelley Simon          DKT 1; 1:02-cv-01616-JR;     Shelley Simon, Individually, as Spouse of      Shelley Simon as the Representative of the Estate of                                                                                       WD
                                                      582                          Paul J. Simon, Deceased;                       Paul J. Simon, Deceased;
1,020 Paul James Furmato       Cynthia A. Velardi     DKT 3; 1:02-cv-01616-JR;     Cynthia A. Velardi, Individually, as Spouse                                                           Cynthia A. Velardi as               Theresa Marie Furmato, Individually as          WD
                                                      1140                         of Paul James Furmato, Deceased;                                                                      Parent/Guardian of Theresa          Child of Paul James Furmato, Deceased,
                                                                                                                                                                                         Marie Furmato                       and previously included as minor child of
                                                                                                                                                                                                                             Cynthia A. Velardi;
1,021 Paul James Furmato       Cynthia A. Velardi     DKT 3; 1:02-cv-01616-JR; Cynthia A. Velardi, Individually, as Spouse                                                               Cynthia A. Velardi as               Paul James Furmato, Jr., Individually as        WD
                                                      1140                     of Paul James Furmato, Deceased;                                                                          Parent/Guardian of Paul James       Child of Paul James Furmato, Deceased,
                                                                                                                                                                                         Furmato, Jr.                        and previously included as minor child of
                                                                                                                                                                                                                             Cynthia A. Velardi;
1,022 Paul James Furmato       Cynthia A. Velardi     DKT 3; 1:02-cv-01616-JR; Cynthia A. Velardi, Individually, as Spouse                                                               Cynthia A. Velardi as               Stephanie Leigh Kernasovic, Individually as     WD
                                                      1140                     of Paul James Furmato, Deceased;                                                                          Parent/Guardian of Stephanie        Child of Paul James Furmato, Deceased,
                                                                                                                                                                                         Leigh Kernasovic                    and previously included as minor child of
                                                                                                                                                                                                                             Cynthia A. Velardi;
1,023 Paul John Pansini        Janice Pansini         DKT 26, 29; 1:02-cv-         Janice Pansini, Individually, as Spouse of                                                            Janice Pansini as                   Anna Mary Pansini, Individually as Child of     WD
                                                      01616-JR; 2251               Paul John Pansini, Deceased;                                                                          Parent/Guardian of Anna Mary        Paul John Pansini, Deceased, and
                                                                                                                                                                                         Pansini                             previously included as minor child of Janice
                                                                                                                                                                                                                             Pansini;




                                                                                                                                   63
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 64 of 88




                                                                                                                                                                                                                                                                       Nature of Claim
 Number
                                 Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended      Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                           Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                      Plaintiff's Individual Capacity            Caption identifying the estate representative of     or Guardian of Previously
                                                           Complaint                                                                                                                                                          plaintiff in their own right
                                    complaint                                                                                                       9/11 Decedent                               Minor Child


1,024 Paul John Pansini        Janice Pansini        DKT 26, 29; 1:02-cv-        Janice Pansini, Individually, as Spouse of                                                           Janice Pansini as                 Claire Adele Pansini, Individually as Child of WD
                                                     01616-JR; 2251              Paul John Pansini, Deceased;                                                                         Parent/Guardian of Claire Adele   Paul John Pansini, Deceased, and
                                                                                                                                                                                      Pansini                           previously included as minor child of Janice
                                                                                                                                                                                                                        Pansini;
1,025 Paul John Pansini        Janice Pansini        DKT 26, 29; 1:02-cv-        Janice Pansini, Individually, as Spouse of                                                           Janice Pansini as                 Paul Jack Pansini, Individually as Child of    WD
                                                     01616-JR; 2251              Paul John Pansini, Deceased;                                                                         Parent/Guardian of Paul Jack      Paul John Pansini, Deceased, and
                                                                                                                                                                                      Pansini                           previously included as minor child of Janice
                                                                                                                                                                                                                        Pansini;
1,026 Paul Kenneth Sloan       Ronald S. Sloan       DKT 313; 1:02-cv-01616-     Ronald S. Sloan, Individually, as Parent of     Ronald S. Sloan as the Representative of the Estate of                                                                                WD
                                                     JR; P4736                   Paul Kenneth Sloan, Deceased;                   Paul Kenneth Sloan, Deceased;
1,027 Paul Laszczynski         Amy Melissa           DKT 155; 1:02-cv-01616-     Amy Melissa Laszczynski, Individually, as       Amy Melissa Laszczynski as the Personal                                                                                               WD
                               Laszczynski           JR; P2984                   Child of Paul Laszczynski, Deceased;            Representative of the Estate of Paul Laszczynski,
                                                                                                                                 Deceased;
1,028 Paul Rexford Hughes      Donna Sara Hughes     DKT 305; 1:02-cv-01616-     Donna Sara Hughes, Individually, as             Donna Sara Hughes as the Personal Representative       Donna Sara Hughes as            Amanda Lucia Hughes, Individually as Child     WD
                                                     JR; P4333                   Spouse of Robert Jay Hayes, Deceased;           of the Estate of Paul Rexford Hughes, Deceased;        Parent/Guardian of Amanda       of Paul Rexford Hughes, Deceased, and
                                                                                                                                                                                        Lucia Hughes                    previously included as minor child of Donna
                                                                                                                                                                                                                        Sara Hughes;
1,029 Paul Richard Martini     Lisa Martini          DKT 26, 29; 1:02-cv-        Lisa Martini, Individually, as Spouse of Paul   Lisa Martini as the Personal Representative of the   Lisa Martini as Parent/Guardian   Lindsay K. Martini, Individually as Child of   WD
                                                     01616-JR; 3751              Richard Martini, Deceased;                      Estate of Paul Richard Martini, Deceased;            of Lindsay K. Martini             Paul Richard Martini, Deceased, and
                                                                                                                                                                                                                        previously included as minor child of Lisa
                                                                                                                                                                                                                        Martini;
1,030 Paul Richard Martini     Lisa Martini          DKT 26, 29; 1:02-cv-        Lisa Martini, Individually, as Spouse of Paul                                                        Lisa Martini as Parent/Guardian   Lisa Martini, on behalf of D.N.M., Child of    WD
                                                     01616-JR; 3751              Richard Martini, Deceased;                                                                           of D.N.M.                         Paul Richard Martini, Deceased;
1,031 Paul Stuart Gilbey       Deena J. Gilbey       DKT 26, 29; 1:02-cv-        Deena J. Gilbey, Individually, as Spouse of                                                          Deena J. Gilbey as                Mason Moseley Gilbey, Individually as Child    WD
                                                     01616-JR; 1987              Paul Stuart Gilbey, Deceased;                                                                        Parent/Guardian of Mason          of Paul Stuart Gilbey, Deceased, and
                                                                                                                                                                                      Moseley Gilbey                    previously included as minor child of Deena
                                                                                                                                                                                                                        J. Gilbey;
1,032 Paul Stuart Gilbey       Deena J. Gilbey       DKT 26, 29; 1:02-cv-        Deena J. Gilbey, Individually, as Spouse of                                                          Deena J. Gilbey as                Maxwell Thornton Gilbey, Individually as       WD
                                                     01616-JR; 1987              Paul Stuart Gilbey, Deceased;                                                                        Parent/Guardian of Maxwell        Child of Paul Stuart Gilbey, Deceased, and
                                                                                                                                                                                      Thornton Gilbey                   previously included as minor child of Deena
                                                                                                                                                                                                                        J. Gilbey;
1,033 Paul Stuart Gilbey       Jane Jones            DKT HAND FILED (3-10-                                                                                                            Jane Jones as Parent/Guardian     Jane Jones on behalf of H.G., Child of Paul    WD
                                                     2004); 1:03-cv-9849                                                                                                              of H.G.                           Stuart Gilbey, Deceased;
                                                     (RCC); P5067
1,034 Paul T. Mitchell         Maureen Frances       DKT 1; 1:02-cv-01616-JR; Maureen Frances Mitchell, Individually, as   Maureen Frances Mitchell as the Personal                                                                                                    WD
                               Mitchell              390                      Spouse of Paul T. Mitchell, Deceased;        Representative of the Estate of Paul T. Mitchell,
                                                                                                                           Deceased;
1,035 Paul Talty               Barbara Marie Talty   DKT 1; 1:02-cv-01616-JR; Barbara Marie Talty, Individually, as Spouse Barbara Marie Talty as the Personal Representative of Barbara Marie Talty as            Kelly Michelle Talty, Individually as Child of      WD
                                                     611                      of Paul Talty, Deceased;                     the Estate of Paul Talty, Deceased;                   Parent/Guardian of Kelly Michelle Paul Talty, Deceased, and previously
                                                                                                                                                                                 Talty                             included as minor child of Barbara Marie
                                                                                                                                                                                                                   Talty;
1,036 Paul Talty               Barbara Marie Talty   DKT 1; 1:02-cv-01616-JR; Barbara Marie Talty, Individually, as Spouse Barbara Marie Talty as the Personal Representative of Barbara Marie Talty as            Lauren Nicole Talty, Individually as Child of       WD
                                                     611                      of Paul Talty, Deceased;                     the Estate of Paul Talty, Deceased;                   Parent/Guardian of Lauren Nicole Paul Talty, Deceased, and previously
                                                                                                                                                                                 Talty                             included as minor child of Barbara Marie
                                                                                                                                                                                                                   Talty;
1,037 Paul Talty               Barbara Marie Talty   DKT 1; 1:02-cv-01616-JR; Barbara Marie Talty, Individually, as Spouse Barbara Marie Talty as the Personal Representative of Barbara Marie Talty as            Paul Richard Talty, Jr., Individually as Child      WD
                                                     611                      of Paul Talty, Deceased;                     the Estate of Paul Talty, Deceased;                   Parent/Guardian of Paul Richard of Paul Talty, Deceased, and previously
                                                                                                                                                                                 Talty, Jr.                        included as minor child of Barbara Marie
                                                                                                                                                                                                                   Talty;
1,038 Paul V. Rizza            Elaine Marie Rizza    DKT 155; 1:02-cv-01616- Elaine Marie Rizza Brophy, Individually, as   Elaine Marie Rizza Brophy as the Representative of                                                                                          WD
                               Brophy                JR; P3076                Spouse of Paul V. Rizza, Deceased;           the Estate of Paul V. Rizza, Deceased;
1,039 Paul Vincent Barbaro     Kim E. Barbaro        DKT 3; 1:02-cv-01616-JR; Kim E. Barbaro, Individually, as Spouse of                                                         Kim E. Barbaro as                 Joseph Nicholas Barbaro, Individually as            WD
                                                     894                      Paul Vincent Barbaro, Deceased;                                                                    Parent/Guardian of Joseph         Child of Paul Vincent Barbaro, Deceased,
                                                                                                                                                                                 Nicholas Barbaro                  and previously included as minor child of
                                                                                                                                                                                                                   Kim E. Barbaro;


                                                                                                                                  64
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 65 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
 Number
                                 Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended      Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of     or Guardian of Previously
                                                             Complaint                                                                                                                                                             plaintiff in their own right
                                    complaint                                                                                                         9/11 Decedent                               Minor Child


1,040 Paul Vincent Barbaro     Kim E. Barbaro         DKT 3; 1:02-cv-01616-JR; Kim E. Barbaro, Individually, as Spouse of                                                                Kim E. Barbaro as                  Paul William Barbaro, Individually as Child    WD
                                                      894                      Paul Vincent Barbaro, Deceased;                                                                           Parent/Guardian of Paul William    of Paul Vincent Barbaro, Deceased, and
                                                                                                                                                                                         Barbaro                            previously included as minor child of Kim E.
                                                                                                                                                                                                                            Barbaro;
1,041 Paul Wesley Ambrose      Kenneth Paul Ambrose DKT HAND FILED (3-10-          Kenneth Paul Ambrose, Individually, as      Kenneth Paul Ambrose as the Co-Personal                                                                                                     WD
                                                    2004); 1:03-cv-9849            Parent of Paul Wesley Ambrose, Deceased; Representative of the Estate of Paul Wesley Ambrose,
                                                    (RCC); P4987                                                               Deceased;
1,042 Paul Wesley Ambrose      Sharon Norwood       DKT HAND FILED (3-10-          Sharon Norwood Ambrose, Individually, as    Sharon Norwood Ambrose as the Co-Personal                                                                                                   WD
                               Ambrose              2004); 1:03-cv-9849            Parent of Paul Wesley Ambrose, Deceased; Representative of the Estate ofPaul Wesley Ambrose,
                                                    (RCC); P4988                                                               Deceased;
1,043 Pedro Checo              Marmily Cabrera      DKT 305; 1:02-cv-01616-        Marmily Cabrera, Individually, as Spouse of Marmily Cabrera as the Personal Representative of the Marmily Cabrera as             Jasen Checo, Individually as Child of Pedro            WD
                                                    JR; P4176                      Pedro Checo, Deceased;                      Estate of Pedro Checo, Deceased;                      Parent/Guardian of Jasen Checo Checo, Deceased, and previously included
                                                                                                                                                                                                                    as minor child of Marmily Cabrera;

1,044 Pedro Checo              Marmily Cabrera        DKT 305; 1:02-cv-01616-      Marmily Cabrera, Individually, as Spouse of     Marmily Cabrera as the Personal Representative of the Marmily Cabrera as                 Julian Checo, Individually as Child of Pedro   WD
                                                      JR; P4176                    Pedro Checo, Deceased;                          Estate of Pedro Checo, Deceased;                      Parent/Guardian of Julian Checo    Checo, Deceased, and previously included
                                                                                                                                                                                                                            as minor child of Marmily Cabrera;

1,045 Pedro Grehan             Victoria Blaksley      DKT 26, 29; 1:02-cv-         Victoria Blaksley, Individually, as Spouse of                                                         Victoria Blaksley as            Victoria Blaksley, on behalf of C.G., Child of    WD
                                                      01616-JR; 3314               Pedro Grehan, Deceased;                                                                               Parent/Guardian of C.G.         Pedro Grehan, Deceased;
1,046 Pedro Grehan             Victoria Blaksley      DKT 26, 29; 1:02-cv-         Victoria Blaksley, Individually, as Spouse of                                                         Victoria Blaksley as            Victoria Blaksley, on behalf of P.G., Child of    WD
                                                      01616-JR; 3314               Pedro Grehan, Deceased;                                                                               Parent/Guardian of P.G.         Pedro Grehan, Deceased;
1,047 Pedro Grehan             Victoria Blaksley      DKT 26, 29; 1:02-cv-         Victoria Blaksley, Individually, as Spouse of                                                         Victoria Blaksley as            Victoria Blaksley, on behalf of S.G., Child of    WD
                                                      01616-JR; 3314               Pedro Grehan, Deceased;                                                                               Parent/Guardian of S.G.         Pedro Grehan, Deceased;
1,048 Perry Thompson           Charlette Thompson     DKT 305; 1:02-cv-01616-      Charlette Thompson, Individually, as            Charlette Thompson as the Personal Representative     Charlette Thompson as           Ashley Nicole Thompson, Individually as           WD
                                                      JR; P4550                    Spouse of Perry Thompson, Deceased;             of the Estate of Perry Thompson, Deceased;            Parent/Guardian of Ashley NicoleChild of Perry Thompson, Deceased, and
                                                                                                                                                                                         Thompson                        previously included as minor child of
                                                                                                                                                                                                                         Charlette Thompson;
1,049 Perry Thompson           Charlette Thompson     DKT 305; 1:02-cv-01616-      Charlette Thompson, Individually, as            Charlette Thompson as the Personal Representative     Charlette Thompson as           Chelsea Lorraine Thompson, Individually as        WD
                                                      JR; P4550                    Spouse of Perry Thompson, Deceased;             of the Estate of Perry Thompson, Deceased;            Parent/Guardian of Chelsea      Child of Perry Thompson, Deceased, and
                                                                                                                                                                                         Lorraine Thompson               previously included as minor child of
                                                                                                                                                                                                                         Charlette Thompson;
1,050 Pete Negron              Leila Negron           DKT 305; 1:02-cv-01616-      Leila Negron, Individually, as Spouse of        Leila Negron as the Representative of the Estate of   Leila Negron as Parent/Guardian Austin Negron, Individually as Child of Pete      WD
                                                      JR; P4445                    Pete Negron, Deceased;                          Pete Negron, Deceased;                                of Austin Negron                Negron, Deceased, and previously included
                                                                                                                                                                                                                         as minor child of Leila Negron;
1,051 Pete Negron              Leila Negron           DKT 305; 1:02-cv-01616-      Leila Negron, Individually, as Spouse of        Leila Negron as the Representative of the Estate of   Leila Negron as Parent/Guardian Peter William Negron, Individually as Child       WD
                                                      JR; P4445                    Pete Negron, Deceased;                          Pete Negron, Deceased;                                of Peter William Negron         of Pete Negron, Deceased, and previously
                                                                                                                                                                                                                         included as minor child of Leila Negron;

1,052 Peter A. Gay, Sr.        Linda Rose Gay         DKT 155; 1:02-cv-01616-      Linda Rose Gay, Individually, as Spouse of      Linda Rose Gay as the Personal Representative of the Linda Rose Gay as                   Larissa Lynne Gay, Individually as Child of    WD
                                                      JR; P2902                    Peter A. Gay, Sr., Deceased;                    Estate of Peter A. Gay, Sr., Deceased;               Parent/Guardian of Larissa          Peter A. Gay, Deceased, and previously
                                                                                                                                                                                        Lynne Gay                           included as minor child of Linda Rose Gay;

1,053 Peter Burton Hanson      C. Lee Hanson         DKT 232; 1:02-cv-01616-JR;C. Lee Hanson, Individually, as Parent of
                                                                                P3712                                    C. Lee Hanson as the Representative of the Estate of                                                                                              WD
                                                                               Peter Burton Hanson, Deceased;            Peter Burton Hanson, Deceased;
1,054 Peter Frank Raimondi     Lenore Clare Raimondi DKT 3; 1:02-cv-01616-JR; Lenore Clare Raimondi, Individually, as                                                                    Lenore Clare Raimondi as         Peter Mathew Raimondi, Individually as           WD
                                                     1558                      Spouse of Peter Frank Raimondi, Deceased;                                                                 Parent/Guardian of Peter Mathew Child of Peter Frank Raimondi, Deceased,
                                                                                                                                                                                         Raimondi                         and previously included as minor child of
                                                                                                                                                                                                                          Lenore Clare Raimondi;
1,055 Peter Frank Raimondi     Lenore Clare Raimondi DKT 3; 1:02-cv-01616-JR; Lenore Clare Raimondi, Individually, as                                                                    Lenore Clare Raimondi as         Philip Warren Raimondi, Individually as          WD
                                                     1558                     Spouse of Peter Frank Raimondi, Deceased;                                                                  Parent/Guardian of Philip Warren Child of Peter Frank Raimondi, Deceased,
                                                                                                                                                                                         Raimondi                         and previously included as minor child of
                                                                                                                                                                                                                          Lenore Clare Raimondi;
1,056 Peter J. O'Neill, Jr.    Jeanne M. O'Neill      DKT 232; 1:02-cv-01616-      Jeanne M. O'Neill, Individually, as Parent of   Jeanne M. O'Neill as the Co-Representative of the                                                                                       WD
                                                      JR; P4079                    Peter J. O'Neill, Jr., Deceased;                Estate of Peter J. O'Neill, Jr., Deceased;


                                                                                                                                    65
                                                               Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 66 of 88




                                                                                                                                                                                                                                                                              Nature of Claim
 Number
                                    Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
          9/11 Decedent Name       Currently named in                                        Plaintiff's Individual Capacity            Caption identifying the estate representative of        or Guardian of Previously
                                                                Complaint                                                                                                                                                             plaintiff in their own right
                                       complaint                                                                                                         9/11 Decedent                                  Minor Child


1,057 Peter J. O'Neill, Jr.       Peter James O'Neill, Sr. DKT 232; 1:02-cv-01616-    Peter James O'Neill, Sr., Individually, as      Peter James O'Neill, Sr. as the Co-Representative of                                                                                   WD
                                                           JR; P4080                  Parent of Peter J. O'Neill, Jr., Deceased;      the Estate of Peter J. O'Neill, Jr., Deceased;
1,058 Peter Paul Apollo           Cecile M. Apollo         DKT 232; 1:02-cv-01616-    Cecile M. Apollo, Individually, as Parent of    Cecile M. Apollo as the Co-Personal Representative of                                                                                  WD
                                                           JR; P3584                  Peter Paul Apollo, Deceased;                    the Estate of Peter Paul Apollo, Deceased;

1,059 Peter Paul Apollo           Peter Apollo, Jr.       DKT 232; 1:02-cv-01616-     Peter Apollo, Jr., Individually, as Parent of   Peter Apollo, Jr. as the Co-Personal Representative of                                                                                 WD
                                                          JR; P3585                   Peter Paul Apollo, Deceased;                    the Estate of Peter Paul Apollo, Deceased;

1,060 Peter Paul Hashem           Rita A. Hashem          DKT 155; 1:02-cv-01616-     Rita A. Hashem, Individually, as Spouse of      Rita A. Hashem as the Personal Representative of the Rita A. Hashem as                    Christopher Paul Hashem, Individually as      WD
                                                          JR; P2924                   Peter Paul Hashem, Deceased;                    Estate of Peter Paul Hashem, Deceased;               Parent/Guardian of Christopher       Child of Peter Paul Hashem, Deceased, and
                                                                                                                                                                                           Paul Hashem                          previously included as minor child of Rita A.
                                                                                                                                                                                                                                Hashem;
1,061 Peter Paul Hashem           Rita A. Hashem          DKT 155; 1:02-cv-01616-     Rita A. Hashem, Individually, as Spouse of      Rita A. Hashem as the Personal Representative of the Rita A. Hashem as                    Patrick James Hashem, Individually as Child WD
                                                          JR; P2924                   Peter Paul Hashem, Deceased;                    Estate of Peter Paul Hashem, Deceased;               Parent/Guardian of Patrick           of Peter Paul Hashem, Deceased, and
                                                                                                                                                                                           James Hashem                         previously included as minor child of Rita A.
                                                                                                                                                                                                                                Hashem;
1,062 Peter Siracuse              Alana Siracuse-Spera    DKT 232; 1:02-cv-01616-     Alana Siracuse-Spera, Individually, as          Alana Siracuse-Spera as the Personal Representative      Alana Siracuse-Spera as          Alana Siracuse-Spera on behalf of R.S.,       WD
                                                          JR; P4086                   Spouse of Peter Siracuse, Deceased;             of the Estate of Peter Siracuse, Deceased;               Parent/Guardian of R.S.          Child of Peter Siracuse, Deceased;

1,063 Peter T. Milano             Patricia Milano         DKT 1; 1:02-cv-01616-JR;    Patricia Milano, Individually, as Spouse of                                                              Patricia Milano as               Patricia Milano, on behalf of P.C.M., Child of WD
                                                          720                         Peter T. Milano, Deceased;                                                                               Parent/Guardian of P.C.M.        Peter T. Milano, Deceased;
1,064 Peter T. Milano             Patricia Milano         DKT 1; 1:02-cv-01616-JR;    Patricia Milano, Individually, as Spouse of                                                              Patricia Milano as               Patricia Milano, on behalf of J.M., Child of   WD
                                                          720                         Peter T. Milano, Deceased;                                                                               Parent/Guardian of J.M.          Peter T. Milano, Deceased;
1,065 Philip Scott Petti          Eileen Regina Petti     DKT HAND FILED (3-10-       Eileen Regina Petti, Individually, as Spouse    Eileen Regina Petti as the Representative of the                                                                                         WD
                                                          2004); 1:03-cv-9849         of Philip Scott Petti, Deceased;                Estate of Philip Scott Petti, Deceased;
                                                          (RCC); P5225
1,066 Philip T. Guza              Thomas Guza             DKT 155; 1:02-cv-01616-     Thomas Guza, Individually, as Child of          Thomas Guzaas the Personal Representative of the                                                                                       WD
                                                          JR; P2922                   Philip T. Guza, Deceased;                       Estate of Philip T. Guza, Deceased;
1,067 Philip William Mastrandrea, Karen Elizabeth         DKT 1; 1:02-cv-01616-JR;    Karen Elizabeth Mastrandrea, Individually,      Karen Elizabeth Mastrandrea as the Personal              Karen Elizabeth Mastrandrea as   Paige Elizabeth Mastrandrea, Individually as WD
      Jr.                         Mastrandrea             373                         as Spouse of Philip William Mastrandrea,        Representative of the Estate of Philip William           Parent/Guardian of Paige         Child of Philip William Mastrandrea, Jr.,
                                                                                      Jr., Deceased;                                  Mastrandrea, Jr., Deceased;                              Elizabeth Mastrandrea            Deceased, and previously included as minor
                                                                                                                                                                                                                                child of Karen Elizabeth Mastrandrea;

1,068 Philip William Mastrandrea, Karen Elizabeth         DKT 1; 1:02-cv-01616-JR; Karen Elizabeth Mastrandrea, Individually,         Karen Elizabeth Mastrandrea as the Personal              Karen Elizabeth Mastrandrea as   Sydney Kristen Mastrandrea, Individually as WD
      Jr.                         Mastrandrea             373                      as Spouse of Philip William Mastrandrea,           Representative of the Estate of Philip William           Parent/Guardian of Sydney        Child of Philip William Mastrandrea, Jr.,
                                                                                   Jr., Deceased;                                     Mastrandrea, Jr., Deceased;                              Kristen Mastrandrea              Deceased, and previously included as minor
                                                                                                                                                                                                                                child of Karen Elizabeth Mastrandrea;

1,069 Phyllis G. Talbot           Joseph Keith Talbot     DKT 232; 1:02-cv-01616-     Joseph Keith Talbot, Individually, as Child of Joseph Keith Talbot as the Personal Representative of                                                                                   WD
                                                          JR; P3972                   Phyllis G. Talbot, Deceased;                   the Estate of Phyllis G. Talbot, Deceased;

1,070 Ralph Francis Kershaw       Hedi N. Kershaw         DKT HAND FILED (3-10-       Hedi N. Kershaw, Individually, as Spouse of     Hedi N. Kershaw as the Personal Representative of                                                                                      WD
                                                          2004); 1:03-cv-9849         Ralph Francis Kershaw, Deceased;                the Estate of Ralph Francis Kershaw, Deceased;
                                                          (RCC); P5117
1,071 Ralph Gerhardt              Hans J. Gerhardt        DKT 305; 1:02-cv-01616-     Hans J. Gerhardt, Individually, as Parent of    Hans J. Gerhardt as the Personal Representative of                                                                                     WD
                                                          JR; P4292                   Ralph Gerhardt, Deceased;                       the Estate of Ralph Gerhardt, Deceased;
1,072 Ralph Mercurio              Debra Mercurio          DKT 232; 1:02-cv-01616-     Debra Mercurio, Individually, as Spouse of      Debra Mercurio as the Personal Representative of the                                                                                   WD
                                                          JR; P4074                   Ralph Mercurio, Deceased;                       Estate of Ralph Mercurio, Deceased;
1,073 Randolph Scott              Denise Marie Scott      DKT 1; 1:02-cv-01616-JR;    Denise Marie Scott, Individually, as Spouse                                                              Denise Marie Scott as            Alexandra Nicole Scott, Individually as Child WD
                                                          878                         of Randolph Scott, Deceased;                                                                             Parent/Guardian of Alexandra     of Randolph Scott, Deceased, and
                                                                                                                                                                                               Nicole Scott                     previously included as minor child of Denise
                                                                                                                                                                                                                                Marie Scott;
1,074 Rayman Marcus Neblett       Zandra Lena Neblett     DKT 77; 1:02-cv-01616-      Zandra Lena Neblett, Individually, as Parent Zandra Lena Neblett as the Representative of the                                                                                           WD
                                                          JR; P2673                   of Rayman Marcus Neblett, Deceased;          Estate of Rayman Marcus Neblett, Deceased;



                                                                                                                                       66
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 67 of 88




                                                                                                                                                                                                                                                                       Nature of Claim
 Number
                                 Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                           Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity          Caption identifying the estate representative of       or Guardian of Previously
                                                             Complaint                                                                                                                                                          plaintiff in their own right
                                    complaint                                                                                                       9/11 Decedent                                 Minor Child


1,075 Raymond E. Murphy, Sr.   Linda Marie Murphy     DKT 26, 29; 1:02-cv-         Linda Marie Murphy, Individually, as Spouse Linda Marie Murphy as the Personal Representative of Linda Marie Murphy as            Sean Michael Murphy, Individually as Child WD
                                                      01616-JR; 3990               of Raymond E. Murphy, Sr., Deceased;        the Estate of Raymond E. Murphy, Sr., Deceased;      Parent/Guardian of Sean Michael of Raymond E. Murphy, Sr., Deceased, and
                                                                                                                                                                                    Murphy                           previously included as minor child of Linda
                                                                                                                                                                                                                     Marie Murphy;
1,076 Raymond Meisenheimer     Joanne Meisenheimer    DKT HAND FILED (3-10-        Joanne Meisenheimer, Individually, as       Joanne Meisenheimer as the Personal Representative Joanne Meisenheimer as             Lauren Nicole Meisenheimer Fletcher,        WD
                                                      2004); 1:03-cv-9849          Spouse of Raymond Meisenheimer,             of the Estate of Raymond Meisenheimer, Deceased;     Parent/Guardian of Lauren Nicole Individually as Child of Raymond
                                                      (RCC); P5178                 Deceased;                                                                                        Meisenheimer Fletcher            Meisenheimer, Deceased, and previously
                                                                                                                                                                                                                     included as minor child of Joanne
                                                                                                                                                                                                                     Meisenheimer;
1,077 Raymond Meisenheimer     Joanne Meisenheimer    DKT HAND FILED (3-10-        Joanne Meisenheimer, Individually, as       Joanne Meisenheimer as the Personal Representative Joanne Meisenheimer as             Kaitlynn Rose Meisenheimer, Individually as WD
                                                      2004); 1:03-cv-9849          Spouse of Raymond Meisenheimer,             of the Estate of Raymond Meisenheimer, Deceased;     Parent/Guardian of Kaitlynn Rose Child of Raymond Meisenheimer,
                                                      (RCC); P5178                 Deceased;                                                                                        Meisenheimer                     Deceased, and previously included as minor
                                                                                                                                                                                                                     child of Joanne Meisenheimer;

1,078 Renee Tetreault Newell   Paul Newell            DKT 313; 1:02-cv-01616-                                                    Paul Newell as the Representative of the Estate of      Paul Newell as Parent/Guardian   Paul Newell on behalf of M.C.N., Child of     WD
                                                      JR; P4698                                                                  Renee Tetreault Newell, Deceased;                       of M.C.N.                        Renee Tetreault Newell, Deceased
1,079 Ricardo J. Quinn         Virginia A. Quinn      DKT 313; 1:02-cv-01616-      Virginia A. Quinn, Individually, as Spouse of Virginia A. Quinn as the Representative of the Estate   Virginia A. Quinn as             Kevin Quinn, Individually as Child of Ricardo WD
                                                      JR; P4704                    Ricardo J. Quinn, Deceased;                   of Ricardo J. Quinn, Deceased;                          Parent/Guardian of Kevin Quinn   J. Quinn, Deceased, and previously
                                                                                                                                                                                                                          included as minor child of Virginia A. Quinn;

1,080 Richard A. Dunstan       Janet A. Dunstan       DKT 3; 1:02-cv-01616-JR; Janet A. Dunstan, Individually, as Spouse of                                                              Janet A. Dunstan as              Christopher Graham Dunstan, Individually    WD
                                                      1085                     Richard A. Dunstan, Deceased;                                                                             Parent/Guardian of Christopher   as Child of Richard A. Dunstan, Deceased,
                                                                                                                                                                                         Graham Dunstan                   and previously included as minor child of
                                                                                                                                                                                                                          Janet A. Dunstan;

1,081 Richard A. Palazzolo     Annette M. Palazzolo   DKT 432; 1:02-cv-01616-      Annette M. Palazzolo, Individually, as Parent Annette M. Palazzolo as the Representative of the                                                                                    WD
                                                      JR; P4918                    of Richard A. Palazzolo, Deceased;            Estate of Richard A. Palazzolo, Deceased;

1,082 Richard B. Madden        Maura Madden Lezynski DKT 26, 29; 1:02-cv-          Maura Madden Lezynski, Individually, as                                                               Maura Madden Lezynski as         Patricia Madden Lezynski, Individually as   WD
                                                     01616-JR; 3695                Spouse of Richard B. Madden, Deceased;                                                                Parent/Guardian of Patricia      Child of Richard B. Madden, Deceased, and
                                                                                                                                                                                         Madden Lezynski                  previously included as minor child of Maura
                                                                                                                                                                                                                          Madden Lezynski;
1,083 Richard Dennis Allen     Madelyn Gail Allen     DKT 3; 1:02-cv-01616-JR; Madelyn Gail Allen, Individually, as Parent of Madelyn Gail Allen as the Personal Representative of                                                                                    WD
                                                      871                      Richard Dennis Allen, Deceased;                the Estate of Richard Dennis Allen, Deceased;

1,084 Richard H. Woodwell      Linda Preston Woodwell DKT 26, 29; 1:02-cv-         Linda Preston Woodwell, Individually, as                                                              Linda Preston Woodwell as        Margaret Preston Woodwell, Individually as WD
                                                      01616-JR; 2432               Spouse of Richard H. Woodwell, Deceased;                                                              Parent/Guardian of Margaret      Child of Richard H. Woodwell, Deceased,
                                                                                                                                                                                         Preston Woodwell                 and previously included as minor child of
                                                                                                                                                                                                                          Linda Preston Woodwell;
1,085 Richard H. Woodwell      Linda Preston Woodwell DKT 26, 29; 1:02-cv-         Linda Preston Woodwell, Individually, as                                                              Linda Preston Woodwell as        Richard Herron Woodwell, Jr., Individually WD
                                                      01616-JR; 2432               Spouse of Richard H. Woodwell, Deceased;                                                              Parent/Guardian of Richard       as Child of Richard H. Woodwell,
                                                                                                                                                                                         Herron Woodwell, Jr.             Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Linda Preston Woodwell;

1,086 Richard H. Woodwell      Linda Preston Woodwell DKT 26, 29; 1:02-cv-         Linda Preston Woodwell, Individually, as                                                              Linda Preston Woodwell as        Eleanor McCullough Woodwell, Individually WD
                                                      01616-JR; 2432               Spouse of Richard H. Woodwell, Deceased;                                                              Parent/Guardian of Eleanor       as Child of Richard H. Woodwell,
                                                                                                                                                                                         McCullough Woodwell              Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Linda Preston Woodwell;

1,087 Richard J. Cudina        Georgia Barbara Cudina DKT 232; 1:02-cv-01616-      Georgia Barbara Cudina, Individually, as      Georgia Barbara Cudina as the Personal                                                                                               WD
                                                      JR; P3663                    Spouse of Richard J. Cudina, Deceased;        Representative of the Estate of Richard J. Cudina,
                                                                                                                                 Deceased;
1,088 Richard J. Guadagno      Jerry F. Guadagno      DKT 432; 1:02-cv-01616-      Jerry F. Guadagno, Individually, as Parent of Jerry F. Guadagno as the Personal Representative of                                                                                  WD
                                                      JR; P4857                    Richard J. Guadagno, Deceased;                the Estate of Richard J. Guadagno, Deceased;



                                                                                                                                  67
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 68 of 88




                                                                                                                                                                                                                                                                            Nature of Claim
 Number
                                  Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
          9/11 Decedent Name     Currently named in                                         Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                               Complaint                                                                                                                                                            plaintiff in their own right
                                     complaint                                                                                                         9/11 Decedent                                  Minor Child


1,089 Richard J. Kelly, Jr.     Carolyn Kelly            DKT 3; 1:02-cv-01616-JR;    Carolyn Kelly, Individually, as Spouse of      Carolyn Kelly as the Representative of the Estate of                                                                                    WD
                                                         1292                        Richard J. Kelly, Jr., Deceased;               Richard J. Kelly, Jr., Deceased;
1,090 Richard J. Stadelberger   Vee Stadelberger         DKT 305; 1:02-cv-01616-     Vee Stadelberger, Individually, as Spouse of   Vee Stadelberger as the Representative of the Estate     Vee Stadelberger as             Andrew R. Stadelberger, Individually as     WD
                                                         JR; P4537                   Richard J. Stadelberger, Deceased;             of Richard J. Stadelberger, Deceased;                    Parent/Guardian of Andrew R.    Child of Richard J. Stadelberger, Deceased,
                                                                                                                                                                                             Stadelberger                    and previously included as minor child of
                                                                                                                                                                                                                             Vee Stadelberger;
1,091 Richard M. Caggiano       Veronica Caggiano        DKT 77; 1:02-cv-01616-      Veronica Caggiano, Individually, as Parent     Veronica Caggiano as the Personal Representative of                                                                                  WD
                                                         JR; P2550                   of Richard M. Caggiano, Deceased;              the Estate of Richard M. Caggiano, Deceased;

1,092 Richard M. Stewart, Jr.   Joan Bernard Stewart     DKT 155; 1:02-cv-01616-     Joan Bernard Stewart, Individually, as       Joan Bernard Stewart as the Co-Personal                                                                                                   WD
                                                         JR; P3097                   Parent of Richard M. Stewart, Jr., Deceased; Representative of the Estate of Richard M. Stewart,
                                                                                                                                  Jr., Deceased;
1,093 Richard M. Stewart, Jr.   Richard M. Stewart, Sr. DKT 155; 1:02-cv-01616-      Richard M. Stewart, Sr., Individually, as    Richard M. Stewart, Sr. as the Co-Personal                                                                                                WD
                                                        JR; P3098                    Parent of Richard M. Stewart, Jr., Deceased; Representative of the Estate of Richard M. Stewart,
                                                                                                                                  Jr., Deceased;
1,094 Richard Michael Keane     Judith Ann Keane         DKT 232; 1:02-cv-01616-     Judith Ann Keane, Individually, as Spouse    Judith Ann Keane as the Personal Representative of                                                                                        WD
                                                         JR; P3740                   of Richard Michael Keane, Deceased;          the Estate of Richard Michael Keane, Deceased;

1,095 Richard Muldowney         Constance Muldowney      DKT HAND FILED (3-10-       Constance Muldowney, Individually, as          Constance Muldowney as the Personal Representative                                                                                      WD
                                                         2004); 1:03-cv-9849         Spouse of Richard Muldowney, Deceased;         of the Estate of Richard Muldowney, Deceased;
                                                         (RCC); P5199
1,096 Richard N. Poulos         Margaret Poulos          DKT 232; 1:02-cv-01616-     Margaret Poulos, Individually, as Spouse of    Margaret Poulos as the Representative of the Estate of                                                                                  WD
                                                         JR; P3902                   Richard N. Poulos, Deceased;                   Richard N. Poulos, Deceased;
1,097 Richard P. Miuccio        Joyce Miuccio            DKT 1; 1:02-cv-01616-JR;    Joyce Miuccio, Individually, as Spouse of      Joyce Miuccio as the Personal Representative of the                                                                                     WD
                                                         394                         Richard P. Miuccio, Deceased;                  Estate of Richard P. Miuccio, Deceased;
1,098 Richard Rodriguez         Cindy Rodriguez          DKT 432; 1:02-cv-01616-     Cindy Rodriguez, Individually, as Spouse of    Cindy Rodriguez as the Representative of the Estate of                                                                                  WD
                                                         JR; P4939                   Richard Rodriguez, Deceased;                   Richard Rodriguez, Deceased;

1,099 Richard Rosenthal         Loren Rosenthal          DKT 26, 29; 1:02-cv-        Loren Rosenthal, Individually, as Spouse of                                                             Loren Rosenthal as              Loren Rosenthal, on behalf of S.R., Child of   WD
                                                         01616-JR; 4317              Richard Rosenthal, Deceased;                                                                            Parent/Guardian of S.R.         Richard Rosenthal, Deceased;

1,100 Robert A. Jalbert         Catherine Jalbert        DKT 155; 1:02-cv-01616-     Catherine Jalbert Rothwell, Individually, as   Catherine Jalbert Rothwell as the Personal                                                                                              WD
                                Rothwell                 JR; P2958                   Spouse of Robert A. Jalbert, Deceased;         Representative of the Estate of Robert A. Jalbert,
                                                                                                                                    Deceased;
1,101 Robert A. Rasmussen       Anna Rasmussen           DKT HAND FILED (3-10-       Anna Rasmussen Stansbury, Individually,        Anna Rasmussen Stansbury as the Personal             Anna Rasmussen Stansbury as         Robert Jack Rasmussen, Individually as         WD
                                Stansbury                2004); 1:03-cv-9849         as Spouse of Robert A. Rasmussen,              Representative of the Estate of Robert A. Rasmussen, Parent/Guardian of Robert Jack      Child of Robert A. Rasmussen, Deceased,
                                                         (RCC); P5238                Deceased;                                      Deceased;                                            Rasmussen                           and previously included as minor child of
                                                                                                                                                                                                                             Anna Rasmussen Stansbury;

1,102 Robert A. Rasmussen       Anna Rasmussen           DKT HAND FILED (3-10-       Anna Rasmussen Stansbury, Individually,        Anna Rasmussen Stansbury as the Personal             Anna Rasmussen Stansbury as         Samuel Robert Rasmussen, Individually as       WD
                                Stansbury                2004); 1:03-cv-9849         as Spouse of Robert A. Rasmussen,              Representative of the Estate of Robert A. Rasmussen, Parent/Guardian of Samuel           Child of Robert A. Rasmussen, Deceased,
                                                         (RCC); P5238                Deceased;                                      Deceased;                                            Robert Rasmussen                    and previously included as minor child of
                                                                                                                                                                                                                             Anna Rasmussen Stansbury;

1,103 Robert A. Rasmussen       Anna Rasmussen           DKT HAND FILED (3-10-       Anna Rasmussen Stansbury, Individually,        Anna Rasmussen Stansbury as the Personal             Anna Rasmussen Stansbury as         Taylor Marie Rasmussen, Individually as        WD
                                Stansbury                2004); 1:03-cv-9849         as Spouse of Robert A. Rasmussen,              Representative of the Estate of Robert A. Rasmussen, Parent/Guardian of Taylor Marie     Child of Robert A. Rasmussen, Deceased,
                                                         (RCC); P5238                Deceased;                                      Deceased;                                            Rasmussen                           and previously included as minor child of
                                                                                                                                                                                                                             Anna Rasmussen Stansbury;

1,104 Robert Alan Zampieri      Robert Albert Zampieri   DKT 232; 1:02-cv-01616-     Robert Albert Zampieri, Individually, as       Robert Albert Zampieri as the Personal Representative                                                                                   WD
                                                         JR; P4039                   Parent of Robert Alan Zampieri, Deceased;      of the Estate of Robert Alan Zampieri, Deceased;

1,105 Robert Allan Hepburn      Theresa Lynn Hepburn     DKT 77; 1:02-cv-01616-      Theresa Lynn Hepburn, Individually, as    Theresa Lynn Hepburn as the Personal                                                                                                         WD
                                                         JR; P2632                   Spouse of Robert Allan Hepburn, Deceased; Representative of the Estate of Robert Allan Hepburn,
                                                                                                                               Deceased;


                                                                                                                                     68
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 69 of 88




                                                                                                                                                                                                                                                                              Nature of Claim
 Number
                                   Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
          9/11 Decedent Name      Currently named in                                      Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                             Complaint                                                                                                                                                               plaintiff in their own right
                                      complaint                                                                                                      9/11 Decedent                                  Minor Child


1,106 Robert C. Kennedy          Maureen Kennedy       DKT 432; 1:03-md-01570- Maureen Kennedy, Individually, as Spouse           Maureen Kennedy as the Personal Representative of                                                                                           WD
                                                       GBD-SN; P5383           of Robert C. Kennedy, Deceased;                    the Estate of Robert C. Kennedy, Deceased;

1,107 Robert Curatolo            Christine Curatolo    DKT 26, 29; 1:02-cv-        Christine Curatolo, Individually, as Spouse    Christine Curatolo as the Personal Representative of                                                                                   WD
                                                       01616-JR; 1915              of Robert Curatolo, Deceased;                  the Estate of Robert Curatolo, Deceased;
1,108 Robert D. Cirri, Sr.       Eileen Mary Cirri     DKT 313; 1:02-cv-01616-     Eileen D. Cirri, Individually, as Spouse of    Eileen Mary Cirri as the Personal Representative of the Eileen Mary Cirri as             Bianca Isabel Jerez, Individually as Step-    WD
                                                       JR; P4627                   Robert D. Cirri, Sr., Deceased;                Estate of Robert D. Cirri, Sr., Deceased;               Parent/Guardian of Bianca Isabel Child of Robert D. Cirri, Deceased, and
                                                                                                                                                                                          Jerez                            previously included as minor child of Eileen
                                                                                                                                                                                                                           Mary Cirri;
1,109 Robert D. Cirri, Sr.       Eileen Mary Cirri     DKT 313; 1:02-cv-01616-     Eileen D. Cirri, Individually, as Spouse of    Eileen Mary Cirri as the Personal Representative of the Eileen Mary Cirri as             Kara Lydia Jerez, Individually as Step-Child WD
                                                       JR; P4627                   Robert D. Cirri, Sr., Deceased;                Estate of Robert D. Cirri, Sr., Deceased;               Parent/Guardian of Kara Lydia    of Robert D. Cirri, Deceased, and previously
                                                                                                                                                                                          Jerez                            included as minor child of Eileen Mary Cirri;

1,110 Robert D. Cirri, Sr.       Eileen Mary Cirri     DKT 313; 1:02-cv-01616-     Eileen D. Cirri, Individually, as Spouse of    Eileen Mary Cirri as the Personal Representative of the Eileen Mary Cirri as                Eileen Mary Cirri on behalf of F.M.J., Step-    WD
                                                       JR; P4627                   Robert D. Cirri, Sr., Deceased;                Estate of Robert D. Cirri, Sr., Deceased;               Parent/Guardian of F.M.J.           Child of Robert D. Cirri, Deceased;
1,111 Robert D. Cirri, Sr.       Judy C. Cirri         DKT 155; 1:02-cv-01616-                                                                                                            Judy C. Cirri as Parent/Guardian    Jessica Cirri-Perez, Individually as Child of   WD
                                                       JR; P2848                                                                                                                          of Jessica Cirri-Perez              Robert D. Cirri, Deceased, and previously
                                                                                                                                                                                                                              included as minor child of Judy C. Cirri;

1,112 Robert E. Dolan            Lisa T. Dolan         DKT 432; 1:02-cv-01616-     Lisa T. Dolan, Individually, as Spouse of      Lisa T. Dolan as the Representative of the Estate of     Lisa T. Dolan as Parent/Guardian Lisa T. Dolan on behalf of R.D., Child of         WD
                                                       JR; P4831                   Robert E. Dolan, Deceased;                     Robert E. Dolan, Deceased;                               of R.D.                          Robert E. Dolan, Deceased;
1,113 Robert E. Dolan            Lisa T. Dolan         DKT 432; 1:02-cv-01616-     Lisa T. Dolan, Individually, as Spouse of      Lisa T. Dolan as the Representative of the Estate of     Lisa T. Dolan as Parent/Guardian Lisa T. Dolan on behalf of R.L.D., Child of       WD
                                                       JR; P4831                   Robert E. Dolan, Deceased;                     Robert E. Dolan, Deceased;                               of R.L.D.                        Robert E. Dolan, Deceased;
1,114 Robert E. Sutcliffe, Jr.   Margaret Sutcliffe    DKT 232; 1:02-cv-01616-     Margaret Sutcliffe, Individually, as Spouse of Margaret Sutcliffe as the Representative of the Estate   Margaret Sutcliffe as            Brett R. Sutcliffe, Individually as Child of      WD
                                                       JR; P3967                   Robert E. Sutcliffe, Jr., Deceased;            of Robert E. Sutcliffe, Jr., Deceased;                   Parent/Guardian of Brett R.      Robert E. Sutcliffe, Deceased, and
                                                                                                                                                                                           Sutcliffe                        previously included as minor child of
                                                                                                                                                                                                                            Margaret Sutcliffe;
1,115 Robert E. Sutcliffe, Jr.   Margaret Sutcliffe    DKT 232; 1:02-cv-01616-     Margaret Sutcliffe, Individually, as Spouse of Margaret Sutcliffe as the Representative of the Estate   Margaret Sutcliffe as            Kara P. Sutcliffe, Individually as Child of       WD
                                                       JR; P3967                   Robert E. Sutcliffe, Jr., Deceased;            of Robert E. Sutcliffe, Jr., Deceased;                   Parent/Guardian of Kara P.       Robert E. Sutcliffe, Deceased, and
                                                                                                                                                                                           Sutcliffe                        previously included as minor child of
                                                                                                                                                                                                                            Margaret Sutcliffe;
1,116 Robert E. Sutcliffe, Jr.   Margaret Sutcliffe    DKT 232; 1:02-cv-01616-     Margaret Sutcliffe, Individually, as Spouse of Margaret Sutcliffe as the Representative of the Estate   Margaret Sutcliffe as            Kyle R. Sutcliffe, Individually as Child of       WD
                                                       JR; P3967                   Robert E. Sutcliffe, Jr., Deceased;            of Robert E. Sutcliffe, Jr., Deceased;                   Parent/Guardian of Kyle R.       Robert E. Sutcliffe, Deceased, and
                                                                                                                                                                                           Sutcliffe                        previously included as minor child of
                                                                                                                                                                                                                            Margaret Sutcliffe;
1,117 Robert Fazio, Jr.          Carole Lovero         DKT 305; 1:02-cv-01616-     Carole Lovero, Individually, as Sibling of     Carole Lovero as the Personal Representative of the                                                                                         WD
                                                       JR; P4268                   Robert Fazio, Jr., Deceased;                   Estate of Robert Fazio, Jr., Deceased;
1,118 Robert Francis Mace        Kenneth J. Mace       DKT 232; 1:02-cv-01616-     Kenneth J. Mace, Individually, as Sibling of   Kenneth J. Mace as the Personal Representative of                                                                                           WD
                                                       JR; P3813                   Robert Francis Mace, Deceased;                 the Estate, and as the Representative of the Estate of
                                                                                                                                  Robert Francis Mace, Deceased;
1,119 Robert Frank Tipaldi       Richard Tipaldi       DKT 232; 1:02-cv-01616-     Richard Tipaldi, Individually, as Parent of    Richard Tipaldi as the Personal Representative of the                                                                                       WD
                                                       JR; P4097                   Robert Frank Tipaldi, Deceased;                Estate of Robert Frank Tipaldi, Deceased;
1,120 Robert Higley              John D. Higley        DKT 3; 1:02-cv-01616-JR;    John D. Higley, Individually, as Parent of                                                              John D. Higley as                  Rachael Celeste Higley, Individually as    WD
                                                       1241                        Robert Higley, Deceased;                                                                                Parent/Guardian of Rachael         Sibling of Robert Dale Warren Higley, II,
                                                                                                                                                                                           Celeste Higley                     Deceased, and previously included as minor
                                                                                                                                                                                                                              child of John D. Higley;
1,121 Robert J. Cordice          Caroline Cordice      DKT 26, 29; 1:02-cv-        Caroline Cordice, Individually, as Parent of   Caroline Cordice as the Personal Representative of                                                                                     WD
                                                       01616-JR; 2896              Robert J. Cordice, Deceased;                   the Estate of Robert J. Cordice, Deceased;
1,122 Robert J. DeAngelis, Jr.   Denise DeAngelis      DKT 3; 1:02-cv-01616-JR;    Denise DeAngelis, Individually, as Spouse      Denise DeAngelis as the Representative of the Estate                                                                                        WD
                                                       1772                        of Robert J. DeAngelis, Jr., Deceased;         of Robert J. DeAngelis, Jr., Deceased;

1,123 Robert J. Gerlich          Rochelle Gerlich      DKT 305; 1:02-cv-01616-     Rochelle Gerlich, Individually, as Spouse of   Rochelle Gerlich as the Personal Representative of the                                                                                      WD
                                                       JR; P4293                   Robert J. Gerlich, Deceased;                   Estate of Robert J. Gerlich, Deceased;




                                                                                                                                   69
                                                                 Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 70 of 88




                                                                                                                                                                                                                                                                                  Nature of Claim
 Number
                                     Plaintiff's Name                                                                                      Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                            Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
          9/11 Decedent Name        Currently named in                                         Plaintiff's Individual Capacity             Caption identifying the estate representative of        or Guardian of Previously
                                                                  Complaint                                                                                                                                                                plaintiff in their own right
                                        complaint                                                                                                           9/11 Decedent                                  Minor Child


1,124 Robert Jay Hayes             Debora Lynn Hayes        DKT 305; 1:02-cv-01616-     Debora Lynn Hayes, Individually, as Spouse Debora Lynn Hayes as the Personal Representative of Debora Lynn Hayes as                         Robert Joseph Hayes, Individually as Child WD
                                                            JR; P4317                   of Robert Jay Hayes, Deceased;             the Estate of Robert Jay Hayes, Deceased;           Parent/Guardian of Robert                    of Robert Jay Hayes, Deceased, and
                                                                                                                                                                                       Joseph Hayes                                 previously included as minor child of Debora
                                                                                                                                                                                                                                    Lynn Hayes;
1,125 Robert Jay Hayes             Debora Lynn Hayes        DKT 305; 1:02-cv-01616-     Debora Lynn Hayes, Individually, as Spouse Debora Lynn Hayes as the Personal Representative of Debora Lynn Hayes as                         Ryan Allan Hayes, Individually as Child of   WD
                                                            JR; P4317                   of Robert Jay Hayes, Deceased;             the Estate of Robert Jay Hayes, Deceased;           Parent/Guardian of Ryan Allan                Robert Jay Hayes, Deceased, and
                                                                                                                                                                                       Hayes                                        previously included as minor child of Debora
                                                                                                                                                                                                                                    Lynn Hayes;
1,126 Robert John Fangman          Carole Lynn Ricci        DKT 305; 1:02-cv-01616-     Carole Lynn Ricci, Individually, as Sibling of   Carole Lynn Ricci as the Personal Representative of                                                                                     WD
                                                            JR; P4258                   Robert John Fangman, Deceased;                   the Estate of Robert John Fangman, Deceased;

1,127 Robert John Fangman          Ruth M. Fangman          DKT 432; 1:02-cv-01616-     Ruth M. Fangman, Individually, as Parent of Ruth M. Fangman as the Personal Representative of                                                                                             WD
                                                            JR; P4835                   Robert John Fangman, Deceased;              the Estate of Robert John Fangman, Deceased;

1,128 Robert Joseph Coll, II       Jennifer Bailey Coll     DKT 155; 1:02-cv-01616-     Jennifer Bailey Coll, Individually, as Spouse    Jennifer Bailey Coll as the Personal Representative of   Jennifer Bailey Coll as         Robert Joseph Coll, II, Individually as Child   WD
                                                            JR; P2853                   of Robert Joseph Coll, II, Deceased;             the Estate of Robert Joseph Coll, II, Deceased;          Parent/Guardian of Robert       of Robert Joseph Coll, II, Deceased, and
                                                                                                                                                                                                  Joseph Coll, II, III            previously included as minor child of
                                                                                                                                                                                                                                  Jennifer Bailey Coll;
1,129 Robert Joseph Coll, II       Jennifer Bailey Coll     DKT 155; 1:02-cv-01616-     Jennifer Bailey Coll, Individually, as Spouse    Jennifer Bailey Coll as the Personal Representative of   Jennifer Bailey Coll as         Megan Bailey Coll, Individually as Child of     WD
                                                            JR; P2853                   of Robert Joseph Coll, II, Deceased;             the Estate of Robert Joseph Coll, II, Deceased;          Parent/Guardian of Megan Bailey Robert Joseph Coll, II, Deceased, and
                                                                                                                                                                                                  Coll                            previously included as minor child of
                                                                                                                                                                                                                                  Jennifer Bailey Coll;
1,130 Robert Joseph Foti           Mary G. Foti             DKT 26, 29; 1:02-cv-        Mary G. Foti, Individually, as Spouse of                                                                  Mary G. Foti as Parent/Guardian James Robert Foti, Individually as Child of     WD
                                                            01616-JR; 3192              Robert Joseph Foti, Deceased;                                                                             of James Robert Foti            Robert Joseph Foti, Deceased, and
                                                                                                                                                                                                                                  previously included as minor child of Mary
                                                                                                                                                                                                                                  G. Foti;
1,131 Robert L. Horohoe, Jr.       Robert L. Horohoe, Sr.   DKT 305; 1:02-cv-01616-     Robert L. Horohoe, Sr., Individually, as    Robert L. Horohoe, Sr. as the Personal Representative                                                                                         WD
                                                            JR; P4332                   Parent of Robert L. Horohoe, Jr., Deceased; of the Estate of Robert L. Horohoe, Jr., Deceased;

1,132 Robert Lawrence              Suzanne Burns            DKT 3; 1:02-cv-01616-JR; Suzanne Burns Lawrence, Individually, as                                                                     Suzanne Burns Lawrence as         Robert Appleton Lawrence, III, Individually WD
                                   Lawrence                 1327                     Spouse of Robert Lawrence, Deceased;                                                                         Parent/Guardian of Robert         as Child of Robert A. Lawrence, Jr.,
                                                                                                                                                                                                  Appleton Lawrence, III            Deceased, and previously included as minor
                                                                                                                                                                                                                                    child of Suzanne Burns Lawrence;

1,133 Robert Lawrence              Suzanne Burns            DKT 3; 1:02-cv-01616-JR; Suzanne Burns Lawrence, Individually, as                                                                     Suzanne Burns Lawrence as        Toland Curry Lawrence, Individually as Child WD
                                   Lawrence                 1327                     Spouse of Robert Lawrence, Deceased;                                                                         Parent/Guardian of Toland Curry  of Robert A. Lawrence, Jr., Deceased, and
                                                                                                                                                                                                  Lawrence                         previously included as minor child of
                                                                                                                                                                                                                                   Suzanne Burns Lawrence;
1,134 Robert Louis Scandole, Jr.   Sheila Marie Scandole    DKT 432; 1:02-cv-01616-     Sheila Marie Scandole, Individually, as          Sheila Marie Scandole as the Representative of the       Sheila Marie Scandole as         Emma Scandole, Individually as Child of      WD
                                                            JR; P4948                   Spouse of Robert Louis Scandole, Jr.,            Estate of Robert Louis Scandole, Jr., Deceased;          Parent/Guardian of Emma          Robert Louis Scandole, Jr., Deceased, and
                                                                                        Deceased;                                                                                                 Scandole                         previously included as minor child of Sheila
                                                                                                                                                                                                                                   Marie Scandole;
1,135 Robert Louis Scandole, Jr.   Sheila Marie Scandole    DKT 432; 1:02-cv-01616-     Sheila Marie Scandole, Individually, as          Sheila Marie Scandole as the Representative of the       Sheila Marie Scandole as         Katie O'Grady Scandole, Individually as      WD
                                                            JR; P4948                   Spouse of Robert Louis Scandole, Jr.,            Estate of Robert Louis Scandole, Jr., Deceased;          Parent/Guardian of Katie         Child of Robert Louis Scandole, Jr.,
                                                                                        Deceased;                                                                                                 O'Grady Scandole                 Deceased, and previously included as minor
                                                                                                                                                                                                                                   child of Sheila Marie Scandole;
1,136 Robert Murach                Laurie Ann Murach        DKT 232; 1:02-cv-01616-     Laurie Ann Murach, Individually, as Spouse       Laurie Ann Murach as the Personal Representative of      Laurie Ann Murach as             Hayley Noelle Murach, Individually as Child WD
                                                            JR; P3858                   of Robert Murach, Deceased;                      the Estate of Robert Murach, Deceased;                   Parent/Guardian of Hayley Noelle of Robert Murach, Deceased, and
                                                                                                                                                                                                  Murach                           previously included as minor child of Laurie
                                                                                                                                                                                                                                   Ann Murach;
1,137 Robert Murach                Laurie Ann Murach        DKT 232; 1:02-cv-01616-     Laurie Ann Murach, Individually, as Spouse       Laurie Ann Murach as the Personal Representative of      Laurie Ann Murach as             Madison Zoe Murach, Individually as Child    WD
                                                            JR; P3858                   of Robert Murach, Deceased;                      the Estate of Robert Murach, Deceased;                   Parent/Guardian of Madison Zoe of Robert Murach, Deceased, and
                                                                                                                                                                                                  Murach                           previously included as minor child of Laurie
                                                                                                                                                                                                                                   Ann Murach;



                                                                                                                                          70
                                                          Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 71 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
 Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                     Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                      Plaintiff's Individual Capacity             Caption identifying the estate representative of      or Guardian of Previously
                                                           Complaint                                                                                                                                                              plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                Minor Child


1,138 Robert Parro             Karen Parro           DKT 26, 29; 1:02-cv-        Karen Parro, Individually, as Spouse of          Karen Parro as the Representative of the Estate of     Karen Parro as Parent/Guardian    John Robert Parro, Individually as Child of     WD
                                                     01616-JR; 4120              Robert Parro, Deceased;                          Robert Parro, Deceased;                                of John Robert Parro              Robert Parro, Deceased, and previously
                                                                                                                                                                                                                           included as minor child of Karen Parro;

1,139 Robert R. Talhami        Diana M. Talhami      DKT 232; 1:02-cv-01616-     Diana M. Talhami, Individually, as Spouse of Diana M. Talhami as the Personal Representative of         Diana M. Talhami as               Noah Talhami, Individually as Child of      WD
                                                     JR; P4089                   Robert R. Talhami, Deceased;                 the Estate of Robert R. Talhami, Deceased;                 Parent/Guardian of Noah Talhami Robert R. Talhami, Deceased, and
                                                                                                                                                                                                                           previously included as minor child of Diana
                                                                                                                                                                                                                           M. Talhami;
1,140 Robert S. Speisman       Rena Tempelsman       DKT 77; 1:02-cv-01616-      Rena Tempelsman Speisman, Individually,          Rena Tempelsman Speisman as the Personal               Rena Tempelsman Speisman as Brittany Belle Kugler, Individually as Child of WD
                               Speisman              JR; AP211                   as Spouse of Robert S. Speisman,                 Representative of the Estate of Robert S. Speisman,    Parent/Guardian of Brittany Belle Robert S. Speisman, Deceased, and
                                                                                 Deceased;                                        Deceased;                                              Kugler                            previously included as minor child of Rena
                                                                                                                                                                                                                           Tempelsman Speisman;

1,141 Robert S. Speisman       Rena Tempelsman       DKT 77; 1:02-cv-01616-      Rena Tempelsman Speisman, Individually,          Rena Tempelsman Speisman as the Personal               Rena Tempelsman Speisman as Hayley Rose Speisman, Individually as                 WD
                               Speisman              JR; AP211                   as Spouse of Robert S. Speisman,                 Representative of the Estate of Robert S. Speisman,    Parent/Guardian of Hayley Rose Child of Robert S. Speisman, Deceased,
                                                                                 Deceased;                                        Deceased;                                              Speisman                       and previously included as minor child of
                                                                                                                                                                                                                        Rena Tempelsman Speisman;

1,142 Robert Shay              Dawn Marie Shay       DKT 3; 1:02-cv-01616-JR; Dawn Marie Shay, Individually, as Spouse of                                                                Dawn Marie Shay as                Jonathan Robert Shay, Individually as Child     WD
                                                     1635                     Robert Shay, Deceased;                                                                                     Parent/Guardian of Jonathan       of Robert J. Shay, Jr., Deceased, and
                                                                                                                                                                                         Robert Shay                       previously included as minor child of Dawn
                                                                                                                                                                                                                           Marie Shay;
1,143 Robert Shay              Dawn Marie Shay       DKT 3; 1:02-cv-01616-JR; Dawn Marie Shay, Individually, as Spouse of                                                                Dawn Marie Shay as                Ryan Patrick Shay, Individually as Child of     WD
                                                     1635                     Robert Shay, Deceased;                                                                                     Parent/Guardian of Ryan Patrick   Robert J. Shay, Jr., Deceased, and
                                                                                                                                                                                         Shay                              previously included as minor child of Dawn
                                                                                                                                                                                                                           Marie Shay;
1,144 Robert Shay              Dawn Marie Shay       DKT 3; 1:02-cv-01616-JR; Dawn Marie Shay, Individually, as Spouse of                                                                Dawn Marie Shay as                Robert John Shay, III, Individually as Child    WD
                                                     1635                     Robert Shay, Deceased;                                                                                     Parent/Guardian of Robert John    of Robert J. Shay, Jr., Deceased, and
                                                                                                                                                                                         Shay, III                         previously included as minor child of Dawn
                                                                                                                                                                                                                           Marie Shay;
1,145 Robert T. Hughes, Jr.    Louise Hughes         DKT 432; 1:02-cv-01616-     Louise Hughes, Individually, as Parent of        Louise Hughes as the Co-Personal Representative of                                                                                       WD
                                                     JR; P4868                   Robert T. Hughes, Jr., Deceased;                 the Estate of Robert T. Hughes, Jr., Deceased;

1,146 Robert T. Hughes, Jr.    Robert T. Hughes      DKT 432; 1:02-cv-01616-     Robert T. Hughes, Individually, as Parent of     Robert T. Hughes as the Co-Personal Representative     Robert T. Hughes as               Lyndsey Hughes, Individually as Sibling of      WD
                                                     JR; P4867                   Robert T. Hughes, Jr., Deceased;                 of the Estate of Robert T. Hughes, Jr., Deceased;      Parent/Guardian of Lyndsey        Robert T. Hughes, Deceased, and
                                                                                                                                                                                         Hughes                            previously included as minor child of Robert
                                                                                                                                                                                                                           T. Hughes;
1,147 Robert Vicario           Jill Robin Vicario    DKT 232; 1:02-cv-01616-     Jill Robin Vicario, Individually, as Spouse of   Jill Robin Vicario as the Personal Representative of   Jill Robin Vicario as             Savannah Rose Vicario, Individually as          WD
                                                     JR; P4000                   Robert Vicario, Deceased;                        the Estate of Robert Vicario, Deceased;                Parent/Guardian of Savannah       Child of Robert Vicario, Deceased, and
                                                                                                                                                                                         Rose Vicario                      previously included as minor child of Jill
                                                                                                                                                                                                                           Robin Vicario;
1,148 Robert W. Hamilton       Elizabeth Hamilton    DKT 26, 29; 1:02-cv-        Elizabeth Hamilton, Individually, as Spouse      Elizabeth Hamilton as the Personal Representative of   Elizabeth Hamilton as             Christine Mary Hamilton, Individually as        WD
                                                     01616-JR; 2025              of Robert W. Hamilton, Deceased;                 the Estate of Robert W. Hamilton, Deceased;            Parent/Guardian of Christine      Child of Robert W. Hamilton, Deceased,
                                                                                                                                                                                         Mary Hamilton                     and previously included as minor child of
                                                                                                                                                                                                                           Elizabeth Hamilton;
1,149 Robert W. Hamilton       Elizabeth Hamilton    DKT 26, 29; 1:02-cv-        Elizabeth Hamilton, Individually, as Spouse      Elizabeth Hamilton as the Personal Representative of   Elizabeth Hamilton as             Robert William Hamilton, Jr., Individually as   WD
                                                     01616-JR; 2025              of Robert W. Hamilton, Deceased;                 the Estate of Robert W. Hamilton, Deceased;            Parent/Guardian of Robert         Child of Robert W. Hamilton, Deceased,
                                                                                                                                                                                         William Hamilton, Jr.             and previously included as minor child of
                                                                                                                                                                                                                           Elizabeth Hamilton;
1,150 Robert W. McPadden       Katherine M.          DKT 77; 1:02-cv-01616-      Katherine M. Richardson, Individually, as  Katherine M. Richardson as the Personal                                                                                                        WD
                               Richardson            JR; P2665                   Spouse of Robert W. McPadden, Deceased; Representative of the Estate of Robert W. McPadden,
                                                                                                                            Deceased;
1,151 Robert W. Spear, Jr.     Lorraine Catalano     DKT 77; 1:02-cv-01616-      Lorraine Catalano, Individually, as Spouse Lorraine Catalano as the Representative of the Estate                                                                                          WD
                                                     JR; P2705                   of Robert W. Spear, Jr., Deceased;         of Robert W. Spear, Jr., Deceased;



                                                                                                                                   71
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 72 of 88




                                                                                                                                                                                                                                                                              Nature of Claim
 Number
                                   Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                                 Name of previously minor child now a
          9/11 Decedent Name      Currently named in                                        Plaintiff's Individual Capacity             Caption identifying the estate representative of        or Guardian of Previously
                                                               Complaint                                                                                                                                                                plaintiff in their own right
                                      complaint                                                                                                          9/11 Decedent                                  Minor Child


1,152 Robert Wayne Hobson, III   Cynthia Palmieri McNutt DKT 232; 1:02-cv-01616-     Cynthia Palmieri McNutt, Individually, as        Cynthia Palmieri McNutt as the Personal                                                                                                 WD
                                                         JR; P3720                   Spouse of Robert Wayne Hobson, III,              Representative of the Estate of Robert Wayne
                                                                                     Deceased;                                        Hobson, III, Deceased;
1,153 Robin Lynne Kaplan         Francine Charlotte     DKT 305; 1:02-cv-01616-      Francine Charlotte Kaplan, Individually, as      Francine Charlotte Kaplan as the Personal                                                                                               WD
                                 Kaplan                 JR; P4347                    Parent of Robin Lynne Kaplan, Deceased;          Representative of the Estate of Robin Lynne Kaplan,
                                                                                                                                      Deceased;
1,154 Rocco Nino Gargano         Antonia Gargano        DKT 432; 1:02-cv-01616-      Antonia Gargano, Individually, as Parent of      Antonia Gargano as the Personal Representative of                                                                                       WD
                                                        JR; P4845                    Rocco Nino Gargano, Deceased;                    the Estate of Rocco Nino Gargano, Deceased;
1,155 Rochelle Monique Snell     Jennifer Ann Tucker    DKT 313; 1:02-cv-01616-      Jennifer Ann Tucker, Individually, as Parent     Jennifer Ann Tuckeras the Representative of the                                                                                         WD
                                                        JR; P4738                    of Rochelle Monique Snell, Deceased;             Estate of Rochelle Monique Snell, Deceased;

1,156 Rodney Alonzo Dickens      LaShawn Dickens        DKT HAND FILED (3-10-        LaShawn Dickens, Individually, as Parent of LaShawn Dickens as the Personal Representative of                                                                                            WD
                                                        2004); 1:03-cv-9849          Rodney Alonzo Dickens, Deceased;            the Estate of Rodney Alonzo Dickens, Deceased;
                                                        (RCC); P5040
1,157 Rodney James Wotton        Patricia M. Greene-    DKT 1; 1:02-cv-01616-JR;     Patricia M. Greene-Wotton, Individually, as                                                               Patricia M. Greene-Wotton as      Dorothea Jean Wotton, Individually as Child WD
                                 Wotton                 750                          Spouse of Rodney James Wotton,                                                                            Parent/Guardian of Dorothea       of Rodney James Wotton, Deceased, and
                                                                                     Deceased;                                                                                                 Jean Wotton                       previously included as minor child of Patricia
                                                                                                                                                                                                                                 M. Greene-Wotton;

1,158 Rodney James Wotton        Patricia M. Greene-    DKT 1; 1:02-cv-01616-JR; Patricia M. Greene-Wotton, Individually, as                                                                   Patricia M. Greene-Wotton as      Rodney Patrick Wotton, Individually as Child WD
                                 Wotton                 750                      Spouse of Rodney James Wotton,                                                                                Parent/Guardian of Rodney         of Rodney James Wotton, Deceased, and
                                                                                 Deceased;                                                                                                     Patrick Wotton                    previously included as minor child of Patricia
                                                                                                                                                                                                                                 M. Greene-Wotton;

1,159 Roland Pacheco             Annie Guerrero         DKT 432; 1:03-md-01570-      Annie Guerrero, Individually, as fiancée of      Annie Guerrero as the Representative of the Estate of                                                                                   WD
                                                        GBD-SN; P5422                Roland Pacheco, Deceased;                        Roland Pacheco, Deceased;
1,160 Ronald C. Fazio, Sr.       Janet Fazio            DKT 305; 1:02-cv-01616-      Janet Fazio, Individually, as Spouse of          Janet Fazio as the Representative of the Estate of                                                                                      WD
                                                        JR; P4269                    Ronald C. Fazio, Sr., Deceased;                  Ronald C. Fazio, Sr., Deceased;
1,161 Ronald Franklin Golinski   Irene Mary Golinski    DKT 155; 1:02-cv-01616-      Irene Mary Golinski, Individually, as Spouse     Irene Mary Golinski as the Personal Representative of                                                                                   WD
                                                        JR; P2907                    of Ronald Franklin Golinski, Deceased;           the Estate of Ronald Franklin Golinski, Deceased;

1,162 Ronald G. Tartaro          Karen Ann Reilly       DKT 313; 1:02-cv-01616-      Karen Ann Reilly, Individually, as Spouse of     Karen Ann Reilly as the Personal Representative of       Karen Ann Reilly as              Alana Tartaro, Individually as Child of       WD
                                                        JR; P4746                    Ronald G. Tartaro, Deceased;                     the Estate of Ronald G. Tartaro, Deceased;               Parent/Guardian of Alana Tartaro Ronald G. Tartaro, Deceased, and
                                                                                                                                                                                                                                previously included as minor child of Karen
                                                                                                                                                                                                                                Ann Reilly;
1,163 Ronald G. Tartaro          Karen Ann Reilly       DKT 313; 1:02-cv-01616-      Karen Ann Reilly, Individually, as Spouse of     Karen Ann Reilly as the Personal Representative of       Karen Ann Reilly as              Andrew Christopher Tartaro, Individually as   WD
                                                        JR; P4746                    Ronald G. Tartaro, Deceased;                     the Estate of Ronald G. Tartaro, Deceased;               Parent/Guardian of Andrew        Child of Ronald G. Tartaro, Deceased, and
                                                                                                                                                                                               Christopher Tartaro              previously included as minor child of Karen
                                                                                                                                                                                                                                Ann Reilly;
1,164 Ronald G. Tartaro          Karen Ann Reilly       DKT 313; 1:02-cv-01616-      Karen Ann Reilly, Individually, as Spouse of     Karen Ann Reilly as the Personal Representative of       Karen Ann Reilly as              Danielle Tartaro, Individually as Child of    WD
                                                        JR; P4746                    Ronald G. Tartaro, Deceased;                     the Estate of Ronald G. Tartaro, Deceased;               Parent/Guardian of Danielle      Ronald G. Tartaro, Deceased, and
                                                                                                                                                                                               Tartaro                          previously included as minor child of Karen
                                                                                                                                                                                                                                Ann Reilly;
1,165 Ronald George Hoerner      Barbara Ann Hoerner    DKT 155; 1:02-cv-01616-  Barbara Ann Hoerner, Individually, as                Barbara Ann Hoerner as the Personal Representative                                                                                      WD
                                                        JR; P2933                Spouse of Ronald George Hoerner,                     of the Estate of Ronald George Hoerner, Deceased;
                                                                                 Deceased;
1,166 Ronald L. Gamboa           Maria Regina Merwin    DKT 3; 1:02-cv-01616-JR; Maria Regina Merwin, Individually, as                Maria Regina Merwin as the Personal Representative                                                                                      WD
                                                        1153                     Sibling of Ronald L. Gamboa, Deceased;               of the Estate of Ronald L. Gamboa, Deceased;

1,167 Ronald L. Gilligan         Elizabeth Gilligan     DKT 77; 1:02-cv-01616-       Elizabeth Gilligan, Individually, as Spouse of   Elizabeth Gilligan as the Representative of the Estate                                                                                  WD
                                                        JR; P2609                    Ronald L. Gilligan, Deceased;                    of Ronald L. Gilligan, Deceased;
1,168 Ronald T. Kerwin           Dianne P. Kerwin       DKT 26, 29; 1:02-cv-         Dianne P. Kerwin, Individually, as Spouse of     Dianne P. Kerwin as the Personal Representative of       Dianne P. Kerwin as               Colleen Elizabeth Kerwin, Individually as    WD
                                                        01616-JR; 3541               Ronald T. Kerwin, Deceased;                      the Estate of Ronald T. Kerwin, Deceased;                Parent/Guardian of Colleen        Child of Ronald T. Kerwin, Deceased, and
                                                                                                                                                                                               Elizabeth Kerwin                  previously included as minor child of Dianne
                                                                                                                                                                                                                                 P. Kerwin;


                                                                                                                                       72
                                                               Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 73 of 88




                                                                                                                                                                                                                                                                               Nature of Claim
 Number
                                   Plaintiff's Name                                                                                    Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                          Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
          9/11 Decedent Name      Currently named in                                         Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                                Complaint                                                                                                                                                              plaintiff in their own right
                                      complaint                                                                                                         9/11 Decedent                                  Minor Child


1,169 Ronald T. Kerwin           Dianne P. Kerwin         DKT 26, 29; 1:02-cv-        Dianne P. Kerwin, Individually, as Spouse of Dianne P. Kerwin as the Personal Representative of         Dianne P. Kerwin as               Keith Walter Kerwin, Individually as Child of WD
                                                          01616-JR; 3541              Ronald T. Kerwin, Deceased;                  the Estate of Ronald T. Kerwin, Deceased;                  Parent/Guardian of Keith Walter   Ronald T. Kerwin, Deceased, and previously
                                                                                                                                                                                              Kerwin                            included as minor child of Dianne P. Kerwin;

1,170 Ronald T. Kerwin           Dianne P. Kerwin         DKT 26, 29; 1:02-cv-        Dianne P. Kerwin, Individually, as Spouse of Dianne P. Kerwin as the Personal Representative of         Dianne P. Kerwin as               Ryan Thomas Kerwin, Individually as Child WD
                                                          01616-JR; 3541              Ronald T. Kerwin, Deceased;                  the Estate of Ronald T. Kerwin, Deceased;                  Parent/Guardian of Ryan           of Ronald T. Kerwin, Deceased, and
                                                                                                                                                                                              Thomas Kerwin                     previously included as minor child of Dianne
                                                                                                                                                                                                                                P. Kerwin;
1,171 Rosa J. Gonzalez           Migdalia Coleman         DKT 155; 1:02-cv-01616-     Migdalia Coleman, Individually, as Sibling of Migdalia Coleman as the Personal Representative of        Migdalia Coleman as               Jennifer Hernandez, Individually as Child of WD
                                                          JR; P2910                   Rosa J. Gonzalez, Deceased;                   the Estate of Rosa J. Gonzalez, Deceased;                 Parent/Guardian of Jennifer       Rosa J. Gonzalez, Deceased, and
                                                                                                                                                                                              Hernandez                         previously included as minor child of
                                                                                                                                                                                                                                Migdalia Coleman;
1,172 Rosa Marie Chapa           Jose Javier Chapa        DKT 26, 29; 1:02-cv-        Jose Javier Chapa, Individually, as Spouse     Jose Javier Chapa as the Personal Representative of                                                                                     WD
                                                          01616-JR; 2837              of Rose Marie Chapa, Deceased;                 the Estate of Rose Marie Chapa, Deceased;

1,173 Rosemarie C. Carlson       Craig D. Carlson         DKT 432; 1:02-cv-01616-                                                                                                             Craig D. Carlson as               Craig D. Carlson on behalf of D.C., Child of   WD
                                                          JR; P4787                                                                                                                           Parent/Guardian of D.C.           Rosemarie C. Carlson, Deceased;
1,174 Rosemarie C. Carlson       Craig D. Carlson         DKT 432; 1:02-cv-01616-                                                                                                             Craig D. Carlson as               Craig D. Carlson on behalf of J.D.C., Child    WD
                                                          JR; P4787                                                                                                                           Parent/Guardian of J.D.C.         of Rosemarie C. Carlson, Deceased;

1,175 Rosemarie C. Carlson       Craig D. Carlson         DKT 432; 1:02-cv-01616-                                                                                                             Craig D. Carlson as               Craig D. Carlson on behalf of K.C., Child of   WD
                                                          JR; P4787                                                                                                                           Parent/Guardian of K.C.           Rosemarie C. Carlson, Deceased;
1,176 Rosemarie C. Carlson       Craig D. Carlson         DKT 432; 1:02-cv-01616-                                                                                                             Craig D. Carlson as               Craig D. Carlson on behalf of S.R.C., Child    WD
                                                          JR; P4787                                                                                                                           Parent/Guardian of S.R.C.         of Rosemarie C. Carlson, Deceased;

1,177 Roy Wallace                Susan Ann Wallace        DKT 313; 1:02-cv-01616-     Susan Ann Wallace, Individually, as Spouse Susan Ann Wallace as the Personal Representative of Susan Ann Wallace as                       Susan Ann Wallace on behalf of C.S.W.,         WD
                                                          JR; P4759                   of Roy Wallace, Deceased;                  the Estate of Roy Wallace, Deceased;                Parent/Guardian of C.S.W.                  Child of Roy Wallace, Deceased;

1,178 Roy Wallace                Susan Ann Wallace        DKT 313; 1:02-cv-01616-     Susan Ann Wallace, Individually, as Spouse Susan Ann Wallace as the Personal Representative of Susan Ann Wallace as                       Susan Ann Wallace on behalf of M.A.W.,         WD
                                                          JR; P4759                   of Roy Wallace, Deceased;                  the Estate of Roy Wallace, Deceased;                Parent/Guardian of M.A.W.                  Child of Roy Wallace, Deceased;

1,179 Ruben Esquilin, Jr.        Maria Luisa Bey          DKT432; 1:03-md-01570-      Maria Luisa Bey, Individually, as Parent of    Maria Luisa Bey as the Personal Representative of the                                                                                     WD
                                                          GBD-SN; P5349               Ruben Esquilin, Jr., Deceased;                 Estate of Ruben Esquilin, Jr., Deceased;
1,180 Rudolph N. Riccio          Jo Ann R. Riccio         DKT 232; 1:02-cv-01616-     Jo Ann R. Riccio, Individually, as Spouse of   Jo Ann R. Riccio as the Representative of the Estate                                                                                      WD
                                                          JR; P3928                   Rudolph N. Riccio, Deceased;                   of Rudolph N. Riccio, Deceased;
1,181 Ryan Ashley Kohart         Geoffrey Adam Kohart,    DKT 77; 1:02-cv-01616-      Geoffrey Adam Kohart, Sr., Individually, as    Geoffrey Adam Kohart, Sr. as the Personal                                                                                                 WD
                                 Sr.                      JR; P2645                   Parent of Ryan Ashley Kohart, Deceased;        Representative of the Estate of Ryan Ashley Kohart,
                                                                                                                                     Deceased;
1,182 Ryan D. Fitzgerald         Diane Keating            DKT 305; 1:02-cv-01616-     Diane Keating, Individually, as Parent of      Diane Keating as the Personal Representative of the                                                                                       WD
                                                          JR; P4275                   Ryan D. Fitzgerald, Deceased;                  Estate of Ryan D. Fitzgerald, Deceased;
1,183 Salvatore A. Fiumefreddo   Joan Fiumefreddo         DKT 432; 1:02-cv-01616-     Joan Fiumefreddo, Individually, as Spouse      Joan Fiumefreddo as the Personal Representative of    Joan Fiumefreddo as                  Anthony D. Fiumefreddo, Individually as    WD
                                                          JR; P4841                   of Salvatore A. Fiumefreddo, Deceased;         the Estate of Salvatore A. Fiumefreddo, Deceased;     Parent/Guardian of Anthony D.        Child of Salvatore A. Fiumefreddo,
                                                                                                                                                                                           Fiumefreddo                          Deceased, and previously included as minor
                                                                                                                                                                                                                                child of Joan Fiumefreddo;
1,184 Salvatore Tieri            Maureen Tieri            DKT 3; 1:02-cv-01616-JR;    Maureen Tieri, Individually, as Spouse of                                                               Maureen Tieri as                  Maureen Tieri, on behalf of A.T., Child of WD
                                                          1703                        Salvatore Tieri, Deceased;                                                                              Parent/Guardian of A.T.           Salvatore Tieri, Deceased;
1,185 Salvatore Tieri            Maureen Tieri            DKT 3; 1:02-cv-01616-JR;    Maureen Tieri, Individually, as Spouse of                                                               Maureen Tieri as                  MaureenTieri, on behalf of J.T., Child of  WD
                                                          1703                        Salvatore Tieri, Deceased;                                                                              Parent/Guardian of J.T.           Salvatore Tieri, Deceased;
1,186 Samuel Robert Salvo, Jr.   Gladys H. Salvo          DKT 602; 1:03-md-01570-     Gladys H. Salvo, Individually, as Spouse of    Gladys H. Salvo as the Representative of the Estate of                                                                                WD
                                                          GBD-SN; P5502               Samuel Robert Salvo, Jr., Deceased;            Samuel Robert Salvo, Jr., Deceased;
1,187 Sandra D. Teague           Elaine Sherrill Teague   DKT HAND FILED (3-10-       Elaine Sherrill Teague, Individually, as       Elaine Sherrill Teague as the Personal Representative                                                                                     WD
                                                          2004); 1:03-cv-9849         Parent of Sandra D. Teague, Deceased;          of the Estate of Sandra D. Teague, Deceased;
                                                          (RCC); P5283
1,188 Sara Elizabeth Manley      Robert William Harvey    DKT 232; 1:02-cv-01616-     Robert William Harvey, Individually, as        Robert William Harvey as the Personal Representative                                                                                      WD
                                                          JR; P3818                   Spouse of Sara Elizabeth Manley,               of the Estate of Sara Elizabeth Manley, Deceased;
                                                                                      Deceased;
                                                                                                                                      73
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 74 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
 Number
                                 Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity          Caption identifying the estate representative of      or Guardian of Previously
                                                            Complaint                                                                                                                                                           plaintiff in their own right
                                    complaint                                                                                                      9/11 Decedent                                Minor Child


1,189 Sarah Ali Escarcega      Rogelio R. Escarcega   DKT 313; 1:02-cv-01616-     Rogelio R. Escarcega, Individually, as        Rogelio R. Escarcega as the Personal Representative                                                                                     WD
                                                      JR; P4639                   Spouse of Sarah Ali Escarcega, Deceased;      of the Estate of Sarah Ali Escarcega, Deceased;

1,190 Sarah Khan               Nazam Khan             DKT 1; 1:02-cv-01616-JR; Nazam Khan, Individually, as Spouse of           Nazam Khan as the Personal Representative of the       Nazam Khan as Parent/Guardian Ameiza Khan, Individually as Child of Sarah WD
                                                      321                      Sarah Khan, Deceased;                            Estate of Sarah Khan, Deceased;                        of Ameiza Khan                Khan, Deceased, and previously included as
                                                                                                                                                                                                                     minor child of Nazam Khan;
1,191 Sarah Khan               Nazam Khan             DKT 1; 1:02-cv-01616-JR; Nazam Khan, Individually, as Spouse of           Nazam Khan as the Personal Representative of the       Nazam Khan as Parent/Guardian Shaneeza Periana-Pillai, Individually as    WD
                                                      321                      Sarah Khan, Deceased;                            Estate of Sarah Khan, Deceased;                        of Shaneeza Periana-Pillai    Child of Sarah Khan, Deceased, and
                                                                                                                                                                                                                     previously included as minor child of Nazam
                                                                                                                                                                                                                     Khan;
1,192 Sarah Miller Clark       Tracey Clark Bourke    DKT 432; 1:02-cv-01616-     Tracey Clark Bourke, Individually, as Child   Tracey Clark Bourke as the Personal Representative                                                                               WD
                                                      JR; P4794                   of Sarah Miller Clark, Deceased;              of the Estate of Sarah Miller Clark, Deceased;

1,193 Scott Charles Timmes     Kristine Timmes        DKT 26, 29; 1:02-cv-        Kristine Timmes, Individually, as Spouse of                                                          Kristine Timmes as                Sydney Ellyn Timmes, Individually as Child WD
                                                      01616-JR; 4555              Scott Charles Timmes, Deceased;                                                                      Parent/Guardian of Sydney Ellyn   of Scott Charles Timmes, Deceased, and
                                                                                                                                                                                       Timmes                            previously included as minor child of Kristine
                                                                                                                                                                                                                         Timmes;
1,194 Scott Davidson           Amy W. Davidson        DKT 1; 1:02-cv-01616-JR;                                                                                                         Amy W. Davidson as                Amy W. Davidson on behalf of P.D., Child of WD
                                                      165                                                                                                                              Parent/Guardian of P.D.           Scott Davidson, Deceased;
1,195 Scott Davidson           Amy W. Davidson        DKT 1; 1:02-cv-01616-JR;                                                                                                         Amy W. Davidson as                Amy W. Davidson on behalf of C.D., Child       WD
                                                      165                                                                                                                              Parent/Guardian of C.D.           of Scott Davidson, Deceased;
1,196 Scott Hazelcorn          Charles Hazelcorn      DKT 232; 1:02-cv-01616- Charles Hazelcorn, Individually, as Parent of Charles Hazelcorn as the Personal Representative of                                                                                         WD
                                                      JR; P3715                Scott Hazelcorn, Deceased;                   the Estate of Scott Hazelcorn, Deceased;

1,197 Scott Howard Saber       Brian W. Saber         DKT 155; 1:02-cv-01616-     Brian W. Saber, Individually, as Sibling of   Brian W. Saber as the Personal Representative of the                                                                                    WD
                                                      JR; P3080                   Scott Howard Saber, Deceased;                 Estate of Scott Howard Saber, Deceased;
1,198 Scott Larsen             Carolann Larsen        DKT HAND FILED (3-10-       Carolann Larsen, Individually, as Spouse of   Carolann Larsen as the Representative of the Estate    Carolann Larsen as               August Larsen, Individually as Child of Scott WD
                                                      2004); 1:03-cv-9849         Scott Larsen, Deceased;                       of Scott Larsen, Deceased;                             Parent/Guardian of August Larsen Larsen, Deceased, and previously included
                                                      (RCC); P5143                                                                                                                                                      as minor child of Carolann Larsen;

1,199 Scott Larsen             Carolann Larsen        DKT HAND FILED (3-10-       Carolann Larsen, Individually, as Spouse of   Carolann Larsen as the Representative of the Estate    Carolann Larsen as                Brenda Larsen, Individually as Child of Scott WD
                                                      2004); 1:03-cv-9849         Scott Larsen, Deceased;                       of Scott Larsen, Deceased;                             Parent/Guardian of Brenda         Larsen, Deceased, and previously included
                                                      (RCC); P5143                                                                                                                     Larsen                            as minor child of Carolann Larsen;

1,200 Scott Larsen             Carolann Larsen        DKT HAND FILED (3-10-       Carolann Larsen, Individually, as Spouse of   Carolann Larsen as the Representative of the Estate    Carolann Larsen as               Marisa Larsen, Individually as Child of Scott   WD
                                                      2004); 1:03-cv-9849         Scott Larsen, Deceased;                       of Scott Larsen, Deceased;                             Parent/Guardian of Marisa Larsen Larsen, Deceased, and previously included
                                                      (RCC); P5143                                                                                                                                                      as minor child of Carolann Larsen;

1,201 Scott Larsen             Carolann Larsen        DKT HAND FILED (3-10-       Carolann Larsen, Individually, as Spouse of   Carolann Larsen as the Representative of the Estate    Carolann Larsen as                Scott Brian Larsen, Individually as Child of   WD
                                                      2004); 1:03-cv-9849         Scott Larsen, Deceased;                       of Scott Larsen, Deceased;                             Parent/Guardian of Scott Brian    Scott Larsen, Deceased, and previously
                                                      (RCC); P5143                                                                                                                     Larsen                            included as minor child of Carolann Larsen;

1,202 Scott Thomas Coleman     Jean Coleman           DKT 232; 1:02-cv-01616-     Jean Coleman, Individually, as Parent of      Jean Coleman as the Personal Representative of the                                                                                      WD
                                                      JR; P3652                   Scott Thomas Coleman, Deceased;               Estate of Scott Thomas Coleman, Deceased;
1,203 Scott Thomas Coleman     Neil Keith Coleman     DKT 232; 1:02-cv-01616-     Neil Keith Coleman, Individually, as Parent   Neil Keith Coleman as the Personal Representative of                                                                                    WD
                                                      JR; P3653                   of Scott Thomas Coleman, Deceased;            the Estate of Scott Thomas Coleman, Deceased;

1,204 Sean Booker              Sharon Booker          DKT 3; 1:02-cv-01616-JR; Sharon Booker, Individually, as Spouse of                                                               Sharon Booker as                  Denzel Cameron Booker, Individually as       WD
                                                      928                      Sean Booker, Deceased;                                                                                  Parent/Guardian of Denzel         Child of Sean Booker, Deceased, and
                                                                                                                                                                                       Cameron Booker                    previously included as minor child of Sharon
                                                                                                                                                                                                                         Booker;
1,205 Sean Booker              Sharon Booker          DKT 3; 1:02-cv-01616-JR; Sharon Booker, Individually, as Spouse of                                                               Sharon Booker as                  Danielle Marie Booker, Individually as Child WD
                                                      928                      Sean Booker, Deceased;                                                                                  Parent/Guardian of Danielle       of Sean Booker, Deceased, and previously
                                                                                                                                                                                       Marie Booker                      included as minor child of Sharon Booker;



                                                                                                                                 74
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 75 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
 Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                           plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                Minor Child


1,206 Sean Booker              Sharon Booker           DKT 3; 1:02-cv-01616-JR; Sharon Booker, Individually, as Spouse of                                                                Sharon Booker as                Sean Booker, Jr., Individually as Child of      WD
                                                       928                      Sean Booker, Deceased;                                                                                   Parent/Guardian of Sean Booker, Sean Booker, Deceased, and previously
                                                                                                                                                                                         Jr.                             included as minor child of Sharon Booker;

1,207 Sean Patrick Lynch       Michael John Lynch      DKT 232; 1:02-cv-01616-     Michael John Lynch, Individually, as Sibling   Michael John Lynch as the Personal Representative of                                                                                   WD
                                                       JR; P3807                   of Sean Patrick Lynch, Deceased;               the Estate of Sean Patrick Lynch, Deceased;

1,208 Seilai Khoo              Solomon Gayle           DKT 155; 1:02-cv-01616-     Solomon Gayle, Individually, as fiancé of    Solomon Gayle as the Personal Representative of the                                                                                      WD
                                                       JR; P2973                   Seilai Khoo, Deceased;                       Estate of Seilai Khoo, Deceased;
1,209 Seth A. Morris           Lynn Morris-Piccolo     DKT 26, 29; 1:02-cv-        Lynn Morris-Piccolo, Individually, as Spouse                                                          Lynn Morris-Piccolo as           Hayley Shaw Morris, Individually as Child of   WD
                                                       01616-JR; 3954              of Seth A. Morris, Deceased;                                                                          Parent/Guardian of Hayley Shaw   Seth A. Morris, Deceased, and previously
                                                                                                                                                                                         Morris                           included as minor child of Lynn Morris-
                                                                                                                                                                                                                          Piccolo;
1,210 Seth A. Morris           Lynn Morris-Piccolo     DKT 26, 29; 1:02-cv-        Lynn Morris-Piccolo, Individually, as Spouse                                                          Lynn Morris-Piccolo as           Kyle Bailey Morris, Individually as Child of   WD
                                                       01616-JR; 3954              of Seth A. Morris, Deceased;                                                                          Parent/Guardian of Kyle Bailey   Seth A. Morris, Deceased, and previously
                                                                                                                                                                                         Morris                           included as minor child of Lynn Morris-
                                                                                                                                                                                                                          Piccolo;
1,211 Seth A. Morris           Lynn Morris-Piccolo     DKT 26, 29; 1:02-cv-        Lynn Morris-Piccolo, Individually, as Spouse                                                          Lynn Morris-Piccolo as           Madilynn Elizabeth Morris, Individually as     WD
                                                       01616-JR; 3954              of Seth A. Morris, Deceased;                                                                          Parent/Guardian of Madilynn      Child of Seth A. Morris, Deceased, and
                                                                                                                                                                                         Elizabeth Morris                 previously included as minor child of Lynn
                                                                                                                                                                                                                          Morris-Piccolo;
1,212 Shai Levinhar            Liat Levinhar           DKT 232; 1:02-cv-01616-JR;Liat Levinhar, Individually, as Spouse of
                                                                                  P3778                                           Liat Levinhar as the Representative of the Estate of                                                                                   WD
                                                                                 Shai Levinhar, Deceased;                         Shai Levinhar, Deceased;
1,213 Shannon Marie Fava       Frank Joseph Fava       DKT 1; 1:02-cv-01616-JR; Frank Joseph Fava, Individually, as Spouse        Frank Joseph Fava as the Personal Representative of    Frank Joseph Fava as             Joseph Anthony Fava, Individually as Child     WD
                                                       210                       of Shannon Marie Fava, Deceased;                 the Estate of Shannon Marie Fava, Deceased;            Parent/Guardian of Joseph        of Shannon Marie Fava, Deceased, and
                                                                                                                                                                                         Anthony Fava                     previously included as minor child of Frank
                                                                                                                                                                                                                          Joseph Fava;
1,214 Sharon Ann Carver        Sylvia Annette Carver   DKT 305; 1:02-cv-01616-     Sylvia Annette Carver, Individually, as        Sylvia Annette Carver as the Personal Representative                                                                                   WD
                                                       JR; P4161                   Sibling of Sharon Ann Carver, Deceased;        of the Estate of Sharon Ann Carver, Deceased;

1,215 Shawn Michael Nassaney   Margaret Marion         DKT 155; 1:02-cv-01616- Margaret Marion Nassaney, Individually, as         Margaret Marion Nassaney as the Co-Personal                                                                                            WD
                               Nassaney                JR; P3043               Parent of Shawn Michael Nassaney,                  Representative of the Estate of Shawn Michael
                                                                               Deceased;                                          Nassaney, Deceased;
1,216 Shawn Michael Nassaney   Patrick John Nassaney, DKT 1; 1:02-cv-01616-JR; Patrick John Nassaney, Sr., Individually, as       Patrick John Nassaney Sr. as the Co-Personal                                                                                           WD
                               Sr.                    787 (DOE 12)             Parent of Shawn Michael Nassaney,                  Representative of the Estate of Shawn Michael
                                                                               Deceased;                                          Nassaney, Deceased;
1,217 Shelley A. Marshall      Donn E. Marshall       DKT 232; 1:02-cv-01616- Donn E. Marshall, Individually, as Spouse of        Donn E. Marshall as the Personal Representative of     Donn E. Marshall as              Chandler Hope Marshall, Individually as     WD
                                                      JR; P3819                Shelley A. Marshall, Deceased;                     the Estate of Shelley A. Marshall, Deceased;           Parent/Guardian of Chandler      Child of Shelley A. Marshall, Deceased, and
                                                                                                                                                                                         Hope Marshall                    previously included as minor child of Donn
                                                                                                                                                                                                                          E. Marshall;
1,218 Shelley A. Marshall      Donn E. Marshall        DKT 232; 1:02-cv-01616-     Donn E. Marshall, Individually, as Spouse of Donn E. Marshall as the Personal Representative of       Donn E. Marshall as              Drake Donovan Marshall, Individually as     WD
                                                       JR; P3819                   Shelley A. Marshall, Deceased;               the Estate of Shelley A. Marshall, Deceased;             Parent/Guardian of Drake         Child of Shelley A. Marshall, Deceased, and
                                                                                                                                                                                         Donovan Marshall                 previously included as minor child of Donn
                                                                                                                                                                                                                          E. Marshall;
1,219 Shevonne Olicia Mentis   Myrtle Bazil            DKT 77; 1:02-cv-01616-      Myrtle Bazil, Individually, as Parent of       Myrtle Bazil as the Personal Representative of the                                                                                  WD
                                                       JR; P2532                   Shevonne Olicia Mentis, Deceased;              Estate of Shevonne Olicia Mentis, Deceased;
1,220 Shuyin Yang              Rui Zheng               DKT 155; 1:02-cv-01616-     Rui Zheng, Individually, as Child of Shuyin    Rui Zheng as the Personal Representative of the                                                                                        WD
                                                       JR; P3168                   Yang, Deceased;                                Estate of Shuyin Yang, Deceased;
1,221 Siew-Nya Ang             Kui Liong Lee           DKT 305; 1:02-cv-01616-     Kui Liong Lee, Individually, as Spouse of      Kui Liong Lee as the Personal Representative of the    Kui Liong Lee as                 Winnee Lee, Individually as Child of Siew-     WD
                                                       JR; P4108                   Siew-Nya Ang, Deceased;                        Estate of Siew-Nya Ang, Deceased;                      Parent/Guardian of Winnee Lee    Nya Ang, Deceased, and previously
                                                                                                                                                                                                                          included as minor child of Kui Liong Lee;

1,222 Siew-Nya Ang             Kui Liong Lee           DKT 305; 1:02-cv-01616-     Kui Liong Lee, Individually, as Spouse of      Kui Liong Lee as the Personal Representative of the    Kui Liong Lee as                 Jeanee Lee, Individually as Child of Siew-     WD
                                                       JR; P4108                   Siew-Nya Ang, Deceased;                        Estate of Siew-Nya Ang, Deceased;                      Parent/Guardian of Jeanee Lee    Nya Ang, Deceased, and previously
                                                                                                                                                                                                                          included as minor child of Kui Liong Lee;


                                                                                                                                   75
                                                              Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 76 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
 Number
                                  Plaintiff's Name                                                                                     Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                         Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
          9/11 Decedent Name     Currently named in                                         Plaintiff's Individual Capacity            Caption identifying the estate representative of      or Guardian of Previously
                                                               Complaint                                                                                                                                                              plaintiff in their own right
                                     complaint                                                                                                          9/11 Decedent                                Minor Child


1,223 Simon James Turner        Elizabeth Rachel Turner DKT 432; 1:02-cv-01616-      Elizabeth Rachel Turner, Individually, as    Elizabeth Rachel Turner as the Personal               Elizabeth Rachel Turner as             Elizabeth Rachel Turner on behalf of             WD
                                                        JR; P4959                    Spouse of Simon James Turner, Deceased; Representative of the Estate of Simon James Turner, Parent/Guardian of W.S.T.                     W.S.T., Child of Simon James Turner,
                                                                                                                                  Deceased;                                                                                    Deceased;
1,224 Simon Marash Dedvukaj     Nik M. Dedvukaj          DKT 155; 1:02-cv-01616-     Nik M. Dedvukaj, Individually, as Sibling of Nik M. Dedvukaj as the Personal Representative of the                                                                                         WD
                                                         JR; P2871                   Simon Marash Dedvukaj, Deceased;             Estate of Simon Marash Dedvukaj, Deceased;

1,225 Stacey Lynn Peak          Bobbie Catherine Peak DKT 305; 1:02-cv-01616-        Bobbie Catherine Peak, Individually, as         Bobbie Catherine Peak as the Representative of the                                                                                         WD
                                                      JR; P4471                      Parent of Stacey Lynn Peak, Deceased;           Estate of Stacey Lynn Peak, Deceased;
1,226 Stephanie Marie McKenna   Patricia McKenna      DKT 26, 29; 1:02-cv-           Patricia McKenna, Individually, as Sibling of   Patricia McKenna as the Personal Representative of     Patricia McKenna as              Brian Terzian, Individually as Child of            WD
                                                      01616-JR; 2174                 Stephanie Marie McKenna, Deceased;              the Estate of Stephanie Marie McKenna, Deceased;       Parent/Guardian of Brian Terzian Stephanie Marie McKenna, Deceased, and
                                                                                                                                                                                                                             previously included as minor child by
                                                                                                                                                                                                                             Patricia McKenna guardian;
1,227 Stephen Bunin             Aseneth Bunin            DKT 232; 1:02-cv-01616-     Aseneth Bunin, Individually, as Spouse of       Aseneth Bunin as the Representative of the Estate of                                                                                       WD
                                                         JR; P3618                   Stephen Bunin, Deceased;                        Stephen Bunin, Deceased;
1,228 Stephen Edward Tighe      Kathleen Marie Tighe     DKT 26, 29; 1:02-cv-        Kathleen Marie Tighe, Individually, as          Kathleen Marie Tighe as the Personal Representative                                                                                        WD
                                                         01616-JR; 2398              Spouse of Stephen Edward Tighe,                 of the Estate of Stephen Edward Tighe, Deceased;
                                                                                     Deceased;
1,229 Stephen F. Masi           Joan Marie Masi          DKT 232; 1:02-cv-01616-     Joan Marie Masi, Individually, as Spouse of     Joan Marie Masi as the Representative of the Estate of Joan Marie Masi as                 Stephen J. Masi, Individually as Child of        WD
                                                         JR; P4069                   Stephen F. Masi, Deceased;                      Stephen F. Masi, Deceased;                             Parent/Guardian of Stephen J.      Stephen F. Masi, Deceased, and previously
                                                                                                                                                                                            Masi                               included as minor child of Joan Marie Masi;

1,230 Stephen G. Hoffman        Gabrielle Hoffman        DKT 26, 29; 1:02-cv-        Gabrielle Hoffman, Individually, as Spouse                                                             Gabrielle Hoffman as                Madeline Claire Hoffman, Individually as        WD
                                                         01616-JR; 2495              of Stephen G. Hoffman, Deceased;                                                                       Parent/Guardian of Madeline         Child of Stephen G. Hoffman, Deceased,
                                                                                                                                                                                            Claire Hoffman                      and previously included as minor child of
                                                                                                                                                                                                                                Gabrielle Hoffman;
1,231 Stephen G. Siller         Sarah Elizabeth Siller   DKT 77; 1:02-cv-01616-      Sarah Elizabeth Siller, Individually, as        Sarah Elizabeth Siller as the Representative of the    Sarah Elizabeth Siller as           Genevieve E. Siller, Individually as Child of   WD
                                                         JR; AP210 (DOE 99)          Spouse of Stephen G. Siller, Deceased;          Estate of Stephen G. Siller, Deceased;                 Parent/Guardian of Genevieve E. Stephen G. Siller, Deceased, and previously
                                                                                                                                                                                            Siller                              included as minor child of Sarah Elizabeth
                                                                                                                                                                                                                                Siller;
1,232 Stephen G. Siller         Sarah Elizabeth Siller   DKT 77; 1:02-cv-01616-      Sarah Elizabeth Siller, Individually, as        Sarah Elizabeth Siller as the Representative of the    Sarah Elizabeth Siller as           Jake A. Siller, Individually as Child of        WD
                                                         JR; AP210 (DOE 99)          Spouse of Stephen G. Siller, Deceased;          Estate of Stephen G. Siller, Deceased;                 Parent/Guardian of Jake A. Siller Stephen G. Siller, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of Sarah Elizabeth
                                                                                                                                                                                                                                Siller;
1,233 Stephen G. Siller         Sarah Elizabeth Siller   DKT 77; 1:02-cv-01616-      Sarah Elizabeth Siller, Individually, as        Sarah Elizabeth Siller as the Representative of the    Sarah Elizabeth Siller as           Katherine M. Siller, Individually as Child of   WD
                                                         JR; AP210 (DOE 99)          Spouse of Stephen G. Siller, Deceased;          Estate of Stephen G. Siller, Deceased;                 Parent/Guardian of Katherine M. Stephen G. Siller, Deceased, and previously
                                                                                                                                                                                            Siller                              included as minor child of Sarah Elizabeth
                                                                                                                                                                                                                                Siller;
1,234 Stephen G. Siller         Sarah Elizabeth Siller   DKT 77; 1:02-cv-01616-      Sarah Elizabeth Siller, Individually, as        Sarah Elizabeth Siller as the Representative of the    Sarah Elizabeth Siller as           Olivia A. Siller, Individually as Child of      WD
                                                         JR; AP210 (DOE 99)          Spouse of Stephen G. Siller, Deceased;          Estate of Stephen G. Siller, Deceased;                 Parent/Guardian of Olivia A. Siller Stephen G. Siller, Deceased, and previously
                                                                                                                                                                                                                                included as minor child of Sarah Elizabeth
                                                                                                                                                                                                                                Siller;
1,235 Stephen G. Siller         Sarah Elizabeth Siller   DKT 77; 1:02-cv-01616-      Sarah Elizabeth Siller, Individually, as        Sarah Elizabeth Siller as the Representative of the    Sarah Elizabeth Siller as           Stephen A. Siller, Individually as Child of     WD
                                                         JR; AP210 (DOE 99)          Spouse of Stephen G. Siller, Deceased;          Estate of Stephen G. Siller, Deceased;                 Parent/Guardian of Stephen A.       Stephen G. Siller, Deceased, and previously
                                                                                                                                                                                            Siller                              included as minor child of Sarah Elizabeth
                                                                                                                                                                                                                                Siller;
1,236 Stephen Huczko, Jr.       Kathleen Clare Mcguire DKT 232; 1:02-cv-01616-       Kathleen Clare Mcguire, Individually, as        Kathleen Clare Mcguire as the Personal                 Kathleen Clare Mcguire as           Aidan Patrick Huczko, Individually as Child     WD
                                                       JR; P3733                     Spouse of Stephen Huczko, Jr., Deceased;        Representative of the Estate of Stephen Huczko, Jr.,   Parent/Guardian of Aidan Patrick of Stephen Huczko, Jr., Deceased, and
                                                                                                                                     Deceased;                                              Huczko                              previously included as minor child of
                                                                                                                                                                                                                                Kathleen Clare Mcguire;
1,237 Stephen Huczko, Jr.       Kathleen Clare Mcguire DKT 232; 1:02-cv-01616-       Kathleen Clare Mcguire, Individually, as        Kathleen Clare Mcguire as the Personal                 Kathleen Clare Mcguire as           Cullen Huczko, Individually as Child of         WD
                                                       JR; P3733                     Spouse of Stephen Huczko, Jr., Deceased;        Representative of the Estate of Stephen Huczko, Jr.,   Parent/Guardian of Cullen           Stephen Huczko, Jr., Deceased, and
                                                                                                                                     Deceased;                                              Huczko                              previously included as minor child of
                                                                                                                                                                                                                                Kathleen Clare Mcguire;




                                                                                                                                      76
                                                                Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 77 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
 Number
                                     Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                           Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
          9/11 Decedent Name        Currently named in                                        Plaintiff's Individual Capacity          Caption identifying the estate representative of       or Guardian of Previously
                                                                 Complaint                                                                                                                                                             plaintiff in their own right
                                        complaint                                                                                                       9/11 Decedent                                 Minor Child


1,238 Stephen Huczko, Jr.          Kathleen Clare Mcguire DKT 232; 1:02-cv-01616-      Kathleen Clare Mcguire, Individually, as      Kathleen Clare Mcguire as the Personal                  Kathleen Clare Mcguire as          Liam James Huczko, Individually as Child of WD
                                                          JR; P3733                    Spouse of Stephen Huczko, Jr., Deceased;      Representative of the Estate of Stephen Huczko, Jr.,    Parent/Guardian of Liam James      Stephen Huczko, Jr., Deceased, and
                                                                                                                                     Deceased;                                               Huczko                             previously included as minor child of
                                                                                                                                                                                                                                Kathleen Clare Mcguire;
1,239 Stephen J. Colaio            Victor J. Colaio        DKT 232; 1:02-cv-01616-     Victor J. Colaio, Individually, as Parent of Victor J. Colaio as the Personal Representative of the                                                                                  WD
                                                           JR; P3650                   Stephen J. Colaio, Deceased;                 Estate of Stephen J. Colaio, Deceased;
1,240 Stephen Jeffrey Cangialosi   Karen D. Cangialosi     DKT 3; 1:02-cv-01616-JR;    Karen D. Cangialosi, Individually, as Spouse                                                          Karen D. Cangialosi as             Jeffrey S. Cangialosi, Individually as Child of WD
                                                           965                         of Stephen Jeffrey Cangialosi, Deceased;                                                              Parent/Guardian of Jeffrey S.      Stephen Jeffrey Cangialosi, Deceased, and
                                                                                                                                                                                             Cangialosi                         previously included as minor child of Karen
                                                                                                                                                                                                                                D. Cangialosi;
1,241 Stephen Jeffrey Cangialosi   Karen D. Cangialosi     DKT 3; 1:02-cv-01616-JR; Karen D. Cangialosi, Individually, as Spouse                                                             Karen D. Cangialosi as             Peter Thomas Cangialosi, Individually as        WD
                                                           965                      of Stephen Jeffrey Cangialosi, Deceased;                                                                 Parent/Guardian of Peter           Child of Stephen Jeffrey Cangialosi,
                                                                                                                                                                                             Thomas Cangialosi                  Deceased, and previously included as minor
                                                                                                                                                                                                                                child of Karen D. Cangialosi;
1,242 Stephen P. Russell           Marie Russell           DKT 232; 1:02-cv-01616-     Marie Russell, Individually, as Parent of     Marie Russell as the Representative of the Estate of                                                                                       WD
                                                           JR; P4942                   Stephen P. Russell, Deceased;                 Stephen P. Russell, Deceased;
1,243 Stephen Patrick Cherry       Mary Ellen Cherry       DKT 232; 1:02-cv-01616-     Mary Ellen Cherry, Individually, as Spouse    Mary Ellen Cherry as the Personal Representative of     Mary Ellen Cherry as               Brett Scott Cherry, Individually as Child of    WD
                                                           JR; P3634                   of Stephen Patrick Cherry, Deceased;          the Estate of Stephen Patrick Cherry, Deceased;         Parent/Guardian of Brett Scott     Stephen Patrick Cherry, Deceased, and
                                                                                                                                                                                             Cherry                             previously included as minor child of Mary
                                                                                                                                                                                                                                Ellen Cherry;
1,244 Stephen Patrick Cherry       Mary Ellen Cherry       DKT 232; 1:02-cv-01616-     Mary Ellen Cherry, Individually, as Spouse    Mary Ellen Cherry as the Personal Representative of     Mary Ellen Cherry as               Colton Patrick Cherry, Individually as Child    WD
                                                           JR; P3634                   of Stephen Patrick Cherry, Deceased;          the Estate of Stephen Patrick Cherry, Deceased;         Parent/Guardian of Colton          of Stephen Patrick Cherry, Deceased, and
                                                                                                                                                                                             Patrick Cherry                     previously included as minor child of Mary
                                                                                                                                                                                                                                Ellen Cherry;
1,245 Stephen Patrick Cherry       Mary Ellen Cherry       DKT 232; 1:02-cv-01616-     Mary Ellen Cherry, Individually, as Spouse    Mary Ellen Cherry as the Personal Representative of     Mary Ellen Cherry as               Peter Ross Cherry, Individually as Child of     WD
                                                           JR; P3634                   of Stephen Patrick Cherry, Deceased;          the Estate of Stephen Patrick Cherry, Deceased;         Parent/Guardian of Peter Ross      Stephen Patrick Cherry, Deceased, and
                                                                                                                                                                                             Cherry                             previously included as minor child of Mary
                                                                                                                                                                                                                                Ellen Cherry;
1,246 Stephen Patrick Driscoll     Ann Patricia Driscoll   DKT 305; 1:02-cv-01616-     Ann Patricia Driscoll, Individually, as       Ann Patricia Driscoll as the Personal Representative of Ann Patricia Driscoll as           Barry Patrick Driscoll, Individually as Child   WD
                                                           JR; P4244                   Spouse of Stephen Patrick Driscoll,           the Estate of Stephen Patrick Driscoll, Deceased;       Parent/Guardian of Barry Patrick   of Stephen Patrick Driscoll, Deceased, and
                                                                                       Deceased;                                                                                             Driscoll                           previously included as minor child of Ann
                                                                                                                                                                                                                                Patricia Driscoll;
1,247 Steven A. Jacobson           Deborah B. Jacobson     DKT 432; 1:03-md-01570- Deborah B. Jacobson, Individually, as                                                                     Deborah B. Jacobson as             Miriam Rose Jacobson, Individually as Child     WD
                                                           GBD-SN; P5375           Spouse of Steven A. Jacobson, Deceased;                                                                   Parent/Guardian of Miriam Rose     of Steven A. Jacobson, Deceased, and
                                                                                                                                                                                             Jacobson                           previously included as minor child of
                                                                                                                                                                                                                                Deborah B. Jacobson;
1,248 Steven A. Jacobson           Rachel Bess Jacobson    DKT 432; 1:03-md-01570- Rachel Bess Jacobson, Individually, as            Rachel Bess Jacobson as the Personal                                                                                                       WD
                                                           GBD-SN; P5376           Child of Steven A. Jacobson, Deceased;            Representative of the Estate of Steven A. Jacobson,
                                                                                                                                     Deceased;
1,249 Steven Bennett Paterson      Lisa Anne Paterson      DKT 26, 29; 1:02-cv-        Lisa Anne Paterson, Individually, as Spouse                                                           Lisa Anne Paterson as              Lucy Belle Paterson, Individually as Child of   WD
                                                           01616-JR; 4127              of Steven Bennett Paterson, Deceased;                                                                 Parent/Guardian of Lucy Belle      Steven Bennett Paterson, Deceased, and
                                                                                                                                                                                             Paterson                           previously included as minor child of Lisa
                                                                                                                                                                                                                                Anne Paterson;
1,250 Steven Bennett Paterson      Lisa Anne Paterson      DKT 26, 29; 1:02-cv-        Lisa Anne Paterson, Individually, as Spouse                                                           Lisa Anne Paterson as              Wyatt James Paterson, Individually as Child     WD
                                                           01616-JR; 4127              of Steven Bennett Paterson, Deceased;                                                                 Parent/Guardian of Wyatt James     of Steven Bennett Paterson, Deceased, and
                                                                                                                                                                                             Paterson                           previously included as minor child of Lisa
                                                                                                                                                                                                                                Anne Paterson;
1,251 Steven Donald Jacoby         Kimberly Jacoby         DKT 232; 1:02-cv-01616-     Kimberly Jacoby Dudgeon, Individually, as     Kimberly Jacoby Dudgeon as the Personal               Kimberly Jacoby Dudgeon as           Nicholas Harrod Jacoby, Individually as         WD
                                   Dudgeon                 JR; P3736                   Spouse of Steven Donald Jacoby,               Representative of the Estate of Steven Donald Jacoby, Parent/Guardian of Nicholas          Child of Steven Donald Jacoby, Deceased,
                                                                                       Deceased;                                     Deceased;                                             Harrod Jacoby                        and previously included as minor child of
                                                                                                                                                                                                                                Kimberly Jacoby Dudgeon;
1,252 Steven G. Genovese           Shelly R. Genovese      DKT 432; 1:02-cv-01616-     Shelly R. Genovese, Individually, as Spouse                                                           Shelly R. Genovese as              Jacqueline Genovese, Individually as Child      WD
                                                           JR; P4846                   of Steven G. Genovese, Deceased;                                                                      Parent/Guardian of Jacqueline      of Steven G. Genovese, Deceased, and
                                                                                                                                                                                             Genovese                           previously included as minor child of Shelly
                                                                                                                                                                                                                                R. Genovese;


                                                                                                                                      77
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 78 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
 Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity            Caption identifying the estate representative of      or Guardian of Previously
                                                            Complaint                                                                                                                                                              plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                Minor Child


1,253 Steven J. Olson          Patricia Anne Olson    DKT 1; 1:02-cv-01616-JR; Patricia Anne Olson, Individually, as Spouse Patricia Anne Olson as the Representative of the             Patricia Anne Olson as             Jaclyn Suzanne Olson, Individually as Child WD
                                                      426                      of Steven J. Olson, Deceased;                Estate of Steven J. Olson, Deceased;                         Parent/Guardian of Jaclyn          of Steven J. Olson, Deceased, and
                                                                                                                                                                                         Suzanne Olson                      previously included as minor child of Patricia
                                                                                                                                                                                                                            Anne Olson;
1,254 Steven J. Olson          Patricia Anne Olson    DKT 1; 1:02-cv-01616-JR; Patricia Anne Olson, Individually, as Spouse Patricia Anne Olson as the Representative of the             Patricia Anne Olson as             Jessica Grace Olson, Individually as Child of WD
                                                      426                      of Steven J. Olson, Deceased;                Estate of Steven J. Olson, Deceased;                         Parent/Guardian of Jessica         Steven J. Olson, Deceased, and previously
                                                                                                                                                                                         Grace Olson                        included as minor child of Patricia Anne
                                                                                                                                                                                                                            Olson;
1,255 Steven L. Glick          Mari Glick Stuart      DKT 305; 1:02-cv-01616-     Mari Glick Stuart, Individually, as Spouse of   Mari Glick Stuart as the Personal Representative of                                                                                      WD
                                                      JR; P4298                   Steven L. Glick, Deceased;                      the Estate of Steven L. Glick, Deceased;
1,256 Steven Lawn              Victoria Louise Lawn   DKT 305; 1:02-cv-01616-     Victoria Louise Lawn, Individually, as          Victoria Louise Lawn as the Personal Representative                                                                                      WD
                                                      JR; P4379                   Spouse of Steven Lawn, Deceased;                of the Estate of Steven Lawn, Deceased;

1,257 Steven Michael Hagis     Gloria J. Hagis        DKT 26, 29; 1:02-cv-        Gloria J. Hagis, Individually, as Spouse of                                                            Gloria J. Hagis as                 Daniel Vito Hagis, Individually as Child of   WD
                                                      01616-JR; 3343              Steven Michael Hagis, Deceased;                                                                        Parent/Guardian of Daniel Vito     Steven Michael Hagis, Deceased, and
                                                                                                                                                                                         Hagis                              previously included as minor child of Gloria
                                                                                                                                                                                                                            J. Hagis;
1,258 Steven Michael Hagis     Gloria J. Hagis        DKT 26, 29; 1:02-cv-        Gloria J. Hagis, Individually, as Spouse of                                                            Gloria J. Hagis as                 Jaclyn Elizabeth Hagis, Individually as Child WD
                                                      01616-JR; 3343              Steven Michael Hagis, Deceased;                                                                        Parent/Guardian of Jaclyn          of Steven Michael Hagis, Deceased, and
                                                                                                                                                                                         Elizabeth Hagis                    previously included as minor child of Gloria
                                                                                                                                                                                                                            J. Hagis;
1,259 Steven Weinberg          Laurie Sue Weinberg    DKT 305; 1:02-cv-01616-     Laurie Sue Weinberg, Individually, as           Laurie Sue Weinberg as the Personal Representative     Laurie Sue Weinberg as             Laurie Sue Weinberg on behalf of J.W.,        WD
                                                      JR; P4570                   Spouse of Steven Weinberg, Deceased;            of the Estate of Steven Weinberg, Deceased;            Parent/Guardian of J.W.            Child of Steven Weinberg, Deceased

1,260 Steven Weinberg          Laurie Sue Weinberg    DKT 305; 1:02-cv-01616-     Laurie Sue Weinberg, Individually, as           Laurie Sue Weinberg as the Personal Representative     Laurie Sue Weinberg as             Laurie Sue Weinberg on behalf of L.W.,         WD
                                                      JR; P4570                   Spouse of Steven Weinberg, Deceased;            of the Estate of Steven Weinberg, Deceased;            Parent/Guardian of L.W.            Child of Steven Weinberg, Deceased

1,261 Steven Weinberg          Laurie Sue Weinberg    DKT 305; 1:02-cv-01616-     Laurie Sue Weinberg, Individually, as           Laurie Sue Weinberg as the Personal Representative     Laurie Sue Weinberg as             Laurie Sue Weinberg on behalf of S.W.,         WD
                                                      JR; P4570                   Spouse of Steven Weinberg, Deceased;            of the Estate of Steven Weinberg, Deceased;            Parent/Guardian of S.W.            Child of Steven Weinberg, Deceased

1,262 Stuart Seid Louis        Sharon Louis           DKT 26, 29; 1:02-cv-        Sharon Louis, Individually, as Spouse of                                                               Sharon Louis as Parent/Guardian    Sharon Louis, on behalf of K.L.L., Child of    WD
                                                      01616-JR; 2458              Stuart Seid Louis, Deceased;                                                                           of K.L.L.                          Stuart Seid Louis, Deceased;
1,263 Stuart Seid Louis        Sharon Louis           DKT 26, 29; 1:02-cv-        Sharon Louis, Individually, as Spouse of                                                               Sharon Louis as Parent/Guardian    Sharon Louis, on behalf of E.S.L., Child of    WD
                                                      01616-JR; 2458              Stuart Seid Louis, Deceased;                                                                           of E.S.L.                          Stuart Seid Louis, Deceased;
1,264 Stuart Todd Meltzer      Lisa Meltzer           DKT 305; 1:02-cv-01616-     Lisa Meltzer, Individually, as Spouse of        Lisa Meltzer as the Personal Representative of the     Lisa Meltzer as Parent/Guardian    Dylan Ross Meltzer, Individually as Child of   WD
                                                      JR; P4432                   Stuart Todd Meltzer, Deceased;                  Estate of Stuart Todd Meltzer, Deceased;               of Dylan Ross Meltzer              Stuart Todd Meltzer, Deceased, and
                                                                                                                                                                                                                            previously included as minor child of Lisa
                                                                                                                                                                                                                            Meltzer;
1,265 Stuart Todd Meltzer      Lisa Meltzer           DKT 305; 1:02-cv-01616-     Lisa Meltzer, Individually, as Spouse of        Lisa Meltzer as the Personal Representative of the     Lisa Meltzer as Parent/Guardian    Jacob Andrew Meltzer, Individually as Child    WD
                                                      JR; P4432                   Stuart Todd Meltzer, Deceased;                  Estate of Stuart Todd Meltzer, Deceased;               of Jacob Andrew Meltzer            of Stuart Todd Meltzer, Deceased, and
                                                                                                                                                                                                                            previously included as minor child of Lisa
                                                                                                                                                                                                                            Meltzer;
1,266 Sue Ju Hanson            John Hyunsool Kim      DKT 26, 29; 1:02-cv-        John Hyunsool Kim, Individually, as Sibling     John Hyunsool Kim as the Personal Representative of                                                                                      WD
                                                      01616-JR; 3363              of Sue Ju Hanson, Deceased;                     the Estate of Sue Ju Hanson, Deceased;

1,267 Suresh Yanamadala        Ajitha Vemulapalli     DKT 232; 1:02-cv-01616-     Ajitha Vemulapalli, Individually, as Spouse     Ajitha Vemulapalli as the Personal Representative of                                                                                     WD
                                                      JR; P4037                   of Suresh Yanamadala, Deceased;                 the Estate of Suresh Yanamadala, Deceased;

1,268 Suria R. E. Clarke       Margaret Alexandra     DKT 305; 1:02-cv-01616-     Margaret Alexandra Clarke, Individually, as     Margaret Alexandra Clarke as the Personal                                                                                                WD
                               Clarke                 JR; P4180                   Parent of Suria R. E. Clarke, Deceased;         Representative of the Estate of Suria R. E. Clarke,
                                                                                                                                  Deceased;
1,269 Susan Clancy Conlon      Cornelius Patrick      DKT 1; 1:02-cv-01616-JR; Cornelius Patrick Clancy, III, Individually, as                                                           Cornelius Patrick Clancy, III as   Kimberly Patrice Conlon, Individually as       WD
                               Clancy, III            143                      Sibling of Susan Clancy Conlon, Deceased;                                                                 Parent/Guardian of Kimberly        Child of Susan Clancy Conlon, Deceased;
                                                                                                                                                                                         Patrice Conlon



                                                                                                                                   78
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 79 of 88




                                                                                                                                                                                                                                                                         Nature of Claim
 Number
                                 Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                            Complaint                                                                                                                                                           plaintiff in their own right
                                    complaint                                                                                                       9/11 Decedent                                 Minor Child


1,270 Susan Elizabeth Pinto    Douglas Arthur Pinto   DKT 26, 29; 1:02-cv-        Douglas Arthur Pinto, Individually, as                                                                 Douglas Arthur Pinto as         Joseph Arthur Pinto, Individually as Child of   WD
                                                      01616-JR; 2271              Spouse of Susan Elizabeth Pinto, Deceased;                                                             Parent/Guardian of Joseph       Susan Elizabeth Pinto, Deceased, and
                                                                                                                                                                                         Arthur Pinto                    previously included as minor child of
                                                                                                                                                                                                                         Douglas Arthur Pinto;
1,271 Susan Elizabeth Pinto    Douglas Arthur Pinto   DKT 26, 29; 1:02-cv-        Douglas Arthur Pinto, Individually, as                                                                 Douglas Arthur Pinto as         Nicholas Douglas Pinto, Individually as         WD
                                                      01616-JR; 2271              Spouse of Susan Elizabeth Pinto, Deceased;                                                             Parent/Guardian of Nicholas     Child of Susan Elizabeth Pinto, Deceased,
                                                                                                                                                                                         Douglas Pinto                   and previously included as minor child of
                                                                                                                                                                                                                         Douglas Arthur Pinto;
1,272 Susan Huie               Tennyson Huie          DKT 313; 1:02-cv-01616-     Tennyson Huie, Individually, as Parent of      Tennyson Huie as the Personal Representative of the                                                                                     WD
                                                      JR; P4660                   Susan Huie, Deceased;                          Estate of Susan Huie, Deceased;
1,273 Susan L. Blair           Leslie R. Blair        DKT 313; 1:02-cv-01616-     Leslie R. Blair, Individually, as Sibling of   Leslie R. Blair as the Personal Representative of the                                                                                   WD
                                                      JR; P4610                   Susan L. Blair, Deceased;                      Estate of Susan L. Blair, Deceased;
1,274 Susan M. Pollio          Phyllis Pollio         DKT 432; 1:02-cv-01616-     Phyllis Pollio, Individually, as Parent of     Phyllis Pollio as the Representative of the Estate of                                                                                   WD
                                                      JR; P4933                   Susan M. Pollio, Deceased;                     Susan M. Pollio, Deceased;
1,275 Susan Mackay             Douglas Mackay         DKT 155; 1:02-cv-01616-     Douglas Mackay, Individually, as Spouse of     Douglas Mackay as the Personal Representative of        Douglas Mackay as               Lauren Mackay, Individually as Child of         WD
                                                      JR; P3019                   Susan Mackay, Deceased;                        the Estate of Susan Mackay, Deceased;                   Parent/Guardian of Lauren       Susan Mackay, Deceased, and previously
                                                                                                                                                                                         Mackay                          included as minor child of Douglas Mackay;

1,276 Susan Mackay             Douglas Mackay         DKT 155; 1:02-cv-01616-     Douglas Mackay, Individually, as Spouse of     Douglas Mackay as the Personal Representative of        Douglas Mackay as               Matthew Mackay, Individually as Child of        WD
                                                      JR; P3019                   Susan Mackay, Deceased;                        the Estate of Susan Mackay, Deceased;                   Parent/Guardian of Matthew      Susan Mackay, Deceased, and previously
                                                                                                                                                                                         Mackay                          included as minor child of Douglas Mackay;

1,277 Susan Marie Sauer        Ryan Pemberton         DKT 305; 1:02-cv-01616-JR; P4513                                      Ryan Pemberton as the Representative of the Estate                                                                                           WD
                                                                                                                            of Susan Marie Sauer, Deceased;
1,278 Suzanne Kondratenko      Aimee Elizabeth        DKT HAND FILED (3-10- Aimee Elizabeth Garrison, Individually, as      Aimee Elizabeth Garrison as the Personal                                                                                                     WD
                               Garrison               2004); 1:03-cv-9849      Sibling of Suzanne Kondratenko, Deceased; Representative of the Estate of Suzanne Kondratenko,
                                                      (RCC); P5130                                                          Deceased;
1,279 Suzanne M. Calley        Frank Gerald Jensen    DKT 432; 1:02-cv-01616- Frank Gerald Jensen, Individually, as         Frank Gerald Jensen as the Personal Representative                                                                                           WD
                                                      JR; P4783                Domestic Partner of Suzanne M. Calley,       of the Estate of Suzanne M. Calley, Deceased;
                                                                               Deceased;
1,280 Swarna Chalasani         Nageswararao           DKT 1; 1:02-cv-01616-JR; Nageswararao Chalasani, Individually, as     Nageswararao Chalasani as the Personal                                                                                                       WD
                               Chalasani              122                      Parent of Swarna Chalasani, Deceased;        Representative of the Estate of Swarna Chalasani,
                                                                                                                            Deceased;
1,281 Szu-Hui Wen              Yun-Ju Wen             DKT 3; 1:02-cv-01616-JR; Yun-Ju Wen, Individually, as Sibling of Szu- Yun-Ju Wen as the Personal Representative of the                                                                                             WD
                                                      1731                     Hui Wen, Deceased;                           Estate of Szu-Hui Wen, Deceased;
1,282 Tara Kathleen Creamer    John J. Creamer        DKT 1; 1:02-cv-01616-JR; John J. Creamer, Individually, as Spouse of                                                     John J. Creamer as                        Colin John Creamer, Individually as Child of WD
                                                      875                      Tara Kathleen Creamer, Deceased;                                                                Parent/Guardian of Colin John             Tara Kathleen Creamer, Deceased, and
                                                                                                                                                                               Creamer                                   previously included as minor child of John J.
                                                                                                                                                                                                                         Creamer;
1,283 Tara Kathleen Creamer    John J. Creamer        DKT 1; 1:02-cv-01616-JR; John J. Creamer, Individually, as Spouse of                                                               John J. Creamer as              Nora Anne Creamer, Individually as Child of WD
                                                      875                      Tara Kathleen Creamer, Deceased;                                                                          Parent/Guardian of Nora Anne    Tara Kathleen Creamer, Deceased, and
                                                                                                                                                                                         Creamer                         previously included as minor child of John J.
                                                                                                                                                                                                                         Creamer;
1,284 Tariq Amanullah          Mehr Afroze Tariq      DKT 313; 1:02-cv-01616-     Mehr Afroze Tariq, Individually, as Spouse     Mehr Afroze Tariq as the Personal Representative of                                                                                   WD
                                                      JR; P4588                   of Tariq Amanullah, Deceased;                  the Estate of Tariq Amanullah, Deceased;
1,285 Terence D. Gazzani       Maurizio D. Gazzani    DKT 232; 1:02-cv-01616-     Maurizio D. Gazzani, Individually, as Parent   Maurizio D. Gazzani as the Personal Representative of                                                                                   WD
                                                      JR; P4061                   of Terence D. Gazzani, Deceased;               the Estate of Terence D. Gazzani, Deceased;

1,286 Terence D. Gazzani       Tracy M. Gazzani       DKT 232; 1:02-cv-01616-     Tracy M. Gazzani, Individually, as Parent of   Tracy M. Gazzani as the Personal Representative of                                                                                      WD
                                                      JR; P4062                   Terence D. Gazzani, Deceased;                  the Estate of Terence D. Gazzani, Deceased;

1,287 Terence M. Lynch         Jacqueline E. Lynch    DKT 232; 1:02-cv-01616-     Jacqueline E. Lynch, Individually, as Spouse Jacqueline E. Lynch as the Personal Representative of                                                                                     WD
                                                      JR; P3811                   of Terence M. Lynch, Deceased;               the Estate of Terence M. Lynch, Deceased;




                                                                                                                                  79
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 80 of 88




                                                                                                                                                                                                                                                                           Nature of Claim
 Number
                                   Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                             Name of previously minor child now a
          9/11 Decedent Name      Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                              Complaint                                                                                                                                                            plaintiff in their own right
                                      complaint                                                                                                       9/11 Decedent                                 Minor Child


1,288 Terence Sean Hatton        Elizabeth P. Hatton    DKT 26, 29; 1:02-cv-        Elizabeth P. Hatton, Individually, as Spouse                                                           Elizabeth P. Hatton as            Terri Elizabeth Hatton, Individually as Child WD
                                                        01616-JR; 3404              of Terence Sean Hatton, Deceased;                                                                      Parent/Guardian of Terri          of Terence Sean Hatton, Deceased, and
                                                                                                                                                                                           Elizabeth Hatton                  previously included as minor child of
                                                                                                                                                                                                                             Elizabeth P. Hatton;
1,289 Terrence Patrick Farrell   Helenora M. Farrell    DKT HAND FILED (3-10-       Helenora M. Farrell, Individually, as Spouse   Helenora M. Farrell as the Personal Representative of   Helenora M. Farrell as            Helenora M. Farrell on behalf of R.A.F.,      WD
                                                        2004); 1:03-cv-9849         of Terrence Patrick Farrell, Deceased;         the Estate of Terrence Patrick Farrell, Deceased;       Parent/Guardian of R.A.F.         Child of Terrence Patrick Farrell, Deceased;
                                                        (RCC); P5051
1,290 Terrence Patrick Farrell   Helenora M. Farrell    DKT HAND FILED (3-10-       Helenora M. Farrell, Individually, as Spouse   Helenora M. Farrell as the Personal Representative of   Helenora M. Farrell as            Helenora M. Farrell on behalf of T.J.F., Child WD
                                                        2004); 1:03-cv-9849         of Terrence Patrick Farrell, Deceased;         the Estate of Terrence Patrick Farrell, Deceased;       Parent/Guardian of T.J.F.         of Terrence Patrick Farrell, Deceased;
                                                        (RCC); P5051
1,291 Thelma Cuccinello          Albert C. Cuccinello   DKT 155; 1:02-cv-01616-     Albert C. Cuccinello, Individually, as Spouse Albert C. Cuccinello as the Co-Personal                                                                                                  WD
                                                        JR; P2864                   of Thelma Cuccinello, Deceased;                Representative of the Estate of Thelma Cuccinello,
                                                                                                                                   Deceased;
1,292 Thelma Cuccinello          Cheryl Lynn O'Brien    DKT 155; 1:02-cv-01616-     Cheryl Lynn O'Brien, Individually, as Child of Cheryl Lynn O'Brien as the Co-Personal                                                                                                  WD
                                                        JR; P2867                   Thelma Cuccinello, Deceased;                   Representative of the Estate of Thelma Cuccinello,
                                                                                                                                   Deceased;
1,293 Theresa Ann Munson         Christine M. Munson    DKT HAND FILED (3-10-       Christine M. Munson, Individually, as Child    Christine M. Munson as the Personal Representative                                                                                      WD
                                                        2004); 1:03-cv-9849         of Theresa Ann Munson, Deceased;               of the Estate of Theresa Ann Munson, Deceased;
                                                        (RCC); P5201
1,294 Thomas A. Damaskinos       Jennifer Jeanne        DKT 232; 1:02-cv-01616-     Jennifer Jeanne Damaskinos, Individually,      Jennifer Jeanne Damaskinos as the Personal              Jennifer Jeanne Damaskinos as Matthew Paul Damaskinos, Individually as    WD
                                 Damaskinos             JR; P4054                   as Spouse of Thomas A. Damaskinos,             Representative of the Estate of Thomas A.               Parent/Guardian of Matthew Paul Child of Thomas A. Damaskinos, Deceased,
                                                                                    Deceased;                                      Damaskinos, Deceased;                                   Damaskinos                      and previously included as minor child of
                                                                                                                                                                                                                           Jennifer Jeanne Damaskinos;

1,295 Thomas A. Damaskinos       Jennifer Jeanne        DKT 232; 1:02-cv-01616-     Jennifer Jeanne Damaskinos, Individually,      Jennifer Jeanne Damaskinos as the Personal              Jennifer Jeanne Damaskinos as     Jessica Diana Rogers, Individually as Child   WD
                                 Damaskinos             JR; P4054                   as Spouse of Thomas A. Damaskinos,             Representative of the Estate of Thomas A.               Parent/Guardian of Jessica        of Thomas A. Damaskinos, Deceased, and
                                                                                    Deceased;                                      Damaskinos, Deceased;                                   Diana Rogers                      previously included as minor child of
                                                                                                                                                                                                                             Jennifer Jeanne Damaskinos;

1,296 Thomas A. Mahon            Beth A. Mahon          DKT 305; 1:02-cv-01616-     Beth A. Mahon, Individually, as Spouse of      Beth A. Mahon as the Personal Representative of the     Beth A. Mahon as                Shay Elizabeth Mahon, Individually as Child     WD
                                                        JR; P4396                   Thomas A. Mahon, Deceased;                     Estate of Thomas A. Mahon, Deceased;                    Parent/Guardian of Shay         of Thomas A. Mahon, Deceased, and
                                                                                                                                                                                           Elizabeth Mahon                 previously included as minor child of Beth A.
                                                                                                                                                                                                                           Mahon;
1,297 Thomas Burnett             Deena Burnett Bailey   DKT 1; 1:02-cv-01616-JR; Deena Burnett Bailey, Individually, as                                                                    Deena Burnett Bailey as         Anna Clare Burnett, Individually as Child of    WD
                                                        8                        Spouse of Thomas Burnett, Deceased;                                                                       Parent/Guardian of Anna Clare   Thomas E. Burnett, Jr., Deceased, and
                                                                                                                                                                                           Burnett                         previously included as minor child of Deena
                                                                                                                                                                                                                           Burnett Bailey;
1,298 Thomas Burnett             Deena Burnett Bailey   DKT 1; 1:02-cv-01616-JR; Deena Burnett Bailey, Individually, as                                                                    Deena Burnett Bailey as         Halley Elizabeth Burnett, Individually as       WD
                                                        8                        Spouse of Thomas Burnett, Deceased;                                                                       Parent/Guardian of Halley       Child of Thomas E. Burnett, Jr., Deceased,
                                                                                                                                                                                           Elizabeth Burnett               and previously included as minor child of
                                                                                                                                                                                                                           Deena Burnett Bailey;
1,299 Thomas Burnett             Deena Burnett Bailey   DKT 1; 1:02-cv-01616-JR; Deena Burnett Bailey, Individually, as                                                                    Deena Burnett Bailey as         Madison Margaret Burnett, Individually as       WD
                                                        8                        Spouse of Thomas Burnett, Deceased;                                                                       Parent/Guardian of Madison      Child of Thomas E. Burnett, Jr., Deceased,
                                                                                                                                                                                           Margaret Burnett                and previously included as minor child of
                                                                                                                                                                                                                           Deena Burnett Bailey;
1,300 Thomas E. Sabella          Diana Sabella         DKT 26, 29; 1:02-cv-         Diana Sabella, Individually, as Spouse of      Diana Sabella as the Personal Representative of the     Diana Sabella as                Diana Sabella, on behalf of J.S., Child of      WD
                                                       01616-JR; 4338               Thomas E. Sabella, Deceased;                   Estate of Thomas E. Sabella, Deceased;                  Parent/Guardian of J.S.         Thomas E. Sabella, Deceased;
1,301 Thomas E. Sabella          Diana Sabella         DKT 26, 29; 1:02-cv-         Diana Sabella, Individually, as Spouse of      Diana Sabella as the Personal Representative of the     Diana Sabella as                Diana Sabella, on behalf of N.S., Child of      WD
                                                       01616-JR; 4338               Thomas E. Sabella, Deceased;                   Estate of Thomas E. Sabella, Deceased;                  Parent/Guardian of N.S.         Thomas E. Sabella, Deceased;
1,302 Thomas Edward Hynes        Carolyne Yacoub Hynes DKT 26, 29; 1:02-cv-         Carolyne Yacoub Hynes, Individually, as        Carolyne Yacoub Hynes as the Personal                   Carolyne Yacoub Hynes as        Olivia Tommi Hynes, Individually as Child of    WD
                                                       01616-JR; 3485               Spouse of Thomas Edward Hynes,                 Representative of the Estate of Thomas Edward           Parent/Guardian of Olivia Tommi Thomas Edward Hynes, Deceased, and
                                                                                    Deceased;                                      Hynes, Deceased;                                        Hynes                           previously included as minor child of
                                                                                                                                                                                                                           Carolyne Yacoub Hynes;
1,303 Thomas Francis Dowd        Kerri Ann Dowd         DKT 26, 29; 1:02-cv-        Kerri Ann Dowd, Individually, as Spouse of     Kerri Ann Dowd as the Personal Representative of the    Kerri Ann Dowd as               Kerri Ann Dowd, on behalf of B.M.D., Child      WD
                                                        01616-JR; 3050              Thomas Francis Dowd, Deceased;                 Estate of Thomas Francis Dowd, Deceased;                Parent/Guardian of B.M.D.       of Thomas Francis Dowd, Deceased;


                                                                                                                                    80
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 81 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
 Number
                                   Plaintiff's Name                                                                                  Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                            Name of previously minor child now a
          9/11 Decedent Name      Currently named in                                       Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                              Complaint                                                                                                                                                           plaintiff in their own right
                                      complaint                                                                                                       9/11 Decedent                                Minor Child


1,304 Thomas Francis Dowd        Kerri Ann Dowd         DKT 26, 29; 1:02-cv-        Kerri Ann Dowd, Individually, as Spouse of     Kerri Ann Dowd as the Personal Representative of the   Kerri Ann Dowd as                Kerri Ann Dowd, on behalf of H.A.D., Child   WD
                                                        01616-JR; 3050              Thomas Francis Dowd, Deceased;                 Estate of Thomas Francis Dowd, Deceased;               Parent/Guardian of H.A.D.        of Thomas Francis Dowd, Deceased;

1,305 Thomas Francis Dowd        Kerri Ann Dowd         DKT 26, 29; 1:02-cv-        Kerri Ann Dowd, Individually, as Spouse of     Kerri Ann Dowd as the Personal Representative of the   Kerri Ann Dowd as                Kerri Ann Dowd, on behalf of T.J.D., Child of WD
                                                        01616-JR; 3050              Thomas Francis Dowd, Deceased;                 Estate of Thomas Francis Dowd, Deceased;               Parent/Guardian of T.J.D.        Thomas Francis Dowd, Deceased;

1,306 Thomas G. Sullivan         Deirdre Dickinson      DKT 155; 1:02-cv-01616-     Deirdre Dickinson Sullivan, Individually, as   Deirdre Dickinson Sullivan as the Personal                                                                                           WD
                                 Sullivan               JR; P3110                   Spouse of Thomas G. Sullivan, Deceased;        Representative of the Estate of Thomas G. Sullivan,
                                                                                                                                   Deceased;
1,307 Thomas H. Bowden, Jr.      Thomas H. Bowden, Sr. DKT 313; 1:02-cv-01616-      Thomas H. Bowden, Sr., Individually, as                                                               Thomas H. Bowden, Sr. as        Matthew Bowden, Individually as Sibling of    WD
                                                       JR; P4613                    Parent of Thomas M. Bowden, Jr.,                                                                      Parent/Guardian of Matthew      Thomas H. Bowden, Deceased, and
                                                                                    Deceased;                                                                                             Bowden                          previously included as minor child of
                                                                                                                                                                                                                          Thomas H. Bowden, Sr.;
1,308 Thomas Hughes              Rosanne Hughes         DKT 26, 29; 1:02-cv-        Rosanne Hughes, Individually, as Spouse of                                                            Rosanne Hughes as               Patrick Thomas Hughes, Individually as        WD
                                                        01616-JR; 2076              Thomas Hughes, Deceased;                                                                              Parent/Guardian of Patrick      Child of Thomas F. Hughes, Jr., Deceased,
                                                                                                                                                                                          Thomas Hughes                   and previously included as minor child of
                                                                                                                                                                                                                          Rosanne Hughes;
1,309 Thomas Hughes              Rosanne Hughes         DKT 26, 29; 1:02-cv-        Rosanne Hughes, Individually, as Spouse of                                                            Rosanne Hughes as               Ashley Rose Reid, Individually as Child of    WD
                                                        01616-JR; 2076              Thomas Hughes, Deceased;                                                                              Parent/Guardian of Ashley Rose Thomas F. Hughes, Jr., Deceased, and
                                                                                                                                                                                          Reid                            previously included as minor child of
                                                                                                                                                                                                                          Rosanne Hughes;
1,310 Thomas J. Hetzel           Diana Hetzel           DKT 26, 29; 1:02-cv-        Diana Hetzel, Individually, as Spouse of                                                              Diana Hetzel as Parent/Guardian Amanda Christina Hetzel, Individually as      WD
                                                        01616-JR; 2039              Thomas J. Hetzel, Deceased;                                                                           of Amanda Christina Hetzel      Child of Thomas J. Hetzel, Deceased, and
                                                                                                                                                                                                                          previously included as minor child of Diana
                                                                                                                                                                                                                          Hetzel;
1,311 Thomas J. Kuveikis         James Kuveikis         DKT 602; 1:03-md-01570-     James Kuveikis, Individually, as Sibling of    James Kuveikis as the Personal Representative of the                                                                                 WD
                                                        GBD-SN; P5490               Thomas J. Kuveikis, Deceased;                  Estate of Thomas J. Kuveikis, Deceased;
1,312 Thomas J. McCann           Anne Marie McCann      DKT 26, 29; 1:02-cv-        Anne Marie McCann, Individually, as            Anne Marie McCann as the Personal Representative       Anne Marie McCann as             Sean Thomas McCann, Individually as Child WD
                                                        01616-JR; 2168              Spouse of Thomas J. McCann, Deceased;          of the Estate of Thomas J. McCann, Deceased;           Parent/Guardian of Sean          of Thomas J. McCann, Deceased, and
                                                                                                                                                                                          Thomas McCann                    previously included as minor child of Anne
                                                                                                                                                                                                                           Marie McCann;
1,313 Thomas J. McCann           Anne Marie McCann      DKT 26, 29; 1:02-cv-        Anne Marie McCann, Individually, as            Anne Marie McCann as the Personal Representative       Anne Marie McCann as             Courtney Erin Sosna, Individually as Child of WD
                                                        01616-JR; 2168              Spouse of Thomas J. McCann, Deceased;          of the Estate of Thomas J. McCann, Deceased;           Parent/Guardian of Courtney Erin Thomas J. McCann, Deceased, and
                                                                                                                                                                                          Sosna                            previously included as minor child of Anne
                                                                                                                                                                                                                           Marie McCann;
1,314 Thomas James Fitzpatrick   Marianne Fitzpatrick   DKT 232; 1:02-cv-01616-     Marianne Fitzpatrick, Individually, as         Marianne Fitzpatrick as the Personal Representative of Marianne Fitzpatrick as          Robin M. Wade as Step-Parent of E.G.,         WD
                                                        JR; P3692                   Spouse of Thomas James Fitzpatrick,            the Estate of Thomas James Fitzpatrick, Deceased;      Parent/Guardian of Brendan       Child of Claude Michael Gann, Deceased;
                                                                                    Deceased;                                                                                             Thomas Fitzpatrick
1,315 Thomas James Fitzpatrick   Marianne Fitzpatrick   DKT 232; 1:02-cv-01616-     Marianne Fitzpatrick, Individually, as         Marianne Fitzpatrick as the Personal Representative of Marianne Fitzpatrick as          Robin M. Wade as Step-Parent of K.G.,         WD
                                                        JR; P3692                   Spouse of Thomas James Fitzpatrick,            the Estate of Thomas James Fitzpatrick, Deceased;      Parent/Guardian of Caralyn Marie Child of Claude Michael Gann, Deceased;
                                                                                    Deceased;                                                                                             Fitzpatrick
1,316 Thomas Joseph Fisher       Denise D. Fisher       DKT 155; 1:02-cv-01616-                                                                                                           Denise D. Fisher as              Denise D. Fisher on behalf of A.F., Child of WD
                                                        JR; P2898                                                                                                                         Parent/Guardian of A.F.          Thomas Joseph Fisher, Deceased;
1,317 Thomas Joseph Fisher       Denise D. Fisher       DKT 155; 1:02-cv-01616-                                                                                                           Denise D. Fisher as              Denise D. Fisher on behalf of D.F., Child of WD
                                                        JR; P2898                                                                                                                         Parent/Guardian of D.F.          Thomas Joseph Fisher, Deceased;
1,318 Thomas Linehan             Carol Ann Linehan      DKT 26, 29; 1:02-cv-        Carol Ann Linehan, Individually, as Spouse                                                            Carol Ann Linehan as             Melissa Jane Linehan, Individually as Child WD
                                                        01616-JR; 3642              of Thomas Linehan, Deceased;                                                                          Parent/Guardian of Melissa Jane of Thomas V. Linehan, Jr., Deceased, and
                                                                                                                                                                                          Linehan                          previously included as minor child of Carol
                                                                                                                                                                                                                           Ann Linehan;
1,319 Thomas Linehan             Carol Ann Linehan      DKT 26, 29; 1:02-cv-        Carol Ann Linehan, Individually, as Spouse                                                            Carol Ann Linehan as             Thomas Benjamin Linehan, Individually as      WD
                                                        01616-JR; 3642              of Thomas Linehan, Deceased;                                                                          Parent/Guardian of Thomas        Child of Thomas V. Linehan, Jr., Deceased,
                                                                                                                                                                                          Benjamin Linehan                 and previously included as minor child of
                                                                                                                                                                                                                           Carol Ann Linehan;
1,320 Thomas Pecorelli           Kia Polyxena Pavloff   DKT 77; 1:02-cv-01616-      Kia Polyxena Pavloff, Individually, as         Kia Polyxena Pavloff as the Representative of the                                                                                     WD
                                                        JR; P2682                   Spouse of Thomas Pecorelli, Deceased;          Estate of Thomas Pecorelli, Deceased;


                                                                                                                                    81
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 82 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
 Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity            Caption identifying the estate representative of       or Guardian of Previously
                                                            Complaint                                                                                                                                                              plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                 Minor Child


1,321 Thomas Pedicini          Nancy N. Pedicini      DKT 305; 1:02-cv-01616-     Nancy N. Pedicini, Individually, as Parent of   Nancy N. Pedicini as the Representative of the Estate                                                                                      WD
                                                      JR; P4477                   Thomas Pedicini, Deceased;                      of Thomas Pedicini, Deceased;
1,322 Thomas Sparacio          Cheri Lynn Magnus-     DKT 3; 1:02-cv-01616-JR;    Cheri Lynn Magnus-Sparacio, Individually,                                                               Cheri Lynn Magnus-Sparacio as     Eric Thomas Sparacio, Individually as Child      WD
                               Sparacio               1666                        as Spouse of Thomas Sparacio, Deceased;                                                                 Parent/Guardian of Eric Thomas    of Thomas Sparacio, Deceased, and
                                                                                                                                                                                          Sparacio                          previously included as minor child of Cheri
                                                                                                                                                                                                                            Lynn Magnus-Sparacio;
1,323 Thomas Sparacio          Cheri Lynn Magnus-     DKT 3; 1:02-cv-01616-JR; Cheri Lynn Magnus-Sparacio, Individually,                                                                  Cheri Lynn Magnus-Sparacio as     Jonathan Philip Sparacio, Individually as        WD
                               Sparacio               1666                     as Spouse of Thomas Sparacio, Deceased;                                                                    Parent/Guardian of Jonathan       Child of Thomas Sparacio, Deceased, and
                                                                                                                                                                                          Philip Sparacio                   previously included as minor child of Cheri
                                                                                                                                                                                                                            Lynn Magnus-Sparacio;
1,324 Thomas Strada            Terry Strada           DKT 1; 1:02-cv-01616-JR; Terry Strada, Individually, as Spouse of                                                                   Terry Strada as Parent/Guardian   Thomas Joseph Strada, Individually as            WD
                                                      753                      Thomas Strada, Deceased;                                                                                   of Thomas Joseph Strada           Child of Thomas Strada, Deceased, and
                                                                                                                                                                                                                            previously included as minor child of Terry
                                                                                                                                                                                                                            Strada;
1,325 Thomas Strada            Terry Strada           DKT 1; 1:02-cv-01616-JR; Terry Strada, Individually, as Spouse of                                                                   Terry Strada as Parent/Guardian   Justin Thomas Strada, Individually as Child      WD
                                                      753                      Thomas Strada, Deceased;                                                                                   of Justin Thomas Strada           of Thomas Strada, Deceased, and
                                                                                                                                                                                                                            previously included as minor child of Terry
                                                                                                                                                                                                                            Strada;
1,326 Thomas Strada            Terry Strada           DKT 1; 1:02-cv-01616-JR; Terry Strada, Individually, as Spouse of                                                                   Terry Strada as Parent/Guardian   Kaitlyn Strada Wallace, Individually as Child    WD
                                                      753                      Thomas Strada, Deceased;                                                                                   of Kaitlyn Strada Wallace         of Thomas Strada, Deceased, and
                                                                                                                                                                                                                            previously included as minor child of Terry
                                                                                                                                                                                                                            Strada;
1,327 Timothy D. Betterly      Joanne F. Betterly     DKT 3; 1:02-cv-01616-JR; Joanne F. Betterly, Individually, as Spouse                                                                Joanne F. Betterly as             Christine Noel Betterly, Individually as Child   WD
                                                      917                      of Timothy D. Betterly, Deceased;                                                                          Parent/Guardian of Christine      of Timothy D. Betterly, Deceased, and
                                                                                                                                                                                          Noel Betterly                     previously included as minor child of Joanne
                                                                                                                                                                                                                            F. Betterly;
1,328 Timothy D. Betterly      Joanne F. Betterly     DKT 3; 1:02-cv-01616-JR; Joanne F. Betterly, Individually, as Spouse                                                                Joanne F. Betterly as             Samantha Rose Betterly, Individually as          WD
                                                      917                      of Timothy D. Betterly, Deceased;                                                                          Parent/Guardian of Samantha       Child of Timothy D. Betterly, Deceased, and
                                                                                                                                                                                          Rose Betterly                     previously included as minor child of Joanne
                                                                                                                                                                                                                            F. Betterly;
1,329 Timothy Higgins          Caren Higgins          DKT 313; 1:02-cv-01616-     Caren Higgins, Individually, as Spouse of       Caren Higgins as the Representative of the Estate of    Caren Higgins as                  Caren Higgins on behalf of C.H., Child of        WD
                                                      JR; P4658                   Timothy Higgins, Deceased;                      Timothy Higgins, Deceased;                              Parent/Guardian of C.H.           Timothy Higgins, Deceased;
1,330 Timothy Higgins          Caren Higgins          DKT 313; 1:02-cv-01616-     Caren Higgins, Individually, as Spouse of       Caren Higgins as the Representative of the Estate of    Caren Higgins as                  Caren Higgins on behalf of C.H., Child of        WD
                                                      JR; P4658                   Timothy Higgins, Deceased;                      Timothy Higgins, Deceased;                              Parent/Guardian of C.H.           Timothy Higgins, Deceased;
1,331 Timothy Higgins          Caren Higgins          DKT 313; 1:02-cv-01616-     Caren Higgins, Individually, as Spouse of       Caren Higgins as the Representative of the Estate of    Caren Higgins as                  Caren Higgins on behalf of C.H., Child of        WD
                                                      JR; P4658                   Timothy Higgins, Deceased;                      Timothy Higgins, Deceased;                              Parent/Guardian of C.H.           Timothy Higgins, Deceased;
1,332 Timothy J. Coughlin      Maura A. Coughlin      DKT 232; 1:02-cv-01616-     Maura A. Coughlin, Individually, as Spouse                                                              Maura A. Coughlin as              Maura A. Coughlin on behalf of R.C., Child       WD
                                                      JR; P4052                   of Timothy J. Coughlin, Deceased;                                                                       Parent/Guardian of R.C.           of Timothy J. Coughlin, Deceased;

1,333 Timothy J. Coughlin      Maura A. Coughlin      DKT 232; 1:02-cv-01616-     Maura A. Coughlin, Individually, as Spouse                                                              Maura A. Coughlin as              Maura A. Coughlin on behalf of R.C., Child       WD
                                                      JR; P4052                   of Timothy J. Coughlin, Deceased;                                                                       Parent/Guardian of R.C.           of Timothy J. Coughlin, Deceased;

1,334 Timothy J. Coughlin      Maura A. Coughlin      DKT 232; 1:02-cv-01616-     Maura A. Coughlin, Individually, as Spouse                                                              Maura A. Coughlin as              Maura A. Coughlin on behalf of S.C., Child       WD
                                                      JR; P4052                   of Timothy J. Coughlin, Deceased;                                                                       Parent/Guardian of S.C.           of Timothy J. Coughlin, Deceased;

1,335 Timothy J. Hargrave      Patricia E. Hargrave   DKT 305; 1:02-cv-01616-     Patricia E. Hargrave, Individually, as Spouse                                                           Patricia E. Hargrave as           Amy P. Hargrave, Individually as Child of      WD
                                                      JR; P4309                   of Timothy J. Hargrave, Deceased;                                                                       Parent/Guardian of Amy P.         Timothy J. Hargrave, Deceased, and
                                                                                                                                                                                          Hargrave                          previously included as minor child of Patricia
                                                                                                                                                                                                                            E. Hargrave;
1,336 Timothy J. Hargrave      Patricia E. Hargrave   DKT 305; 1:02-cv-01616-     Patricia E. Hargrave, Individually, as Spouse                                                           Patricia E. Hargrave as           Casey A. Hargrave, Individually as Child of WD
                                                      JR; P4309                   of Timothy J. Hargrave, Deceased;                                                                       Parent/Guardian of Casey A.       Timothy J. Hargrave, Deceased, and
                                                                                                                                                                                          Hargrave                          previously included as minor child of Patricia
                                                                                                                                                                                                                            E. Hargrave;




                                                                                                                                   82
                                                           Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 83 of 88




                                                                                                                                                                                                                                                                          Nature of Claim
 Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                      Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                       Plaintiff's Individual Capacity            Caption identifying the estate representative of      or Guardian of Previously
                                                            Complaint                                                                                                                                                             plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                Minor Child


1,337 Timothy J. Hargrave      Patricia E. Hargrave   DKT 305; 1:02-cv-01616-     Patricia E. Hargrave, Individually, as Spouse                                                          Patricia E. Hargrave as           Corinne Elizabeth Hargrave, Individually as WD
                                                      JR; P4309                   of Timothy J. Hargrave, Deceased;                                                                      Parent/Guardian of Corinne        Child of Timothy J. Hargrave, Deceased,
                                                                                                                                                                                         Elizabeth Hargrave                and previously included as minor child of
                                                                                                                                                                                                                           Patricia E. Hargrave;
1,338 Timothy M. O'Brien       Kathleen Marie Tighe   DKT 26, 29; 1:02-cv-        Kathleen Marie Tighe, Individually, as                                                                 Kathleen Marie Tighe as           Elizabeth Anne Tighe, Individually as Child WD
                                                      01616-JR; 2398              Sibling of Timothy M. O'Brien, Deceased;                                                               Parent/Guardian of Elizabeth      of Stephen Edward Tighe, Deceased, and
                                                                                                                                                                                         Anne Tighe                        previously included as minor child of
                                                                                                                                                                                                                           Kathleen Marie Tighe;
1,339 Timothy M. O'Brien       Kathleen Marie Tighe   DKT 26, 29; 1:02-cv-        Kathleen Marie Tighe, Individually, as                                                                 Kathleen Marie Tighe as           Lindsay Grace Tighe, Individually as Child of WD
                                                      01616-JR; 2398              Sibling of Timothy M. O'Brien, Deceased;                                                               Parent/Guardian of Lindsay        Stephen Edward Tighe, Deceased, and
                                                                                                                                                                                         Grace Tighe                       previously included as minor child of
                                                                                                                                                                                                                           Kathleen Marie Tighe;
1,340 Timothy M. O'Brien       Kathleen Marie Tighe   DKT 26, 29; 1:02-cv-        Kathleen Marie Tighe, Individually, as                                                                 Kathleen Marie Tighe as           Michael Joseph Tighe, Individually as Child WD
                                                      01616-JR; 2398              Sibling of Timothy M. O'Brien, Deceased;                                                               Parent/Guardian of Michael        of Stephen Edward Tighe, Deceased, and
                                                                                                                                                                                         Joseph Tighe                      previously included as minor child of
                                                                                                                                                                                                                           Kathleen Marie Tighe;
1,341 Timothy M. O'Brien       Kathleen Marie Tighe   DKT 26, 29; 1:02-cv-        Kathleen Marie Tighe, Individually, as                                                                 Kathleen Marie Tighe as           Patrick James Tighe, Individually as Child of WD
                                                      01616-JR; 2398              Sibling of Timothy M. O'Brien, Deceased;                                                               Parent/Guardian of Patrick        Stephen Edward Tighe, Deceased, and
                                                                                                                                                                                         James Tighe                       previously included as minor child of
                                                                                                                                                                                                                           Kathleen Marie Tighe;
1,342 Timothy Paul Gilbert     Jacqueline Gilbert     DKT 26, 29; 1:02-cv-        Jacqueline Gilbert, Individually, as Spouse                                                            Jacqueline Gilbert as             Jacqueline Gilbert, on behalf of A.G., Child WD
                                                      01616-JR; 1984              of Timothy Paul Gilbert, Deceased;                                                                     Parent/Guardian of A.G.           of Timothy Paul Gilbert, Deceased;

1,343 Timothy Paul Gilbert     Jacqueline Gilbert     DKT 26, 29; 1:02-cv-        Jacqueline Gilbert, Individually, as Spouse                                                            Jacqueline Gilbert as             Jacqueline Gilbert, on behalf of B.G., Child   WD
                                                      01616-JR; 1984              of Timothy Paul Gilbert, Deceased;                                                                     Parent/Guardian of B.G.           of Timothy Paul Gilbert, Deceased;

1,344 Timothy Paul Gilbert     Jacqueline Gilbert     DKT 26, 29; 1:02-cv-        Jacqueline Gilbert, Individually, as Spouse                                                            Jacqueline Gilbert as             Jacqueline Gilbert, on behalf of M.G., Child   WD
                                                      01616-JR; 1984              of Timothy Paul Gilbert, Deceased;                                                                     Parent/Guardian of M.G.           of Timothy Paul Gilbert, Deceased;

1,345 Timothy Paul Gilbert     Jacqueline Gilbert     DKT 26, 29; 1:02-cv-        Jacqueline Gilbert, Individually, as Spouse                                                            Jacqueline Gilbert as             Jacqueline Gilbert, on behalf of M.G., Child   WD
                                                      01616-JR; 1984              of Timothy Paul Gilbert, Deceased;                                                                     Parent/Guardian of M.G.           of Timothy Paul Gilbert, Deceased;

1,346 Timothy Ray Ward         Susanne Ward Baker     DKT HAND FILED (3-10-       Susanne Ward Baker, Individually, as            Susanne Ward Baker as the Personal Representative                                                                                       WD
                                                      2004); 1:03-cv-9849         Parent of Timothy Ray Ward, Deceased;           of the Estate of Timothy Ray Ward, Deceased;
                                                      (RCC); P5299
1,347 Todd Joseph Ouida        Herbert Ouida          DKT 232; 1:02-cv-01616-     Herbert Ouida, Individually, as Parent of       Herbert Ouida as the Representative of the Estate of                                                                                    WD
                                                      JR; P3876                   Todd Joseph Ouida, Deceased;                    Todd Joseph Ouida, Deceased;
1,348 Tonyell F. McDay         Cynthia Elaine McDay   DKT 305; 1:02-cv-01616-     Cynthia Elaine McDay, Individually, as          Cynthia Elaine McDay as the Personal Representative                                                                                     WD
                                                      JR; P4414                   Parent of Tonyell F. McDay, Deceased;           of the Estate of Tonyell F. McDay, Deceased;

1,349 Troy Edward Nilsen       Jennifer Anne Nilsen   DKT 26, 29; 1:02-cv-        Jennifer Anne Nilsen, Individually, as                                                                 Jennifer Anne Nilsen as         Ryan Thomas Nilsen, Individually as Child        WD
                                                      01616-JR; 4025              Spouse of Troy Edward Nilsen, Deceased;                                                                Parent/Guardian of Ryan         of Troy Edward Nilsen, Deceased, and
                                                                                                                                                                                         Thomas Nilsen                   previously included as minor child of
                                                                                                                                                                                                                         Jennifer Anne Nilsen;
1,350 Troy Edward Nilsen       Jennifer Anne Nilsen   DKT 26, 29; 1:02-cv-        Jennifer Anne Nilsen, Individually, as                                                                 Jennifer Anne Nilsen as         Scott Edward Nilsen, Individually as Child of    WD
                                                      01616-JR; 4025              Spouse of Troy Edward Nilsen, Deceased;                                                                Parent/Guardian of Scott Edward Troy Edward Nilsen, Deceased, and
                                                                                                                                                                                         Nilsen                          previously included as minor child of
                                                                                                                                                                                                                         Jennifer Anne Nilsen;
1,351 Uhuru Gonja Houston      Sonya M. Houston       DKT 155; 1:02-cv-01616-     Sonya M. Houston, Individually, as Spouse       Sonya M. Houston as the Personal Representative of     Sonya M. Houston as             Hannah Houston, Individually as Child of         WD
                                                      JR; P2948                   of Uhuru Gonja Houston, Deceased;               the Estate of Uhuru Gonja Houston, Deceased;           Parent/Guardian of Hannah       Uhuru Gonja Houston, Deceased, and
                                                                                                                                                                                         Houston                         previously included as minor child of Sonya
                                                                                                                                                                                                                         M. Houston;
1,352 Uhuru Gonja Houston      Sonya M. Houston       DKT 155; 1:02-cv-01616-     Sonya M. Houston, Individually, as Spouse       Sonya M. Houston as the Personal Representative of     Sonya M. Houston as             Hasani Houston, Individually as Child of         WD
                                                      JR; P2948                   of Uhuru Gonja Houston, Deceased;               the Estate of Uhuru Gonja Houston, Deceased;           Parent/Guardian of Hasani       Uhuru Gonja Houston, Deceased, and
                                                                                                                                                                                         Houston                         previously included as minor child of Sonya
                                                                                                                                                                                                                         M. Houston;
                                                                                                                                   83
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 84 of 88




                                                                                                                                                                                                                                                                        Nature of Claim
 Number
                                  Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                           Name of previously minor child now a
          9/11 Decedent Name     Currently named in                                        Plaintiff's Individual Capacity         Caption identifying the estate representative of      or Guardian of Previously
                                                              Complaint                                                                                                                                                          plaintiff in their own right
                                     complaint                                                                                                      9/11 Decedent                                Minor Child


1,353 Valsa Raju                Thankachan Raju         DKT 305; 1:02-cv-01616-     Thankachan Raju, Individually, as Spouse     Thankachan Raju as the Representative of the Estate    Thankachan Raju as                Sanjay Raju, Individually as Child of Valsa WD
                                                        JR; P4494                   of Valsa Raju, Deceased;                     of Valsa Raju, Deceased;                               Parent/Guardian of Sanjay Raju    Raju, Deceased, and previously included as
                                                                                                                                                                                                                          minor child of Thankachan Raju;

1,354 Valsa Raju                Thankachan Raju         DKT 305; 1:02-cv-01616-     Thankachan Raju, Individually, as Spouse     Thankachan Raju as the Representative of the Estate    Thankachan Raju as              Soniya Susan Raju, Individually as Child of WD
                                                        JR; P4494                   of Valsa Raju, Deceased;                     of Valsa Raju, Deceased;                               Parent/Guardian of Soniya Susan Valsa Raju, Deceased, and previously
                                                                                                                                                                                        Raju                            included as minor child of Thankachan Raju;

1,355 Vaswald George Hall       Beverly Hall            DKT 305; 1:02-cv-01616-     Beverly Hall, Individually, as Spouse of     Beverly Hall as the Personal Representative of the                                                                                     WD
                                                        JR; P4306                   Vaswald George Hall, Deceased;               Estate of Vaswald George Hall, Deceased;
1,356 Vicki L. Yancey           David Mauzy Yancey      DKT 432; 1:02-cv-01616-     David Mauzy Yancey, Individually, as         David Mauzy Yancey as the Personal Representative      David Mauzy Yancey as             David Mauzy Yancey on behalf of C.N.Y,        WD
                                                        JR; P4982                   Spouse of Vicki L. Yancey, Deceased;         of the Estate of Vicki L. Yancey, Deceased;            Parent/Guardian of C.N.Y.         Child of Vicki L. Yancey, Deceased;

1,357 Victor Daniel Barbosa     Marina Barbosa          DKT 26, 29; 1:02-cv-        Marina Barbosa, Individually, as Spouse of                                                          Marina Barbosa as               Sael Barbosa, Individually as Child of Victor   WD
                                                        01616-JR; 1832              Victor Daniel Barbosa, Deceased;                                                                    Parent/Guardian of Sael Barbosa Daniel Barbosa, Deceased, and previously
                                                                                                                                                                                                                        included as minor child of Marina Barbosa;

1,358 Victor Daniel Barbosa     Nancy Santana           DKT 26, 29; 1:02-cv-        Nancy Santana, Individually, as Parent of    Nancy Santana as the Personal Representative of the                                                                                    WD
                                                        01616-JR; 1833              Victor Daniel Barbosa, Deceased;             Estate of Victor Daniel Barbosa, Deceased;
1,359 Victor J. Saracini        Ellen Louise Saracini   DKT 1; 1:02-cv-01616-JR;    Ellen Louise Saracini, Individually, as                                                             Ellen Louise Saracini as          Ellen Louise Saracini, on behalf of B.M.S.,   WD
                                                        742                         Spouse of Victor J. Saracini, Deceased;                                                             Parent/Guardian of B.M.S.         Child of Victor J. Saracini, Deceased;

1,360 Victor J. Saracini        Ellen Louise Saracini   DKT 1; 1:02-cv-01616-JR; Ellen Louise Saracini, Individually, as                                                                Ellen Louise Saracini as          Ellen Louise Saracini, on behalf of K.A.S.,   WD
                                                        742                      Spouse of Victor J. Saracini, Deceased;                                                                Parent/Guardian of K.A.S.         Child of Victor J. Saracini, Deceased;

1,361 Victor J. Saracini        Ellen Louise Saracini   DKT 1; 1:02-cv-01616-JR; Ellen Louise Saracini, Individually, as                                                                Ellen Louise Saracini as          Sujoy Sarkar, Individually as Child of Kalyan WD
                                                        760                      Spouse of Victor J. Saracini, Deceased;                                                                Parent/Guardian of Sujoy Sarkar   K. Sarkar, Deceased, and previously
                                                                                                                                                                                                                          included as minor child of Ellen Louise
                                                                                                                                                                                                                          Saracini;
1,362 Vincent Abate             Elaine Abate            DKT 232; 1:02-cv-01616-     Elaine Abate, Individually, as Parent of     Elaine Abate as the Personal Representative of the                                                                                     WD
                                                        JR; P3573                   Vincent Abate, Deceased;                     Estate of Vincent Abate, Deceased;
1,363 Vincent F. Giammona       Theresa Giammona        DKT 26, 29; 1:02-cv-        Theresa Giammona, Individually, as Spouse    Theresa Giammona as the Personal Representative of Theresa Giammona as                   Daniella Giammona, Individually as Child of WD
                                                        01616-JR; 3268              of Vincent F. Giammona, Deceased;            the Estate of Vincent F. Giammona, Deceased;       Parent/Guardian of Daniella           Vincent F. Giammona, Deceased, and
                                                                                                                                                                                    Giammona                              previously included as minor child of
                                                                                                                                                                                                                          Theresa Giammona;
1,364 Vincent F. Giammona       Theresa Giammona        DKT 26, 29; 1:02-cv-        Theresa Giammona, Individually, as Spouse Theresa Giammona as the Personal Representative of Theresa Giammona as                      Francesca Paulina Giammona, Individually WD
                                                        01616-JR; 3268              of Vincent F. Giammona, Deceased;         the Estate of Vincent F. Giammona, Deceased;       Parent/Guardian of Francesca             as Child of Vincent F. Giammona,
                                                                                                                                                                                 Paulina Giammona                         Deceased, and previously included as minor
                                                                                                                                                                                                                          child of Theresa Giammona;

1,365 Vincent F. Giammona       Theresa Giammona        DKT 26, 29; 1:02-cv-        Theresa Giammona, Individually, as Spouse Theresa Giammona as the Personal Representative of Theresa Giammona as                      Nicolette Giammona, Individually as Child of WD
                                                        01616-JR; 3268              of Vincent F. Giammona, Deceased;         the Estate of Vincent F. Giammona, Deceased;       Parent/Guardian of Nicolette             Vincent F. Giammona, Deceased, and
                                                                                                                                                                                 Giammona                                 previously included as minor child of
                                                                                                                                                                                                                          Theresa Giammona;
1,366 Vincent F. Giammona       Theresa Giammona        DKT 26, 29; 1:02-cv-        Theresa Giammona, Individually, as Spouse Theresa Giammona as the Personal Representative of Theresa Giammona as                      Toni-Ann Giammona, Individually as Child       WD
                                                        01616-JR; 3268              of Vincent F. Giammona, Deceased;         the Estate of Vincent F. Giammona, Deceased;       Parent/Guardian of Toni-Ann              of Vincent F. Giammona, Deceased, and
                                                                                                                                                                                 Giammona                                 previously included as minor child of
                                                                                                                                                                                                                          Theresa Giammona;
1,367 Vincent Francis DiFazio   Patricia Anne DiFazio   DKT 305; 1:02-cv-01616-     Patricia Anne DiFazio, Individually, as      Patricia Anne DiFazio as the Personal Representative   Patricia Anne DiFazio as          Dana Michelle DiFazio, Individually as Child WD
                                                        JR; P4229                   Spouse of Vincent Francis DiFazio,           of the Estate of Vincent Francis DiFazio, Deceased;    Parent/Guardian of Dana           of Vincent Francis DiFazio, Deceased, and
                                                                                    Deceased;                                                                                           Michelle DiFazio                  previously included as minor child of Patricia
                                                                                                                                                                                                                          Anne DiFazio;
1,368 Vincent Francis DiFazio   Patricia Anne DiFazio   DKT 305; 1:02-cv-01616-     Patricia Anne DiFazio, Individually, as      Patricia Anne DiFazio as the Personal Representative   Patricia Anne DiFazio as          Gina Marie DiFazio, Individually as Child of WD
                                                        JR; P4229                   Spouse of Vincent Francis DiFazio,           of the Estate of Vincent Francis DiFazio, Deceased;    Parent/Guardian of Gina Marie     Vincent Francis DiFazio, Deceased, and
                                                                                    Deceased;                                                                                           DiFazio                           previously included as minor child of Patricia
                                                                                                                                                                                                                          Anne DiFazio;
                                                                                                                                  84
                                                             Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 85 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
 Number
                                  Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended        Additional Capacity as Parent
                                                        Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
          9/11 Decedent Name     Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of       or Guardian of Previously
                                                              Complaint                                                                                                                                                             plaintiff in their own right
                                     complaint                                                                                                        9/11 Decedent                                 Minor Child


1,369 Vincent Francis DiFazio   Patricia Anne DiFazio   DKT 305; 1:02-cv-01616-     Patricia Anne DiFazio, Individually, as        Patricia Anne DiFazio as the Personal Representative    Patricia Anne DiFazio as           Joseph Vincent DiFazio, Individually as        WD
                                                        JR; P4229                   Spouse of Vincent Francis DiFazio,             of the Estate of Vincent Francis DiFazio, Deceased;     Parent/Guardian of Joseph          Child of Vincent Francis DiFazio, Deceased,
                                                                                    Deceased;                                                                                              Vincent DiFazio                    and previously included as minor child of
                                                                                                                                                                                                                              Patricia Anne DiFazio;
1,370 Vincent Gerard D'Amadeo   Raquel D'Amadeo         DKT 3; 1:02-cv-01616-JR; Raquel D'Amadeo, Individually, as Spouse          Raquel D'Amadeo as the Personal Representative of       Raquel D'Amadeo as                 Frank D'Amadeo, Individually as Child of       WD
                                                        1051                     of Vincent Gerard D'Amadeo, Deceased;             the Estate of Vincent Gerard D'Amadeo, Deceased;        Parent/Guardian of Frank           Vincent Gerard D'Amadeo, Deceased, and
                                                                                                                                                                                           D'Amadeo                           previously included as minor child of Raquel
                                                                                                                                                                                                                              D'Amadeo;
1,371 Vincent Gerard D'Amadeo   Raquel D'Amadeo         DKT 3; 1:02-cv-01616-JR; Raquel D'Amadeo, Individually, as Spouse          Raquel D'Amadeo as the Personal Representative of       Raquel D'Amadeo as                 Jerry D'Amadeo, Individually as Child of       WD
                                                        1051                     of Vincent Gerard D'Amadeo, Deceased;             the Estate of Vincent Gerard D'Amadeo, Deceased;        Parent/Guardian of Jerry           Vincent Gerard D'Amadeo, Deceased, and
                                                                                                                                                                                           D'Amadeo                           previously included as minor child of Raquel
                                                                                                                                                                                                                              D'Amadeo;
1,372 Vincent Gerard D'Amadeo   Raquel D'Amadeo         DKT 3; 1:02-cv-01616-JR; Raquel D'Amadeo, Individually, as Spouse          Raquel D'Amadeo as the Personal Representative of       Raquel D'Amadeo as                 Michael D'Amadeo, Individually as Child of     WD
                                                        1051                     of Vincent Gerard D'Amadeo, Deceased;             the Estate of Vincent Gerard D'Amadeo, Deceased;        Parent/Guardian of Michael         Vincent Gerard D'Amadeo, Deceased, and
                                                                                                                                                                                           D'Amadeo                           previously included as minor child of Raquel
                                                                                                                                                                                                                              D'Amadeo;
1,373 Vincent Gerard D'Amadeo   Raquel D'Amadeo         DKT 3; 1:02-cv-01616-JR; Raquel D'Amadeo, Individually, as Spouse          Raquel D'Amadeo as the Personal Representative of       Raquel D'Amadeo as                 Vincent D'Amadeo, Individually as Child of     WD
                                                        1051                     of Vincent Gerard D'Amadeo, Deceased;             the Estate of Vincent Gerard D'Amadeo, Deceased;        Parent/Guardian of Vincent         Vincent Gerard D'Amadeo, Deceased, and
                                                                                                                                                                                           D'Amadeo                           previously included as minor child of Raquel
                                                                                                                                                                                                                              D'Amadeo;
1,374 Vincent M. Boland, Jr.    Vincent Boland, Sr.     DKT 232; 1:02-cv-01616-     Vincent Boland, Sr., Individually, as Parent   Vincent Boland, Sr. as the Personal Representative of                                                                                     WD
                                                        JR; P3605                   of Vincent M. Boland, Jr., Deceased;           the Estate of Vincent M. Boland, Jr., Deceased;

1,375 Vincent Michael Wells     Charles Thomas Wells    DKT 232; 1:02-cv-01616-     Charles Thomas Wells, Individually, as      Charles Thomas Wells as the Co-Personal                                                                                                      WD
                                                        JR; P4098                   Parent of Vincent Michael Wells, Deceased; Representative of the Estate of Vincent Michael Wells,
                                                                                                                                Deceased;
1,376 Vincent Michael Wells     Julia Ann Wells         DKT 232; 1:02-cv-01616-     Julia Ann Wells, Individually, as Parent of Julia Ann Wells as the Co-Personal Representative of                                                                                         WD
                                                        JR; P4099                   Vincent Michael Wells, Deceased;            the Estate of Vincent Michael Wells, Deceased;

1,377 Virginia Jablonski        Barry Jablonski         DKT 232; 1:02-cv-01616-     Barry Jablonski, Individually, as Spouse of    Barry Jablonski as the Personal Representative of the                                                                                     WD
                                                        JR; P3735                   Virginia Jablonski, Deceased;                  Estate of Virginia Jablonski, Deceased;
1,378 Vito Joseph Deleo         Sally DeLeo             DKT 26, 29; 1:02-cv-        Sally DeLeo, Individually, as Spouse of Vito                                                           Sally DeLeo as Parent/Guardian     Kassidy Louise DeLeo, Individually as Child    WD
                                                        01616-JR; 1941              Joseph Deleo, Deceased;                                                                                of Kassidy Louise DeLeo            of Vito Joseph Deleo, Sr., Deceased, and
                                                                                                                                                                                                                              previously included as minor child of Sally
                                                                                                                                                                                                                              DeLeo;
1,379 Vito Joseph Deleo         Sally DeLeo             DKT 26, 29; 1:02-cv-        Sally DeLeo, Individually, as Spouse of Vito                                                           Sally DeLeo as Parent/Guardian     Vito Joseph DeLeo, Individually as Child of    WD
                                                        01616-JR; 1941              Joseph Deleo, Deceased;                                                                                of Vito Joseph DeLeo               Vito Joseph Deleo, Sr., Deceased, and
                                                                                                                                                                                                                              previously included as minor child of Sally
                                                                                                                                                                                                                              DeLeo;
1,380 Waleed Iskandar           May Marconet            DKT432; 1:03-md-01570-      May Marconet, Individually, as Sibling of      May Marconet as the Personal Representative of the                                                                                        WD
                                                        GBD-SN; P5372               Waleed Iskandar, Deceased;                     Estate of Waleed Iskandar, Deceased;
1,381 Walter A. Matuza          Denise Matuza           DKT 26, 29; 1:02-cv-        Denise Matuza, Individually, as Spouse of                                                              Denise Matuza as                   Jesse Anthony Matuza, Individually as Child WD
                                                        01616-JR; 2166              Walter A. Matuza, Deceased;                                                                            Parent/Guardian of Jesse           of Walter A. Matuza, Deceased, and
                                                                                                                                                                                           Anthony Matuza                     previously included as minor child of Denise
                                                                                                                                                                                                                              Matuza;
1,382 Walter A. Matuza          Denise Matuza           DKT 26, 29; 1:02-cv-        Denise Matuza, Individually, as Spouse of                                                              Denise Matuza as                   Nico Salvatore Matuza, Individually as Child WD
                                                        01616-JR; 2166              Walter A. Matuza, Deceased;                                                                            Parent/Guardian of Nico            of Walter A. Matuza, Deceased, and
                                                                                                                                                                                           Salvatore Matuza                   previously included as minor child of Denise
                                                                                                                                                                                                                              Matuza;
1,383 Walter A. Matuza          Denise Matuza           DKT 26, 29; 1:02-cv-        Denise Matuza, Individually, as Spouse of                                                              Denise Matuza as                   Walter Philip Matuza, Individually as Child of WD
                                                        01616-JR; 2166              Walter A. Matuza, Deceased;                                                                            Parent/Guardian of Walter Philip   Walter A. Matuza, Deceased, and
                                                                                                                                                                                           Matuza                             previously included as minor child of Denise
                                                                                                                                                                                                                              Matuza;
1,384 Walter Baran              Carol A. Baran          DKT 26, 29; 1:02-CV-        Carol A. Baran, Individually, as Spouse of                                                             Carol A. Baran as                  Carol A. Baran, on behalf of S.B, Child of     WD
                                                        01616-JR; 2608              Walter Baran, Deceased;                                                                                Parent/Guardian of S.B.            Walter Baran, Deceased;


                                                                                                                                    85
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 86 of 88




                                                                                                                                                                                                                                                                      Nature of Claim
 Number
                                 Plaintiff's Name                                                                                   Additional Capacity to be reflected in Amended       Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                              Name of previously minor child now a
          9/11 Decedent Name    Currently named in                                        Plaintiff's Individual Capacity           Caption identifying the estate representative of      or Guardian of Previously
                                                             Complaint                                                                                                                                                             plaintiff in their own right
                                    complaint                                                                                                        9/11 Decedent                                Minor Child


1,385 Walter Baran             Carol A. Baran          DKT 26, 29; 1:02-CV-        Carol A. Baran, Individually, as Spouse of                                                            Carol A. Baran as          Carol A. Baran, on behalf of S.B., Child of   WD
                                                       01616-JR; 2608              Walter Baran, Deceased;                                                                               Parent/Guardian of S.B.    Walter Baran, Deceased;
1,386 Walter P. Travers        Rosemary Travers        DKT 305; 1:02-cv-01616-     Rosemary Travers, Individually, as Spouse  Rosemary Travers as the Personal Representative of         Rosemary Travers as        Elyse Virginia Travers, Individually as Child WD
                                                       JR; P4556                   of Walter P. Travers, Deceased;            the Estate of Walter P. Travers, Deceased;                 Parent/Guardian of Elyse Virginia
                                                                                                                                                                                                                    of Walter P. Travers, Deceased, and
                                                                                                                                                                                         Travers                    previously included as minor child of
                                                                                                                                                                                                                    Rosemary Travers;
1,387 Walter P. Travers        Rosemary Travers        DKT 305; 1:02-cv-01616-     Rosemary Travers, Individually, as Spouse Rosemary Travers as the Personal Representative of Rosemary Travers as                 Kevin Travers, Individually as Child of       WD
                                                       JR; P4556                   of Walter P. Travers, Deceased;            the Estate of Walter P. Travers, Deceased;           Parent/Guardian of Kevin Travers Walter P. Travers, Deceased, and
                                                                                                                                                                                                                    previously included as minor child of
                                                                                                                                                                                                                    Rosemary Travers;
1,388 Walter P. Travers        Rosemary Travers        DKT 305; 1:02-cv-01616-     Rosemary Travers, Individually, as Spouse Rosemary Travers as the Personal Representative of Rosemary Travers as                 Brian Francis Travers, Individually as Child WD
                                                       JR; P4556                   of Walter P. Travers, Deceased;            the Estate of Walter P. Travers, Deceased;           Parent/Guardian of Brian Francis of Walter P. Travers, Deceased, and
                                                                                                                                                                                   Travers                          previously included as minor child of
                                                                                                                                                                                                                    Rosemary Travers;
1,389 Walwyn W. Stuart, Jr.    Thelma Corinne Stuart   DKT 155; 1:02-cv-01616-     Thelma Corinne Stuart, Individually, as    Thelma Corinne Stuart as the Personal Representative Thelma Corinne Stuart as         Amanda Camille Stuart, Individually as Child WD
                                                       JR; P3107                   Spouse of Walwyn W. Stuart, Jr., Deceased; of the Estate of Walwyn W. Stuart, Jr., Deceased;    Parent/Guardian of Amanda        of Walwyn W. Stuart, Deceased, and
                                                                                                                                                                                   Camille Stuart                   previously included as minor child of Thelma
                                                                                                                                                                                                                    Corinne Stuart;
1,390 Wanda Prince             Edward Joseph Prince    DKT HAND FILED (3-10-       Edward Joseph Prince, Individually, as     Edward Joseph Prince as the Representative of the                                                                                   WD
                                                       2004); 1:03-cv-9849         Spouse of Wanda Prince, Deceased;          Estate of Wanda Prince, Deceased;
                                                       (RCC); P5234
1,391 Wayne A. Russo           Arthur Russo            DKT 26, 29; 1:02-cv-        Arthur Russo, Individually, as Parent of       Arthur Russo as the Representative of the Estate of                                                                                 WD
                                                       01616-JR; 2323              Wayne A. Russo, Deceased;                      Wayne A. Russo, Deceased;
1,392 Wayne J. Saloman         Debra Ann Saloman       DKT 232; 1:02-cv-01616-     Debra Ann Saloman, Individually, as            Debra Ann Saloman as the Representative of the         Debra Ann Saloman as            Justin Charles Saloman, Individually as      WD
                                                       JR; P3942                   Spouse of Wayne J. Saloman, Deceased;          Estate of Wayne J. Saloman, Deceased;                  Parent/Guardian of Justin       Child of Wayne J. Saloman, Deceased, and
                                                                                                                                                                                         Charles Saloman                 previously included as minor child of Debra
                                                                                                                                                                                                                         Ann Saloman;
1,393 Wei Rong Lin             Se Jua Au               DKT 232; 1:02-cv-01616-     Se Jua Au, Individually, as Spouse of Wei      Se Jua Au as the Personal Representative of the        Se Jua Au as Parent/Guardian of Karoline Yu Zheng Lin, Individually as Child WD
                                                       JR; P3786                   Rong Lin, Deceased;                            Estate of Wei Rong Lin, Deceased;                      Karoline Yu Zheng Lin           of Wei Rong Lin, Deceased, and previously
                                                                                                                                                                                                                         included as minor child of Se Jua Au;

1,394 Wei Rong Lin             Se Jua Au               DKT 232; 1:02-cv-01616-     Se Jua Au, Individually, as Spouse of Wei      Se Jua Au as the Personal Representative of the        Se Jua Au as Parent/Guardian of Katherine Xue Xiao Lin, Individually as Child WD
                                                       JR; P3786                   Rong Lin, Deceased;                            Estate of Wei Rong Lin, Deceased;                      Katherine Xue Xiao Lin          of Wei Rong Lin, Deceased, and previously
                                                                                                                                                                                                                         included as minor child of Se Jua Au;

1,395 Weibin Wang              Wen Shi                 DKT 155; 1:02-cv-01616-     Wen Shi, Individually, as Spouse of Weibin     Wen Shi as the Personal Representative of the Estate   Wen Shi as Parent/Guardian of       Marina Wang, Individually as Child of    WD
                                                       JR; P3143                   Wang, Deceased;                                of Weibin Wang, Deceased;                              Marina Wang                         Weibin Wang, Deceased, and previously
                                                                                                                                                                                                                             included as minor child of Wen Shi;

1,396 Weibin Wang              Wen Shi                 DKT 155; 1:02-cv-01616-     Wen Shi, Individually, as Spouse of Weibin     Wen Shi as the Personal Representative of the Estate   Wen Shi as Parent/Guardian of       Raymond Wang, Individually as Child of   WD
                                                       JR; P3143                   Wang, Deceased;                                of Weibin Wang, Deceased;                              Raymond Wang                        Weibin Wang, Deceased, and previously
                                                                                                                                                                                                                             included as minor child of Wen Shi;

1,397 Weibin Wang              Wen Shi                 DKT 155; 1:02-cv-01616-     Wen Shi, Individually, as Spouse of Weibin     Wen Shi as the Personal Representative of the Estate   Wen Shi as Parent/Guardian of       Richard Wang, Individually as Child of   WD
                                                       JR; P3143                   Wang, Deceased;                                of Weibin Wang, Deceased;                              Richard Wang                        Weibin Wang, Deceased, and previously
                                                                                                                                                                                                                             included as minor child of Wen Shi;

1,398 Welles Remy Crowther     Alison Remy Crowther    DKT 26, 29; 1:02-cv-        Alison Remy Crowther, Individually, as    Alison Remy Crowther as the Personal Representative                                                                                      WD
                                                       01616-JR; 1909              Parent of Welles Remy Crowther, Deceased; of the Estate of Welles Remy Crowther, Deceased;

1,399 Wendy A. Wakeford        Clara L. Pachomski      DKT 432; 1:02-cv-01616-     Clara L. Pachomski, Individually, as Sibling   Clara L. Pachomski as the Personal Representative of                                                                                WD
                                                       JR; P4966                   of Wendy A. Wakeford, Deceased;                the Estate of Wendy A. Wakeford, Deceased;




                                                                                                                                   86
                                                                 Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 87 of 88




                                                                                                                                                                                                                                                                                Nature of Claim
 Number
                                    Plaintiff's Name                                                                                      Additional Capacity to be reflected in Amended          Additional Capacity as Parent
                                                            Reference to Plaintiff in                                                                                                                                               Name of previously minor child now a
           9/11 Decedent Name      Currently named in                                          Plaintiff's Individual Capacity            Caption identifying the estate representative of         or Guardian of Previously
                                                                  Complaint                                                                                                                                                              plaintiff in their own right
                                       complaint                                                                                                           9/11 Decedent                                   Minor Child


1,400 Wendy L. Small              Lawanda Sandina           DKT 432; 1:02-cv-01616-     Lawanda Sandina Simmons, Individually, as Lawanda Sandina Simmons as the Personal                         Lawanda Sandina Simmons as       Tyreek Dexter Nurse, Individually as Child of WD
                                  Simmons                   JR; P4953                   Sibling of Wendy L. Small, Deceased;      Representative of the Estate of Wendy L. Small,                 Parent/Guardian of Tyreek        Wendy L. Small, Deceased, and previously
                                                                                                                                  Deceased;                                                       Dexter Nurse                     included as minor child by Lawanda
                                                                                                                                                                                                                                   Sandina Simmons, the court appointed
                                                                                                                                                                                                                                   Guardian of Tyreek Dexter Nurse;

1,401 William A. Karnes           Brenda Rowena             DKT 432; 1:03-md-01570- Brenda Rowena Vandever, Individually, as            Brenda Rowena Vandever as the Personal                                                                                                 WD
                                  Vandever                  GBD-SN; P5379           Sibling of William A. Karnes, Deceased;             Representative of the Estate of William A. Karnes,
                                                                                                                                        Deceased;
1,402 William Christopher Hunt    Jennifer W. Hunt          DKT 3; 1:02-cv-01616-JR; Jennifer W. Hunt, Individually, as Spouse of                                                                 Jennifer W. Hunt as              Emma Kathryn Hunt-Bauman, Individually     WD
                                                            1252                     William Christopher Hunt, Deceased;                                                                          Parent/Guardian of Emma          as Child of William Christopher Hunt,
                                                                                                                                                                                                  Kathryn Hunt-Bauman              Deceased, and previously included as minor
                                                                                                                                                                                                                                   child of Jennifer W. Hunt;

1,403 William Christopher Sugra   Elma Ava Sugra            DKT 232; 1:02-cv-01616-     Elma Ava Sugra, Individually, as Parent of      Elma Ava Sugra as the Co-Personal Representative of                                                                                    WD
                                                            JR; P4087                   William Christopher Sugra, Deceased;            the Estate of William Christopher Sugra, Deceased;

1,404 William Christopher Sugra   William J. Sugra          DKT 232; 1:02-cv-01616-     William J. Sugra, Individually, as Parent of    William J. Sugra as the Co-Personal Representative of                                                                                  WD
                                                            JR; P4088                   William Christopher Sugra, Deceased;            the Estate of William Christopher Sugra, Deceased;

1,405 William David Moskal        Lorraine Moskal           DKT 1; 1:02-cv-01616-JR; Lorraine Moskal, Individually, as Spouse of                                                                  Lorraine Moskal as               Andrew Robert Moskal, Individually as Child WD
                                                            408                      William David Moskal, Deceased;                                                                              Parent/Guardian of Andrew        of William David Moskal, Deceased, and
                                                                                                                                                                                                  Robert Moskal                    previously included as minor child of
                                                                                                                                                                                                                                   Lorraine Moskal;
1,406 William Edward Krukowski    Lisa Maria Inzerillo      DKT 305; 1:02-cv-01616-     Lisa Maria Inzerillo, Individually, as Spouse   Lisa Maria Inzerillo as the Personal Representative of    Lisa Maria Inzerillo as          William Lee Krukowski, Individually as Child WD
                                                            JR; P4368                   of William Edward Krukowski, Deceased;          the Estate of William Edward Krukowski, Deceased;         Parent/Guardian of William Lee   of William Edward Krukowski, Deceased,
                                                                                                                                                                                                  Krukowski                        and previously included as minor child of
                                                                                                                                                                                                                                   Lisa Maria Inzerillo;
1,407 William F. Abrahamson       Ann M. Abrahamson         DKT 155; 1:02-cv-01616-     Ann M. Abrahamson, Individually, as                                                                       Ann M. Abrahamson as             Erik A. Abrahamson, Individually as Child of WD
                                                            JR; P2811                   Spouse of William F. Abrahamson,                                                                          Parent/Guardian of Erik A.       William F. Abrahamson, Deceased, and
                                                                                        Deceased;                                                                                                 Abrahamson                       previously included as minor child of Ann M.
                                                                                                                                                                                                                                   Abrahamson;
1,408 William F. Abrahamson       Ann Michele               DKT 155; 1:02-cv-01616-     Ann Michele Abrahamson, Individually, as        Ann Michele Abrahamson as the Personal                                                                                                  WD
                                  Abrahamson                JR; P2811                   Spouse of William F. Abrahamson,                Representative of the Estate of William F.
                                                                                        Deceased;                                       Abrahamson, Deceased;
1,409 William F. Burke, Jr.       James Martin Burke        DKT 77; 1:02-cv-01616-      James Martin Burke, Individually, as Sibling    James Martin Burke as the Personal Representative of                                                                                   WD
                                                            JR; P2549                   of Williiam F. Burke, Jr., Deceased;            the Estate of Williiam F. Burke, Jr., Deceased;

1,410 William Hill Kelly, Jr.     JoAnne Marie Kelly        DKT 155; 1:02-cv-01616-     JoAnne Marie Kelly, Individually, as Parent     JoAnne Marie Kelly as the Personal Representative of                                                                                   WD
                                                            JR; P2968                   of William Hill Kelly, Jr., Deceased;           the Estate of William Hill Kelly, Jr., Deceased;

1,411 William Hill Kelly, Jr.     William Hill Kelly, Sr.   DKT 155; 1:02-cv-01616-     William Hill Kelly, Sr., Individually, as Parent William Hill Kelly, Sr. as the Personal Representative                                                                                WD
                                                            JR; P2969                   of William Hill Kelly, Jr., Deceased;            of the Estate of William Hill Kelly, Jr., Deceased;

1,412 William Howard Donovan      Elaine Marie Donovan      DKT 155; 1:02-cv-01616-     Elaine Marie Donovan, Individually, as          Elaine Marie Donovan as the Personal Representative Elaine Marie Donovan as                Brady Donovan, Individually as Child of      WD
                                                            JR; P2882                   Spouse of William Howard Donovan,               of the Estate of William Howard Donovan, Deceased; Parent/Guardian of Brady                William Howard Donovan, Deceased, and
                                                                                        Deceased;                                                                                           Donovan                                previously included as minor child of Elaine
                                                                                                                                                                                                                                   Marie Donovan;
1,413 William Howard Donovan      Elaine Marie Donovan      DKT 155; 1:02-cv-01616-     Elaine Marie Donovan, Individually, as          Elaine Marie Donovan as the Personal Representative Elaine Marie Donovan as                Kelsey Elizabeth Donovan, Individually as    WD
                                                            JR; P2882                   Spouse of William Howard Donovan,               of the Estate of William Howard Donovan, Deceased; Parent/Guardian of Kelsey               Child of William Howard Donovan,
                                                                                        Deceased;                                                                                           Elizabeth Donovan                      Deceased, and previously included as minor
                                                                                                                                                                                                                                   child of Elaine Marie Donovan;
1,414 William Howard Donovan      Elaine Marie Donovan      DKT 155; 1:02-cv-01616-     Elaine Marie Donovan, Individually, as          Elaine Marie Donovan as the Personal Representative Elaine Marie Donovan as                Megan Lynn Donovan, Individually as Child WD
                                                            JR; P2882                   Spouse of William Howard Donovan,               of the Estate of William Howard Donovan, Deceased; Parent/Guardian of Megan Lynn           of William Howard Donovan, Deceased, and
                                                                                        Deceased;                                                                                           Donovan                                previously included as minor child of Elaine
                                                                                                                                                                                                                                   Marie Donovan;
                                                                                                                                         87
                                                            Case 1:03-md-01570-GBD-SN Document 8395-1 Filed 08/17/22 Page 88 of 88




                                                                                                                                                                                                                                                                             Nature of Claim
 Number
                                   Plaintiff's Name                                                                                 Additional Capacity to be reflected in Amended         Additional Capacity as Parent
                                                       Reference to Plaintiff in                                                                                                                                                Name of previously minor child now a
          9/11 Decedent Name      Currently named in                                      Plaintiff's Individual Capacity           Caption identifying the estate representative of        or Guardian of Previously
                                                             Complaint                                                                                                                                                               plaintiff in their own right
                                      complaint                                                                                                      9/11 Decedent                                  Minor Child


1,415 William J. Esposito       Stephanie Lynn         DKT 232; 1:02-cv-01616-     Stephanie Lynn Esposito, Individually, as      Stephanie Lynn Esposito as the Personal                                                                                                    WD
                                Esposito               JR; P4056                   Spouse of William J. Esposito, Deceased;       Representative of the Estate of William J. Esposito,
                                                                                                                                  Deceased;
1,416 William J. Meehan, Jr.    Maureen E. Meehan      DKT 232; 1:02-cv-01616-     Maureen E. Meehan, Individually, as            Maureen E. Meehan as the Personal Representative of Maureen E. Meehan as                    Kathryn Meehan Beaulieu, Individually as       WD
                                                       JR; P3838                   Spouse of William J. Meehan, Jr.,              the Estate of William J. Meehan, Jr., Deceased;      Parent/Guardian of Kathryn             Child of William J. Meehan, Deceased, and
                                                                                   Deceased;                                                                                           Meehan Beaulieu                        previously included as minor child of
                                                                                                                                                                                                                              Maureen E. Meehan;
1,417 William J. Meehan, Jr.    Maureen E. Meehan      DKT 232; 1:02-cv-01616-     Maureen E. Meehan, Individually, as            Maureen E. Meehan as the Personal Representative of Maureen E. Meehan as                    Joseph Mercurio, Individually as Child of      WD
                                                       JR; P4074                   Spouse of William J. Meehan, Jr.,              the Estate of William J. Meehan, Jr., Deceased;     Parent/Guardian of Joseph               Ralph Mercurio, Deceased, and previously
                                                                                   Deceased;                                                                                          Mercurio                                included as minor child of Maureen E.
                                                                                                                                                                                                                              Meehan;
1,418 William James Mahoney, Jr. Donna Celeste         DKT 26, 29; 1:02-cv-        Donna Celeste Mahoney, Individually, as        Donna Celeste Mahoney as the Personal                                                                                                      WD
                                 Mahoney               01616-JR; 3705              Spouse of William James Mahoney, Jr.,          Representative of the Estate of William James
                                                                                   Deceased;                                      Mahoney, Jr., Deceased;
1,419 William Joseph Martin     Deborah D. Martin      DKT 232; 1:02-cv-01616-     Deborah D. Martin, Individually, as Spouse     Deborah D. Martin as the Personal Representative of                                                                                        WD
                                                       JR; P3820                   of William Joseph Martin, Deceased;            the Estate of William Joseph Martin, Deceased;

1,420 William Joseph McGovern   Mary Sue McGovern      DKT 26, 29; 1:02-cv-        Mary Sue McGovern, Individually, as                                                                     Mary Sue McGovern as               Katherine Julia Athey, Individually as Child   WD
                                                       01616-JR; 2171              Spouse of William Joseph McGovern,                                                                      Parent/Guardian of Katherine       of William Joseph McGovern, Deceased,
                                                                                   Deceased;                                                                                               Julia Athey                        and previously included as minor child of
                                                                                                                                                                                                                              Mary Sue McGovern;
1,421 William Leon Henry        Ethel M. Henry         DKT 26, 29; 1:02-cv-        Ethel M. Henry, Individually, as Parent of     Ethel M. Henry as the Personal Representative of the                                                                                       WD
                                                       01616-JR; 3431              William Leon Henry, Deceased;                  Estate of William Leon Henry, Deceased;
1,422 William Michael Weems     Lisa Anne Weems        DKT 305; 1:02-cv-01616-     Lisa Anne Weems, Individually, as Spouse       Lisa Anne Weems as the Personal Representative of        Lisa Anne Weems as                 Lisa Anne Weems on behalf of Z.W., Child       WD
                                                       JR; P4569                   of William Michael Weems, Deceased;            the Estate of William Michael Weems, Deceased;           Parent/Guardian of Z.W.            of William Michael Weems, Deceased;

1,423 William Otto Caspar       Janice Lucille Kurtz   DKT 1; 1:02-cv-01616-JR; Janice Lucille Kurtz, Individually, as Sibling    Janice Lucille Kurtz as the Personal Representative of                                                                                     WD
      (Estate of)                                      859 (DOE 30)             of William Otto Caspar, Deceased;                 the Estate of William Otto Caspar, Deceased;

1,424 William Ralph Raub        Maureen A. Raub        DKT 1; 1:02-cv-01616-JR; Maureen A. Raub, Individually, as Spouse of                                                                Maureen A. Raub as                 Liam Matthew Raub, Individually as Child of WD
                                                       497                      William Ralph Raub, Deceased;                                                                              Parent/Guardian of Liam            William Ralph Raub, Deceased, and
                                                                                                                                                                                           Matthew Raub                       previously included as minor child of
                                                                                                                                                                                                                              Maureen A. Raub;
1,425 William Ralph Raub        Maureen A. Raub        DKT 1; 1:02-cv-01616-JR; Maureen A. Raub, Individually, as Spouse of                                                                Maureen A. Raub as                 Rebecca Anne Raub, Individually as Child of WD
                                                       497                      William Ralph Raub, Deceased;                                                                              Parent/Guardian of Rebecca         William Ralph Raub, Deceased, and
                                                                                                                                                                                           Anne Raub                          previously included as minor child of
                                                                                                                                                                                                                              Maureen A. Raub;
1,426 William S. O'Keefe        Virginia M. O'Keefe    DKT 232; 1:02-cv-01616-     Virginia M. O'Keefe, Individually, as Spouse   Virginia M. O'Keefe as the Representative of the         Virginia M. O'Keefe as             Kaitlin O'Keefe, Individually as Child of      WD
                                                       JR; P3871                   of William S. O'Keefe, Deceased;               Estate of William S. O'Keefe, Deceased;                  Parent/Guardian of Kaitlin         William S. O'Keefe, Deceased, and
                                                                                                                                                                                           O'Keefe                            previously included as minor child of Virginia
                                                                                                                                                                                                                              M. O'Keefe;
1,427 Willie Quincy Troy        Judy S. Troy           DKT 3; 1:02-cv-01616-JR; Judy S. Troy, Individually, as Spouse of                                                                   Judy S. Troy as Parent/Guardian    Jasmyn Alexandra Troy, Individually as         WD
                                                       1708                     Willie Quincy Troy, Deceased;                                                                              of Jasmyn Alexandra Troy           Child of Willie Quincy Troy, Deceased, and
                                                                                                                                                                                                                              previously included as minor child of Judy S.
                                                                                                                                                                                                                              Troy;
1,428 Yudh V. Jain              Sneh Jain              DKT 232; 1:02-cv-01616-     Sneh Jain, Individually, as Spouse of Yudh     Sneh Jain as the Personal Representative of the          Sneh Jain as Parent/Guardian of    Vandna Jain, Individually as Child of Yudh     WD
                                                       JR; P3737                   V. Jain, Deceased;                             Estate of Yudh V. Jain, Deceased;                        Vandna Jain                        V. Jain, Deceased, and previously included
                                                                                                                                                                                                                              as minor child of Sneh Jain;
1,429 Yuguang Zheng             Rui Zheng              DKT 155; 1:02-cv-01616-     Rui Zheng, Individually, as Child of Yuguang   Rui Zheng as the Personal Representative of the                                                                                            WD
                                                       JR; P3175                   Zheng, Deceased;                               Estate of Yuguang Zheng, Deceased;
1,430 Zhentta Ligay             Vyacheslav Ligay       DKT 26, 29; 1:02-cv-        Vyacheslav Ligay, Individually, as Spouse of                                                            Vyacheslav Ligay as                Vyacheslav Ligay, on behalf of A.L., Child of WD
                                                       01616-JR; 2132              Zhentta Ligay, Deceased;                                                                                Parent/Guardian of A.L.            Zhentta Ligay, Deceased;
1,431 Zuhtu Ibis                Leyla Uyar             DKT 155; 1:02-cv-01616-     Leyla Uyar, Individually, as Spouse of Zuhtu   Leyla Uyar as the Personal Representative of the         Leyla Uyar as Parent/Guardian of   Mert Ibis, Individually as Child of Zuhtu Ibis, WD
                                                       JR; P2953                   Ibis, Deceased;                                Estate of Zuhtu Ibis, Deceased;                          Mert Ibis                          Deceased, and previously included as minor
                                                                                                                                                                                                                              child of Leyla Uyar;


                                                                                                                                   88
